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                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                     )
THE ETHYLENE OXIDE                   )
STERILIZATION ASSOCIATION, INC. )
                                     )
      Petitioner,                    )
                                     )
      v.                             )               Case No. 24-1180
                                     )
U.S. ENVIRONMENTAL                   )
PROTECTION AGENCY and                )
MICHAEL S. REGAN, Administrator,     )
U.S. Environmental Protection Agency )
                                     )
      Respondents.                   )
                                     )

                            PETITION FOR REVIEW

      Pursuant to Section 307(b)(1) of the Clean Air Act, 42 U.S.C. § 7607(b)(1),

Federal Rule of Appellate Procedure 15, and D.C. Circuit Rule 15, The Ethylene

Oxide Sterilization Association, Inc. hereby petitions this Court for review of a final

rule issued by the respondents, the U.S. Environmental Protection Agency and

Administrator Michael S. Regan, in his official capacity, entitled National Emission

Standards for Hazardous Air Pollutants: Ethylene Oxide Emissions Standards for

Sterilization Facilities Residual Risk and Technology Review, 89 Fed. Reg. 24090

(Apr. 5, 2024). A copy of the final rule is attached hereto as Exhibit A.
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                                  Respectfully submitted,



Dated: June 4, 2024               /s/ Kelly N. Garson
                                  Kelly N. Garson
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                                  Counsel for Petitioner The Ethylene Oxide
                                  Sterilization Association, Inc.




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THE ETHYLENE OXIDE                   )
STERILIZATION ASSOCIATION, INC. )
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      Petitioner,                    )
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      v.                             )             Case No. 24-1180
                                     )
U.S. ENVIRONMENTAL                   )
PROTECTION AGENCY and                )
MICHAEL S. REGAN, Administrator,     )
U.S. Environmental Protection Agency )
                                     )
      Respondents.                   )
                                     )

        RULE 26.1 DISCLOSURE STATEMENT OF PETITIONER

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1, Petitioner The Ethylene Oxide Sterilization Association, Inc. (EOSA)

respectfully submits this Disclosure Statement. EOSA is a nonprofit organization

incorporated in the District of Columbia for the purpose of representing members of

the ethylene oxide sterilizing industry to promote and enhance the safe use of

ethylene oxide for sterilization purposes. EOSA has no parent company, subsidiary,

or affiliates. No publicly held company has a ten percent or greater ownership

interest in EOSA.


Dated: June 4, 2024                   /s/ Kelly N. Garson
                                      Counsel for Petitioner The Ethylene Oxide
                                      Sterilization Association, Inc.

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                          CERTIFICATE OF SERVICE

      Pursuant to Fed. R. App. P. 3(d), 15(c), and 25, and 40 C.F.R. § 23.3, I hereby

certify that on June 4, 2024, I electronically filed the foregoing Petition for Review

and Rule 26.1 Disclosure Statement with the Clerk of the Court by using the Case

Management/Electronic Case File (CM/ECF) system and will cause a copy of the

foregoing Petition for Review to be served by certified mail, return receipt requested,

upon each of the following:


The Honorable Michael S. Regan
Administrator
U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460

Correspondence Control Unit
Office of General Counsel (2311)
U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460

The Honorable Merrick B. Garland
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, DC 20530

The Honorable Todd Sunhwae Kim
Assistant Attorney General
Environmental and Natural Resources Division
U.S. Department of Justice
950 Pennsylvania Ave., N.W.
Washington, DC 20530



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Dated: June 4, 2024               /s/ Kelly N. Garson
                                  Counsel for Petitioner The Ethylene Oxide
                                  Sterilization Association, Inc.




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                                     EXHIBIT A

U.S. Environmental Protection Agency, National Emission Standards for
Hazardous Air Pollutants: Ethylene Oxide Emissions Standards for Sterilization
Facilities Residual Risk and Technology Review, 89 Fed. Reg. 24090 (Apr. 5, 2024).




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                                              ENVIRONMENTAL PROTECTION                                a docket for this action under Docket ID              ERT Electronic Reporting Tool
                                              AGENCY                                                  No. EPA–HQ–OAR–2019–0178. All                         EtO ethylene oxide
                                                                                                      documents in the docket are listed on                 FDA Food and Drug Administration
                                              40 CFR Parts 60 and 63                                  the https://www.regulations.gov/                      FIFRA Federal Insecticide, Fungicide, and
                                                                                                                                                                Rodenticide Act
                                              [EPA–HQ–OAR–2019–0178; FRL–7055–02–                     website. Although listed, some                        FR Federal Register
                                              OAR]                                                    information is not publicly available,                FRFA final regulatory flexibility analysis
                                                                                                      e.g., Confidential Business Information               FTIR Fourier Transform Infrared
                                              RIN 2060–AU37                                           or other information whose disclosure is                  Spectroscopy
                                                                                                      restricted by statute. Certain other                  GACT generally available control
                                              National Emission Standards for                         material, such as copyrighted material,                   technology
                                              Hazardous Air Pollutants: Ethylene                      is not placed on the internet and will be             HAP hazardous air pollutants(s)
                                              Oxide Emissions Standards for                           publicly available only in hard copy                  HEM Human Exposure Model
                                              Sterilization Facilities Residual Risk                  form. Publicly available docket                       HQ hazard quotient
                                              and Technology Review                                   materials are available either                        ICR Information Collection Request
                                                                                                                                                            ID Interim Decision
                                              AGENCY: Environmental Protection                        electronically through https://                       IFU instructions for use
                                              Agency (EPA).                                           www.regulations.gov/, or in hard copy at              IRFA initial regulatory flexibility analysis
                                              ACTION: Final rule.                                     the EPA Docket Center, WJC West                       IRIS Integrated Risk Information System
                                                                                                      Building, Room Number 3334, 1301                      ISO International Organization for
                                              SUMMARY: This action finalizes the                      Constitution Ave. NW, Washington, DC.                     Standardization
                                              residual risk and technology review                     The Public Reading Room hours of                      km kilometer
                                              (RTR) conducted for the Commercial                      operation are 8:30 a.m. to 4:30 p.m.                  lb pound
                                              Sterilization Facilities source category                Eastern Standard Time (EST), Monday                   lb/h pounds per hour
                                              regulated under national emission                       through Friday. The telephone number                  LEL lower explosive limit
                                              standards for hazardous air pollutants                                                                        LPL lower prediction limit
                                                                                                      for the Public Reading Room is (202)
                                                                                                                                                            MACT maximum achievable control
                                              (NESHAP) under the Clean Air Act. The                   566–1744, and the telephone number for                    technology
                                              EPA is finalizing decisions concerning                  the EPA Docket Center is (202) 566–                   MIR maximum individual risk
                                              the RTR, including definitions for                      1742.                                                 mg/L milligrams per liter
                                              affected sources, emission standards for                FOR FURTHER INFORMATION CONTACT: For                  NAICS North American Industry
                                              previously unregulated sources,                         questions about this final action, contact                Classification System
                                              amendments pursuant to the risk review                  U.S. EPA, Attn: Jonathan Witt, Mail
                                                                                                                                                            NDO natural draft opening
                                              to address ethylene oxide (EtO)                                                                               NESHAP national emission standards for
                                                                                                      Drop: E143–05, 109 T.W. Alexander                         hazardous air pollutants
                                              emissions from certain sterilization                    Drive, P.O. Box 12055, RTP, North
                                              chamber vents (SCVs), aeration room                                                                           OMB Office of Management and Budget
                                                                                                      Carolina 27711; telephone number:                     OPP Office of Pesticide Programs
                                              vents (ARVs), chamber exhaust vents                     (919) 541–5645; and email address:                    OSHA Occupational Safety and Health
                                              (CEVs), and room air emissions, and                     witt.jon@epa.gov. For specific                            Administration
                                              amendments pursuant to the technology                   information regarding the risk modeling               PID Proposed Interim Decision
                                              review for certain SCVs and ARVs. In                    methodology, contact U.S. EPA, Attn:                  ppbv parts per billion by volume
                                              addition, we are taking final action to                 Matthew Woody, Mail Drop: C539–02,                    ppm parts per million
                                              correct and clarify regulatory provisions               109 T.W. Alexander Drive, P.O. Box
                                                                                                                                                            ppmv parts per million by volume
                                              related to emissions during periods of                                                                        PTE permanent total enclosure
                                                                                                      12055, RTP, North Carolina 27711;                     REL reference exposure level
                                              startup, shutdown, and malfunction                      telephone number: (919) 541–1535; and
                                              (SSM), including removing exemptions                                                                          RDL Representative detection level
                                                                                                      email address: woody.matt@epa.gov.                    RFA Regulatory Flexibility Act
                                              for periods of SSM. We are also taking                                                                        RIA regulatory impact assessment
                                                                                                      SUPPLEMENTARY INFORMATION:
                                              final action to require owners and                         Preamble acronyms and                              RTR risk and technology review
                                              operators to demonstrate compliance                     abbreviations. We use multiple                        SAB Science Advisory Board
                                              through the use of EtO continuous                       acronyms and terms in this preamble.                  SBA Small Business Administration
                                              emissions monitoring systems (CEMS),                    While this list may not be exhaustive, to             SBAR Small Business Advocacy Review
                                              with exceptions for very small users of                 ease the reading of this preamble and for
                                                                                                                                                            SCV sterilization chamber vent
                                              EtO; add provisions for electronic                                                                            SER small entity representative
                                                                                                      reference purposes, the EPA defines the               SSM startup, shutdown, and malfunction
                                              reporting of performance test results and               following terms and acronyms here:
                                              other reports; and include other                                                                              TOSHI target organ-specific hazard index
                                                                                                      ADAF age-dependent adjustment factor                  tpy tons per year
                                              technical revisions to improve                                                                                UPL upper prediction limit
                                              consistency and clarity. We estimate                    AEGL acute exposure guideline level
                                                                                                      APCD air pollution control device                     mg/m3 micrograms per cubic meter
                                              that these final amendments will reduce                 ARV aeration room vent                                UMRA Unfunded Mandates Reform Act
                                              EtO emissions from this source category                 ASME American Society of Mechanical                   URE unit risk estimate
                                              by approximately 21 tons per year (tpy).                    Engineers                                         VCS voluntary consensus standards
                                              DATES: This final rule is effective on                  BTF Beyond-the-Floor
                                                                                                      BMP best management practice
                                                                                                                                                              Background information. On April 13,
                                              April 5, 2024. The incorporation by                                                                           2023, the EPA proposed revisions to the
                                              reference (IBR) of certain material listed              CAA Clean Air Act
                                                                                                      CDX Central Data Exchange                             Commercial Sterilization Facilities
                                              in the rule is approved by the Director                 CEDRI Compliance and Emissions Data                   NESHAP based on our RTR. In this
                                              of the Federal Register April 5, 2024.                      Reporting Interface                               action, we are finalizing decisions and
khammond on DSKJM1Z7X2PROD with RULES2




                                              The incorporation by reference (IBR) of                 CEMS continuous emission monitoring                   revisions for the rule. We summarize
                                              certain other material listed in the rule                   system                                            some of the more significant comments
                                              was approved by the Director of the                     CEV chamber exhaust vent                              we timely received regarding the
                                              Federal Register before February 27,                    CFR Code of Federal Regulations
                                                                                                      cfs cubic feet per second                             proposed rule and provide our
                                              2021.                                                                                                         responses in this preamble. A summary
                                                                                                      dscfm dry standard cubic feet per minute
                                              ADDRESSES: The U.S. Environmental                       EJ environmental justice                              of all other public comments on the
                                              Protection Agency (EPA) has established                 EPA Environmental Protection Agency                   proposal and the EPA’s responses to


                                         VerDate Sep<11>2014   17:02 Apr 04, 2024   Jkt 262001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\05APR2.SGM   05APR2
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                                              those comments is available in                            A. What are the affected facilities?                more potent carcinogen than we had
                                              Summary of Public Comments and                            B. What are the air quality impacts?                understood when the RTR for this
                                              Responses for the Risk and Technology                     C. What are the cost impacts?                       source category was conducted in 2006.
                                                                                                        D. What are the economic impacts?
                                              Review for Commercial Sterilization                                                                           There are 88 commercial sterilization
                                                                                                        E. What are the benefits?
                                              Facilities, Docket ID No. EPA–HQ–                         F. What analysis of environmental justice           facilities in this source category, many
                                              OAR–2019–0178. A ‘‘track changes’’                           did we conduct?                                  of which are located near residences,
                                              version of the regulatory language that                 VI. Statutory and Executive Order Reviews             schools, and other public facilities.
                                              incorporates the changes in this action                   A. Executive Orders 12866: Regulatory               Many of these facilities are also located
                                              is available in the docket.                                  Planning and Review and Executive                in communities with environmental
                                                 Organization of this document. The                        Order 13563: Improving Regulation and            justice (EJ) concerns. We have
                                              information in this preamble is                              Regulatory Review                                determined that approximately 23 of
                                              organized as follows:                                     B. Paperwork Reduction Act (PRA)                    these facilities pose high lifetime cancer
                                                                                                        C. Regulatory Flexibility Act (RFA)
                                              I. General Information                                                                                        risks to the surrounding communities,
                                                                                                        D. Unfunded Mandates Reform Act
                                                 A. Executive Summary                                      (UMRA)                                           and some facilities pose exceptionally
                                                 B. Does this action apply to me?                       E. Executive Order 13132: Federalism                high risks that are among some of the
                                                 C. Where can I get a copy of this document             F. Executive Order 13175: Consultation              highest for a CAA section 112(f)(2) risk
                                                   and other related information?                          and Coordination With Indian Tribal              assessment. Throughout this rulemaking
                                                 D. Judicial Review and Administrative                     Governments                                      process, we have engaged in outreach
                                                   Reconsideration                                      G. Executive Order 13045: Protection of             activities to these communities, along
                                              II. Background                                               Children From Environmental Health
                                                 A. What is the statutory authority for this
                                                                                                                                                            with their State and local governments,
                                                                                                           Risks and Safety Risks                           to discuss their concerns, along with the
                                                   action?                                              H. Executive Order 13211: Actions
                                                 B. What is the Commercial Sterilization                   Concerning Regulations That
                                                                                                                                                            need and potential solutions for
                                                   Facilities source category and how does                 Significantly Affect Energy Supply,              reducing emissions and increasing
                                                   the NESHAP regulate HAP emissions                       Distribution, or Use                             transparency on exposure and potential
                                                   from the source category?                            I. National Technology Transfer and                 impacts to communities, which this
                                                 C. What changes did we propose for the                    Advancement Act (NTTAA) and 1 CFR                final rule will achieve.
                                                   Commercial Sterilization Facilities                     Part 51                                             This important action will reduce EtO
                                                   source category in our April 13, 2023,               J. Executive Order 12898: Federal Actions           emissions and lifetime cancer risks in
                                                   RTR proposal?                                           To Address Environmental Justice in
                                              III. What is included in this final rule?                                                                     multiple communities across the
                                                                                                           Minority Populations and Low-Income              country, including communities with EJ
                                                 A. What are the final rule amendments                     Populations and Executive Order 14096:
                                                   addressing the affected source                                                                           concerns, and it updates our standards
                                                                                                           Revitalizing Our Nation’s Commitment
                                                   definitions?                                            to Environmental Justice for All                 using proven and cost-effective control
                                                 B. What are the final rule amendments                  K. Congressional Review Act (CRA)                   technologies that are already in use at
                                                   pursuant to CAA sections 112(d)(2),                                                                      some facilities in this source category.
                                                   112(d)(3), and 112(d)(5) for the                   I. General Information                                The protections offered by these
                                                   Commercial Sterilization Facilities                                                                      standards will be especially important
                                                   source category?                                   A. Executive Summary
                                                                                                                                                            for children. In addition, this rule will
                                                 C. What are the final rule amendments                1. Purpose of the Regulatory Action
                                                   based on the risk review for the                                                                         advance the President’s Cancer
                                                   Commercial Sterilization Facilities                   Exercising authority under multiple                Moonshot,2 by preventing cancer before
                                                   source category?                                   provisions of section 112 of the Clean                it starts. Recognizing that we now have
                                                 D. What are the final rule amendments                Air Act (CAA), we are finalizing                      additional information about the health
                                                   based on the technology review for the             revisions to the NESHAP for                           risks of EtO that was not available at the
                                                   Commercial Sterilization Facilities                Commercial Sterilization Facilities (40               time of the 2006 RTR, and in order to
                                                   source category?                                                                                         ensure that our standards for this source
                                                 E. What are the final rule amendments
                                                                                                      CFR part 63, subpart O) by both
                                                                                                      amending the current standards and                    category adequately protect public
                                                   addressing emissions during periods of
                                                                                                      establishing standards for previously                 health, we have conducted a second
                                                   startup, shutdown, and malfunction?
                                                 F. What other changes have been made to              unregulated emissions within this                     residual risk review under CAA section
                                                   the NESHAP?                                        source category. First, we are finalizing             112(f)(2), as discussed in section I.A.3 of
                                                 G. What are the effective and compliance             emission standards under CAA sections                 this preamble.
                                                   dates of the standards?                            112(d)(2)–(3) and (d)(5) for previously                  In deciding to conduct this second
                                              IV. What is the rationale for our final                 unregulated emission sources of EtO.                  residual risk review, we considered the
                                                   decisions and amendments for the
                                                                                                      Second, we are finalizing risk-based                  health effects of EtO exposure, the
                                                   Commercial Sterilization Facilities                                                                      impacts to surrounding communities,
                                                   source category?                                   standards under CAA section 112(f)(2)
                                                                                                      to protect public health with an ample                the advantages of EtO reductions, and
                                                 A. Amendments Addressing the Affected                                                                      the distribution of those reductions
                                                   Source Definitions                                 margin of safety. Third, we are
                                                 B. Amendments Pursuant to CAA sections               finalizing emission standards under                   consistent with the clear goal of CAA
                                                   112(d)(2), 112(d)(3), and 112(d)(5) for the        CAA section 112(d)(6) based on our                    section 112(f)(2) to protect the most
                                                   Commercial Sterilization Facilities                review of developments in practices,                  exposed and susceptible populations.
                                                   Source Category                                    processes, and control technologies for               While commercial sterilizers provide a
                                                 C. Residual Risk Review for the                                                                            critical benefit for the health of all,
                                                   Commercial Sterilization Facilities
                                                                                                      this source category.
                                                                                                         This final rulemaking reflects the EtO             protecting people who live near
                                                   Source Category                                                                                          commercial sterilization facilities from
khammond on DSKJM1Z7X2PROD with RULES2




                                                 D. Technology Review for the Commercial              toxicological assessment that EPA’s
                                                                                                      Integrated Risk Information System                    the disproportionate risk of being
                                                   Sterilization Facilities Source Category                                                                 significantly harmed by toxic air
                                                 E. Amendments Addressing Emissions                   (IRIS) Program completed in December
                                                   During Periods of SSM                              2016,1 which indicated that EtO is a far                2 https://www.whitehouse.gov/briefing-room/
                                                 F. Other Amendments to the Standards                                                                       statements-releases/2023/09/13/fact-sheet-as-part-
                                              V. Summary of Cost, Environmental, and                    1 Evaluation of the Inhalation Carcinogenicity of   of-president-bidens-unity-agenda-white-house-
                                                   Economic Impacts and Additional                    Ethylene Oxide, December 2016, EPA/635/R–16/          cancer-moonshot-announces-new-actions-and-
                                                   Analyses Conducted                                 350Fc.                                                commitments-to-end-cancer-as-we-know-it/.



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                                              pollution is also a core responsibility for             public health under CAA section 112,                  viable, safe, and cost-effective
                                              the EPA under the CAA.                                  the EPA has carefully evaluated the                   alternatives to EtO sterilization.
                                                 At the same time, we recognize that                  feasibility and cost of compliance with                  On April 13, 2023, the Office of
                                              commercial sterilization facilities play a              this rule, and potential implications for             Pesticide Programs (OPP) published a
                                              vital role in maintaining an adequate                   the medical device supply chain.4 The                 notice announcing the availability of a
                                              supply of sterilized medical devices for                EPA notes that a number of the facilities             proposed interim decision (PID) as part
                                              public health needs in the U.S.                         covered by this final rule have already               of its periodic review of the registration
                                              According to the U.S. Food and Drug                     implemented one or more of the                        of EtO under the Federal Insecticide,
                                              Administration (FDA), ‘‘Literature                      controls that will be needed for                      Fungicide, and Rodenticide Act (FIFRA)
                                              shows that about fifty percent of all                   compliance. Moreover, the EPA’s own                   (88 FR 22447). The PID contained a
                                              sterile medical devices in the U.S. are                 experience working with facility                      number of measures aimed at protecting
                                              sterilized with ethylene oxide.’’ FDA                   owners, as well as State and local                    workers from excessive EtO exposure.
                                              also notes that, ‘‘For many medical                     agencies that have regulated EtO                      Since the issuance of the PID, OPP has
                                              devices, sterilization with ethylene                    emissions from these facilities, confirms             been actively collaborating with the
                                              oxide may be the only method that                       that it is feasible for individual facilities         Office of Air and Radiation to ensure
                                              effectively sterilizes and does not                     to install the required controls well                 that the requirements of the FIFRA
                                              damage the device during the                            within the deadlines provided in this                 Interim Decision (ID) do not interfere
                                              sterilization process.’’ 3 In developing                rule, and for multiple facilities to do so            with the requirements of this rule, and
                                              this final rule, therefore, we carefully                simultaneously.                                       vice versa. The ID will contain the final
                                              considered the important function these                    In addition, as a result of the                    requirements to mitigate worker
                                              facilities serve, drawing from extensive                comments received, as well as the EPA’s               exposure to EtO, considering the
                                              engagement with industry stakeholders                   consultation with FDA and other                       comments received on the PID.
                                              as well as Federal agencies with                        Federal partners, the final rule                      Furthermore, OPP has been consulting
                                              expertise in and responsibility for the                 incorporates several key changes from                 regularly with other Federal agencies
                                              medical device supply chain.                            the proposed rule, including                          and with industry trade groups, to
                                                 To ensure our actions with respect to                modifications to the format of certain                discuss how best to harmonize the
                                              this source category are based on the                   standards and compliance flexibilities.               requirements of the FIFRA ID with the
                                              most accurate and complete information                  We are also providing sufficient                      requirements of this rule, and to ensure
                                              possible, we have had many interactions                 compliance time to enable these                       that the operative standards, once
                                              with the EtO commercial sterilization                   facilities to continue sterilizing products           finalized, will protect both workers and
                                              industry in recent years, including                     while installing and testing new control              neighboring communities from the risks
                                              meetings, requests for information, and                 systems and associated equipment that                 of EtO exposure while mitigating and
                                              outreach specific to this final                         will afford ample protection for nearby               managing any risk to the supply chain
                                              rulemaking. This has enabled us to work                 communities. These modifications to                   for sterile medical devices.
                                              from the best possible information when                 the proposed rule are intended to
                                                                                                      facilitate cost-effective compliance, and             2. Summary of the Major Provisions of
                                              conducting the analyses to support this                                                                       the Regulatory Action in Question
                                              final rulemaking, including the current                 to avoid any impacts to the integrity of
                                              configuration of facilities and the                     the medical device supply chain, while                   We are finalizing numeric emission
                                              performance of control technologies that                ensuring that these standards reduce                  limits, operating limits, and
                                              are currently used.                                     cancer risks for communities exposed to               management practices under CAA
                                                 We have engaged with the U.S.                        EtO emissions.                                        sections 112(d)(2)–(3), (d)(5), and (d)(6)
                                              Department of Health and Human                             Given that key industry players are                for EtO emissions from certain emission
                                              Services, particularly FDA, regarding                   already planning for compliance, and in               sources, and also finalizing standards
                                              the potential impacts of this final rule                light of the significant changes made                 under CAA section 112(f)(2) for certain
                                              on commercial facilities that sterilize                 between the proposal and this final rule,             emission sources in order to ensure that
                                              medical devices. These discussions                      the EPA does not anticipate that the                  the standards provide an ample margin
                                              have focused on identifying and                         implementation of these standards will                of safety to protect public health.5
                                              discussing any concerns regarding the                   have any adverse impacts on the                          For the following, previously
                                              potential impact on the availability of                 medical supply chain. However, as the                 unregulated emission sources at
                                              certain medical devices that are                        Agency proceeds to implement this final               commercial sterilization facilities, we
                                              sterilized with EtO, in cases where                     rule, we intend to continue to work                   are setting standards under CAA
                                              alternative sterilization methods are not               closely with FDA, the relevant trade                  sections 112(d)(2)–(3) or (d)(5): SCVs
                                              readily available, in particular, devices               associations, and facility owners to                  and ARVs at facilities where EtO use is
                                              that are (1) experiencing or at risk of                 monitor the process of planning for                   less than 1 tpy,6 ARVs at facilities where
                                              experiencing a shortage, (2) intended to                compliance, to proactively identify any
                                              provide life-supporting, life-sustaining                anticipated changes in facility                          5 In 1992, pursuant to CAA section 112(c)(1), we

                                                                                                      operations that might implicate the                   published a list of major and area sources for
                                              care or that is intended for use in                                                                           regulation under CAA section 112, including major
                                              emergency medical care or during                        medical supply chain, and to take                     and area sources at commercial sterilization
                                              surgery, (3) used in pediatric services,                appropriate steps to address any such                 facilities. 57 FR 31576, 31586 (July 16, 1992). Area
                                                                                                      impacts. In addition, in order to                     sources at commercial sterilization facilities were
                                              and/or (4) sterilized exclusively at a                                                                        listed for regulation under CAA section 112(c)(3)
                                                                                                      increase the resilience of the medical
                                              particular facility.                                                                                          based on our finding that they present a threat of
                                                                                                      supply chain, we support the
khammond on DSKJM1Z7X2PROD with RULES2




                                                 Mindful of the vital role that                                                                             adverse effects to human health or the environment
                                              commercial sterilizers play in supplying                development and implementation of                     (by such sources individually or in the aggregate)
                                                                                                                                                            warranting regulation under that section. Id. at
                                              the nation with sterile medical devices,                  4 For more information, see the document            31586.
                                              and the core objective of protecting                    Regulatory Impact Analysis for the Final National        6 In developing the original rule, EPA considered

                                                                                                      Emission Standards for Hazardous Air Pollutants:      potential standards for SCV and ARV at area source
                                                3 https://www.fda.gov/medical-devices/general-        Ethylene Oxide Commercial Sterilization and           facilities where EtO use is less than 1 tpy but the
                                              hospital-devices-and-supplies/sterilization-medical-    Fumigation Operations, available in the docket for    Agency understood these sources at the time to
                                              devices.                                                this rulemaking.                                      have low emission contributions (e.g., a facility



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                                              EtO use is at least 1 tpy but less than                                          • SCVs at facilities where EtO use is at                                   • Group 2 room air emissions at area
                                              10 tpy,7 CEVs,8 and room air                                                       least 1 tpy but less than 10 tpy                                           source facilities where EtO use is at
                                              emissions.9                                                                      • ARVs at facilities where EtO use is at                                     least 4 tpy but less than 20 tpy
                                                Next, based on our assessment of the
                                                                                                                                 least 30 tpy                                                               Finally, under CAA section 112(d)(6),
                                              residual risk after considering the
                                              emission reductions from the previous                                            • CEVs at area source facilities 10 where                                  we are revising current standards for the
                                              standards in subpart O, as well as the                                             EtO use is at least 400 tpy                                              following sources that were regulated in
                                                                                                                                                                                                          the previous 40 CFR part 63, subpart O:
                                              standards under CAA sections                                                     • CEVs at area source facilities where
                                              112(d)(2)–(3) or (d)(5) for the previously                                         EtO use is at least 60 but less than 400                                 • SCVs at facilities where EtO use is at
                                              unregulated sources, we are finalizing                                             tpy                                                                        least 10 tpy
                                              more stringent standards under CAA                                                                                                                          • SCVs at facilities where EtO use is at
                                              section 112(f)(2) to address risk at the                                         • Group 1 room air emissions 11 at area
                                                                                                                                 source facilities where EtO use is at                                      least 1 tpy but less than 10 tpy
                                              following types of sources:
                                                                                                                                 least 40 tpy                                                             • ARVs at facilities where EtO use is at
                                              • SCVs at facilities where EtO use is at
                                                                                                                               • Group 2 room air emissions 12 at area                                      least 10 tpy
                                                least 30 tpy
                                              • SCVs at facilities where EtO use is at                                           source facilities where EtO use is at                                      Table 1 summarizes the final CAA
                                                least 10 tpy but less than 30 tpy                                                least 20 tpy                                                             section 112(d) and 112(f)(2) standards.
                                                     TABLE 1—SUMMARY OF STANDARDS AFTER TAKING ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                                                                                   112(d)(5), 112(f)(2), AND 112(d)(6)
                                                      Emission source                              Existing or new?                                  EtO use                                          Standards                                CAA section

                                              SCV ......................................   Existing and new .................          At least 30 tpy .....................        99.99 percent emission reduction .............     112(f)(2).
                                                                                                                                       At least 10 tpy but less than                99.9 percent emission reduction ...............    112(f)(2).
                                                                                                                                         30 tpy.
                                                                                                                                       At least 10 tpy .....................        99.9 percent emission reduction ...............    112(d)(6).
                                                                                                                                       At least 1 but less than 10                  99.8 percent emission reduction ...............    112(f)(2) and 112(d)(6).
                                                                                                                                         tpy.
                                                                                                                                       Less than 1 tpy ...................          99 percent emission reduction ..................   112(d)(5).
                                              ARV ......................................   Existing ................................   At least 30 tpy .....................        99.9 percent emission reduction ...............    112(f)(2).
                                                                                                                                       At least 10 tpy but less than                99.6 percent emission reduction ...............    112(f)(2).
                                                                                                                                         30 tpy.
                                                                                                                                       At least 10 tpy .....................        99.6 percent emission reduction ...............    112(d)(6).
                                                                                                                                       At least 1 but less than 10                  99 percent emission reduction ..................   112(d)(5).
                                                                                                                                         tpy.
                                                                                                                                       Less than 1 tpy ...................          99 percent emission reduction ..................   112(d)(5).
                                                                                           New .....................................   At least 30 tpy .....................        99.9 percent emission reduction ...............    112(f)(2).
                                                                                                                                       At least 10 tpy .....................        99.9 percent emission reduction ...............    112(d)(6).
                                                                                                                                       At least 1 but less than 10                  99 percent emission reduction ..................   112(d)(5).
                                                                                                                                         tpy.
                                                                                                                                       Less than 1 tpy ...................          99 percent emission reduction ..................   112(d)(5).
                                              CEVs at major source facili-                 Existing and new .................          N/A ......................................   99.94 percent emission reduction 1 ...........     112(d)(2) and 112(d)(3).
                                               ties.
                                              CEVs at area source facili-                  Existing and new .................          At least 400 tpy ...................         99.9 percent emission reduction ...............    112(f)(2).
                                               ties.
                                                                                                                                       At least 60 but less than                    99.9 percent emission reduction ...............    112(f)(2).
                                                                                                                                         400 tpy.
                                                                                                                                       Less than 60 tpy .................           99 percent emission reduction ..................   112(d)(5).
                                              Group 1 room air emissions                   Existing and new .................          N/A ......................................   97 percent emission reduction 2 3 ..............   112(d)(2) and 112(d)(3).
                                                at major sources.
                                              Group 1 room air emissions                   Existing and new .................          At least 40 tpy .....................        98 percent emission reduction 3 ................   112(f)(2).
                                                at area sources.
                                                                                                                                       Less than 40 tpy .................           80 percent emission reduction 3 ................   112(d)(5).

                                              with EtO use of 1,999 lb/yr would have roughly less                              leading to the explosions was that EtO                                     combination of HAPs. . .’’. It further defines an
                                              than 167 lb/month of usage and emissions, and less                               concentrations were above a safe level (i.e., above                        area source as ‘‘any stationary source of HAPs that
                                              than 41 lb/week usage and emissions.) At the time,                               the lower explosive limit (LEL)) within the CEV gas                        is not a major source’’. A synthetic area source
                                              EPA considered costs for monitoring,                                             streams. We could not conclude at the time that the                        facility is one that otherwise has the potential to
                                              recordkeeping, and reporting under the rule.                                     CEVs could be safely controlled, so the standards                          emit HAPs in amounts that are at or above those
                                              Threshold cutoffs for area sources are at the                                    for CEVs were removed on November 2, 2001 (66                              for major sources of HAP, but that has taken a
                                              discretion of the Agency.                                                        FR 55583). However, as discussed in section III.B.5
                                                                                                                                                                                                          restriction so that its potential to emit is less than
                                                 7 EPA considered standards for ARV and CEV at                                 of the proposal preamble (88 FR 22790), facilities
                                                                                                                               with controlled CEVs have revised their operating                          the threshold amounts for major sources. Most of
                                              area source facilities where EtO use is at least 1 tpy
                                              and less than 10 tpy. As noted, the Agency                                       procedures to address the explosion issue by not                           the EtO used at these facilities is released through
                                              understood at the time that the largest emission                                 exceeding 10 to 25 percent of the LEL. We have,                            SCVs and ARVs, and subpart O contains emission
                                              source of EtO occurred from the SCV, and therefore                               therefore, determined that CEVs can be safely                              standards for these sources at facilities where EtO
                                              finalized emission reduction standards for all SCV                               controlled.                                                                use is at least 10 tpy. Some State and local
                                              at facilities where EtO use is at least 1 tpy. At the                               9 As discussed in section III.A, room air emissions                     governments also regulate EtO emissions from these
                                              time ARV sources were understood to have low                                     include emissions resulting from indoor EtO                                facilities. Based on these facts, as well as our review
                                              emission contributions. As noted, threshold cutoffs                              storage, EtO dispensing, vacuum pump operation,                            of the permits for these facilities, it is our
                                              for area sources are at the discretion of the Agency.                            pre-aeration handling of sterilized material, and
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                                                                                                                                                                                                          understanding that all facilities that use more than
                                                 8 The standards for CEVs were originally                                      post-aeration handling of sterilized material.                             10 tpy are synthetic area sources.
                                              promulgated on December 6, 1994. Following                                          10 As discussed in section III.B of the proposal
                                                                                                                                                                                                             11 As discussed in section III.A, Group 1 room air
                                              promulgation of the rule, we suspended certain                                   preamble (88 FR 22790, April 13, 2023), CAA
                                                                                                                                                                                                          emissions cover indoor EtO storage, EtO dispensing,
                                              compliance deadlines and ultimately removed the                                  section 112(a) defines a major source as ‘‘any
                                              standards for CEVs due to safety concerns. In the                                stationary source or group of stationary sources                           vacuum pump operation, and pre-aeration handling
                                              late 1990s, there were multiple explosions at EtO                                located within a contiguous area and under                                 of sterilized material.
                                                                                                                                                                                                             12 As discussed in section III.A, Group 2 room air
                                              commercial sterilization facilities using oxidizers to                           common control that emits or has the potential to
                                              control emissions from the CEV. For CEVs, it was                                 emit considering controls, in the aggregate, 10 tpy                        emissions cover post-aeration handling of sterilized
                                              determined that the primary contributing issue                                   or more of any HAP or 25 tpy or more of any                                material.



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                                                    TABLE 1—SUMMARY OF STANDARDS AFTER TAKING ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                                                                             112(d)(5), 112(f)(2), AND 112(d)(6)—Continued
                                                     Emission source                            Existing or new?                                  EtO use                                          Standards                                     CAA section

                                              Group 2 room air emissions                Existing and new .................          N/A ......................................   86 percent emission reduction 1 3 ..............    112(d)(2) and 112(d)(3).
                                                at major sources.
                                              Group 2 room air emissions                Existing ................................   At least 20 tpy .....................        98 percent emission reduction 3 ................    112(f)(2).
                                                at area sources.
                                                                                                                                    At least 4 but less than 20                  80 percent emission reduction 3 ................    112(f)(2).
                                                                                                                                      tpy.
                                                                                                                                    Less than 4 tpy ...................          Lower the EtO concentration within each             112(d)(5).
                                                                                                                                                                                   sterilization chamber to 1 ppm before
                                                                                                                                                                                   the chamber can be opened 4.
                                                                                       New .....................................    At least 20 tpy .....................        98 percent emission reduction 3 ................    112(f)(2).
                                                                                                                                    At least 4 but less than 20                  80 percent emission reduction 3 ................    112(f)(2).
                                                                                                                                      tpy.
                                                                                                                                    Less than 4 tpy ...................          80 percent emission reduction 3 ................    112(d)(5).
                                                1 MACT floor.
                                                2 Beyond-the-Floor (BTF) standard.
                                               3 To assure compliance with the emission limit, we are requiring each facility to operate area sources with these emissions in accordance with the PTE require-
                                              ments of EPA Method 204 of appendix M to 40 CFR part 51.
                                               4 Owners and operators may also apply for an alternative means of emission limitation under CAA section 112(h)(3).




                                                 To demonstrate compliance with the                                           As discussed in further detail in                                        approximately 60 times greater than the
                                              emission limits, we are finalizing                                            section IV.C, this second residual risk                                    value we used in our previous risk
                                              capture requirements. We are also                                             review also encompasses certain area                                       assessment, we are now exercising our
                                              finalizing a requirement for facilities to                                    sources for which we did not evaluate                                      discretionary authority to conduct
                                              monitor with an EtO continuous                                                residual risk in our 2006 rulemaking.                                      another CAA section 112(f)(2) analysis
                                              emissions monitoring system (CEMS),                                           Although CAA section 112(f)(5) states                                      and to include in this analysis area
                                              with exceptions for small users.                                              that a risk review is not required for                                     source commercial sterilizers using EtO
                                                                                                                            categories of area sources subject to                                      for which we have promulgated, or have
                                              3. EPA Authority
                                                                                                                            generally available control technology                                     considered, GACT standards.
                                                We note that the EPA completed a                                            (GACT) standards, it does not prohibit                                        Section 112(d)(6) of the CAA requires
                                              residual risk and technology review                                           such review. In 2006, we undertook a                                       EPA to review and revise, as necessary,
                                              under CAA sections 112(f)(2) and                                              CAA section 112(f)(2) analysis only for                                    standards promulgated under CAA
                                              112(d)(6), respectively, for this source                                      area source emissions standards that                                       section 112 at least every eight years,
                                              category in 2006 (71 FR 17712). While                                         were issued as maximum achievable                                          taking into account developments in
                                              CAA section 112(f)(2) requires only a                                         control technology (MACT) standards                                        practices, processes, and control
                                              one-time risk review, which is to be                                          and exercised our discretion under CAA                                     technologies. We last completed this
                                              conducted within eight years of the date                                      section 112(f)(5) not to do a CAA section                                  required technology review for the
                                              the initial standards are promulgated, it                                     112(f)(2) analysis for those emission                                      Ethylene Oxide Commercial
                                              does not limit our discretion or                                              points for which GACT standards were                                       Sterilization NESHAP (40 CFR 63,
                                              authority to conduct another risk review                                      established (67 FR 17715). However, as                                     subpart O) in 2006. Accordingly, in this
                                              should we consider that such review is                                        we made clear in that prior risk                                           final action, we are also conducting a
                                              warranted. As discussed in more detail                                        assessment, ‘‘[w]e have the authority to                                   CAA section 112(d)(6) review of the
                                              in section IV.C of this preamble, as our                                      revisit (and revise, if necessary) any                                     current standards in this source
                                              understanding of the health effects of                                        rulemaking if . . . significant                                            category.
                                              EtO developed, we conducted a second                                          improvements to science [suggest that]
                                              residual risk review under CAA section                                        the public is exposed to significant                                       4. Costs and Benefits
                                              112(f)(2) for commercial sterilization                                        increases in risk as compared to the                                         Table 2 of this preamble summarizes
                                              facilities using EtO in order to ensure                                       [2006 risk assessment].’’ Id. In light of                                  the costs of this final action for 40 CFR
                                              that the standards provide an ample                                           the updated IRIS cancer unit risk                                          part 63, subpart O (Ethylene Oxide
                                              margin of safety to protect public health.                                    estimate (URE) for EtO, which is                                           Commercial Sterilization NESHAP).

                                                                                                  TABLE 2—TOTAL CAPITAL INVESTMENT AND TOTAL ANNUAL COST
                                                                                                                                                            [2021$]

                                                                                                                                                                                             Number of facilities
                                                                                                                                                                                             w/costs associated             Total capital            Total annual
                                                                                                         Requirement                                                                              with new                  investment                  costs
                                                                                                                                                                                                requirements

                                              Permanent total enclosure ...................................................................................................                                         28        $77,500,000              $8,280,000
                                              Additional control devices ....................................................................................................                                       83        187,000,000              43,000,000
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                                              Monitoring and testing .........................................................................................................                                      89          48,100,000             19,400,000
                                              Recordkeeping and reporting ..............................................................................................                                          1 90    ........................     2 2,600,000


                                                    Total ..............................................................................................................................                          1 90        313,000,000              74,000,000
                                                 1 This includes the 88 facilities that are currently operating, as well as two planned facilities that are expected to start operating within the next
                                              few years.
                                                2 This includes $763,000 of one-time annual costs for reading the rule and developing record systems.




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                                                The capital costs for permanent total                           reduce EtO emissions from this source                                      amendments, which are updated based
                                              enclosure (PTE) and additional gas/solid                          category by 21 tpy. Table 3 of this                                        on revisions made in the final rule and
                                              reactors were annualized to 20 years.                             preamble summarizes the cancer risk                                        described in more detail in section
                                              We estimate that these amendments will                            reductions that will result from the final                                 IV.C.2.

                                                                                                       TABLE 3—SUMMARY OF CANCER RISK REDUCTIONS
                                                                                                                                                                                                                             Cancer risks after
                                                                                                                                Current cancer risks—                         Current cancer risks—                        implementation of final
                                                                                                                                  actual emissions                             allowable emissions                              amendments

                                              Maximum Individual Risk (MIR) 1 ....................................          6,000-in-1 million ...............             8,000-in-1 million 3 .............            100-in-1 million.
                                              Number of People with Cancer Risks >100-in-1 million                          19,000 ................................        260,000 ..............................        0.
                                              Number of People with Cancer Risks ≥1-in-1 million .....                      8.5 million ..........................         62 million ...........................        700,000 to 1.4 million.2
                                              Estimated Annual Cancer Incidence (cases per year) ...                        0.9 ......................................     8 .........................................   0.1 to 0.2.2
                                                1 The MIR or maximum individual lifetime cancer risk is defined as the increase in estimated cancer risk associated with a 70-year lifetime of
                                              continuous exposure at the highest concentration of HAP where people are likely to live.
                                                2 Ranges in values account for if all facilities were performing at the level of the standards (high end) to considering facilities that are currently
                                              performing better than the standards (low end).


                                                 As indicated in table 3, we project                            to a lifetime cancer risk of greater than                                    See section V of this preamble for
                                              that the standards in the final rule will                         100-in-1 million (which is our                                             further discussion of the costs and a
                                              significantly reduce incremental                                  presumptive upper bound threshold for                                      discussion of the benefits of the final
                                              lifetime cancer risks associated with                             acceptable health risks), based on actual                                  standards. See section IV.F of this
                                              emissions of EtO from this source                                 emissions. When considering allowable                                      preamble for discussion of the revisions
                                              category. We estimate that the current                            emissions, this number increases to                                        to monitoring, recordkeeping, reporting,
                                              maximum increase in lifetime cancer                               260,000. Under the final rule, no                                          and testing requirements. See section
                                              risk associated with any facility in this                         individual will be exposed to EtO at                                       IV.C for a discussion of the risk
                                              source category is 6,000-in-1 million                             levels that correspond to a lifetime                                       assessment results.
                                              based on estimated actual emissions (or                           cancer risk of greater than 100-in-1                                       B. Does this action apply to me?
                                              8,000-in-1 million based on allowable                             million, and the number of people with
                                              emissions) under the existing standards,                          a potential risk of greater than or equal                                    Regulated entities. Categories and
                                              and that approximately 19,000 people                                                                                                         entities potentially regulated by this
                                                                                                                to 1-in-1 million will be reduced by
                                              are exposed to EtO from this source                                                                                                          action are shown in table 4 of this
                                                                                                                approximately 92 percent.
                                              category at levels that would correspond                                                                                                     preamble.

                                                                    TABLE 4—NESHAP AND INDUSTRIAL SOURCE CATEGORIES AFFECTED BY THIS FINAL ACTION
                                                                                          Industrial category                                                                                    NESHAP                               NAICS 1 code

                                              Surgical and Medical Instrument Manufacturing ..........................................................                   40 CFR part 63, subpart O .......................                   339112
                                              Surgical Appliance and Supplies Manufacturing .........................................................                    40 CFR part 63, subpart O .......................                   339113
                                              Pharmaceutical Preparation Manufacturing .................................................................                 40 CFR part 63, subpart O .......................                   325412
                                              Spice and Extract Manufacturing .................................................................................          40 CFR part 63, subpart O .......................                   311942
                                              Dried and Dehydrated Food Manufacturing .................................................................                  40 CFR part 63, subpart O .......................                   311423
                                              Packaging and Labeling Services ................................................................................           40 CFR part 63, subpart O .......................                   561910
                                                 1 North American Industry Classification System.




                                                 Table 4 of this preamble is not                                internet. Following signature by the                                       D. Judicial Review and Administrative
                                              intended to be exhaustive, but rather to                          EPA Administrator, the EPA will post a                                     Reconsideration
                                              provide a guide for readers regarding                             copy of this final action at: https://
                                              entities likely to be affected by the final                                                                                                    Under Clean Air Act (CAA) section
                                                                                                                www.epa.gov/stationary-sources-air-                                        307(b)(1), judicial review of this final
                                              action for the source category listed. To                         pollution/ethylene-oxide-emissions-
                                              determine whether your facility is                                                                                                           action is available only by filing a
                                                                                                                standards-sterilization-facilities.                                        petition for review in the United States
                                              affected, you should examine the                                  Following publication in the Federal
                                              applicability criteria in the appropriate                                                                                                    Court of Appeals for the District of
                                                                                                                Register, the EPA will post the Federal                                    Columbia Circuit (the Court) by June 4,
                                              NESHAP. If you have any questions                                 Register version and key technical
                                              regarding the applicability of any aspect                                                                                                    2024. Under CAA section 307(b)(2), the
                                                                                                                documents at this same website.                                            requirements established by this final
                                              of this NESHAP, please contact the
                                              appropriate person listed in the                                     Additional information is available on                                  rule may not be challenged separately in
                                              preceding FOR FURTHER INFORMATION                                 the RTR website at https://                                                any civil or criminal proceedings
                                                                                                                www.epa.gov/stationary-sources-air-                                        brought by the EPA to enforce the
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                                              CONTACT section of this preamble.
                                                                                                                pollution/risk-and-technology-review-                                      requirements.
                                              C. Where can I get a copy of this                                 national-emissions-standards-                                                Section 307(d)(7)(B) of the CAA
                                              document and other related                                                                                                                   further provides that only an objection
                                                                                                                hazardous. This information includes
                                              information?                                                                                                                                 to a rule or procedure which was raised
                                                                                                                an overview of the RTR program and
                                                In addition to being available in the                           links to project websites for the RTR                                      with reasonable specificity during the
                                              docket, an electronic copy of this final                          source categories.                                                         period for public comment (including
                                              action will also be available on the                                                                                                         any public hearing) may be raised


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                                              during judicial review. This section also               (after considering cost, energy                       regarding EtO, the EPA is choosing to
                                              provides a mechanism for the EPA to                     requirements, and non-air quality health              exercise that discretion.
                                              reconsider the rule if the person raising               and environmental impacts). In                           In the second stage of the regulatory
                                              an objection can demonstrate to the                     developing MACT standards, CAA                        process, the CAA requires the EPA to
                                              Administrator that it was impracticable                 section 112(d)(2) directs the EPA to                  undertake two different analyses, which
                                              to raise such objection within the period               consider the application of measures,                 we refer to as the technology review and
                                              for public comment or if the grounds for                processes, methods, systems, or                       the residual risk review. Under the
                                              such objection arose after the period for               techniques, including, but not limited                technology review, we must review the
                                              public comment (but within the time                     to, those that reduce the volume of or                technology-based standards and revise
                                              specified for judicial review) and if such              eliminate HAP emissions through                       them ‘‘as necessary (taking into account
                                              objection is of central relevance to the                process changes, substitution of                      developments in practices, processes,
                                              outcome of the rule. Any person seeking                 materials, or other modifications;                    and control technologies)’’ no less
                                              to make such a demonstration should                     enclose systems or processes to                       frequently than every 8 years, pursuant
                                              submit a Petition for Reconsideration to                                                                      to CAA section 112(d)(6). In conducting
                                                                                                      eliminate emissions; collect, capture, or
                                              the Office of the Administrator, U.S.                                                                         this review, the EPA is not required to
                                                                                                      treat HAP when released from a process,
                                              EPA, Room 3000, WJC South Building,                                                                           recalculate the MACT floors that were
                                                                                                      stack, storage, or fugitive emissions
                                              1200 Pennsylvania Ave. NW,                                                                                    established in earlier rulemakings.
                                                                                                      point; are design, equipment, work                    Natural Resources Defense Council
                                              Washington, DC 20460, with a copy to                    practice, or operational standards; or
                                              both the person(s) listed in the                                                                              (NRDC) v. EPA, 529 F.3d 1077, 1084
                                                                                                      any combination of the above.                         (D.C. Cir. 2008). Association of Battery
                                              preceding FOR FURTHER INFORMATION
                                              CONTACT section, and the Associate                         For these MACT standards, the statute              Recyclers, Inc. v. EPA, 716 F.3d 667
                                              General Counsel for the Air and                         specifies certain minimum stringency                  (D.C. Cir. 2013). The EPA may consider
                                              Radiation Law Office, Office of General                 requirements, which are referred to as                cost in deciding whether to revise the
                                              Counsel (Mail Code 2344A), U.S. EPA,                    MACT floor requirements, and which                    standards pursuant to CAA section
                                              1200 Pennsylvania Ave. NW,                              may not be based on cost                              112(d)(6). The EPA is required to
                                              Washington, DC 20460.                                   considerations. See CAA section                       address regulatory gaps, such as missing
                                                                                                      112(d)(3). For new sources, the MACT                  standards for listed air toxics known to
                                              II. Background                                          floor cannot be less stringent than the               be emitted from the source category, and
                                              A. What is the statutory authority for                  emission control achieved in practice by              any new MACT standards must be
                                              this action?                                            the best-controlled similar source. The               established under CAA sections
                                                                                                      MACT standards for existing sources                   112(d)(2) and (3), or, in specific
                                                 The statutory authority for this action                                                                    circumstances, CAA sections 112(d)(4)
                                              is provided by sections 112 and 301 of                  can be less stringent than floors for new
                                                                                                      sources, but they cannot be less                      or (h). Louisiana Environmental Action
                                              the Clean Air Act (CAA), as amended                                                                           Network (LEAN) v. EPA, 955 F.3d 1088
                                              (42 U.S.C. 7401 et seq.). The discussion                stringent than the average emission
                                                                                                      limitation achieved by the best-                      (D.C. Cir. 2020).
                                              that follows identifies the relevant                                                                             The residual risk review in the second
                                              statutory sections and briefly explains                 performing 12 percent of existing
                                                                                                      sources in the category or subcategory                stage of the regulatory process focuses
                                              the contours of the methodology used to                                                                       on identifying and addressing any
                                              implement these statutory requirements.                 (or the best-performing five sources for
                                                                                                      categories or subcategories with fewer                remaining (i.e., ‘‘residual’’) risk
                                              A more comprehensive discussion                                                                               pursuant to CAA section 112(f). For
                                              appears in the document titled CAA                      than 30 sources). In developing MACT
                                                                                                                                                            source categories subject to MACT
                                              Section 112 Risk and Technology                         standards, we must also consider
                                                                                                                                                            standards, section 112(f)(2) of the CAA
                                              Reviews: Statutory Authority and                        control options that are more stringent
                                                                                                                                                            requires the EPA to determine whether
                                              Methodology, in the docket for this                     than the floor under CAA section
                                                                                                                                                            promulgation of additional standards is
                                              rulemaking. Section 112 of the CAA                      112(d)(2). We may establish standards
                                                                                                                                                            needed to provide an ample margin of
                                              establishes a two-stage regulatory                      more stringent than the floor, based on               safety to protect public health or to
                                              process to address emissions of                         the consideration of the cost of                      prevent an adverse environmental
                                              hazardous air pollutants (HAP) from                     achieving the emissions reductions, any               effect. Section 112(d)(5) of the CAA
                                              stationary sources. In the first stage, we              non-air quality health and                            provides that this residual risk review is
                                              must identify categories of sources                     environmental impacts, and energy                     not required for categories of area
                                              emitting one or more of the HAP listed                  requirements. For area sources, CAA                   sources subject to GACT standards.
                                              in CAA section 112(b) and then                          section 112(d)(5) allows the EPA to set               Section 112(f)(2)(B) of the CAA further
                                              promulgate technology-based NESHAP                      standards based on GACT in lieu of                    expressly preserves the EPA’s use of the
                                              for those sources. Sources of HAP                       MACT standards. For categories of                     two-step approach for developing
                                              emissions are either major sources or                   major sources and any area source                     standards to address any residual risk
                                              area sources, and CAA section 112                       categories subject to MACT standards,                 and the Agency’s interpretation of
                                              establishes different requirements for                  the second stage in standard-setting                  ‘‘ample margin of safety’’ developed in
                                              major source standards and area source                  focuses on identifying and addressing                 the National Emissions Standards for
                                              standards. ‘‘Major sources’’ are those                  any remaining (i.e., ‘‘residual’’) risk               Hazardous Air Pollutants: Benzene
                                              that emit, or have the potential to emit,               pursuant to CAA section 112(f). Section               Emissions from Maleic Anhydride
                                              any single HAP at a rate of 10 tons per                 112(f) specifically states that the EPA               Plants, Ethylbenzene/Styrene Plants,
                                              year (tpy) or more, or 25 tpy or more of                ‘‘shall not be required’’ to conduct risk             Benzene Storage Vessels, Benzene
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                                              any combination of HAP. All other                       review under this subsection for                      Equipment Leaks, and Coke By-Product
                                              sources are ‘‘area sources.’’ For major                 categories of area sources subject to                 Recovery Plants (Benzene NESHAP) (54
                                              sources, these standards are commonly                   GACT standards but does not limit the                 FR 38044, September 14, 1989). The
                                              referred to as maximum achievable                       EPA’s authority or discretion from                    EPA notified Congress in the Residual
                                              control technology (MACT) standards                     conducting such review. As discussed                  Risk Report that the Agency intended to
                                              and must reflect the maximum degree of                  in more detail in section III.C of this               use the Benzene NESHAP approach in
                                              emission reductions of HAP achievable                   preamble, in light of the updated URE                 making CAA section 112(f) residual risk


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                                              determinations (EPA–453/R–99–001, p.                       consideration costs, energy, safety, and                             NESHAP does not include standards for
                                              ES–11). The EPA subsequently adopted                       other relevant factors. For more                                     room air emissions.
                                              this approach in its residual risk                         information on the statutory authority                                  In the chamber EtO sterilization
                                              determinations, and the United States                      for this rule, see 88 FR 22790, April 13,                            process, items to be sterilized are placed
                                              Court of Appeals for the District of                       2023.                                                                in a chamber and exposed to EtO gas at
                                              Columbia Circuit upheld the EPA’s                          B. What is the Commercial Sterilization                              a predetermined concentration,
                                              interpretation that CAA section 112(f)(2)                  Facilities source category and how does                              temperature, humidity, and pressure for
                                              incorporates the approach established in                   the NESHAP regulate HAP emissions                                    a period of time known as the dwell
                                              the Benzene NESHAP. See NRDC v.                            from the source category?                                            period. Following the dwell period, the
                                              EPA, 529 F.3d 1077, 1083 (D.C. Cir.                                                                                             EtO gas is evacuated from the chamber,
                                              2008).                                                        The EPA promulgated the EtO                                       and the sterilized materials are then
                                                                                                         Commercial Sterilization Facilities                                  aerated to remove EtO residuals from
                                                 The approach incorporated into the                      NESHAP on December 6, 1994 (59 FR
                                              CAA and used by the EPA to evaluate                                                                                             the product. After the aeration step,
                                                                                                         62585). The standards are codified at 40                             sterilized materials are typically moved
                                              residual risk and to develop standards                     CFR part 63, subpart O. The EtO
                                              under CAA section 112(f)(2) is a two-                                                                                           to a shipping/warehouse area for storage
                                                                                                         commercial sterilization industry                                    until they are ready to be distributed to
                                              step approach. In the first step, the EPA                  consists of facilities operating a
                                              determines whether risks are acceptable.                                                                                        the customer. Sterilizer process
                                                                                                         sterilizer process that uses EtO to                                  equipment and emission control
                                              This determination ‘‘considers all health                  sterilize or fumigate materials (e.g.,
                                              information, including risk estimation                                                                                          configurations vary across facilities. The
                                                                                                         medical equipment and supplies,                                      most common sterilizer process
                                              uncertainty, and includes a presumptive                    spices, and other miscellaneous
                                              limit on maximum individual lifetime                                                                                            equipment configuration includes a
                                                                                                         products and items). The source
                                              [cancer] risk (MIR) 13 of approximately                                                                                         separate sterilizer chamber, separate
                                                                                                         category covered by this MACT
                                              1-in-10 thousand.’’ (54 FR 38045). If                                                                                           aeration room, and chamber exhaust on
                                                                                                         standard currently includes 88 facilities.
                                              risks are unacceptable, the EPA must                          The original 1994 rulemaking for this                             the sterilizer chamber (also referred to
                                              determine the emissions standards                          source category set standards for EtO                                as a back-vent). Another common
                                              necessary to reduce risk to an acceptable                  emissions originating from three                                     configuration includes a combination
                                              level without considering costs. In the                    emission points: sterilization chamber                               sterilizer where the sterilization and
                                              second step of the approach, the EPA                       vents (SCV), aeration room vents (ARV),                              aeration steps of the process occur
                                              considers whether the emissions                            and chamber exhaust vents (CEV). The                                 within the same chamber.
                                              standards provide an ample margin of                       SCV evacuates EtO from the sterilization                                Another EtO sterilization process is
                                              safety to protect public health ‘‘in                       chamber following sterilization,                                     single-item sterilization where small
                                              consideration of all health information,                   fumigation, and any subsequent gas                                   individual items are sterilized in sealed
                                              including the number of persons at risk                    washes before the chamber door is                                    pouches. EtO gas is introduced into the
                                              levels higher than approximately 1-in-1                    opened. The ARV evacuates EtO-laden                                  sealed pouch, either by injection or use
                                              million, as well as other relevant factors,                air from the aeration room or chamber                                of an EtO ampule, and the sealed pouch
                                              including costs and economic impacts,                      that is used to facilitate off-gassing of                            is then placed in a chamber where the
                                              technological feasibility, and other                       the sterile product and packaging. The                               sterilization step and aeration step
                                              factors relevant to each particular                        CEV evacuates EtO-laden air from the                                 occur.
                                              decision.’’ Id. The EPA must promulgate                    sterilization chamber after the chamber                                 In 2006, we finalized a residual risk
                                              emission standards necessary to provide                    door is opened for product unloading                                 review and a technology review under
                                              an ample margin of safety to protect                       following the completion of sterilization                            CAA section 112(f)(2) and CAA section
                                              public health or determine that the                        and associated gas washes. Other                                     112(d)(6), respectively (71 FR 17712,
                                              standards being reviewed provide an                        sources of emissions within this source                              April 7, 2006). No changes were made
                                              ample margin of safety without any                         category are room air emissions from                                 to the EtO Commercial Sterilization
                                              revisions. After conducting the ample                      equipment used to charge EtO into                                    NESHAP in that action.
                                              margin of safety analysis, we consider                     sterilization chambers, as well as EtO                                  The current emission standards for
                                              whether a more stringent standard is                       residuals desorbing from sterilized                                  commercial sterilization facilities in 40
                                              necessary to prevent an adverse                            products within the facility, but the                                CFR part 63, subpart O are shown in
                                              environmental effect, taking into                          current EtO Commercial Sterilization                                 table 5:
                                                                                     TABLE 5—CURRENT ETO STANDARDS FOR COMMERCIAL STERILIZERS
                                                     Existing and new sources
                                                            subcategory                            Sterilization chamber vent                       Aeration room vent                                    Chamber exhaust vent
                                                        (in any consecutive                                    (SCV)                                       (ARV)                                               (CEV) 2
                                                         12-month period) 1

                                              Sources using 10 tons or more of EtO ..      99 percent emission reduction (see 40      1 part per million (ppm) maximum out-                       No control.
                                                                                             CFR 63.362(c)).                            let concentration or 99 percent emis-
                                                                                                                                        sion reduction (see 40 CFR
                                                                                                                                        63.362(d)).
                                              Sources using 1 ton or more of EtO but       99 percent emission reduction (see 40      No control ..............................................   No control.
                                                less than 10 tons of EtO.                    CFR 63.362(c)).
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                                              Sources using less than 1 ton of EtO ...     No control required; minimal record-       No control required; minimal record-                        No control required; minimal record-
                                                                                             keeping requirements apply (see 40         keeping requirements apply (see 40                          keeping requirements apply (see 40
                                                                                             CFR 63.367(c)).).                          CFR 63.367(c)).).                                           CFR 63.367(c)).).
                                                1 Determined on a rolling 12-month basis.
                                                2 The CEV emission source was included in the original standard but was later eliminated from the 40 CFR part 63, subpart O regulation in 2001.



                                                 13 Although defined as ‘‘maximum individual             estimated risk if an individual were exposed to the
                                              risk,’’ MIR refers only to cancer risk and reflects the    maximum level of a pollutant for a 70-year lifetime.



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                                                 For more information on the                                      sources of EtO. We then proposed                                        in subpart O, as well as the proposed
                                              commercial sterilization industry and                               tightening certain of these proposed                                    standards for the unregulated sources,
                                              the current standards under 40 CFR part                             standards and existing standards with                                   we proposed more stringent standards
                                              63, subpart O, see 88 FR 22790, April                               risk-based standards under CAA section                                  under CAA section 112(f)(2) to address
                                              13, 2023.                                                           112(f)(2) in order to protect public                                    risk for the following types of sources:
                                                 We note that hospital sterilizers are                            health with an ample margin of safety.                                     • SCVs at facilities where EtO use is
                                              regulated under a different NESHAP (40                              Finally, we proposed revisions to                                       at least 40 tpy,
                                              CFR part 63, subpart WWWWW), which                                  certain existing standards under CAA                                       • SCVs at facilities where EtO use is
                                              is not addressed in this rulemaking.14                              section 112(d)(6) based on our review of                                at least 10 tpy but less than 40 tpy,
                                              We are aware of the potential risk posed                            developments in practices, processes,                                      • SCVs at facilities where EtO use is
                                              by EtO emissions from this source                                   and control technologies for this source                                at least 1 tpy but less than 10 tpy, and
                                              category and will address hospital                                  category.                                                                  • Group 2 room air emissions at area
                                              sterilizers in a future rulemaking.                                    For the following emission sources                                   source facilities where EtO use is at
                                                                                                                  that were unregulated, we proposed to                                   least 20 tpy.
                                              C. What changes did we propose for the                              set standards under CAA sections                                           Finally, under CAA section 112(d)(6),
                                              Commercial Sterilization Facilities                                 112(d)(2)–(3) or (d)(5):                                                we proposed to revise standards for the
                                              source category in our April 13, 2023,                                 • SCVs, ARVs, and CEVs at facilities                                 following sources that were regulated in
                                              RTR proposal?                                                       where EtO use is less than 1 tpy,                                       the previous 40 CFR part 63, subpart O:
                                                On April 13, 2023, the EPA published                                 • ARVs and CEVs at facilities where                                     • SCVs at facilities where EtO use is
                                              a proposed rule in the Federal Register                             EtO use is at least 1 tpy but less than                                 at least 10 tpy,
                                              for the EtO Commercial Sterilization                                10 tpy,                                                                    • SCVs at facilities where EtO use is
                                              NESHAP, 40 CFR part 63, subpart O,                                     • CEVs at facilities where EtO use is                                at least 1 tpy but less than 10 tpy, and
                                              that took into consideration the RTR                                at least 10 tpy, and                                                       • ARVs at facilities where EtO use is
                                              analyses. In the proposed rule, we                                     • Room air emissions.                                                at least 10 tpy.
                                              proposed emission standards under                                      Next, based on our assessment of the                                    Table 6 summarizes the proposed
                                              CAA sections 112(d)(2)–(3) or (d)(5) for                            residual risk after considering the                                     section CAA section 112(d) and
                                              a number of unregulated emission                                    emission reductions from the standards                                  112(f)(2) standards.

                                                 TABLE 6—SUMMARY OF STANDARDS AFTER PROPOSED ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                                                                                 112(d)(5), 112(f)(2), AND 112(d)(6)
                                                  Emission source                   Existing or new?                            EtO use                                               Standards                                     CAA section

                                              SCV .............................   Existing and new ...           At least 40 tpy .....................         99.94 percent emission reduction ..............                  112(f)(2).
                                                                                                                 At least 10 tpy but less than                 99.94 percent emission reduction ..............                  112(f)(2).
                                                                                                                   40 tpy.
                                                                                                                 At least 10 tpy .....................         99.94 percent emission reduction ..............                  112(d)(6).
                                                                                                                 At least 1 but less than 10                   99.8 percent emission reduction ................                 112(f)(2) and
                                                                                                                   tpy.                                                                                                           112(d)(6).
                                                                                                                 Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
                                              ARV .............................   Existing ..................    At least 10 tpy .....................         99.6 percent emission reduction ................                 112(d)(6).
                                                                                                                 At least 1 but less than 10                   99 percent emission reduction ...................                112(d)(5).
                                                                                                                   tpy.
                                                                                                                 Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
                                                                                  New ........................   At least 10 tpy .....................         99.9 percent emission reduction ................                 112(d)(6).
                                                                                                                 At least 1 but less than 10                   99 percent emission reduction ...................                112(d)(5).
                                                                                                                   tpy.
                                                                                                                 Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
                                              CEV .............................   Existing and new ...           At least 10 tpy .....................         3.2E–4 lb/h ..................................................   112(d)(2) and (3).
                                                                                                                 At least 1 but less than 10                   99.9 percent emission reduction ................                 112(d)(5).
                                                                                                                   tpy.
                                                                                                                 Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
                                              Group 1 room air emis-              Existing and new ...           N/A .......................................   1.3E–3 lb/h 1 ...............................................    112(d)(2) and
                                                sions.                                                                                                                                                                            112(d)(3).
                                              Group 1 room air emis-              Existing and new ...           N/A .......................................   1.3E–3 lb/h 1 ...............................................    112(d)(5).
                                                sions at area
                                                sources.
                                              Group 2 room air emis-              Existing and new ...           N/A .......................................   2.8E–3 lb/h 1 ...............................................    112(d)(2) and
                                                sions at major                                                                                                                                                                    112(d)(3).
                                                sources.
                                              Group 2 room air emis-              Existing ..................    At least 20 tpy .....................         2.8E–3 lb/h 1 ...............................................    112(f)(2).
                                                sions at area                                                    Less than 20 tpy ..................           Follow either the Cycle Calculation Ap-                          112(d)(5).
                                                sources.                                                                                                         proach or the Bioburden/Biological Indi-
                                                                                                                                                                 cator Approach to achieve sterility assur-
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                                                                                                                                                                 ance in accordance with ISO
                                                                                                                                                                 11135:2014 (July 15, 2014) and ISO
                                                                                                                                                                 11138–1:2017 (March 2017).

                                                 14 Hospitals are defined at 40 CFR 63.10448 to                   supervision of licensed physicians and under                            whose primary purpose is to provide medical
                                              mean facilities that provide medical care and                       nursing care offered 24 hours per day. Hospitals                        services to humans or animals on an outpatient
                                              treatment for patients who are acutely ill or                       include diagnostic and major surgery facilities but                     basis.
                                              chronically ill on an inpatient basis under                         exclude doctor’s offices, clinics, or other facilities



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                                                 TABLE 6—SUMMARY OF STANDARDS AFTER PROPOSED ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                                                                           112(d)(5), 112(f)(2), AND 112(d)(6)—Continued
                                                  Emission source            Existing or new?                            EtO use                                               Standards                                    CAA section

                                                                           New ........................   N/A .......................................   2.8E–3 lb/h 1 ...............................................   112(d)(5).
                                                 1 To assure compliance with the emission limit, we proposed requiring each facility to operate areas with these emissions in accordance with
                                              the PTE requirements of EPA Method 204 of appendix M to 40 CFR part 51.


                                                 To demonstrate compliance with the                        which meant that the definition of an                                  standards for the previously unregulated
                                              emission limits, we proposed capture                         ‘‘affected source’’ at 40 CFR 63.2                                     sources:
                                              requirements. We also proposed that                          applied.15 We did not believe that this                                   • 99 percent reduction for new and
                                              facilities either monitor with an EtO                        was appropriate because a facility may                                 existing SCVs at facilities where EtO use
                                              CEMS or conduct initial and annual                           not route all emissions from a particular                              is less than 1 tpy,
                                              performance tests with continuous                            type of point source to the same control                                  • 99 percent reduction for new and
                                              parameter monitoring.                                        system, thus making compliance                                         existing ARVs facilities where EtO use
                                                 We also proposed the following                            demonstration with the standards                                       is at least 1 tpy less than 10 tpy,
                                              amendments:                                                  difficult. For SCVs, ARVs, and CEVs, we                                   • 99 percent reduction for new and
                                                 • Corrections and clarifications to                       are finalizing, as proposed, the affected                              existing ARVs at facilities where EtO
                                              regulatory provisions related to                             source definition as the individual vent.                              use is less than 1 tpy,
                                              emissions during periods of SSM,                             For Group 1 and Group 2 room air                                          • 99.94 percent reduction for new
                                              including removing general exemptions                        emissions, we are finalizing, as                                       and existing CEVs at major source
                                              for periods of SSM and adding work                           proposed, the affected source definition                               facilities,
                                              practice standards for periods of SSM                        as the collection of all room air                                         • 99 percent emission reduction for
                                              where appropriate.                                           emissions for each group at any                                        new and existing CEVs at area source
                                                 • Revisions to monitoring and                             sterilization facility. Group 1 room air                               facilities,
                                              performance testing requirements and                         emissions are defined as emissions from                                   • 97 percent reduction for new and
                                              addition of provisions for electronic                        indoor EtO storage, EtO dispensing,                                    existing Group 1 room air emissions at
                                              reporting of performance test results and                    vacuum pump operations, and pre-                                       major source facilities,
                                              reports, performance evaluation reports,                                                                                               • 80 percent emission reduction for
                                                                                                           aeration handling of sterilized material.
                                              and compliance reports.                                                                                                             new and existing Group 1 room air
                                                                                                           Group 2 room air emissions are defined
                                                 • Requiring all area source facilities                    as emissions from post-aeration
                                                                                                                                                                                  emissions at area source facilities,
                                              to obtain a title V operating permit, and                                                                                              • 86 percent reduction for new and
                                                                                                           handling of sterilized material.
                                                 • Compliance requirements for                                Section IV.A.3 of this preamble
                                                                                                                                                                                  existing Group 2 room air emissions at
                                              facilities using combined emission                                                                                                  major source facilities, and
                                                                                                           provides a summary of key comments
                                              streams.                                                                                                                               • 80 percent emission reduction for
                                                                                                           we received on the affected source
                                                                                                                                                                                  new Group 2 room air emissions at area
                                              III. What is included in this final rule?                    definitions and our responses.
                                                                                                                                                                                  source facilities.
                                                 This action finalizes the EPA’s                           B. What are the final rule amendments                                     As discussed in more detail below in
                                              determinations pursuant to the RTR                           pursuant to CAA sections 112(d)(2),                                    section IV.C.3 of this notice, we are not
                                              provisions of CAA section 112 for the                        112(d)(3), and 112(d)(5) for the                                       finalizing any of the alternative
                                              Commercial Sterilization Facilities                          Commercial Sterilization Facilities                                    emission limits for percent reduction
                                              source category and amends the EtO                           source category?                                                       standards on which we had solicited
                                              Commercial Sterilization NESHAP                                 We are finalizing EtO emissions                                     comment as part of the proposed
                                              based on those determinations. This                          standards pursuant to CAA sections                                     rulemaking. Further, based on
                                              action also finalizes other changes to the                   112(d)(2)–(3) and 112(d)(5) for major                                  comments received on the proposed
                                              NESHAP, including adding                                     and area sources that were previously                                  rulemaking, we are finalizing a revised
                                              requirements and clarifications for                          unregulated. Please note that the final                                best management practice (BMP) as the
                                              periods of SSM; requiring the use of                         standards for some of these sources are                                GACT standard under CAA section
                                              CEMS to demonstrate compliance for                           further tightened pursuant to CAA                                      112(d)(5) for existing Group 2 room air
                                              facilities where EtO use is at least 100                     section 112(f)(2), as shown in table 1 in                              emissions at area sources. The BMP
                                              pounds (lb)/year; adding provisions for                      section I.A above and discussed in more                                requires the in-chamber EtO
                                              electronic reporting of performance test                     detail below in sections III.C and IV.16                               concentration to be lowered to 1 part
                                              results and reports, performance                                Pursuant to CAA section 112(d)(2)–(3)                               per million (ppm) before the chamber
                                              evaluation reports, and compliance                           or 112(d)(5), we are establishing in this                              can be opened, as opposed to the
                                              reports; and other minor editorial and                       final rule the following emission                                      proposed measure that would have
                                              technical changes. This action also                                                                                                 required these facilities to follow either
                                              reflects several changes to the April                           15 40 CFR 63.2 defines an affected source as ‘‘the                  the Cycle Calculation Approach or the
                                              2023 proposal in consideration of                            collection of equipment, activities, or both within                    Bioburden/Biological Indicator
                                              comments received during the public                          a single contiguous area and under common control                      Approach to achieve sterility assurance
                                                                                                           that is included in a section 112(c) source category                   in accordance with International
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                                              comment period described in section IV                       or subcategory for which a section 112(d) standard
                                              of this preamble.                                            or other relevant standard is established pursuant                     Organization for Standardization (ISO)
                                                                                                           to section 112 of the Act.’’                                           11135:2014 and ISO 11138–1:2017. In
                                              A. What are the final rule amendments                           16 These sources include CEVs at area source                        addition, we are finalizing, as proposed,
                                              addressing the affected source                               facilities where EtO use is at least 60 tpy, Group 1                   a requirement that facilities operate all
                                              definitions?                                                 room air emissions at area source facilities where
                                                                                                                                                                                  areas with room air emissions subject to
                                                                                                           EtO use is at least 40 tpy, and Group 2 room air
                                                The previous subpart O did not                             emissions at area source facilities where EtO use is                   an emission standard in accordance
                                              contain definitions for affected sources,                    at least 4 tpy.                                                        with the PTE requirements of EPA


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                                              Method 204, irrespective of which CAA                      • 98 percent reduction for Group 2                 comment on as part of the proposed
                                              section 112 authority is invoked. Lastly,               room air emissions at area sources                    rulemaking. As part of the technology
                                              we are finalizing the removal of the 1                  facilities where EtO use is at least 20               review, we also identified regulatory
                                              ppm alternative for ARVs at facilities                  tpy, and                                              gaps (previously unregulated processes
                                              where EtO use is at least 10 tpy. Section                  • 80 percent reduction for Group 2                 or pollutants) and are establishing new
                                              IV.B of this preamble provides in more                  room air emissions at area source                     standards to fill those gaps as described
                                              detail the standards we are finalizing                  facilities where EtO use is at least 4 tpy            in section III.B of this preamble. Section
                                              pursuant to CAA section 112(d)(2),                      but less than 20 tpy.                                 IV.D.3 of this preamble provides a
                                              112(d)(3), and 112(d)(5), our rationales                   We are not finalizing alternative                  summary of key comments we received
                                              for the final standards and for changes                 emission limits for percent reduction                 regarding the technology review and our
                                              since proposal, and a summary of key                    standards for the same reasons                        responses.
                                              comments we received on the proposed                    discussed in section III.B of this
                                                                                                                                                            E. What are the final rule amendments
                                              standards and our responses.                            preamble. Further, based on comments                  addressing emissions during periods of
                                              C. What are the final rule amendments                   received during the proposed                          startup, shutdown, and malfunction?
                                              based on the risk review for the                        rulemaking, we are not finalizing any of
                                                                                                      the work practice standards that were                    In its 2008 decision in Sierra Club v.
                                              Commercial Sterilization Facilities                                                                           EPA, 551 F.3d 1019 (D.C. Cir. 2008), the
                                              source category?                                        proposed for facilities where the MIR
                                                                                                      remained greater than 100-in-1 million                United States Court of Appeals for the
                                                 This section introduces the final                    after the imposition of requirements                  District of Columbia Circuit vacated
                                              amendments to the Commercial                            under ‘‘Control Option 1’’.17 These                   portions of two provisions in our CAA
                                              Sterilization Facilities NESHAP being                   standards would have required facilities              section 112 regulations governing the
                                              promulgated pursuant to CAA section                     to limit their Group 2 room air                       emissions of HAP during periods of
                                              112(f). As in the proposal, we                          emissions to a maximum volumetric                     SSM. Specifically, the court vacated the
                                              determined that the risks for this source               flow rate of 2,900 dry standard cubic                 SSM exemption contained in 40 CFR
                                              category were unacceptable under the                    feet per minute (dscfm) and a maximum                 63.6(f)(1) and 40 CFR 63.6(h)(1), holding
                                              previous provisions, and we are making                  EtO concentration of 30 parts-per-billion             that under section 302(k) of the CAA,
                                              a final determination of unacceptability                by volume (ppbv).                                     emissions standards or limitations must
                                              as part of this final action, warranting                   Section IV.C.3 of this preamble                    be continuous in nature and that the
                                              necessary emission reductions as                        provides a summary of key comments                    SSM exemption violates the CAA’s
                                              directed under the provisions we are                    we received regarding the risk review                 requirement that some section 112
                                              finalizing pursuant to CAA sections                     and our responses.                                    standards apply continuously. We have
                                              112(d)(2), 112(d)(3), and 112(d)(5) in                                                                        eliminated the SSM exemption in this
                                              this rulemaking. When risks are                         D. What are the final rule amendments                 rule. Consistent with Sierra Club v.
                                              unacceptable after considering the                      based on the technology review for the                EPA, the EPA has established standards
                                              emission reductions from the standards                  Commercial Sterilization Facilities                   in this rule that apply at all times. We
                                              in subpart O, we must determine the                     source category?                                      have also revised table 6 in subpart O
                                              emissions standards necessary to reduce                    We determined that there are                       (the General Provisions Applicability
                                              risk to an acceptable level. As such, we                developments in practices, processes,                 Table) in several respects as is
                                              are promulgating final amendments to                    and control technologies that warrant                 explained in section III.G.1 of the
                                              the Commercial Sterilization Facilities                 revisions to the previous standards for               proposal preamble (88 FR 22790). For
                                              NESHAP pursuant to CAA section                          this source category. Therefore, to                   example, we have eliminated and
                                              112(f)(2) that will reduce risk to an                   satisfy the requirements of CAA section               revised certain recordkeeping that is
                                              acceptable level and will also provide                  112(d)(6), we are revising the standards              related to the SSM exemption as
                                              an ample margin of safety to protect                    to include, as in the proposed rule:                  described in detail in the proposed rule
                                              public health (see section IV.C of the                     • 99.8 percent reduction for SCVs at               and summarized again in section IV.E.1
                                              preamble for further discussion). Based                 facilities where EtO use is at least 1 tpy            of this preamble.
                                              on comments received during the                         but less than 10 tpy,                                    In establishing standards in this rule,
                                              proposed rulemaking, we are finalizing                     • 99.6 percent reduction for existing              we have considered startup and
                                              the following EtO emissions standards                   ARVs at facilities where EtO use is at                shutdown periods and, for the reasons
                                              under CAA section 112(f)(2):                            least 10 tpy, and                                     explained in section III.G.1 of the
                                                 • 99.99 percent reduction for SCVs at                   • 99.9 percent reduction for new                   proposal preamble and section IV.E of
                                              facilities where EtO use is at least 30                 ARVs at facilities where EtO use is at                this preamble, have not established
                                              tpy,                                                    least 10 tpy.                                         alternate standards for those periods.
                                                 • 99.9 percent reduction for SCVs at                                                                          The EPA is also finalizing provisions
                                                                                                         Based on comments received during
                                              facilities where EtO use is at least 10 tpy                                                                   related to malfunctions as proposed.
                                                                                                      the proposed rulemaking, we are
                                              but less than 30 tpy,                                                                                         Periods of startup, normal operations,
                                                                                                      finalizing a 99.9 percent emission
                                                 • 99.8 percent reduction for SCVs at                 reduction standard for SCVs at facilities
                                                                                                                                                            and shutdown are all predictable and
                                              facilities where EtO use is at least 1 tpy                                                                    routine aspects of a source’s operations.
                                                                                                      where EtO use is at least 10 tpy, which
                                              but less than 10 tpy,                                                                                         Malfunctions, in contrast, are neither
                                                                                                      is different from the 99.94 percent
                                                 • 99.9 percent reduction for ARVs at                 emission reduction standard that was
                                                                                                                                                            predictable nor routine. Instead, they
                                              facilities where EtO use is at least 30                                                                       are, by definition, sudden, infrequent,
                                                                                                      proposed (see section IV.D.3.a of this
                                                                                                                                                            and not reasonably preventable failures
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                                              tpy,                                                    document for further discussion). We
                                                 • 99.9 percent reduction for CEVs at                 are not finalizing any of the alternative
                                                                                                                                                            of emissions control, process, or
                                              area source facilities where EtO use is                                                                       monitoring equipment. (40 CFR 63.2)
                                                                                                      emission limits for percent reduction
                                              at least 60 tpy,                                                                                              (Definition of malfunction). The EPA
                                                                                                      standards that we had solicited
                                                 • 98 percent reduction for Group 1                                                                         interprets CAA section 112 as not
                                              room air emissions at area sources                        17 Refer to section III.D.1.b of the proposal       requiring emissions that occur during
                                              facilities where EtO use is at least 40                 preamble (88 FR 22790, April 13, 2023) for further    periods of malfunction to be factored
                                              tpy,                                                    discussion of Control Option 1.                       into development of CAA section 112


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                                              standards. This reading has been upheld                 Performance Specification 19 and QA                   Requirements for New Source
                                              as reasonable by the D.C. Circuit in U.S.               Procedure 7.                                          Performance Standards (NSPS) and
                                              Sugar Corp. v. EPA, 830 F.3d 579, 606–                                                                        National Emission Standards for
                                                                                                      2. Electronic Reporting
                                              610 (2016).                                                                                                   Hazardous Air Pollutants (NESHAP)
                                                Section IV.E.3 of this preamble                          To increase the ease and efficiency of             Rules, which is available in the docket
                                              provides a summary of key comments                      data submittal and data accessibility, we             for this rulemaking (see Docket Item No.
                                              we received on the SSM provisions and                   are finalizing, as proposed, a                        EPA–HQ–OAR–2019–0178–0398).
                                              our responses.                                          requirement that owners or operators of
                                                                                                      commercial sterilization facilities                   3. Title V Permitting
                                              F. What other changes have been made                    submit compliance reports (being                        Because of the lack of other Federal
                                              to the NESHAP?                                          finalized at 40 CFR 63.366(b) and (c)),               requirements under the CAA that
                                                This rule also finalizes, as proposed,                performance test reports (being finalized             commercial sterilization facilities are
                                              revisions to several other requirements                 at 40 CFR 63.366(f)), and performance                 subject to, as well as the robust
                                              in the Commercial Sterilization                         evaluation reports (being finalized at 40             monitoring and reporting requirements
                                              Facilities NESHAP. We describe these                    CFR 63.366(g)) electronically through                 of the final rule, we are not finalizing a
                                              revisions in this section as well as other              the EPA’s Central Data Exchange (CDX)                 requirement for area source facilities
                                              proposed provisions that have changed                   using the Compliance and Emissions                    subject to subpart O to obtain a title V
                                              since proposal.                                         Data Reporting Interface (CEDRI). The                 permit from the delegated authority in
                                                                                                      final rule requires that performance test             which the source is located.
                                              1. Demonstrating Compliance                             results collected using test methods that
                                                                                                      are supported by the EPA’s Electronic                 4. Combined Emission Streams
                                                 In the majority of instances,
                                              parametric monitoring is used to good                   Reporting Tool (ERT) as listed on the                    To increase the ease and efficiency of
                                              effect as an ongoing means of ensuring                  ERT website 19 at the time of the test be             complying with the revised NESHAP,
                                              that these devices continue to get                      submitted in the format generated                     we are finalizing, based on comments
                                              necessary emission reductions.18                        through the use of the ERT and that                   received during the proposed
                                              However, given the nature of EtO, in                    other performance test results be                     rulemaking, alternative compliance
                                              which small amounts can have large                      submitted in portable document format                 approaches for combined emission
                                              risk impacts, parametric monitoring                     (PDF) using the attachment module of                  streams. For these streams, facilities will
                                              alone will not be sensitive enough to                   the ERT. Similarly, performance                       now be allowed to demonstrate
                                              detect very small fluctuations in EtO                   evaluation results of CEMS measuring                  compliance with a mass emission limit
                                              concentration. Based on comments                        relative accuracy test audit pollutants               that is determined based on the
                                              received during the proposed                            that are supported by the ERT at the                  emission standards to which the
                                              rulemaking, the EPA is finalizing a                     time of the test must be submitted in the             component streams are subject, as well
                                              requirement to use EtO CEMS for                         format generated through the use of the               as characteristics specific to those
                                              demonstrating compliance. However,                      ERT and other performance evaluation                  facilities. In addition, we are finalizing
                                              facilities where EtO use is less than 100               results be submitted in PDF using the                 an option for owners and operators to
                                              lb/year will have the option to use EtO                 attachment module of the ERT. For                     demonstrate compliance with a site-
                                              CEMS or performance testing and                         compliance reports, the final rule                    wide emission limitation, as opposed to
                                              parametric monitoring to demonstrate                    requires that owners or operators use                 demonstrating compliance for each
                                              compliance. Based on comments                           the appropriate spreadsheet template to               individual and combined emission
                                              received during the proposed                            submit information to CEDRI. The final                stream.
                                              rulemaking, we are promulgating the                     version of the template for these reports
                                                                                                      is in the docket and will be located on               5. Minor Clarifications and Corrections
                                              following requirements:
                                                 • Quarterly reporting of EtO CEMS                    the CEDRI website.20 Furthermore, we                     We are including several additional
                                              data,                                                   are finalizing as proposed provisions                 minor clarifying edits in the final rule
                                                 • Minimum data availability of 90                    that allow facility operators the ability             based on comments received during the
                                              percent for EtO CEMS, and                               to seek extensions for submitting                     public comment period. The comments
                                                 • Use of either outlet volumetric flow               electronic reports for circumstances                  and our specific responses to these
                                              rate monitors or differential pressure                  beyond the control of the facility, i.e.,             items can be found in the document,
                                              monitors to demonstrate continuous                      for a possible outage in the CDX or                   Summary of Public Comments and
                                              compliance with EPA Method 204.                         CEDRI or for a force majeure event in                 Responses for the 2024 Risk and
                                                                                                      the time just prior to a report’s due date,           Technology Review for Commercial
                                                 Based on comments received during
                                                                                                      as well as the process to seek such an                Sterilization Facilities, available in the
                                              the proposed rulemaking, we are not
                                                                                                      extension.                                            docket for this rulemaking.
                                              finalizing a requirement for the mass of
                                                                                                         For a more detailed discussion of
                                              EtO being routed to a control device                                                                          G. What are the effective and
                                                                                                      these final amendments to the
                                              from an SCV to be determined through                                                                          compliance dates of the standards?
                                                                                                      Commercial Sterilization Facilities
                                              inlet testing. Based on comments
                                                                                                      NESHAP, see section IV.G.2.g of the                      The revisions to the standards being
                                              received during the proposed
                                                                                                      proposal preamble (88 FR 22790, April                 promulgated in this action are effective
                                              rulemaking, we are finalizing revisions
                                                                                                      13, 2023), as well as section VI.B below              on April 5, 2024. The compliance date
                                              to parametric monitoring requirements,
                                                                                                      on compliance with the Paperwork                      for the standards promulgated pursuant
                                              and we are finalizing technical edits to
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                                                                                                      Reduction Act. For a more thorough                    to CAA section 112(f)(2) for the
                                                                                                      discussion of electronic reporting, see               following existing sources is April 6,
                                                18 Parametric monitoring is an approach that

                                              measures one or more key indicators of process
                                                                                                      the memorandum, Electronic Reporting                  2026:
                                              operation or emission control device operation,
                                                                                                        19 https://www.epa.gov/electronic-reporting-air-
                                                                                                                                                               • SCVs at facilities where EtO use is
                                              typically on a continuous basis. The parameters are                                                           at least 1 tpy,
                                              known to affect emission levels associated with the     emissions/electronic-reporting-tool-ert.
                                              process or the control efficiency of the source’s air     20 https://www.epa.gov/electronic-reporting-air-       • ARVs at facilities where EtO use is
                                              pollution control device.                               emissions/cedri.                                      at least 30 tpy,


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                                                 • CEVs at area source facilities where               Based on this analysis, we find that the                section 112(f)(2). As with standards
                                              EtO use is at least 60 tpy,                             process of bringing a facility into                     promulgated under section 112(d)(2)–
                                                 • Group 1 room air emissions at area                 compliance with the PTE requirements                    (3), 112(d)(5) and 112(d)(6), in most
                                              source facilities where EtO use is at                   of EPA Method 204, as well as installing                instances compliance with the section
                                              least 40 tpy, and                                       and verifying additional emission                       112(f)(2) standards will require sources
                                                 • Group 2 room air emissions at area                 controls, can take approximately a year                 to plan, purchase, and install equipment
                                              source facilities where EtO use is at                   from permit submission to project                       for EtO control. For example, for SCVs
                                              least 4 tpy.                                            completion. However, this estimate does                 at facilities where EtO use is at least 30
                                                 The compliance date for the standards                not account for the time needed to                      tpy, if an existing affected source
                                              promulgated pursuant to CAA section                     design and plan before the initial permit               currently does not achieve 99.99 percent
                                              112(d)(2)–(3), 112(d)(5) or 112(d)(6) for               application is submitted, nor for the                   control of EtO emissions and a new
                                              the following existing sources is April 5,              time needed to avoid impacts on                         control system is needed to meet that
                                              2027:                                                   medical device supply chains, to                        limit, the facility will need time to
                                                 • SCVs at facilities where EtO use is                procure control devices from a limited                  properly engineer the project, obtain
                                              less than 1 tpy,                                        number of vendors, and to account for                   capital authorization and funding,
                                                 • ARVs at facilities where EtO use is                the other complexities identified below.                procure the equipment, construct the
                                              less than 30 tpy,                                          • The process of redesigning a facility              equipment, start up the equipment, set
                                                 • CEVs at major source facilities,                   or installing additional controls will                  up new software, develop operating
                                                 • CEVs at area source facilities where               require some reduction in sterilization                 procedures, and train operators on the
                                              EtO use is less than 60 tpy,                            capacity. Moreover, the process of                      new equipment. The additional factors
                                                 • Room air emissions at major source                 coming into compliance with the                         identified above, such as avoiding
                                              facilities,                                             standards may require multiple facilities               impacts to medical device supply
                                                 • Group 1 room air emissions at area                 to reduce their sterilization capacity                  chains and securing control devices
                                              source facilities where EtO use is less                 simultaneously. Based on comments                       from a limited number of vendors, apply
                                              than 40 tpy, and                                        received during the proposed                            similarly to section 112(f)(2) standards
                                                 • Group 2 room air emissions at area                 rulemaking, the average reduction in                    as to standards promulgated under
                                              source facilities where EtO use is less                 capacity during the re-design and                       section 112(d)(2)–(3), 112(d)(5) and
                                              than 4 tpy.                                             installation period can range from 10                   112(d)(6).
                                                 As required by CAA section 112(i)(1),                percent 21 to 20 percent.22 In addition,                   If facilities commence work on these
                                              new sources must comply with each                       there is already strain on the medical                  emissions reduction efforts immediately
                                              applicable standard immediately upon                    device supply chain, and it is difficult                after this rule becomes effective, we
                                              its effective date, which is April 5, 2024,             for most facilities to absorb any                       believe that sources will be able to
                                              or upon startup, whichever is later.                    additional demand for sterilized                        comply with the standards in this final
                                                 The compliance schedules for existing                product. Three years is needed to ensure                rule within the two year compliance
                                              sources have changed since proposal.                    that owners and operators can come into                 window set by § 112(f)(4), without
                                              We had proposed an 18-months                            compliance with the emissions                           substantial interruption in operations.
                                              compliance deadline for all of the                      standards while at the same time                           Specifically, we offer the following
                                              proposed standards for existing sources.                minimizing any potential impacts to the                 timeline as a general guide to
                                              Based on the comments received, we                      medical device supply chain, for which                  completing the necessary upgrades in a
                                              have determined that 18 months is not                   reliability is important to protect public              timely manner:
                                              a sufficient period for sources to comply               health.                                                    • Step 1: Secure vendors for facility
                                              with the CAA section 112(d)(2)–(3),                       • There are a limited number of                       retrofits, control devices, EtO CEMS,
                                              112(d)(5) and 112(d)(6) standards for                   vendors that specialize in the redesign                 and any other equipment and services
                                              existing sources, for the following                     of facilities to be compliant with the                  that will be needed in order to comply
                                              reasons:                                                PTE requirements of EPA Method 204.                     with the NESHAP.
                                                 • Most commercial sterilization                      In addition, there are a limited number                    • Step 2: Work with vendors on (1)
                                              facilities were not initially designed to               of control technology vendors that                      any new facility designs that will be
                                              be compliant with the PTE requirements                  supply the types of advanced control                    required in order to meet the PTE
                                              of EPA Method 204. We have learned                      systems that the EPA expects will be                    requirements of EPA Method 204, (2)
                                              from the comments received that for                     necessary for facilities to comply with                 any new control system designs that
                                              these facilities, the capture requirements              the final standards. Three years is                     will be required in order to meet the
                                              associated with the emission reduction                  needed to ensure that all owners and                    emission standards, (3) a schedule to
                                              standards for Group 1 and Group 2 room                  operators can receive the necessary                     ensure timely compliance with the
                                              air emissions in the final rule will likely             services and have the proper equipment                  NESHAP, and (4) purchase of the
                                              require a redesign of a portion if not all              in place by the compliance date.                        equipment that will be required in order
                                              of the facility. Many facilities will also                For the same reasons explained above,                 to meet items (1) and (2), along with EtO
                                              need to purchase additional equipment                   existing sources will need more than the                CEMS.
                                              (e.g., fans, transformers, variable                     proposed 18 months to comply with the                      • Step 3: Submit a permit application
                                              frequency drives, etc.) to meet the                     standards promulgated under CAA                         to the relevant permitting authority.
                                              capture requirements. Moreover,                                                                                    • Step 4: Complete the necessary
                                              compliance with the final emission                         21 Commenter provided the following statement:
                                                                                                                                                              facility retrofits, control device
                                              standards will likely require the                       ‘‘For example, a 10% reduction in capacity across
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                                                                                                      the 83 commercial sterilizers in the U.S. implies
                                                                                                                                                              installations, and EtO CEMS
                                              installation of additional control                      that an additional 8 sterilization facilities will be   installations.
                                              devices. We have reviewed the time that                 required to maintain existing throughput’’ (see            • Step 5: Test the control systems and
                                              it has taken for previous projects of this              Docket Item No. EPA–HQ–OAR–2019–0178–0618).             facility air handling systems in order to
                                                                                                         22 Commenter provided the following statement:
                                              nature to be completed, from                                                                                    ensure that the NESHAP is being met.
                                                                                                      ‘‘During . . . upgrades, EtO sterilization capacity
                                              submission of the initial State or local                was reduced by more than 20 percent as emissions
                                                                                                                                                                 We recognize that this is a significant
                                              permit application to installation of the               control equipment was installed and tested.’’ (see      undertaking for the industry, and we
                                              continuous compliance mechanisms.                       Docket Item No. EPA–HQ–OAR–2019–0178–0566).             encourage facilities to engage in these


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                                              steps as early as practicable, as opposed               A. Amendments Addressing the                          sources. Furthermore, the commenters
                                              to delaying action until closer to the end              Affected Source Definitions                           do not provide any suggestions on
                                              of the compliance period.                                                                                     which control system outlets should be
                                                                                                      1. What amendments did we propose to
                                                 Although we believe sources that                                                                           considered when defining affected
                                                                                                      address the affected source definitions?
                                                                                                                                                            sources. The most straightforward
                                              follow this timeline will be able to                       For SCVs, ARVs, and CEVs, we                       approach is to define the affected source
                                              comply with these standards within two                  proposed to define the affected source                as the emission source itself and to have
                                              years, to minimize any potential impact                 as the individual vent. For Group 1 and               owners and operators decide how best
                                              to the medical device supply chain, we                  Group 2 room air emissions we                         to combine and control emissions from
                                              are allowing up to three years for                      proposed to define the affected source                affected sources at their facilities. With
                                              existing sources to comply with section                 as the collection of all room air                     respect to defining the affected source as
                                              112(d)(2)–(3), 112(d)(5) and 112(d)(6)                  emissions for each group at any                       the sterilization facility as a whole,
                                              standards, the maximum timeframe                        sterilization facility. More information              there is very limited data available
                                              authorized under CAA section                            concerning the affected source                        where a performance test has been
                                              112(i)(3)(A). Further, CAA section                      definitions is in section III.A. of the               conducted for an entire facility.
                                              112(i)(3)(B) and EPA’s regulation at 40                 proposal preamble (88 FR 22790, April                 Furthermore, defining the affected
                                              CFR 63.6(i)(4)(i)(A) authorize States                   13, 2023).                                            source as the sterilization facility would
                                              with delegated authority to implement                   2. How did the affected source                        require a compliance mechanism that
                                              and enforce this NESHAP to grant an                     definitions change since proposal?                    some facilities may find unnecessarily
                                              existing source an additional year to                                                                         complicated, given that compliance
                                                                                                         We are finalizing the affected source              demonstration has typically been
                                              comply with section 112(d) standards, if
                                                                                                      definitions as proposed (88 FR 22790,                 conducted on a source-by-source basis.
                                              such additional period is necessary for
                                                                                                      April 13, 2023).                                      It is not clear and the commenter does
                                              the installation of controls.23 In
                                              addition, for each standard, owners and                 3. What key comments did we receive                   not provide any explanation on how to
                                              operators will have 180 days after the                  on the affected source definitions and                base an affected source definition on
                                              end of the relevant compliance period to                what are our responses?                               destruction efficiency.
                                                                                                                                                               Lastly, regarding the comment that
                                              begin demonstrating compliance with                        Comment: Two commenters suggested                  the definition of affected sources for
                                              that standard. See 40 CFR 63.7(a)(2).                   that the definition of an affected source             point sources is disproportionally
                                                 Lastly, if more time is needed to                    should be based on control system                     favorable to facilities with smaller
                                              comply with any standard in this final                  outlets, stating that when emission                   capacity or with multiple individual
                                              rule, CAA section 112(i)(4) provides that               streams are combined, the limit must be               vents, this is not an issue in the final
                                              ‘‘The President may exempt any                          based on the actual achievable rate of                rule. All of the emission standards in
                                              stationary source from compliance with                  control with further consideration for                this final rule are in a percent reduction
                                              any standard or limitation under this                   the modeled risk of the facility. One                 format, which is the same regardless of
                                              section for a period of not more than 2                 commenter suggested that the affected                 facility size or how many vents are in
                                              years if the President determines that                  source should be defined as the                       place. Therefore, concerns regarding
                                                                                                      sterilization facility as a whole, and                ‘‘emission rate ceilings’’ are no longer
                                              the technology to implement such
                                                                                                      another commenter stated the affected                 relevant.
                                              standard is not available and that it is
                                                                                                      source definition(s) should consider                     Comment: One commenter stated that
                                              in the national security interests of the
                                                                                                      destruction efficiency. Additionally,                 there is unnecessary complexity to the
                                              United States to do so. An exemption                    commenters expressed concerns that the
                                              under this paragraph may be extended                                                                          proposed definitions of Group 1 and
                                                                                                      affected source definitions for point                 Group 2 room air emissions due to the
                                              for 1 or more additional periods, each                  sources (i.e., SCVs, ARVs, and CEVs)                  variability in size and facility
                                              period not to exceed 2 years. The                       would disproportionately favor facilities             configuration, particularly as they apply
                                              President shall report to Congress with                 with smaller capacity and facilities with             to the proposed format of the emission
                                              respect to each exemption (or extension                 multiple individual vents regardless of               standards for these sources (i.e., lb/h).
                                              thereof) made under this paragraph.’’                   size. Specifically, one commenter stated              The commenter also stated that the
                                              IV. What is the rationale for our final                 that a facility with multiple individual              definitions favor facilities which have
                                              decisions and amendments for the                        vents would have a higher ‘‘emission                  smaller capacity and noted that
                                              Commercial Sterilization Facilities                     rate ceiling’’ with respect to mass rate              individual facility characteristics must
                                              source category?                                        (i.e., lb/h) emission limits.                         be considered for Group 1 and Group 2
                                                                                                         Response: We disagree with the                     emissions. Specifically, the commenter
                                                For each issue, this section provides                 commenters’ suggestion that the                       stated that emission rates should be
                                              a description of what we proposed and                   definition of an affected source should               based on technological feasibility to
                                              what we are finalizing for the issue, the               be based on control system outlets or                 control emissions, including feasibility
                                              EPA’s rationale for the final decisions                 the sterilization facility as a whole.                limitations regarding low inlet
                                              and amendments, and a summary of key                    There are many different ways in which                concentrations.
                                              comments and responses. For all                         emission sources can be combined and                     Response: We disagree with one
                                              comments not discussed in this                          controlled at commercial sterilization                commenter’s assertion that there is
                                              preamble, comment summaries and the                     facilities. If affected source definitions            unnecessary complexity to the proposed
                                                                                                      were based on control system outlets, it              definitions of Group 1 and Group 2
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                                              EPA’s responses can be found in the
                                                                                                      is not clear which outlets (and, by                   room air emissions due to the variability
                                              comment summary and response
                                                                                                      extension, emission source                            in size and facility configuration. All
                                              document available in the docket.
                                                                                                      combinations) would be selected and                   sterilization facilities, regardless of size
                                                23 This flexibility has been available since the
                                                                                                      what the criteria for selecting those                 or configuration, follow the same basic
                                              NESHAP was first promulgated (59 FR 62585,
                                                                                                      outlets would be. It is not feasible to set           procedure: sterilization and its
                                              December 6, 1994) and continues to be available in      an emission standard for every                        associated activities (e.g., EtO storage
                                              the current NESHAP.                                     conceivable combination of emission                   and dispensing, vacuum pump


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                                              operation, handling of pre-aeration                     source category. More information                        • 1.3E–3 lb/h emission limit for new
                                              sterilized product), aeration, and                      concerning the amendments we are                      and existing Group 1 room air emissions
                                              shipping. Group 1 room air emissions                    finalizing for affected source definitions            at area source facilities, and
                                              simply cover all activities that occur                  is in the preamble to the proposed rule                  • 2.8E–3 lb/h emission limit for new
                                              prior to aeration, and Group 2 room air                 and in the comments and our specific                  Group 2 room air emissions at area
                                              emissions cover all activities that occur               responses to the comments in the                      source facilities.
                                              after aeration. Combining room air                      document, Summary of Public                              These are emissions standards that
                                              emissions based on whether they occur                   Comments and Responses for the Risk                   reflect the use of generally available
                                              before or after aeration is a clear way to              and Technology Review for Commercial                  control technologies. For more
                                              defining room air emissions affected                    Sterilization Facilities, available in the            information, see section III.B of the
                                              sources. It also reflects the most                      docket for this rulemaking. Therefore,                proposal preamble (88 FR 22790, April
                                              common controlled room air                              we are finalizing the affected source                 13, 2023).
                                              configuration that we have observed.                    definitions as proposed.                                 For existing Group 2 room air
                                              With respect to considering individual                  B. Amendments Pursuant to CAA                         emissions at area source facilities,
                                              facility characteristics The simplest                   Sections 112(d)(2), 112(d)(3), and                    pursuant to CAA section 112(d)(5), we
                                              breakdown of controlled room air                        112(d)(5) for the Commercial                          proposed a requirement for facilities to
                                              emissions that we have observed                         Sterilization Facilities Source Category              follow either the Cycle Calculation
                                              involves capturing and routing all                                                                            Approach or the Bioburden/Biological
                                              emissions from post-aeration handling                   1. What did we propose pursuant to                    Indicator Approach to achieve sterility
                                              of sterilization material to one control                CAA sections 112(d)(2), 112(d)(3), and                assurance in accordance with ISO
                                              system, and then capturing and routing                  112(d)(5) for the Commercial                          11135:2014 and ISO 11138–1:2017. This
                                              all other room air emission sources (i.e.,              Sterilization Facilities source category?             is a BMP that would reduce EtO use per
                                              Group 1 room air emissions) to another                     We proposed to establish standards                 sterilization cycle (i.e., pollution
                                              control system. It is important to define               under CAA sections 112(d)(2)–(3) and                  prevention). For more information, see
                                              the affected sources for room air                       112(d)(5) for the following emission                  section III.B.8.g of the proposal
                                              emissions in this manner so that owners                 sources that were unregulated: SCVs,                  preamble (88 FR 22790, April 13, 2023).
                                              and operators can have flexibility in                   ARVs, and CEVs at facilities where EtO                In order to ensure complete capture of
                                              how they chose to control their                         use is less than 1 tpy, ARVs and CEVs                 EtO emissions and, in turn, compliance
                                              emissions,24 and so that facilities who                 at facilities where EtO use is at least 1             with the proposed standards, we
                                              have already chosen to control their                    tpy but less than 10 tpy, CEVs at                     proposed to require each facility to
                                              emissions in this manner can continue                   facilities where EtO use is at least 10               operate areas with room air emissions
                                              to do so while minimizing any potential                 tpy, and room air emissions. We also                  subject to an emission standard in
                                              compliance issues. With respect to the                  proposed a technical correction to the                accordance with the PTE requirements
                                              comment that the definition of affected                 emission standard for ARVs at facilities              of EPA Method 204 of appendix M to 40
                                              sources for room air emissions is                       where EtO use is at least 10 tpy. We                  CFR part 51. For more information, see
                                              disproportionally favorable to facilities               proposed the following emission                       section III.B of the proposal preamble
                                              with smaller capacity, the comment                      standards pursuant to CAA section                     (88 FR 22790, April 13, 2023).
                                              appears to pertain more to the setting of               112(d)(2)–(3):                                           We addressed a necessary correction
                                              the emission standards themselves,                         • 3.2E–4 lb/h for new and existing                 to the emission standards for these
                                              rather than the affected source                         CEVs at facilities where EtO use is at                sources in 40 CFR 63.362(d) that allow
                                              definition. As discussed in section                     least 10 tpy,                                         facilities to either achieve 99 percent
                                              IV.B.3.b of this preamble, we are no                       • 1.3E–3 lb/h for new and existing                 emission reduction or limit the outlet
                                              longer finalizing mass rate emission                    Group 1 room air emissions at major                   concentration to a maximum of 1 part
                                              standards, and we are accounting for                    source facilities, and                                per million by volume (ppmv),
                                              technical feasibility (e.g., manufacturer                  • 2.8E–3 lb/h for new and existing
                                                                                                                                                            ‘‘whichever is less stringent, from each
                                              guarantees, emission reductions                         Group 2 room air emissions at major
                                                                                                                                                            aeration room vent.’’ We proposed
                                              achieved in performance tests) when                     source facilities.
                                                                                                         For more information, see section III.B            removing the less stringent 1 ppmv
                                              finalizing emission standards. The                                                                            concentration alternative for these
                                              emission standards in this final rule for               of the proposal preamble (88 FR 22790,
                                                                                                      April 13, 2023). We proposed the                      sources because it is not equivalent and
                                              room air emissions are in a percent                                                                           therefore not an appropriate alternative
                                              reduction format, which is the same                     following emission standards pursuant
                                                                                                      to CAA section 112(d)(5):                             to 99 percent emission reduction
                                              regardless of facility size.                                                                                  standard. For more information, see
                                                                                                         • 99 percent emission reduction for
                                              4. What is the rationale for our final                  new and existing SCVs at facilities                   section III.B.2 of the proposal preamble
                                              approach and final decisions to address                 where EtO use is less than 1 tpy,                     (88 FR 22790, April 13, 2023).
                                              the affected source definitions?                           • 99 percent emission reduction for                2. How did the revisions pursuant to
                                                                                                      new and existing ARVs at facilities                   CAA sections 112(d)(2), 112(d)(3), and
                                                We evaluated the comments on our
                                                                                                      where EtO use is at least 1 tpy but less              112(d)(5) change since proposal for the
                                              proposed affected source definitions.
                                                                                                      than 10 tpy,                                          Commercial Sterilization Facilities
                                              For the reasons explained in the
                                                                                                         • 99 percent emission reduction for                source category?
                                              proposed rule (88 FR 22790, April 13,
                                                                                                      new and existing ARVs at facilities
                                              2023), we determined that these                                                                                 We are finalizing as proposed the
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                                                                                                      where EtO use is less than 1 tpy,
                                              amendments are necessary because the                       • 99 percent emission reduction for                following standards under CAA section
                                              definition of an ‘‘affected source’’ at 40              new and existing CEVs at facilities                   112(d)(5):
                                              CFR 63.2 is not appropriate for this                    where EtO use is at least 1 tpy but less                • 99 percent emission reduction for
                                                                                                      than 10 tpy,                                          new and existing SCVs at facilities
                                                 24 The EPA has not observed any instance where

                                              a facility is routing a portion of its Group 1 room
                                                                                                         • 99 percent emission reduction for                where EtO use is less than 1 tpy,
                                              air emissions to one control system, and the other      new and existing CEVs at facilities                     • 99 percent emission reduction for
                                              portion to a different control system.                  where EtO use less than 1 tpy.                        new and existing ARVs at facilities


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                                              where EtO use is at least 1 tpy but less                MACT floor for new and existing Group                 Group 2 room air emissions at area
                                              than 10 tpy, and                                        1 room air emissions at major source                  source facilities by 20 percent, does not
                                                 • 99 percent emission reduction for                  facilities is 90 percent emission                     interfere with sterility assurance, and is
                                              new and existing ARVs at facilities                     reduction. We were able to identify a                 expected to impact only 20 percent of
                                              where EtO use is less than 1 tpy.                       more stringent (i.e., 97 percent control)             facilities. We do not anticipate any
                                                 In addition, we are finalizing a                     and cost-effective BTF option and,                    severe negative impacts to the medical
                                              requirement for each facility to operate                therefore, we are finalizing a 97 percent             supply chain as a result of finalizing
                                              areas with room air emissions subject to                emission reduction standard as the                    this requirement. For more information,
                                              an emission standard in accordance                      MACT standard under CAA section                       see section IV.B.3.a of this preamble.
                                              with the PTE requirements of EPA                        112(d)(2)–(3) for new and existing
                                              Method 204 of appendix M to 40 CFR                                                                            3. What key comments did we receive
                                                                                                      Group 1 room air emissions at major
                                                                                                                                                            on the proposal revisions pursuant to
                                              part 51. We are also finalizing the                     source facilities. The revised MACT
                                                                                                                                                            CAA section 112(d)(2), 112(d)(3), and
                                              removal of the 1 ppm alternative for                    floor for new and existing Group 2 room
                                                                                                                                                            112(d)(5), and what are our responses?
                                              ARVs at facilities where EtO use is at                  air emissions at major source facilities is
                                              least 10 tpy, as proposed.                              86 percent emission reduction. Because                   This section provides comment and
                                                 Based on comments received during                    the concentration that corresponds to                 responses for the key comments
                                              the proposed rulemaking, we have                        this emission reduction is three times                received regarding BMPs, mass rate
                                              revised the proposed standards for the                  the representative detection level (RDL)              emission standards, PTE, and
                                              following affected sources. The final                   for EtO, there are no BTF options to                  warehouses. Other comment summaries
                                              emission standards pursuant to CAA                      consider due to the potential difficulty              and our responses for additional issues
                                              sections 112(d)(2), 112(d)(3), and                      of demonstrating compliance with                      raised regarding these activities, as well
                                              112(d)(5) are as follows:                               limits lower than the MACT floor.                     as issues raised regarding our proposed
                                                 • 99.94 percent emission reduction                   Therefore, we are finalizing 86 percent               emission standards for SCVs and ARVs
                                              for new and existing CEVs at major                      emission reduction as the MACT                        at facilities where EtO use is less than
                                              source facilities,                                      standards for new and existing Group 2                1 tpy, ARVs at facilities where EtO use
                                                 • 99 percent emission reduction for                  room air emissions at major source                    is a least 1 tpy but less than 10 tpy,
                                              new and existing CEVs at area source                    facilities. For more information, see                 room air emissions at major source
                                              facilities,                                             section IV.B.3.b of this preamble.                    facilities, and our proposed technical
                                                 • 97 percent emission reduction for                     For both new and existing Group 1                  correction to the emission standard for
                                              new and existing Group 1 room air                       room air emissions at area source                     ARVs at facilities where EtO use is at
                                              emissions at major source facilities,                   facilities, as well as new Group 2 room               least 10 tpy can be found in the
                                                 • 80 percent emission reduction for                  air emissions at area source facilities,              document, Summary of Public
                                              new and existing Group 1 room air                       based on comments received during the                 Comments and Responses for the Risk
                                              emissions at area source facilities,                    proposed rulemaking, we are finalizing                and Technology Review for Commercial
                                                 • 86 percent emission reduction for                  an 80 percent emission reduction                      Sterilization Facilities, available in the
                                              new and existing Group 2 room air                       standard, consistent with the                         docket for this rulemaking.
                                              emissions at major source facilities,                   manufacturer guarantee for the control
                                                 • For existing Group 2 room air                                                                            a. BMP
                                                                                                      technology on which the standard is
                                              emissions at area source facilities, lower              based. The primary reason for the                        Comment: Several commenters
                                              the EtO concentration within each                       change from mass rate to percent                      contended that we should not require
                                              sterilization chamber to 1 ppm before                   reduction is that there is a serious                  facilities to follow either the Cycle
                                              the chamber can be opened, and                          concern that mass rate emission                       Calculation Approach or the Bioburden/
                                                 • 80 percent emission reduction for                  standards could result in operational                 Biological Indicator Approach to
                                              new Group 2 room air emissions at area                  reductions in order to meet the                       achieve sterility assurance in
                                              source facilities.                                      standards while still ensuring work                   accordance with ISO 11135:2014 and
                                                 For new and existing CEVs at major                   health and safety, but that could                     ISO 11138–1:2017. They stated that
                                              source facilities, as well as new and                   adversely impact the medical supply                   owners and operators should have the
                                              existing room air emissions at major                    chain. In addition, while some sources                flexibility to optimize cycles using a
                                              source facilities, based on comments                    have demonstrated emission reductions                 variety of ISO/AAMI 11135 methods
                                              received during the proposed                            higher than 80 percent, those reductions              and that we should not limit or restrict
                                              rulemaking, we have re-calculated the                   are limited to facilities with higher EtO             the validation method that may be used.
                                              MACT floor based on percent emission                    usage rates, and we cannot determine                     One commenter stated that requiring
                                              reduction, as opposed to mass rate                      whether smaller users of EtO can meet                 facilities to follow the Cycle Calculation
                                              emissions. The primary reason for                       those emission reductions. For more                   or Bioburden/Biological Indicator
                                              finalizing this change is that there is a               information, see section IV.B.3.b of this             Approach would result in more
                                              serious concern that mass rate emission                 preamble.                                             dedicated product loads, more cycles
                                              standards could result in operational                      For existing Group 2 room air                      needed to sterilize different project
                                              reductions that could adversely impact                  emissions at area source facilities, based            mixes, and most chambers not being
                                              the medical supply chain. The revised                   on comments received during the                       filled to capacity. The commenter stated
                                              MACT floor for new and existing CEVs                    proposed rulemaking, we are finalizing                that de-consolidation of existing cycles
                                              at major source facilities is 99.94                     a revised BMP due to concerns that the                to implement an appropriate Cycle
                                              percent emission reduction. Because we                  BMP that we proposed (as well as                      Calculation or Bioburden/Biological
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                                              were unable to identify more stringent                  alternatives for which we solicited                   Indicator approach would require (1)
                                              (i.e., beyond the floor or ‘‘BTF’’) options             comment in the proposal), would                       creation and validation of new product
                                              that are cost-effective, we are finalizing              adversely impact the medical supply                   families, new process challenge devices,
                                              99.94 percent emission reduction as the                 chain due to inefficiencies that would                and biological indicators, (2) cycle
                                              MACT standard under CAA section                         arise, as well as having to lengthen cycle            development, and (3) maintenance
                                              112(d)(2)–(3) for new and existing CEVs                 dwell times in order to ensure sterility.             through requalification and annual
                                              at major source facilities. The revised                 The final requirement reduces existing                reporting. The commenter noted that the


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                                              extra burden associated with                            testing laboratories will decrease                    products to meet a 290 milligrams per
                                              maintaining more cycles would create                    available sterilization capacity. The                 liter (mg/L) EtO concentration limit.
                                              more work and require more chamber                      commenter stated that the inability to                One commenter stated that many
                                              time, resulting in less sterilization                   fill a sterilization chamber fully with               industry guidelines and studies show
                                              capacity. Two commenters stated that                    product and waiting until full can lead               that 400 mg/L is the minimum
                                              requiring either the Cycle Calculation or               to inefficient use of sterilization                   recommended concentration, and many
                                              Bioburden/Biological Indicator                          chambers and supply issues. Another                   products use higher concentrations to
                                              approach could limit research for                       commenter stated the Bioburden/                       meet sterility assurance and product
                                              product innovation as available                         Biological Indicator approach results in              quality requirements as set forth by
                                              development time in EtO sterilization                   additional cost and delays, as it requires            FDA. Another commenter stated that
                                              chambers would be taken up for                          that the product bioburden levels be                  process efficiency is reduced with
                                              optimizing existing products.                           enumerated and characterized, and that                concentrations below 400 mg/L and that
                                                Two commenters stated the ISO                         consistency in the bioburden population               efficiency is constant at concentrations
                                              standards were intended for the process                 and the bioburden’s resistance to the                 greater than 500 mg/L. One commenter
                                              of EtO sterilization and not emission                   sterilization process remain relatively               indicated that an EtO concentration
                                              reduction or controls. One commenter                    stable over a multi-year period. The                  range of 400 to 650 mg/L is common
                                              further contended it is a faulty approach               commenter also stated that it may take                practice because it achieves
                                              to base emission standards on                           many years to establish the range in                  microbiological lethality for most
                                              international standards, as these                       numbers and types of bioburden to                     products within a reasonable exposure
                                              standards are revised periodically and                  properly perform a validation using this              time. Another commenter stated that
                                              may continue to evolve. Another                         proposed Bioburden/Biological                         product design, stability post-
                                              commenter noted that ISO/AAMI                           Indicator approach. Another commenter                 sterilization, and lethality are the
                                              standards are currently being revised to                stated that the Bioburden approach                    drivers behind the choice of EtO
                                              be more flexible to achieve optimized                   would require upgrades to supplier                    concentration. The commenter also
                                              cycles, while minimizing impact on                      facilities, manufacturing facility, and               stated that research and development
                                              sterilization capacity. The commenter                   microbiological control practices.                    with biological indicators is routinely
                                              contended that cycle validation must                       Response: We agree with the                        conducted using 600 mg/L cycles and
                                              focus on achieving sterility required for               commenters’ concerns regarding                        that enforcing a lower limit may have an
                                              patient safety and assuring product                     potential inefficiencies in the                       unintended negative consequence on
                                              performance and reliability, and that                   sterilization process that may arise from             the availability of biological indicators
                                              reducing EtO use cannot take priority                   requiring facilities to follow either the             required for sterilization process
                                              over patient safety.                                    Cycle Calculation Approach or the                     validation and routine monitoring. One
                                                One commenter stated that                             Bioburden/Biological Indicator                        commenter stated we should not
                                              conducting Cycle Calculation studies for                Approach to achieve sterility assurance               propose to limit the EtO concentration
                                              every product type or category would                    in accordance with ISO 11135:2014 and                 to 290 mg/L for small facilities and that
                                              not be feasible with the current                        ISO 11138–1:2017, along with the                      we should, instead, allow performance-
                                              capacity. The commenter stated this                     potentially adverse impacts to the                    based standards. In addition, several
                                              would require effort to redesign                        medical supply chain that could result                commenters stated that an upper-bound
                                              sterilization cycles, evaluate product                  from the proposed approach. These                     limit on EtO concentration may lead to
                                              and packaging performance, and                          inefficiencies include reduced cycle
                                                                                                                                                            longer cycle times and dwell times and
                                              validate the redesigned cycles. The                     optimization (i.e., not being able to
                                                                                                                                                            that longer dwell times would impact
                                              commenter also stated that the new                      sterilize as much product per load or
                                              validation work will impact sterilization                                                                     sterilization capacity and would lead to
                                                                                                      chamber), having to run more cycles
                                              capacity as sterilizer equipment is not                                                                       offshoring, as well as the construction of
                                                                                                      overall in order to meet the demand for
                                              available for production use during                                                                           additional facilities.
                                                                                                      sterile medical devices, and diverting
                                              study times (i.e., production capacity is               already strained resources away from                     One commenter stated limiting
                                              diverted to cycle validation). The                      normal operations to developing new                   packaging and pallet material will
                                              commenter further stated that sites that                cycle validations. We also agree with                 interrupt trade, reduce innovation,
                                              use more than one vendor would have                     the commenters’ concerns that requiring               increase the cost of medical devices,
                                              to redesign sterilization cycles at each                facilities to follow this requirement                 and disrupt the medical device
                                              vendor and that, given the limited                      would limit research for product                      manufacturing industry without a
                                              resources and expertise, this would not                 innovation. Given the current strain on               quantifiable reduction in EtO emissions.
                                              be possible to achieve on this scale.                   resources, some companies may not be                  Two commenters stated that packaging
                                              Another commenter stated they have                      able to invest in additional chambers to              and pallet material selection will drive
                                              not been able to ensure product sterility               conduct research. In addition, we agree               the design of medical products. Two
                                              using Cycle Calculation approach.                       with the commenters’ concerns that                    commenters noted that packaging
                                                Finally, one commenter stated that                    because this requirement is based on                  requirements are in place to ensure a
                                              the Bioburden/Biological Indicator                      international standards, which are                    sterile barrier until use and to prevent
                                              methods limit the number of products                    revised periodically, this could result in            product damage. One commenter stated
                                              that can be validated in a single cycle.                potential future complications.                       packaging must pass rigorous test
                                              The commenter stated that the                           Therefore, we are not including this                  requirements, according to industry
                                              Bioburden/Biological Indicator                          requirement in the final rule.                        standards. Another commenter
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                                              approach may be limited to a range of                      Comment: As mentioned above, the                   indicated that facilities use barcode
                                              products with similar attributes and                    EPA solicited comments on several                     instructions for use (IFUs) in place of
                                              drive up the number of required cycles.                 other BMPs, including limiting EtO                    paper IFUs when possible. However,
                                              The commenter also stated that each                     concentration limit and limiting                      paper IFUs are regulated by FDA. Two
                                              validated cycle will require                            packaging and pallet material. Two                    commenters noted that paper IFUs have
                                              requalification every few years, and the                commenters stated that it is not                      not been documented to be a source of
                                              additional testing at sterilizers and                   technically feasible for facilities and               residual emissions. Another commenter


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                                              stated that there is no evidence that                   2019 questionnaire and September 2021                  emissions at area source facilities, we
                                              barcode materials would have less EtO                   Information Collection Request (ICR), 80               are also evaluating percent emission
                                              retention than paper, and that labeling                 percent of all commercial sterilization                reduction standards, as opposed to mass
                                              decisions have practical and legal                      facilities, regardless of annual EtO use,              rate emission standards. The revised
                                              considerations. One commenter noted                     are already meeting this limit. Those                  GACT analyses for those emission
                                              that a minimal amount of plastic wrap                   who are not meeting the limit currently                sources are presented in section IV.B.3.b
                                              is used to ensure the structural integrity              are close to the limit,25 so we do not                 of this preamble.
                                              of pallets during shipping and that                     anticipate any severe negative impacts                    Comment: Several commenters stated
                                              excessive plastic is not in the interest of             to the medical device supply chain as a                that we do not have the legislative
                                              sterilization facilities, as it slows EtO               result of finalizing this requirement. We              authority or expertise to regulate
                                              penetration. The commenter also stated                  estimate that the emission reductions                  sterilization cycles and that FDA is the
                                              that kits are transported in cardboard to               from applying this requirement to the                  Federal agency that has authority to
                                              protect from punctures, and it is not                   source category would be 20 percent. In                regulate medical device sterilization.
                                              possible to eliminate cardboard. A                      addition, since 80 percent of facilities               They stated that Congress gave FDA the
                                              puncture to a kit means the kit needs to                are already meeting this limit, this                   authority to ensure the availability of
                                              be re-sterilized, requiring use of                      would result in an 80 percent reduction                safe and effective medical products and
                                              additional EtO. One commenter stated                    in costs. We have evaluated the changes                that we must not finalize any regulatory
                                              that changes to pallet material could                   in cost, emissions, and cost-                          requirements that are under FDA
                                              have supply chain issues given                          effectiveness for this BMP, and it is                  purview.
                                              interoperability and weight                             more cost-effective than the other
                                                                                                                                                                Response: The EPA proposed the
                                              requirements. Finally, another                          options we considered. Therefore, for
                                                                                                                                                             BMP (i.e., require facilities to follow
                                              commenter stated that pallet materials                  Group 2 room air emissions we are
                                                                                                                                                             either the Cycle Calculation Approach
                                              impact the strength and design of pallet,               finalizing the BMP such that the in-
                                                                                                                                                             or the Bioburden/Biological Indicator
                                              and any issues would have implications                  chamber EtO concentration is to be
                                                                                                                                                             Approach) pursuant to CAA section
                                              for the entre medical device supply                     lowered to 1 ppm before the chamber
                                                                                                                                                             112(d)(5), which authorizes the EPA to
                                              chain.                                                  can be opened. We note that, even
                                                 Response: We agree with the                          though this BMP is expected to result in               set standards for area sources that
                                              commenters’ concerns regarding the                      fewer emission reductions than the BMP                 provide for the use of generally
                                              issues with prescribing an upper-bound                  we proposed, this rule will still reduce               available control technologies or
                                              limit on in-chamber EtO concentration,                  EtO emissions (and, therefore, lifetime                management practices to reduce
                                              as well as the negative impacts to the                  cancer risks) in multiple communities                  emissions. In addition, CAA section
                                              medical supply chain that could result                  across the country. As discussed in                    112(h)(1) authorizes the EPA to
                                              from increasing the dwell time to                       section IV.C.2.a.iii, this BMP will                    promulgate a design, equipment, work
                                              maintain sterility as an outcome of such                ultimately apply only to facilities where              practice or operational standard, or a
                                              a requirement. Therefore, we are not                    EtO use is less than 4 tpy. We are                     combination thereof, if the EPA does not
                                              including this requirement in the final                 finalizing the requirement that area                   think it can prescribe an emission
                                              rule. We also agree with the                            source facilities whose EtO usage is at                standard. We have identified
                                              commenters’ concerns regarding the                      least 4 tpy but less than 20 tpy and area              modification of the post-sterilization
                                              need to ensure a sterile barrier through                source facilities whose EtO usage is at                process (e.g., reducing the EtO
                                              sufficient packaging, as well as the                    least 20 tpy are required to reduce                    concentration within the sterilization
                                              potential supply chain impacts from                     Group 2 room air emissions by 80                       chamber prior to opening the chamber)
                                              placing limits on the types of pallets                  percent and 98 percent, respectively                   as a BMP that can reduce EtO emissions
                                              that may be used. Therefore, we are not                 (see section IV.C.2.a.iii for more                     from certain affected sources at
                                              requiring limits on packaging or                        information). For SCVs and ARVs at                     commercial sterilization area source
                                              transport materials as part of this                     facilities where EtO use is less than 1                facilities. Neither CAA section 112(d)(5)
                                              rulemaking.                                             tpy, as well as ARVs at facilities where               nor section 112(h)(1) limits the scope of
                                                 Comment: One commenter                               EtO use is less than 10 tpy, our general               management or work practices that the
                                              recommended an end of sterilization                     rationale for proposing emission                       EPA may consider in setting standards
                                              cycle chamber limit of less than 1 ppm                  standards over the BMP was that                        to control HAP, nor did the commenter
                                              (with a zero mg/L reading) in the                       emission standards would both achieve                  identify any such legal limitation in the
                                              sterilization chamber (EtO remaining                    greater emission reduction and incur                   CAA or other applicable legal
                                              calculated measurement) as a BMP. The                   fewer annual costs than the BMP.                       authorities. As discussed above, we are
                                              commenter stated that removing EtO                      However, even considering lower                        not finalizing the proposed BMP; in
                                              from the sterilization chamber is the                   annual costs for the BMP, the emission                 response to comment, we are finalizing
                                              most efficient stage for EtO removal.                   standards would still achieve greater                  a requirement for area source facilities
                                              The commenter further stated that                       emission reduction. Therefore, for SCVs                with existing Group 2 room air
                                              longer EtO dwell times, as well as the                  and ARVs at facilities where EtO use is                emissions to lower the in-chamber EtO
                                              potential for the elimination of nitrogen               less than 1 tpy, as well as ARVs at                    concentration to 1 ppm before the
                                              gas washes to keep total cycle time                     facilities where EtO use is less than 10               chamber is opened.26 As discussed in
                                              equivalent, could result in more EtO                    tpy, we are finalizing the emission
                                              residual at aeration and the greater                    standards as proposed pursuant to CAA                    26 We have previously regulated the in-chamber

                                              potential for room air emissions after                                                                         EtO concentration when we established standards
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                                                                                                      section 112(d)(5). For CEVs at area                    for CEVs at facilities where EtO use is at least 1 tpy
                                              aeration.                                               source facilities, as well as room air                 but less than 10 tpy (59 FR 62586, December 6,
                                                 Response: We agree with the                                                                                 1994). These requirements were removed initially
                                              commenter’s suggestion of a                               25 The highest concentration that was reported       due to safety concerns regarding the regulation of
                                              requirement to limit the in-chamber EtO                 prior to opening the chamber door was 20 ppm.          emissions from CEVs, not related to any limitations
                                                                                                      While this may seem high, this is reduced from         on our authority. See discussion in section III.B.5
                                              concentration to 1 ppm. It does not                     starting EtO concentrations of several thousand        of the proposal preamble (88 FR 22790, April 13,
                                              interfere with sterility assurance, and,                ppm (see section IV.F.3 of this preamble for further   2023) for more information regarding why safety is
                                              based on responses to the December                      discussion).                                                                                        Continued




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                                              section IV.C.2.a.iii of this preamble, this             standards be considered. We are                            sources upon which the floor is based
                                              requirement will ultimately apply only                  concerned that some owners and                             are expected to meet over time,
                                              to existing Group 2 room air emissions                  operators may choose to dilute the air                     considering both the average emissions
                                              at facilities where EtO use is less than                flow of the emissions stream rather than                   level achieved as well as emissions
                                              4 tpy. Based on responses to the                        control emissions, in order to meet an                     variability and the uncertainty that
                                              December 2019 questionnaire and the                     outlet concentration standard, which                       exists in the determination of emissions
                                              September 2021 ICR, we have not                         would not result in emission reductions.                   variability given the available, short-
                                              identified any facilities where EtO use                 In order to ensure emission reductions                     term data. For LPLs, our practice is to
                                              is less than 4 tpy that are not currently               from an outlet concentration standard,                     use the first percentile, or LPL 1, as that
                                              meeting this requirement. Therefore, in                 an upper-bound limit on the volumetric                     is the level of emission reductions that
                                              general, we do not anticipate that any                  flow rate would be necessary. As we                        we are 99 percent confident is achieved
                                              facilities will need to go through a new                have discussed before, this may be                         by the average source represented in a
                                              cycle validation as a result of this                    inappropriate for the source category.                     dataset over a long-term period based on
                                              requirement. Based on our                               Therefore, although we proposed mass                       its previous, measured performance
                                              conversations with FDA, this                            emission rate standards, we are                            history as reflected in short term stack
                                              requirement is not anticipated to have                  finalizing percentage emission                             test data. The LPL 1 value of the existing
                                              an adverse impact on the medical                        reduction standards in their place, and                    source MACT floor is 99.94 percent
                                              device supply chain.                                    those specific standards are discussed                     emission reduction. The LPL 1 EtO
                                                                                                      later in this section.                                     concentration that corresponds to this
                                              b. Mass Rate Emission Standards                            We re-calculated the MACT floor for                     emission reduction rate is 49 ppbv.
                                                 Comment: Several commenters were                     existing CEVs at major source facilities.                  Based on our review of available EtO
                                              opposed to mass rate emission                           We ranked the percent reduction                            measurement instruments and our
                                              standards, stating that they do not                     performance of the CEVs ‘‘for which the                    demonstration program, we find the in-
                                              account for the substantial variability                 EPA has emissions information’’ and                        stack detection level for EtO, given the
                                              among volumetric flow rates in                          found the best performing 12 percent of                    current technology, and potential
                                              sterilization operations. The                           CEVs consists of one CEV that is being                     makeup of emission streams, is
                                              commenters expressed concerns with                      controlled by a gas/solid reactor.27                       approximately 10 ppbv. Some EtO
                                              potential operational reductions needed                 Because the variability and uncertainty                    CEMS manufacturers claim instrument
                                              in order to meet the standards while                    associated using available, short-term                     detection levels much lower than 10
                                              still ensuring worker health and safety,                data would tend to reduce the minimum                      ppbv. However, we believe at the
                                              as well as compliance with EPA Method                   percent reduction, we then used the                        current time, 10 ppbv is the lowest level
                                              204. The commenters suggested that we                   lower, not upper, prediction limit                         that can be consistently demonstrated
                                              finalize emission reduction and outlet                  approach to develop the MACT floor for                     and replicated across a wide range of
                                              concentration standards instead. In                     existing sources.28 The LPL approach                       emission profiles. We expect that EtO
                                              addition, these commenters                              predicts the level of emissions that the                   CEMS manufacturers, measurement
                                              recommended that these standards be                                                                                companies, and laboratories will
                                              based on control device manufacturer                       27 See CAA section 112(d)(3). See also, National
                                                                                                                                                                 continue to improve EtO detection
                                              guarantees. One commenter stated that,                  Ass’n of Clean Water Agencies v. EPA, 734 F.3d             levels (making them lower). In the
                                                                                                      1115, 1131 (2013) (citing Sierra Club v. EPA, 167
                                              based on their discussions with control                 F.3d 658, 661 and 662) (‘‘We accorded Chevron              meantime, consistent with our practice
                                              device manufacturers, they believe that                 deference to EPA’s . . . estimate of the MACT floor,       regarding reducing relative
                                              the best and most advanced                              noting that the requirement that the existing unit         measurement imprecision by applying a
                                              technologies will be guaranteed to meet                 floors ‘not be less stringent than the average
                                                                                                      emissions limitation achieved by the best
                                                                                                                                                                 multiplication factor of three to the
                                              a 99 percent emission reduction                         performing 12 percent of units’ does not, on its           RDL, the average detection level of the
                                              standard for CEVs and an 80 percent                     own, dictate ‘how the performance of the best units        best performers, or, in this case, the
                                              emission reduction standard for room                    is to be calculated, . . . [and] recognizing that ‘EPA     better performing instruments, so that
                                              air emissions.                                          typically has wide latitude in determining the
                                                                                                      extent of data gathering necessary to solve a              measurements at or above this level
                                                 Response: We agree with the                          problem.’ ’’                                               have a measurement accuracy within 10
                                              commenters’ concerns regarding the                         28 The variability for a DRE format limit requires      to 20 percent—similar to that contained
                                              potential impacts of mass rate emission                 use of a lower prediction limit (LPL), the UPL             in the American Society of Mechanical
                                              standards. Given the low outlet EtO                     template was therefore modified for use to
                                                                                                      determine the LPL; rather than use of the 99th
                                                                                                                                                                 Engineers (ASME) ReMAP study,29 we
                                              concentration of these streams, along                   percentile that captures the ‘‘right tail’’ of the data    apply a multiplication factor of three to
                                              with current EtO detection levels, a                    distribution, the LPL template uses the 1st                the RDL of 10 ppbv, which yields a
                                              mass rate emission standard essentially                 percentile, i.e., captures the ‘‘left tail’’ of the data   workable-in-practice lower measurable
                                              functions as an upper-bound limit on                    distribution (the t-statistic is 0.01). The LPL differs
                                                                                                      from the more commonly used UPL in that                    value of 30 ppbv. For reference, below
                                              volumetric flow rate. It may not be                     variability and uncertainty associated with percent        is the equation that relates the percent
                                              appropriate to limit volumetric flow rate               reduction limits tend to make the predicted limits         emission reduction, inlet EtO
                                              in this fashion, as additional flow may                 smaller than their averages; for UPL applications,         concentration, and outlet EtO
                                              be needed in order to demonstrate                       variability and uncertainty associated with
                                                                                                      emission limits tend to make those predicted limits        concentration:
                                              compliance with EPA Method 204 or to                    larger than their averages. Both approaches—UPL
                                              ensure worker health and safety. If                     and LPL—rely on the same set of equations
                                              volumetric flow rate is limited, a facility             developed for the UPL; they only differ in the
                                                                                                      selected percentile. In other words, the LPL relies
                                                                                                                                                                                   Et01M - EtOaM
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                                              may be forced to reduce its sterilization               on calculations associated with the first percentile
                                                                                                                                                                         ER=
                                              capacity in order to meet the mass rate                 (LPL 1) of the data distribution, which is below the
                                              emission standards. However, we                         fiftieth percentile (LPL 50), or average for data with       Where, ER is the percent emission
                                              disagree with the commenters’                           a normal distribution, while the UPL relies on             reduction, EtOIM is the inlet EtO mass,
                                                                                                      calculations associated with the ninety-ninth
                                              suggestion that outlet concentration                    percentile (UPL 99) of the data distribution, which
                                                                                                                                                                 and EtOOM is the outlet EtO mass. Since
                                                                                                      is above the fiftieth percentile (UPL 50), or average
                                              not a concern regarding the requirements finalized      for data with a normal distribution. Also note that           29 See the discussion in the MATS rule preamble
                                                                                                                                                                                                                      ER05AP24.000</GPH>




                                              in this action.                                         for data in a normal distribution, LPL 50 = UPL 50.        at 77 FR 9370, February 16, 2012.



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                                              the outlet EtO concentration that                                       stringent emission reduction for which                      plant for existing CEVs at a synthetic
                                              corresponds to the MACT floor of 99.94                                  compliance can be demonstrated is that                      area source facility with the following
                                              percent emission reduction is above                                     which corresponds to an outlet                              assumptions reflecting the average of
                                              3×RDL, there are more stringent (i.e.,                                  concentration of 30 ppbv (i.e., 3xRDL).                     each of the parameters at synthetic area
                                              BTF) options to consider.30 We                                          This emission reduction is 99.96                            source facilities:
                                              considered two BTF options for                                          percent, which is lower than all of the
                                              reducing EtO emissions from this                                        reported emission reductions in the test                        • Annual EtO use: 200 tpy.
                                              source: the first option is 99.95 percent                               runs that were used to calculate the                            • Annual operating hours: 8,000.
                                              emission reduction, and the second                                      MACT floor. The impacts of these                              • Portion of EtO going to CEVs: 1
                                              option reflects the most stringent                                      options are presented in table 7.                           percent.
                                              emission reduction for which                                            Because we have not identified any
                                              compliance can be demonstrated. With                                    major source facilities with existing                         • CEV flow rate: 278 cubic feet per
                                              respect to the second option, the most                                  CEVs, the impacts are based on a model                      second (cfs).

                                                        TABLE 7—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF BTF OPTIONS CONSIDERED UNDER CAA
                                                                     SECTIONS 112(d)(2) AND 112(d)(3) FOR CEVS AT MAJOR SOURCE FACILITIES
                                                                                                                                             Total capital    Total annual            EtO emission
                                                                                                  Proposed                                                                                                            Cost effectiveness
                                                   Option                                                                                     investment         costs                 reductions
                                                                                                  standard                                                                                                               ($/ton EtO)
                                                                                                                                                  ($)            ($/yr)                   (tpy)

                                              MACT Floor ..            99.94 percent emission reduction .................................        $830,000          $176,000   2.4E–2 [480 lb/yr] ..............   $735,000 [$370/lb].
                                              1 ....................   99.95 percent emission reduction .................................         184,000            65,500   2.0E–4 [0.4 lb/year] ...........    328,000,000 [$164,000/lb].
                                              2 ....................   99.96 percent emission reduction .................................         184,000            66,200   2.0E–4 [0.4 lb/year] ...........    331,000,000 [$166,000/lb].



                                                 While we acknowledge that EtO is a                                   at which compliance can be                                  emissions from this group: the first
                                              highly toxic HAP, the cost estimates                                    demonstrated, the EPA considered more                       option reflects the use of emission
                                              above are far outside the range of the                                  stringent (i.e., BTF) options. We                           controls on the CEVs, and the second
                                              cost-effectiveness values that we have                                  considered the same BTF options as                          option reflects applying a BMP to lower
                                              determined to be cost-effective for                                     those evaluated for existing CEVs at                        the in-chamber EtO concentration to 1
                                              highly toxic HAPs (e.g., we finalized a                                 major source facilities, for the same                       ppm before the chamber is opened (i.e.,
                                              requirement with a cost-effectiveness of                                reasons explained above. The first BTF                      pollution prevention). With respect to
                                              $15,000/lb ($30,000,000/ton) for                                        option would require achieving 99.95                        the first option, because 34 out of 40
                                              existing small hard chromium                                            percent emission reduction, and the                         area source facilities with CEVs already
                                              electroplating to provide an ample                                      second BTF option would require                             using controls to reduce CEV emissions,
                                              margin of safety (taking into account                                   achieving 99.96 percent emission                            and we have no reason to believe that
                                              cost among other factors) (77 FR 58227–                                 reduction. The impacts of these options                     the other six cannot do the same, we
                                              8, 58239). Based on the estimates above,                                are presented in table 7 of this
                                                                                                                                                                                  consider emission controls to be
                                              we find neither option to be cost                                       preamble. Because we have not
                                                                                                                                                                                  generally available for existing CEVs at
                                              effective. Therefore, the final MACT                                    identified any major source facilities
                                                                                                                                                                                  these facilities. Evaluating the available
                                              standard for existing CEVs at major                                     with existing CEVs, the impacts are
                                              source facilities is 99.94 percent                                      based on a model plant for existing                         information on controls, including the
                                              emission reduction.                                                     CEVs at a synthetic area source facility.                   documented control efficiency for 12
                                                 For new sources, CAA section                                         Based on the estimates above and for the                    facilities in the category, we determined
                                              112(d)(3) requires that the standard                                    reason explained above, we find neither                     that a control efficiency of 99 percent is
                                              shall not be less stringent than the                                    option to be cost effective. Therefore,                     generally available for existing CEVs at
                                              emission control that is achieved in                                    the final MACT standard for new CEVs                        area source facilities. The second
                                              practice by the best controlled similar                                 at major source facilities is 99.94                         potential GACT option we considered
                                              source. In this case, the best controlled                               percent emission reduction. For the                         was the same management practice
                                              similar source is also the CEV that is                                  reasons explained above, our final                          discussed in section IV.B.3.a of this
                                              being controlled by a gas/solid reactor                                 MACT standards under CAA sections                           preamble, which would require
                                              and the data of which is used to                                        112(d)(2) and (3) for both new and                          facilities to lower the in-chamber EtO
                                              determine the MACT floor for existing                                   existing CEVs at major source facilities                    concentration to 1 ppm before the
                                              sources. Therefore, the new source                                      require these facilities to reduce the EtO                  chamber is opened. The impacts of
                                              MACT floor is equivalent to the existing                                emissions from new and existing CEVs                        these two options are presented in table
                                              source MACT floor, which is 99.94                                       by 99.94 percent.                                           8.
                                              percent emission reduction. As                                             For existing CEVs at area source
                                              explained above, because this emission                                  facilities, we considered two potential
                                              reduction limit is above the lowest level                               GACT options for reducing EtO
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                                                30 As Judge Williams explained in his concurring                      taking into account a variety of factors including          ‘‘floors’’ established under § 112(d)(3).’’ 479 F.3d
                                              opinion in Sierra Club v. EPA, CAA ‘‘Section                            cost. . . . The ‘‘achievable’’ standards have come to       875, 884 (D.C. Cir. 2007).
                                              112(d)(2) calls for emissions standards that are the                    be known as the ‘‘beyond-the-floor’’ standards, . . .
                                              most stringent that the EPA finds to be ‘achievable,’                   meaning, obviously, ones more stringent than the



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                                                   TABLE 8—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                                         112(d)(5) FOR EXISTING CEVS AT AREA SOURCE FACILITIES
                                                                                                                                        Total capital                                               EtO emission
                                                                                                                                                             Total annual costs                                                  Cost effectiveness
                                                  Option                               Proposed standard                                 investment                                                  reductions
                                                                                                                                                                    ($/yr)                                                          ($/ton EtO)
                                                                                                                                             ($)                                                        (tpy)

                                              1 .................   99 percent emission reduction ...............................         $1,750,000     $740,000 ........................   3.84 [7,680 lb/year] ........    193,000 [$96/lb]
                                              2 .................   BMP (estimated 20 percent emission reduction) ...                              0     $3,560,000 (one-time an-            0.796 [1,590 lb/year] ......     $4,470,000 [$2,240/lb]
                                                                                                                                    I                   I  nual cost) 1.
                                                 1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
                                              as well as preparing and submitting the necessary paperwork to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be in-
                                              curred in the first year of compliance, but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual
                                              costs) in the analysis.


                                                 Based on the estimates above, and                                   achieve much greater emission                                           described in section IV.B.3.a, which
                                              considering EtO is a highly potent                                     reduction than Option 2. Second,                                        would require facilities to lower the in-
                                              carcinogen, the cost-effectiveness                                     Option 1 would incur fewer annual                                       chamber EtO concentration to 1 ppm
                                              numbers of these options are within the                                costs than Option 2. Therefore, pursuant                                before the chamber is opened. The
                                              range of the values that we have                                       to CAA section 112(d)(5), we are                                        impacts of these options, which are
                                              determined to be cost-effective for                                    finalizing Option 1 for existing CEVs at                                presented in table 9 of this preamble,
                                              highly toxic HAPs. Such values include                                 area source facilities. Specifically, we                                are based on a model plant for new
                                              hexavalent chromium, where we                                          are finalizing a requirement for these                                  CEVs at a new area source facility with
                                              finalized a requirement with a cost-                                   facilities to continuously reduce                                       the following assumptions reflecting the
                                              effectiveness of $15,000/lb                                            emissions from existing CEVs by 99                                      average of each of the parameters at
                                              ($30,000,000/ton) for existing small                                   percent.                                                                existing area source facilities:
                                              hard chromium electroplating to                                           For new CEVs at area source facilities,                                • Annual EtO use: 100 tpy.
                                              provide an ample margin of safety                                      we considered two potential GACT
                                                                                                                                                                                               • Annual operating hours: 8,000.
                                              (taking into account cost among other                                  options similar to those evaluated for
                                              factors) (77 FR 58227–8, 58239). We are                                existing CEVs at area source facilities.                                  • Portion of EtO going to CEVs: 1
                                              finalizing Option 1 for the following                                  The first potential GACT option would                                   percent.
                                              reasons. First, while both options are                                 require achieving 99 percent emission                                     • CEV flow rate: 200 cubic feet per
                                              considered generally available under                                   reduction. The second potential GACT                                    second (cfs).
                                              CAA section 112(d)(5), Option 1 would                                  option we considered is a BMP                                             • Number of unique cycles: nine.
                                                   TABLE 9—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                                           112(d)(5) FOR NEW CEVS AT AREA SOURCE FACILITIES
                                                                                                                                        Total capital                                               EtO emission
                                                                                                                                                             Total annual costs                                                  Cost effectiveness
                                                  Option                               Proposed standard                                 investment                                                  reductions
                                                                                                                                                                    ($/yr)                                                          ($/ton EtO)
                                                                                                                                             ($)                                                        (tpy)

                                              1 .................   99 percent emission reduction ...............................           $553,000     $142,000 ........................   0.99 [1,980 lb/year] ........    $144,000 [$72/lb]
                                              2 .................   BMP (estimated 20 percent emission reduction) ...                              0     $80,000 (one-time an-               0.20 [400 lb/year] ...........   $400,000 [$200/lb]
                                                                                                                                    I                   I  nual cost) 1.
                                                 1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
                                              as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be incurred in the first year of compliance,
                                              but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual costs) in the analysis.


                                                 Based on the estimates above, and                                   1 room air emissions for which data are                                 options to consider. We considered two
                                              considering EtO is a highly potent                                     available based on percent emission                                     BTF options for reducing EtO emissions
                                              carcinogen, the cost-effectiveness                                     reduction. There are only three                                         from this source: the first option we
                                              number of Option 2 is within the range                                 performance tests that are currently                                    considered was 95 percent emission
                                              of the values that we have determined                                  available, only one of which contains                                   reduction. The first option reflects the
                                              to be cost-effective for highly toxic                                  three test runs. Therefore, the best                                    lowest emission reduction that we have
                                              HAPs. While both options are                                           performing 12 percent of facilities for                                 observed in performance tests, and The
                                              considered generally available under                                   which data are available consists of one                                second option reflects the most stringent
                                              CAA section 112(d)(5), Option 1 would                                  facility with three test runs that is                                   emission reduction for which
                                              achieve greater emission reductions                                    controlling its Group 1 room air                                        compliance can be demonstrated. With
                                              than Option 2, and it is more cost-                                    emissions with a gas/solid reactor. That                                respect to the second option, the most
                                              effective. Therefore, we are finalizing                                facility reported an emission reduction                                 stringent emission reduction for which
                                              Option 1 as the standard for new CEVs                                  of 98 percent. We then used the LPL                                     compliance can be demonstrated is that
                                              at area source facilities under CAA                                    approach, as mentioned previously, to                                   which corresponds to an outlet
                                              section 112(d)(5). The standard requires                               develop the MACT floor for existing                                     concentration of 30 ppbv (i.e., 3xRDL).
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                                              these facilities to continuously reduce                                sources. The LPL 1 value of the existing                                This emission reduction is 97 percent,
                                              emissions from new CEVs by 99                                          source MACT floor is 90 percent                                         which is lower than two of the three
                                              percent.                                                               emission reduction. The outlet EtO                                      reported values in the test runs that
                                                 We have re-calculated the MACT floor                                concentration (UPL 99 value) that                                       were used to calculate the MACT floor.
                                              for existing Group 1 room air emissions                                corresponds to this emission reduction                                  The impacts of these options are
                                              at major source facilities. We ranked the                              is 93 ppbv. Since this is above 3×RDL,                                  presented in table 10 (along with the
                                              performance of the facilities with Group                               there are more stringent (i.e., BTF)                                    MACT floor impacts). Because we have


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                                              not identified any major source facilities                    facility with the following assumptions                • Annual operating hours: 8,000.
                                              with existing Group 1 room air                                reflecting the average of each of the                  • Portion of EtO going to Group 1
                                              emissions, the impacts are based on a                         parameters at synthetic area source                  RAE: 0.4 percent.
                                              model plant for existing Group 1 room                         facilities:                                            • Group 1 room air emission flow
                                              air emissions at a synthetic area source                        • Annual EtO use: 140 tpy.                         rate: 400 cubic feet per second (cfs).

                                                     TABLE 10—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF BTF OPTIONS CONSIDERED UNDER CAA
                                                         SECTIONS 112(d)(2) AND 112(d)(3) FOR GROUP 1 ROOM AIR EMISSIONS AT MAJOR SOURCE FACILITIES
                                                                                                                             Total capital     Total annual          EtO emission              Cost effectiveness
                                                  Option                          Proposed standard                          investment           costs               reductions                  ($/ton EtO)
                                                                                                                                  ($)             ($/yr)                 (tpy)

                                              MACT floor           90 percent emission reduction ........................        $830,000            $176,000   0.168 [336 lb/year] .....   $1,050,000 [$525/lb].
                                              1 ................   95 percent emission reduction ........................         553,000             129,000   2.80E–2 [56.0 lb/year]      $4,610,000 [$2,300/lb].
                                              2 ................   97 percent emission reduction ........................         461,000             113,000   1.12E–2 [22.4 lb/year]      $10,100,000 [$5,040/
                                                                                                                                                                                              lb].



                                                 Based on the estimates above, and                          emissions, the impacts are based on a                controls to reduce those emissions.31
                                              considering EtO is a highly potent                            model plant for new Group 1 room air                 We considered a standard of 80 percent
                                              carcinogen, the cost-effectiveness                            emissions at a synthetic area source                 emission reduction, which is the
                                              numbers are within the range of the                           facility. Based on the estimates above,              manufacturer guarantee for room air
                                              values that we have determined to be                          and considering EtO is a highly potent               emissions controls provided by one of
                                              cost-effective for highly toxic HAPs.                         carcinogen, the cost-effectiveness                   the commenters. We find this standard
                                              While both options are considered BTF                         numbers are within the range of the                  to be reasonable for existing Group 1
                                              under CAA sections 112(d)(2), Option 2                        values that we have determined to be                 room air emissions at area source
                                              would achieve greater emission                                cost-effective for highly toxic HAPs.                facilities because it is the manufacturer
                                              reductions than Option 1. Therefore, the                      While both options are considered BTF                guarantee, which means that it is a level
                                              final MACT standard under CAA                                 under CAA sections 112(d)(2), Option 2               of emission reduction that all sources
                                              sections 112(d)(2) and (3) for existing                       would achieve greater emission                       can achieve. While some sources have
                                              Group 1 room air emissions at major                           reductions than Option 1. Therefore, the             demonstrated emission reductions
                                              source facilities is 97 percent emission                      final standard for new Group 2 room air              higher than 80 percent, those reductions
                                              reduction.                                                    emissions at major source facilities is 97           are limited to facilities with higher EtO
                                                 For new sources, CAA section                               percent emission reduction. We also                  usage rates, and we cannot determine
                                              112(d)(3) requires that the standard                          considered non-air quality health and                whether smaller users of EtO can meet
                                              shall not be less stringent than the                          environmental impacts and energy                     those emission reductions. The second
                                              emission control that is achieved in                          requirements when evaluating the BTF                 potential GACT option we considered
                                              practice by the best controlled similar                       options. Further discussion of these                 was the same management practice
                                              source. In this case, the best controlled                     considerations is presented in the                   discussed in section IV.B.3.a, which
                                              similar source is also the Group 1 room                       document MACT Floor Analysis for                     would require facilities to lower the in-
                                              air emissions that are being controlled                       Ethylene Oxide Commercial                            chamber EtO concentration to 1 ppm
                                              by a gas/solid reactor and the data of                        Sterilization—Chamber Exhaust Vents                  before the chamber is opened. During
                                              which is used to determine the MACT                           and Room Air Emission Sources—                       the sterilization process, EtO becomes
                                              floor for existing sources. Therefore, the                    Promulgation Rule Review for the                     trapped within the material and
                                              new source MACT floor is equivalent to                        Ethylene Oxide Commercial                            continues to off-gas after the
                                              the existing source MACT floor, which                         Sterilization Source Category, available             sterilization process is complete.
                                              is 90 percent emission reduction. We                          in the docket for this rulemaking.                   Therefore, if more EtO is driven out of
                                              considered the same BTF options as                               For existing Group 1 room air                     the product prior to opening the
                                              those evaluated for existing Group 1                          emissions at area source facilities, we              chamber, this can lead to a reduction in
                                              room air emissions at major source                            considered two potential GACT options                post-sterilization EtO emissions,
                                              facilities for the same reasons explained                     for reducing EtO emissions from this                 including those from pre-aeration
                                              above. The first BTF option would                             group: the first option reflects the use of          handling of sterilized material. The
                                              require achieving 95 percent emission                         emission controls on Group 1 room air                impacts of these options are presented
                                              reduction, and the second BTF option                          emissions, and the second option is the              in table 11.
                                              would require achieving 97 percent                            same BMP discussed above (lowering
                                              emission reduction. The impacts of                            the in-chamber EtO concentration to 1                  31 The Group 1 room air emission reduction at

                                              these options are presented in table 10                       ppm before the chamber is opened).                   these facilities ranges from 52 percent to 99.8
                                                                                                                                                                 percent. It should be noted that the facility with the
                                              of this preamble. Because we have not                         With respect to the first option, 32 out             emission reduction at the upper bound of this range
                                              identified any major source facilities                        of 74 area source facilities with Group              uses 135 tpy of EtO.
                                                                                                            1 room air emissions are already using
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                                              with existing Group 1 room air




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                                                 TABLE 11—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                             112(d)(5) FOR EXISTING GROUP 1 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                                                                                    Total capital                                        EtO emission
                                                                                                                                                        Total annual costs                                      Cost effectiveness
                                                 Option                           Proposed standard                                 investment                                            reductions
                                                                                                                                                               ($/yr)                                              ($/ton EtO)
                                                                                                                                         ($)                                                 (tpy)

                                              1 ..............   80 percent emission reduction ...................                   $91,000,000      $12,900,000 .............      3.66 [7,320 lb/year] ..   $3,530,000 [$1,770/
                                                                                                                                                                                                                 lb].
                                              2 ..............   BMP (estimated 20 percent emission re-                                        $0     $5,040,000 (one-time           1.13 [2,260 lb/year] ..   $4,460,000 [$2,230/
                                                                  duction).                                                                             annual cost) 1.                                          lb].
                                                1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the
                                              chamber is opened, as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to
                                              be incurred in the first year of compliance, but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized
                                              capital costs plus annual costs) in the analysis.


                                                Based on the estimates above, and                                     Specifically, we are finalizing a                             considered (Option 2) is a BMP that
                                              considering EtO is a highly potent                                      requirement for these facilities to                           would require facilities to lower the in-
                                              carcinogen, the cost-effectiveness                                      continuously reduce emissions from                            chamber EtO concentration to 1 ppm
                                              numbers of these options are within the                                 existing Group 1 room air emissions by                        before the chamber is opened. The
                                              range of the values that we have                                        80 percent.                                                   impacts of these options, which are
                                              determined to be cost effective for                                        For new Group 1 room air emissions                         presented in table 12 of this preamble,
                                              highly toxic HAPs. We are finalizing                                    at area source facilities, we considered                      are based on a model plant for new
                                              Option 1 because while both options are                                 the same two potential GACT options as                        Group 1 room air emissions at an area
                                              considered generally available under                                    those evaluated for existing Group 1                          source facility with the assumptions
                                              CAA section 112(d)(5), Option 1 would                                   room air emissions at area source                             reflecting the average of each of the
                                              achieve greater emission reduction than                                 facilities for the same reasons explained
                                                                                                                                                                                    parameters at area source facilities with
                                              Option 2. Therefore, pursuant to CAA                                    above. The first potential GACT option
                                                                                                                                                                                    new Group 1 room air emissions as
                                              section 112(d)(5), we are finalizing                                    (Option 1) would require achieving an
                                              Option 1 for existing Group 1 room air                                  emission reduction of 80 percent. The                         described in section III.B.8.c of the
                                              emissions at area source facilities.                                    second potential GACT option we                               proposal preamble.

                                                TABLE 12—MODEL PLANT EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                              112(d)(5) FOR NEW GROUP 1 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                                                                                    Total capital                                        EtO emission
                                                                                                                                                        Total annual costs                                      Cost effectiveness
                                                 Option                           Proposed standard                                 investment                                            reductions
                                                                                                                                                               ($/yr)                                              ($/ton EtO)
                                                                                                                                         ($)                                                 (tpy)

                                              1 ..............   80 percent emission reduction ...................                      $922,000      $192,000 ..................    0.288 [576 lb/year] ...   $666,000 [$333/lb].
                                              2 ..............   BMP ............................................................              0      $80,000 (one-time              7.20E–2 [144 lb/year]     $1,110,000 [$556/lb].
                                                                 (estimated 20 percent emission reduction)                                              annual cost) 1.
                                                1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the
                                              chamber is opened, as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to
                                              be incurred in the first year of compliance, but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized
                                              capital costs plus annual costs) in the analysis.


                                                 Based on the estimates above, we find                                available, only one of which contains                         facility, which is 0.12 ppmv. This
                                              both options to be cost effective. While                                three test runs. Therefore, the best                          results in an adjusted MACT floor of 86
                                              both options are considered generally                                   performing 12 percent of facilities for                       percent emission reduction. Since this
                                              available under CAA section 112(d)(5),                                  which data are available consists of one                      represents 3×RDL, there are no more
                                              Option 1 would achieve greater                                          facility with three test runs that is                         stringent (i.e., BTF) options to consider,
                                              emission reductions than Option 2.                                      controlling its Group 2 room air                              as there would be difficulty
                                              Therefore, pursuant to CAA section                                      emissions with a gas/solid reactor. That                      demonstrating compliance at any such
                                              112(d)(5), we are finalizing standards for                              facility reported an emission reduction                       lower limit. Therefore, the final MACT
                                              new Group 1 room air emissions at area                                  of 96 percent. As mentioned previously,                       standard under CAA sections 112(d)(2)
                                              source facilities. Specifically, we are                                 we then used the LPL approach to                              and (3) for existing Group 2 room air
                                              finalizing a requirement for these                                      develop the MACT floor for existing                           emissions at major source facilities is 86
                                              facilities to continuously reduce                                       sources. The LPL 1 value of the existing                      percent emission reduction.
                                              emissions from new Group 1 room air                                     source MACT floor is 94 percent                                  For new sources, CAA section
                                              emissions by 80 percent.                                                emission reduction. The outlet EtO                            112(d)(3) requires that the standard
                                                 We re-calculated the MACT floor for                                  concentration (LPL 1 value) that                              shall not be less stringent than the
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                                              existing Group 2 room air emissions at                                  corresponds to this emission reduction                        emission control that is achieved in
                                              major source facilities. We ranked the                                  is 10 ppbv. Since this is below 3×RDL,                        practice by the best controlled similar
                                              performance of the facilities with Group                                we adjusted the MACT floor by                                 source. In this case, the best controlled
                                              2 room air emissions for which data are                                 determining the emission reduction                            similar source is also the Group 2 room
                                              available based on percent emission                                     using 30 ppbv and the LPL 1 value of                          air emissions that are being controlled
                                              reduction. There are only three                                         the inlet EtO concentration of the Group                      by a gas/solid reactor and the data of
                                              performance tests that are currently                                    2 room air emissions stream at the                            which is used to determine the MACT


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                                              floor for existing sources. Therefore, the                          the in-chamber EtO concentration to 1                                whether smaller users of EtO can meet
                                              new source MACT floor is equivalent to                              ppm before the chamber is opened).                                   those emission reductions. The second
                                              the existing source MACT floor, which                               With respect to the first option, 30 out                             potential GACT option we considered
                                              is 86 percent emission reduction. As                                of 80 area source facilities with Group                              was the same management practice
                                              explained above, because this emission                              2 room air emissions are already using                               discussed in section IV.B.3.a, which
                                              limit represents the lowest level at                                controls to reduce those emissions.32                                would require facilities to lower the in-
                                              which compliance can be demonstrated,                               We considered a standard of 80 percent                               chamber EtO concentration to 1 ppm
                                              the EPA did not consider more stringent                             emission reduction, which is the                                     before the chamber is opened. During
                                              (i.e., BTF) options. Therefore, the                                 manufacturer guarantee for room air                                  the sterilization process, EtO becomes
                                              proposed standard for new Group 2                                   emissions controls provided by one of
                                                                                                                                                                                       trapped within the material and
                                              room air emissions at major source                                  the commenters. We find this standard
                                                                                                                                                                                       continues to off-gas after the
                                              facilities is 86 percent emission                                   to be reasonable for existing Group 2
                                                                                                                  room air emissions at area source                                    sterilization process is complete.
                                              reduction.
                                                 For existing Group 2 room air                                    facilities because it is the manufacturer                            Therefore, if more EtO is driven out of
                                              emissions at area source facilities, we                             guarantee, which means that it is a level                            the product prior to opening the
                                              considered two potential GACT options                               of emission reduction that all sources                               chamber, this can lead to a reduction in
                                              for reducing EtO emissions from this                                can achieve. While some sources have                                 post-sterilization EtO emissions,
                                              group: the first option reflects the use of                         demonstrated emission reductions                                     including those from post-aeration
                                              emission controls on Group 2 room air                               higher than 80 percent, those reductions                             handling of sterilized material. The
                                              emissions, and the second option is the                             are limited to facilities with higher EtO                            impacts of these options are presented
                                              same BMP discussed above (lowering                                  usage rates, and we cannot determine                                 in table 13.
                                                  TABLE 13—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                              112(d)(5) FOR EXISTING GROUP 2 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                                                                            Total capital          Total annual costs               EtO emission reductions               Cost effectiveness
                                                   Option                         Proposed standard                          investment                   ($/yr)                             (tpy)                           ($/ton EtO)
                                                                                                                                 ($)

                                              1 ...................   80 percent emission reduction .................       $236,000,000    $32,700,000 .......................   1.10 [2,200 lb/year] ............   $29,700,000 [$14,900/lb].
                                              2 ...................   BMP (estimated 20 percent emission re-                           0    $5,440,000 (one-time an-              0.311 [622 lb/year] .............   $17,500,000 [$8,750/lb].
                                                                        duction).
                                                                                                                        I                   I nual cost) 1.
                                                 1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
                                              as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be incurred in the first year of compliance,
                                              but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual costs) in the analysis.


                                                 Based on the estimates above, and                                cost of the emission control option for                              emissions at area source facilities.
                                              considering EtO is a highly potent                                  most of the affected sources discussed                               Specifically, this GACT standard
                                              carcinogen, the cost-effectiveness                                  above is well below three percent.33                                 requires facilities to lower the in-
                                              numbers of these options are within the                             However, reducing existing Group 2                                   chamber EtO concentration to 1 ppm
                                              range of the values that we have                                    room air emissions at area source                                    before the chamber is opened.35
                                              determined to be cost-effective for                                 facilities using emission control devices                               For new Group 2 room air emissions
                                              highly toxic HAPs. Further, as discussed                            (Option 1), would significantly impact                               at area sources facilities, we considered
                                              in section III.B.8.g of the proposal                                several companies operating a total of                               the same two potential GACT options as
                                              preamble (88 FR 28790, April 13, 2023),                             nine area source facilities with Group 2                             those evaluated for existing Group 1
                                              there are multiple factors we consider in                           room air emissions. We estimate that the                             room air emissions at area source
                                              assessing the cost of the emission                                  annual cost of controls at the level                                 facilities for the same reasons explained
                                              reductions. See NRDC v. EPA, 749 F.3d                               under Option 1 would exceed three                                    above. The first potential GACT option
                                              1055, 1060 (D.C. Cir. April 18, 2014)                               percent of revenue for these                                         (Option 1) would require achieving an
                                              (‘‘Section 112 does not command the                                 companies.34 Based on the available                                  emission reduction of 80 percent. The
                                              EPA to use a particular form of cost                                economic information, assuming market                                second potential GACT option we
                                              analysis.’’). These factors include, but                            conditions remain approximately the                                  considered (Option 2) is a BMP that
                                              are not limited to, total capital costs,                            same, we are concerned that these                                    would require facilities to lower the in-
                                              total annual costs, cost-effectiveness,                             companies would not be able to sustain                               chamber EtO concentration to 1 ppm
                                              and annual costs compared to total                                  the costs associated with Option 1. In                               before the chamber is opened. The
                                              revenue (i.e., costs to sales ratios). Our                          addition, according to FDA, six of these                             impacts of these options, which are
                                              established methodology for assessing                               facilities could impact the availability of                          presented in table 14 of this preamble,
                                              economic impacts of regulations                                     the medical devices described in section                             are based on a model plant for new
                                              indicates that the potential for adverse                            I.A.1 of this preamble. Therefore,                                   Group 2 room air emissions at an area
                                              economic impacts begins when the cost                               pursuant to CAA section 112(d)(5), we                                source facility with the assumptions
                                              to sales ratio exceeds three percent.                               are finalizing Option 2 as the GACT                                  reflecting the average of each of the
                                              According to our estimates, the annual                              standard for existing Group 2 room air                               parameters at area source facilities with
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                                                32 The Group 2 room air emission reduction at                     112(d)(6) Technology Review, and CAA Section                           35 As discussed in section IV.C.2.a.iii of this

                                              these facilities ranges from 30 percent to 99.97                    112(f) Risk Assessment for the Ethylene Oxide                        preamble, this GACT standard will ultimately apply
                                              percent. It should be noted that the facility with the              Emissions Standards for Sterilization Facilities                     only to facilities where EtO use is less than 4 tpy.
                                              emission reduction at the upper bound of this range                 NESHAP, located at Docket ID No. EPA–HQ–OAR–                         Facilities where EtO use is at least 4 tpy will be
                                              uses 135 tpy of EtO.                                                2019–0178.
                                                33 See memorandum, Technical Support                                34 The issue of high cost-to-sales ratios is present
                                                                                                                                                                                       required to meet an emission standard established
                                                                                                                                                                                       under CAA section 112(f)(2).
                                              Document for Proposed Rule—Industry Profile,                        only for this option and, thus, is not discussed for
                                              Review of Unregulated Emissions, CAA Section                        other options.



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                                              new Group 1 room air emissions as                                   described in section III.B.8.h of the
                                                                                                                  proposal preamble.
                                                TABLE 14—MODEL PLANT EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                              112(d)(5) FOR NEW GROUP 2 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                                                                            Total capital          Total annual costs                 EtO emission reductions               Cost effectiveness
                                                   Option                         Proposed standard                          investment                   ($/yr)                               (tpy)                           ($/ton EtO)
                                                                                                                                 ($)

                                              1 ...................   80 percent emission reduction .................         $1,840,000    $332,000 ............................   3.6E–2 [72 lb/year] .............   $9,170,000 [$4,560/lb].
                                              2 ...................   BMP (estimated 20 percent emission re-                           0    $40,000 (one-time annual                9.1E–3 [18 lb/year] .............   $4,375,000 [$2,190/lb].
                                                                        duction).
                                                                                                                        I                   I cost)1.
                                                 1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
                                              as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be incurred in the first year of compliance,
                                              but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual costs) in the analysis.


                                                 Based on the estimates above, and                                broad alternatives, including a simple                                 requirements of EPA Method 204 were
                                              considering EtO is a highly potent                                  requirement to operate areas with room                                 included in our BTF and GACT
                                              carcinogen, the cost-effectiveness                                  air emissions subject to an emission                                   evaluations. We found each emission
                                              numbers of these options are within the                             standard under negative pressure.                                      standard that we evaluated to be cost-
                                              range of the values that we have                                       Response: We strongly disagree with                                 effective (see section IV.B.3.b of this
                                              determined to be cost-effective for                                 the commenters that EPA Method 204 is                                  preamble for more information). In
                                              highly toxic HAPs. As discussed earlier                             not appropriate to apply to this source                                addition, the term ‘‘negative pressure’’
                                              in this section, this includes hexavalent                           category. The design requirements of                                   is vague and can imply any capture
                                              chromium, where we finalized a                                      EPA Method 204 are agnostic to the                                     efficiency between zero and 100
                                              requirement with a cost-effectiveness of                            industry it is applied. It has been                                    percent. The commenters did not
                                              $15,000/lb ($30,000,000/ton) for                                    applied widely to any industrial                                       provide specific suggestions for
                                              existing small hard chromium                                        processes that needs to control VOC                                    alternative capture efficiencies, nor did
                                              electroplating to provide an ample                                  emissions, including several existing                                  they provide the criteria that would be
                                              margin of safety (taking into account                               commercial sterilizers that have already                               used to demonstrate that those
                                              cost among other factors) (77 FR 58227–                             been complying with EPA Method 204.                                    efficiencies are being met, and we are
                                              8, 58239). Although both options are                                In order to meet the emission standards,                               unable to evaluate alternative negative
                                              considered generally available under                                it is necessary to ensure that all                                     pressure requirements as a result.
                                              CAA section 112(d)(5), Option 1 would                               emissions are captured and routed to a                                 Therefore, EPA Method 204 is
                                              achieve four times the emission                                     control system. Our established protocol                               appropriate to apply to this source
                                              reductions of Option 2. Therefore,                                  in numerous new source performance                                     category in order to ensure complete
                                              pursuant to CAA section 112(d)(5), we                               standards, NESHAPs, and federally                                      capture of room air emissions.
                                              are finalizing standards for new Group                              enforceable State and local programs                                      Comment: Several commenters
                                              2 room air emissions at area source                                 (e.g., title V permits, State                                          requested various flexibilities and
                                              facilities. Specifically, we are finalizing                         implementation plans) for ensuring                                     clarifications with respect to the PTE
                                              a requirement for these facilities to                               complete capture of room air emissions                                 requirements of EPA Method 204.
                                              continuously reduce emissions from                                  is EPA Method 204. We recognize that                                   Several commenters expressed concern
                                              new Group 2 room air emissions by 80                                many commercial sterilizers will need                                  with Criterion 5.1 of EPA Method 204,
                                              percent.                                                            to retrofit their facilities to meet the PTE                           stating that it would not be possible to
                                                                                                                  requirements of EPA Method 204,                                        always ensure that doors are ‘‘at least
                                              c. PTE                                                              similar to facilities that have already                                four equivalent opening diameters’’
                                                 Comment: We received extensive                                   done so. We have accounted for the cost                                from all EtO storage media or post-
                                              comment on our proposal to require that                             to retrofit facilities by scaling the cost                             aeration sterilized product, particularly
                                              each facility must operate areas with                               from a large facility that conducted a                                 during loading and unloading
                                              room air emissions subject to an                                    retrofit. Furthermore, based on our                                    operations. Two commenters
                                              emission standard under the PTE                                     knowledge regarding the application of                                 recommended that we revise the
                                              requirements of EPA Method 204. Some                                EPA Method 204 in general, retrofitting                                standards to permit implementation of
                                              commenters were supportive of this                                  to meet this method can be complicated,                                cascading air systems to capture room
                                              requirement, stating that other                                     depending on the size of the facility.                                 air emissions.37 One commenter stated
                                              regulatory bodies have already required                             However, commercial sterilization                                      that these systems would provide
                                              this and that this is the correct protocol                          facilities tend to be simple buildings (in                             greater flexibility to accommodate
                                              for ensuring that emissions are captured                            some cases, re-purposed warehouses)                                    sterilization operations that could not
                                              and routed to a control system. Other                               with a relatively small footprint, which                               implement a PTE, would offer EtO
                                              commenters were opposed to this                                     helps the retrofitting process. The                                    capture and control efficiency that was
                                              requirement, stating that EPA Method                                emission standards for room air                                        as effective as a PTE, and would have
                                              204 was established for smaller point                               emissions that we evaluated assume 100                                 fewer manufacturing implications and
                                              source operations (e.g., paint booths,                              percent capture of EtO emissions,36 and
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                                                                                                                                                                                         potential adverse impacts. Finally, two
                                              spray coating), as opposed to larger                                the costs of complying with the PTE
                                              sterilization facilities. Several                                                                                                            37 These are systems that move air from ambient

                                              commenters cited other technical                                          36 Section 2 of EPA Method 204 states, in part, ‘‘If             pressure, through warehouse ventilation, secondary
                                              concerns, including the fact that not                               the criteria are met and if all the exhaust gases from                 aeration, primary aeration, the sterilizer chamber,
                                                                                                                  the enclosure are ducted to a control device, then                     and ultimately to an air pollution control device to
                                              every facility is currently configured to                           the volatile organic compounds (VOC) capture                           capture and control EtO emissions. This is opposed
                                              meet the PTE requirements of EPA                                    efficiency (CE) is assumed to be 100 percent, and                      to other systems where air from one source is
                                              Method 204. The commenters suggested                                CE need not be measured.’’                                             captured and then directly sent to a control system.



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                                              commenters expressed concern with                       equivalent duct or hood diameters from                adjacent) to and ‘‘under common
                                              Criteria 5.2, 5.3, and 5.5 of EPA Method                each NDO.’’ One commenter stated that                 control’’ with the EtO sterilization
                                              204.                                                    Criterion 5.2 may not be possible for all             building, including leased properties.39
                                                 Response: Criterion 5.1 of EPA                       facilities due to preexisting layouts.                Stand-alone warehouses are those that
                                              Method 204 states that ‘‘Any natural                    This criterion only applies to temporary              are not attached to or co-located with an
                                              draft opening (NDO) shall be at least                   total enclosures, as opposed to PTEs,                 EtO sterilization building. According to
                                              four equivalent opening diameters from                  and is not required in the final rule.                our record at the time of category listing,
                                              each VOC emitting point unless                             • Criterion 5.3 of EPA Method 204                  ‘‘the Commercial Sterilization Facilities
                                              otherwise specified by the                              states that ‘‘The total area of all NDO’s             source category includes ‘‘facilities
                                              Administrator.’’ 38 We disagree with the                shall not exceed 5 percent of the surface             which use ethylene oxide in any
                                              commenters’ concerns that Criterion 5.1                 area of the enclosure’s four walls, floor,            equipment which destroys bacteria,
                                              of EPA Method 204 will not be possible                  and ceiling.’’ One commenter stated that              viruses, fungi, insects, or other
                                              to meet for doors where either EtO                      the presence of garage doors could                    unwanted microorganisms or materials
                                              storage media is moved into a PTE or                    exceed the requirement that NDOs not                  when such facilities are engaged in the
                                              post-aeration sterilized material is                    exceed five percent of the PTE total                  growth, manufacture, construction,
                                              moved out of a PTE. There may be                        floor space. However, we note that                    transportation, retail or wholesale trade,
                                              certain facility designs where such an                  facilities can be, and have been, re-                 or storage of commercial products, or
                                              exemption is either necessary or                        designed in order to meet the PTE                     when such facilities are engaged in the
                                              unnecessary in order to ensure complete                 requirements of EPA Method 204,                       operation of museums, art galleries,
                                              capture of room air emissions. However,                 including Criterion 5.3. Therefore, we                arboreta, or botanical or zoological
                                              the EPA does not have enough                            are not finalizing any exceptions for this            gardens or exhibits. Not included in this
                                              information to make that determination                  criterion.                                            category are hospitals, doctor offices,
                                              for all facilities within the source                       • Criterion 5.5 of EPA Method 204                  veterinary offices, clinics, and other
                                              category as part of this rulemaking.                    states that ‘‘All access doors and                    facilities where medical services are
                                              Criterion 5.1 of EPA Method 204 allows                  windows whose areas are not included                  rendered’’ (emphasis added).40 Under
                                              delegated authorities to exempt any                     in section 5.3 and are not included in                this definition, warehouses that are part
                                              NDO from this requirement, as needed.                   the calculation in section 5.4 shall be               of facilities which use EtO, including
                                              Therefore, we are not exempting                         closed during routine operation of the                attached and co-located warehouses, are
                                              Criterion 5.1 of EPA Method 204 for                     process’’. Two commenters expressed                   part of the source category and,
                                              doors where either EtO storage media is                 concern with Criterion 5.4 of EPA                     therefore, subject to the standards for
                                              moved into a PTE or post-aeration                       Method 204. However, the commenters                   Group 2 room air emissions. However,
                                              sterilized material is moved out of a PTE               did not provide any explanation as to                 because stand-alone warehouses do not
                                              as part of this final rule. Instead, we are             why exceptions for Criterion 5.5 of EPA               use EtO, they are not included in the
                                              relying on the delegated authorities to                 Method 204 should be made. Therefore,                 source category definition. Furthermore,
                                              make that determination for their                       we are not finalizing any exceptions for              we do not have sufficient information to
                                              commercial sterilization facilities, as                 this criterion.                                       understand where these warehouses are
                                              provided in Criterion 5.1., as they are in              d. Warehouses                                         located, who owns them, how they are
                                              a better place to determine whether                                                                           operated, or what level of emissions
                                              there are sufficient measures in place to                  Comment: We received extensive                     potential they may have. While several
                                              capture any emission points within four                 comments on the regulation of                         commenters note that emissions
                                              equivalent opening diameters of an                      warehouses, particularly stand-alone                  information is available for at least one
                                              NDO. With respect to cascading air                      (i.e., off-site) warehouses. Most                     stand-alone warehouse, it is unknown
                                              systems, we disagree with the                           commenters were supportive of                         whether the emissions information for
                                              commenters’ suggestion that they be                     regulating emissions from all                         this facility is representative of all
                                              permitted in place of the PTE                           warehouses, stating that sterilized                   stand-alone warehouses. Thus,
                                              requirements of EPA Method 204, as                      materials can continue to off-gas                     standards for these facilities are not
                                              they are insufficient on their own to                   significant quantities of EtO after being             included as part of this final rule.
                                              ensure complete capture of room air                     moved to a warehouse. Several                         However, as suggested by one
                                              emissions. However, it is not our intent                commenters pointed to a stand-alone                   commenter, we are planning to gather
                                              to discourage or prohibit the use of                    warehouse in Georgia, where the State                 information from stand-alone
                                              these systems altogether. Cascading air                 estimated that potential pre-control EtO              warehouses as soon as possible to
                                              systems may be used to capture and                      emissions were approximately 5,000 lb/
                                              route room air emissions to a control                   year. One commenter was opposed to                       39 This final rule establishes standards under

                                              device. However, in order to ensure                     including standards for stand-alone                   CAA section 112 for both major and area sources
                                                                                                      warehouses as part of this final rule,                of commercial sterilization facilities. As the EPA
                                              complete capture of room air emissions,                                                                       explained in its final rule promulgating the General
                                              if such a system contains one or more                   stating that we could, instead, identify              Provisions for NESHAP pursuant to section 112,
                                              areas that are subject to the PTE                       potentially applicable facilities, collect            ‘‘[f]or the purposes of implementing section 112,
                                              requirements of EPA Method 204, then                    data from these facilities, and then                  the major/area source determination is made on a
                                                                                                                                                            plant-wide basis; that is, HAP emissions from all
                                              the entire system must be treated as a                  determine if further regulation is                    sources located within a contiguous area and under
                                              single enclosure that is subject to those               necessary.                                            common control are considered in the
                                              requirements.                                              Response: It is our understanding that             determination.’’ 59 FR 12408, 12411 (March 16,
                                                 For all other flexibilities suggested by             there are three types of warehouses                   1994). The EPA noted that ‘‘the common dictionary
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                                                                                                                                                            term ‘‘contiguous’’ consists, in part, of ‘‘nearby,
                                              the commenters, we provide the                          within this industry: attached                        neighboring, adjacent,’’ and that ‘‘the EPA has
                                              following responses:                                    warehouses, co-located warehouses, and                historically interpreted ‘contiguous property’ to
                                                 • Criterion 5.2 of EPA Method 204                    stand-alone warehouses. Attached                      mean the same as ‘contiguous or adjacent property’
                                              states that ‘‘Any exhaust point from the                warehouses are those that are part of an              in the development of numerous regulations to
                                                                                                                                                            implement the Act.’’ Id. at 12412.
                                              enclosure shall be at least four                        EtO sterilization building. Co-located                   40 Documentation for Developing the Initial
                                                                                                      warehouses are those that are detached                Source Category List, Final Report, page A–83 (see
                                                38 Per 40 CFR 51.100(s), EtO is a VOC.                from but ‘‘contiguous’’ (including                    EPA–450/3–91–030, July 1992).



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                                              understand what the source category                                  explained above in section IV.B.3 and in                ARVs at facilities where EtO use is at
                                              looks like and its emission potential                                Chapter 4 of the document, Summary of                   least 10 tpy.
                                              and, if necessary, develop a regulatory                              Public Comments and Responses for the
                                              action that both lists a new source                                                                                          C. Residual Risk Review for the
                                                                                                                   Risk and Technology Review for
                                              category and proposes standards for                                                                                          Commercial Sterilization Facilities
                                                                                                                   Commercial Sterilization Facilities, we
                                              stand-alone warehouses handling EtO                                                                                          Source Category
                                                                                                                   made changes in the final rule based on
                                              sterilized medical devices. This                                     comments received during the proposed                   1. What did we propose pursuant to
                                              information gathering effort may                                     rulemaking. More information and                        CAA section 112(f) for the Commercial
                                              include engaging with State and local                                rationale concerning all the                            Sterilization Facilities source category?
                                              agencies and non-governmental                                        amendments we are finalizing pursuant
                                              organizations, as well as conducting an                              to CAA sections 112(d)(2), 112(d)(3),                     Pursuant to CAA section 112(f), we
                                              ICR(s) pursuant to CAA section 114.                                  and 112(d)(5) is in the preamble to the                 conducted a residual risk review and
                                                The remaining comments and our                                     proposed rule (88 FR 22790, April 13,                   presented the results of this review,
                                              specific responses can be found in the                               2023), in section IV.B.3 of this                        along with our proposed decisions
                                              document, Summary of Public                                          preamble, and in the comments and our                   regarding risk acceptability and ample
                                              Comments and Responses for the Risk                                                                                          margin of safety, in the April 13, 2023,
                                                                                                                   specific responses to the comments in
                                              and Technology Review for Commercial                                                                                         proposed rule for 40 CFR part 63,
                                                                                                                   the document, Summary of Public
                                              Sterilization Facilities, available in the                                                                                   subpart O (88 FR 22790). The results of
                                                                                                                   Comments and Responses for the Risk
                                              docket for this rulemaking.                                                                                                  the risk assessment for the proposal are
                                                                                                                   and Technology Review for Commercial
                                              4. What is the rationale for our final                               Sterilization Facilities, which is                      presented briefly in table 15 of this
                                              approach and final decisions for the                                 available in the docket for this                        preamble. As discussed in section III.A
                                              revisions pursuant to CAA section                                    rulemaking. Therefore, we are finalizing                of the proposed rule, all baseline risk
                                              112(d)(2), 112(d)(3), and 112(d)(5)?                                 the proposed standards for SCVs and                     results were developed using the best
                                                 We evaluated the comments on our                                  ARVs at facilities where EtO use is less                estimates of actual emissions, and we
                                              proposed standards for SCVs, ARVs,                                   than 1 tpy, finalizing the proposed                     did not conduct a separate assessment
                                              and CEVs at facilities where EtO use is                              standards for ARVs at facilities where                  of allowables at proposal. More detail is
                                              less than 1 tpy, ARVs and CEVs at                                    EtO use is at least 1 tpy but less than                 in the residual risk technical support
                                              facilities where EtO use is at least 1 tpy                           10 tpy, finalizing standards for CEVs,                  document, Residual Risk Assessment for
                                              but less than 10 tpy, CEVs at facilities                             finalizing the proposed emission                        the Commercial Sterilization Facilities
                                              where EtO use is at least 10 tpy, and                                standards for room air emissions at                     Source Category in Support of the 2023
                                              room air emissions, as well as our                                   major sources facilities, finalizing                    Risk and Technology Review Proposed
                                              proposed technical correction to the                                 emission standards for room air                         Rule, which is available in the docket
                                              emission standard for ARVs at facilities                             emissions at area source facilities, and                for this rulemaking (see Docket Item No.
                                              where EtO use is at least 10 tpy. As                                 finalizing the proposed revisions for                   EPA–HQ–OAR–2019–0178–0482).

                                                 TABLE 15—COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY BASELINE RISK ASSESSMENT RESULTS IN THE
                                                                                               PROPOSAL
                                                                                                                            Estimated population at              Estimated
                                                                                                        Maximum                                                                     Maximum          Maximum screening
                                                                                                                            increased risk of cancer           annual cancer
                                                                                                        individual                                                                   chronic          acute noncancer
                                                        Number of facilities 1                                                                                   incidence
                                                                                                       cancer risk                                                                  noncancer         hazard quotient
                                                                                                                          >100-in-1             ≥1-in-1         (cases per
                                                                                                     (in 1 million) 2                                                                TOSHI                  (HQ)
                                                                                                                           million              million            year)

                                              97 3 ...............................................       6,000              18,000             8,300,000             0.9               0.04         0.002 (REL).
                                                 1 Number of facilities evaluated in the risk analysis.
                                                 2 Maximum individual excess lifetime cancer risk due to HAP emissions from the source category.
                                                 3 As part of the risk assessment for the proposed rulemaking, there were 86 facilities in the Commercial Sterilization Facilities source category
                                              in operation and 11 research and development facilities, for a total of 97 facilities. To exercise caution with respect to this source category, we
                                              included research facilities in our assessment because there was a lack of certainty over whether these were true research facilities, for which
                                              CAA section 112(c)(7) requires that a separate category be established. However, EtO use at these facilities tends to be very low (less than 1
                                              tpy), and these facilities had low risk.


                                                 The results of the proposed chronic                               organ-specific hazard index (TOSHI) for                 maximum HQ is 0.0005 based on the
                                              baseline inhalation cancer risk                                      the source category was 0.04, indicating                acute exposure guideline level (AEGL)–
                                              assessment at proposal indicated that,                               low likelihood of adverse noncancer                     2 acute health reference value.42
                                              based on estimates of current actual                                 effects from long-term inhalation                         At proposal, the maximum lifetime
                                              emissions, the MIR posed by the source                               exposures.                                              individual cancer risk posed by the 97
                                              category was 6,000-in-1 million. At                                     As shown in table 15 of this preamble,               modeled facilities, based on whole
                                              proposal, the total estimated cancer                                 the acute risk screening assessment of                  facility emissions, was 6,000-in-1
                                              incidence from this source category was                              reasonable worst-case inhalation                        million, with EtO emissions from SCVs
                                              estimated to be 0.9 excess cancer cases
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                                                                                                                   impacts indicates a maximum acute HQ                    and Group 2 room air emissions from
                                              per year, or one case in every 1.1 years.                            of 0.002 for propylene oxide based on                   the Commercial Sterilization Facilities
                                              Approximately 8.3 million people were                                the reference exposure level (REL) acute                source category driving the risk.
                                              estimated to have cancer risks at or                                 health reference value.41 For EtO, the                  Regarding the noncancer risk
                                              above 1-in-1 million from HAP emitted
                                              from the facilities in this source                                     41 Not to be confused with the ‘‘recommended            42 Acute RELs, ERPG–1, and AEGL–1 acute health
                                              category. At proposal, the estimated                                 exposure limit’’, which is used by the National         reference values are not available for ethylene
                                              maximum chronic noncancer target                                     Institute for Occupational Safety and Health.           oxide.



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                                              assessment, the maximum chronic                         required to prevent an adverse                        controlling these sources as a result of
                                              noncancer TOSHI posed by whole                          environmental effect. To determine                    local requirements or through voluntary
                                              facility emissions was estimated to be                  whether the rule provides an ample                    control measures.43 The revised
                                              0.04 (for the neurological system as the                margin of safety, we considered the                   emissions used to reanalyze risks are
                                              target organ), driven by emissions of EtO               requirements that we proposed to                      available in the docket for this
                                              from source category sources.                           achieve acceptable risks. In addition, we             rulemaking (see section IV.C.3 of this
                                                 We weighed all health risk factors,                  considered more stringent controls for                preamble and Appendix 1 of the
                                              including those shown in table 15 of                    SCVs, as well as expanding the emission               Residual Risk Assessment for the
                                              this preamble, in our risk acceptability                standard and work practice standards                  Commercial Sterilization Facilities
                                              determination and proposed that the                     for existing Group 2 room air emissions               Source Category in Support of the 2024
                                              risks posed by this source category                     to all facilities in the source category. In          Risk and Technology Review Final
                                              under the current provisions are                        considering whether the standards                     Rule).
                                              unacceptable. At proposal, we identified                should be tightened to provide an ample                  Based on the actual emission
                                              several options to control EtO emissions                margin of safety to protect public health,            estimates, the results of the chronic
                                              from SCVs and Group 2 room air                          we considered the same risk factors that              inhalation cancer risk from the risk
                                              emissions.                                              we considered for our acceptability                   assessment indicate that the maximum
                                                 To reduce risks, we considered two                   determination and also examined the                   lifetime individual cancer risk posed by
                                              additional control options after                        costs, technological feasibility, and                 the 88 facilities could be as high as
                                              implementation of controls under CAA                    other relevant factors related to                     6,000-in-1 million, with EtO as the
                                              sections 112(d)(2), 112(d)(3), and                      emissions control options that might                  major contributor to the risk. The total
                                              112(d)(5). Control Option 1 would have                  reduce risk associated with emissions                 estimated cancer incidence from the
                                              required a 99.94 percent emission                       from the source category. Based on these              revised risk assessment is 0.9 excess
                                              reduction standard for SCVs at facilities               considerations, we proposed that the                  cancer cases per year, or one excess case
                                              where EtO use is at least 40 tpy, as well               standards that we proposed to achieve                 in every 1.1 years. Of the approximately
                                              as a 2.8 E–3 lb/h standard for existing                 acceptable risks, along with a 99.94                  115 million people that live within 50
                                              Group 2 room air emissions at area                      percent emission reduction standard for               kilometers (km) of the 88 facilities
                                              source facilities where EtO use is at                   SCVs at facilities where EtO use is at                included in the risk assessment, 8.5
                                              least 20 tpy. We determined that this                   least 10 tpy but less than 40 tpy and a               million people were estimated to have
                                              would have resulted in a source                         99.8 percent emission reduction                       cancer risks greater than or equal to 1-
                                              category MIR of 400-in-1 million.                       standard for SCVs at facilities where                 in-1 million from HAP emitted from the
                                              Control Option 2 would have imposed                     EtO use is at least 1 tpy but less than               facilities in this source category, and
                                              the same requirements as Control                        10 tpy, would provide an ample margin                 approximately 19,000 are estimated to
                                              Option 1, but it would also have                                                                              have cancer risks greater than 100-in-1
                                                                                                      of safety to protect public health
                                              required facilities where the MIR is                                                                          million (table 16 of this preamble).
                                                                                                      (section III.D.2 of the proposal
                                              greater than 100-in-1 million after                                                                              The estimated maximum chronic
                                                                                                      preamble, 88 FR 22790, April 13, 2023).
                                              Control Option 1 is imposed to limit                                                                          noncancer TOSHI for the source
                                                                                                      We also solicited comment on which of
                                              their existing Group 2 room air                                                                               category remained unchanged from the
                                                                                                      the available control options should be
                                              emissions to a maximum volumetric                                                                             proposal at 0.04, indicating low
                                                                                                      applied in order to provide an ample
                                              flow rate of 2,900 dscfm and a                                                                                likelihood of adverse noncancer effects
                                                                                                      margin of safety to protect public health.
                                              maximum EtO concentration of 30                                                                               from long-term inhalation exposures.
                                              ppbv. This would have resulted in a                     2. How did the risk review change for                 Additionally, the worst-case acute HQ
                                              source category MIR of 100-in-1 million.                the Commercial Sterilization Facilities               remained unchanged from proposal
                                              We proposed Control Option 2 and                        source category?                                      (0.002 for propylene oxide based on the
                                              solicited comment on Control Option 1.                  a. Commercial Sterilization Facilities                REL acute health reference value).
                                                 We proposed that, after                                                                                       The maximum lifetime individual
                                                                                                      Source Category Risk Assessment and
                                              implementation of the proposed                                                                                cancer risk based on whole facility
                                                                                                      Determination of Risk Acceptability
                                              controls for SCVs and Group 2 room air                                                                        emissions was 6,000-in-1 million driven
                                              emissions at commercial sterilization                   (Step 1)                                              by EtO emissions from the Commercial
                                              facilities, the resulting risks would be                   As part of the final risk assessment,              Sterilization Facilities source category.
                                              acceptable for this source category. In                 the EPA reanalyzed risks to include                   The maximum chronic noncancer
                                              our proposal, we presented the risk                     allowable emissions (which we did not                 TOSHI posed by whole facility
                                              impacts using health risk measures and                  include at the proposal stage), changes               emissions was estimated to be 0.04 (for
                                              information, including the MIR, cancer                  since proposal to certain emission                    the neurological system as the target
                                              incidence, and associated uncertainty in                standards being finalized for previously              organ), driven by emissions of EtO from
                                              emissions estimates after application of                unregulated sources, and three                        source category sources.
                                              the proposed options to control EtO                     additional facilities identified by
                                              emissions from Group 2 room air                         commenters. Allowable emissions are                     43 As discussed later in this section, for

                                              emissions (88 FR 22790, April 13, 2023).                the maximum amount that facilities are                previously unregulated sources, the allowable
                                                                                                                                                            emissions in the risk assessment that considers
                                              At proposal, we determined application                  allowed to emit under CAA section                     controls we are promulgating under CAA sections
                                              of the controls for SCVs and Group 2                    112(d) standards. For previously                      112(d)(2), 112(d)(3), and 112(d)(5) are equal to the
                                              room air emissions would reduce the                     unregulated sources, since there were                 controlled emissions from these sources assuming
                                              estimated MIR from 6,000-in-1 million                   no CAA section 112(d) standards in                    that they are only controlled to the degree that we
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                                                                                                                                                            are requiring pursuant to CAA sections 112(d)(2),
                                              to 100-in-1 million.                                    place, the allowable emissions in the                 112(d)(3), and 112(d)(5). In some instances, the
                                                 We then considered whether the                       baseline risk assessment are equal to the             actual emissions for these sources may still be
                                              standards provide an ample margin of                    uncontrolled emissions from these                     lower than the allowable emissions. This is because
                                              safety to protect public health and                     sources. In some instances, the actual                some facilities are already controlling these sources
                                                                                                                                                            to a degree greater than what we are finalizing
                                              whether, taking into consideration costs,               emissions for these sources are lower                 pursuant to CAA sections 112(d)(2), 112(d)(3), and
                                              energy, safety, and other relevant                      than the allowable emissions. This is                 112(d)(5) as a result of local requirements or
                                              factors, additional standards are                       because some facilities are already                   through voluntary control measures.



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                                                Based on allowable emission                                             incidence is 8 excess cancer cases per                             million from allowable emissions, and
                                              estimates, the maximum lifetime                                           year, or 1 excess case in every 1.5                                approximately 260,000 are estimated to
                                              individual cancer risk could be as high                                   months. Approximately 62 million                                   have cancer risks greater than 100-in-1
                                              as 8,000-in-1 million, with EtO driving                                   people were estimated to have cancer                               million (table 16 of this preamble).
                                              the risk. The total estimated cancer                                      risks greater than or equal to 1-in-1

                                                 TABLE 16—COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY BASELINE RISK ASSESSMENT RESULTS BASED
                                                                                  ON REVISED EMISSIONS IN FINAL RULE

                                                                                                                                     Estimated population at                      Estimated
                                                                                                          Maximum                                                                                   Maximum
                                                                                                                                     increased risk of cancer                   annual cancer
                                                                                                          individual                                                                                 chronic            Maximum screening
                                                        Number of facilities 1                                                                                                    incidence
                                                                                                         cancer risk                                                                                noncancer           acute noncancer HQ
                                                                                                                                   >100-in-1                   ≥1-in-1           (cases per
                                                                                                       (in 1 million) 2                                                                              TOSHI
                                                                                                                                    million                    million              year)
                                                                                                                                                       I
                                                                                                                                             Actual Emissions

                                              88 3   ...............................................               6,000                   19,000                8,500,000                  0.9               0.04     0.002 (REL).

                                                                                                                                           Allowable Emissions

                                              88 3 ...............................................                 8,000                 260,000               62,000,000                     8               0.05
                                                 1 Number of facilities evaluated in the risk analysis.
                                                 2 Maximum individual excess lifetime cancer risk due to HAP emissions from the source category.
                                                3 Two of the 90 facilities identified in the source category are planned or under construction and therefore were not included in the risk
                                              assessment.


                                                Risks were then estimated after                                         this rulemaking pursuant to CAA                                    112(d)(5). A summary of those controls
                                              application of the controls finalized in                                  sections 112(d)(2), 112(d)(3), and                                 is presented in table 17.

                                               TABLE 17—SUMMARY OF STANDARDS AFTER TAKING ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3), AND
                                                                                           112(d)(5)
                                                                                           Existing or
                                                     Emission source                                                               EtO use                                             Standards                           CAA section
                                                                                             new?

                                              SCV ................................       Existing and         At least 10 tpy ..................................         99 percent emission reduction .........     Current standard.
                                                                                           new.
                                                                                                              At least 1 but less than 10 tpy .........                  99 percent emission reduction .........     Current standard.
                                                                                                              Less than 1 tpy .................................          99 percent emission reduction .........     112(d)(5).
                                              ARV ................................       Existing and         At least 10 tpy ..................................         99 percent emission reduction .........     Current standard.
                                                                                           new.
                                                                                                              At least 1 but less than 10 tpy .........                  99 percent emission reduction .........     112(d)(5).
                                                                                                              Less than 1 tpy .................................          99 percent emission reduction .........     112(d)(5).
                                              CEV at major sources ...  Existing and                          N/A ....................................................   99.94 percent emission reduction 1 ..       112(d)(2) and 112(d)(3).
                                                                          new.
                                              CEV at area sources ..... Existing and                          N/A ....................................................   99 percent emission reduction 1 .......     112(d)(5).
                                                                          new.
                                              Group 1 room air emis-    Existing and                          N/A ....................................................   97 percent emission reduction 1 2   .....   112(d)(2) and 112(d)(3).
                                                sions at major sources.   new.
                                              Group 1 room air emis-    Existing and                          N/A ....................................................   80 percent emission reduction 1 2 .....     112(d)(5).
                                                sions at area sources.    new.
                                              Group 2 room air emis-    Existing and                          N/A ....................................................   86 percent emission reduction 1 2   .....   112(d)(2) and 112(d)(3).
                                                sions at major sources.   new.
                                              Group 2 room air emis-    Existing ......                       N/A ....................................................   Lower the EtO concentration within          112(d)(5).
                                                sions at area sources.                                                                                                     each sterilization chamber to 1
                                                                                                                                                                           ppm before the chamber can be
                                                                                                                                                                           opened.1
                                                                                         New ...........      N/A ....................................................   80 percent emission reduction 1 2 .....     112(d)(5).
                                                 1 This standard is different from what was proposed.
                                                2 To assure compliance with the emission limit, we are requiring each facility to operate areas with these emissions in accordance with the
                                              PTE requirements of EPA Method 204 of appendix M to 40 CFR part 51.


                                                Based on the risk assessment                                            risk assessment are equal to the                                   allowable emissions. This is because
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                                              considering controls finalized under                                      controlled emissions from these sources                            some facilities are already controlling
                                              CAA sections 112(d)(2), 112(d)(3), and                                    assuming that they are only controlled                             these sources to a degree greater than
                                              112(d)(5), the maximum lifetime                                           to the degree that we are requiring                                what we are finalizing pursuant to CAA
                                              individual cancer risk could be as high                                   pursuant to CAA sections 112(d)(2),                                sections 112(d)(2), 112(d)(3), and
                                              as 6,000-in-1 million, with EtO driving                                   112(d)(3), and 112(d)(5). In some                                  112(d)(5) as a result of local
                                              the risk. For previously unregulated                                      instances, the actual emissions for these                          requirements or through voluntary
                                              sources, the allowable emissions in this                                  sources may still be lower than the                                control measures. The total estimated



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                                              cancer incidence could be as high as 4                                          However, as noted above, some                                   case in every 2.5 years. Approximately
                                              excess cancer cases per year, or 1 excess                                    facilities are currently performing better                         4.2 million people were estimated to
                                              case in every 3 months. As many as 38                                        than the controls finalized under CAA                              have cancer risks greater than or equal
                                              million people are estimated to have                                         sections 112(d)(2), 112(d)(3), and                                 to 1-in-1 million, and approximately
                                              cancer risks greater than or equal to 1-                                     112(d)(5), and in that case we estimate                            3,900 are estimated to have cancer risks
                                              in-1 million, and approximately 85,000                                       the maximum lifetime individual cancer                             greater than 100-in-1 million (table 18 of
                                              people are estimated to have cancer                                          risk as 5,000-in-1 million, with EtO                               this preamble), based only on the
                                              risks greater than 100-in-1 million (table                                   driving the risk. The total estimated                              application of the CAA section
                                              18 of this preamble).                                                        cancer incidence is estimated to be 0.4                            112(d)(2), 112(d)(3), and 112(d)(5)
                                                                                                                           excess cancer cases per year, or 1 excess                          actions being finalized.
                                                       TABLE 18—COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY RISK ASSESSMENT RESULTS BASED ON
                                                            EMISSIONS AFTER CONTROLS PROMULGATED UNDER CAA SECTIONS 112(d)(2)–(3) AND 112(d)(5)
                                                                                                                                                                                               Estimated population at              Estimated
                                                                                                                                                                         Maximum indi-        increased risk of cancer 2          annual cancer
                                                                                                                                                                         vidual cancer
                                                                                         Number of facilities 1                                                                                                                     incidence
                                                                                                                                                                               risk         >100-in-1 mil-     ≥1-in-1 million     (cases per
                                                                                                                                                                         (in 1 million) 2       lion                                  year) 2

                                              88 3 ...................................................................................................................   4 5,000–6,000        4 3,900–         4 4,200,000–           4 0.4–4

                                                                                                                                                                                              260,000           62,000,000
                                                 1 Number of facilities evaluated in the risk analysis.
                                                 2 Maximum individual excess lifetime cancer risk due to HAP emissions from the source category.
                                                3 Two of the 90 facilities identified in the source category are planned or under construction and therefore were not included in the risk assess-
                                              ment.
                                                4 Ranges in values account for if all facilities were performing at the level of the standards (high end) to considering facilities that are currently
                                              performing better than the standards (low end).


                                                 Based on the revised risk assessment                                      SCVs, which were those at facilities                               least 1 tpy but less than 10 tpy of EtO.46
                                              results considering controls finalized                                       where EtO use is less than 1 tpy (see                              We have determined that a 99.8 percent
                                              under CAA sections 112(d)(2), 112(d)(3),                                     section IV.B.2).                                                   emission reduction standard is feasible
                                              and 112(d)(5), we continue to find that                                         Our data do not identify any add-on                             because of one commenter’s statement
                                              the risks are unacceptable, as we did                                        controls beyond those we have already                              that, based on their discussions with
                                              during the proposal due to emissions of                                      considered when promulgating or                                    control device manufacturers, the best
                                              EtO from SCVs, ARVs, Group 1 room air                                        reviewing the SCV standards in the                                 and most advanced technologies will be
                                              emission, Group 2 room air emissions,                                        previous subpart O or finalizing the                               guaranteed to meet a 99.9 percent
                                              and CEVs. Pursuant to CAA section                                            standards for the previously unregulated                           emission reduction standard for SCVs.
                                              112(f)(2), the EPA must first determine                                      SCVs in section IV.B. However, our                                    For facilities using at least 10 tpy,
                                              the emission standards necessary to                                          evaluation of the performance test data                            further reduction would be needed to
                                              reduce risks to an acceptable level, and                                     and manufacturer guarantees shows that                             eliminate SCV emissions as a
                                              then determine whether further HAP                                           these controls can achieve greater than                            contributor to a facility’s MIR exceeding
                                              emissions reductions are necessary to                                        99 percent reduction. We therefore                                 100-in-a-million. We evaluated 99.9
                                              provide an ample margin of safety to                                         considered more stringent SCV                                      percent reduction, which as mentioned
                                              protect public health or to prevent,                                         standards for facilities where EtO use is                          above reflects the manufacturer
                                              taking into consideration costs, energy,                                     at least 1 tpy, which would include all                            guaranteed control level. A 99.9 percent
                                              safety, and other relevant factors, an                                       26 facilities where the revised allowable                          reduction would eliminate SCV
                                              adverse environmental effect.                                                emissions from SCVs contribute to the                              emissions as a contributor to facilities’
                                              Immediately below is a discussion of                                         facilities’ MIRs exceeding 100-in-1                                MIRs exceeding 100-in-1 million for
                                              the standards the EPA has evaluated for                                      million.                                                           facilities using at least 10 tpy but less
                                              bringing risks to an acceptable level                                           We evaluated 99.8 percent reduction                             than 30 tpy of EtO. As discussed in
                                              (step 1).                                                                    of SCV emissions from facilities using at                          section III.D.2 of the proposal preamble
                                                                                                                           least 1 tpy but less than 10 tpy of EtO.44                         (88 FR 22790, April 13, 2023), we
                                              i. SCV Emissions                                                                                                                                evaluated a 99.94 percent emission
                                                                                                                           As discussed in section III.D.2 of the
                                                                                                                           proposal preamble (88 FR 22790, April                              reduction standard for these facilities as
                                                 There are 26 facilities within the
                                                                                                                           13, 2023), 99.8 percent is the maximum                             part of Control Option A under the
                                              source category where the ‘‘revised
                                                                                                                           emission reduction from SCV with                                   second step of the residual risk review.
                                              allowable emissions’’ from SCVs (i.e.,
                                                                                                                           which compliance can be demonstrated                               However, as discussed in section IV.C.3
                                              allowable emissions after implementing
                                                                                                                           at all facilities with EtO usage within                            of this preamble, several commenters
                                              existing and newly promulgated 112(d)
                                                                                                                           this range.45 A 99.8 percent reduction                             stated that we do not have
                                              standards in this final rule) contribute to
                                                                                                                           would eliminate SCV emissions as a                                 representative performance tests for
                                              the facilities’ MIRs exceeding 100-in-1
                                                                                                                           contributor to a facility’s MIR exceeding                          SCVs. While this is not true for the
                                              million, and EtO usage at these facilities
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                                                                                                                           100-in-1 million for facilities using at                           whole source category, it is true for
                                              ranges from four tpy to 446 tpy. The
                                                                                                                                                                                              facilities where EtO use is at least 10 tpy
                                              previous subpart O required 99 percent
                                                                                                                                                                                              but less than 30 tpy. Therefore, as part
                                              emission reduction for SCVs at facilities                                       44 The MIRs of facilities with EtO usage less than

                                                                                                                           1 tpy are all below 100-in-a-million.                              of this final rule, we did not evaluate an
                                              where EtO use is at least 1 tpy. An                                             45 i.e., Based on facility characteristics, there is no
                                              emission reduction of 99 percent is also                                     compliance demonstration issue because the                            46 A facility with usage amount in this range may
                                              the final standard under CAA section                                         required EtO concentration to meet this limit would                still have a MIR exceeding 100-in-a-million due to
                                              112(d)(5) for the previously unregulated                                     be at or above 30 ppbv (which is 3 × RDL).                         other emissions.



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                                              emission reduction standard more                        evaluated 99.9 percent reduction of                      the chamber can be opened.52 Because
                                              stringent than the manufacturer                         ARV emissions from facilities using at                   there is still unacceptable risk from
                                              guarantee for SCVs at these facilities.                 least 30 tpy of EtO,48 which is feasible                 facilities where EtO usage is above 4
                                                 For facilities using at least 30 tpy,                because it is currently achieved by one-                 tpy, this requirement will ultimately
                                              further reduction would be needed to                    third of these facilities. Of these 12                   apply only to existing Group 2 room air
                                              eliminate SCV emissions as a                            facilities that are currently achieving                  emissions at facilities where EtO use is
                                              contributor to a facility’s MIR exceeding               this emission reduction, nine use                        less than 4 tpy.
                                              100-in-1 million. We evaluated 99.99                    catalytic oxidizers, two use a catalytic                   In evaluating the appropriate GACT
                                              percent reduction based on a                            oxidizer and gas/solid reactor in series,                standard for previously unregulated
                                              performance test showing this level of                  one uses a thermal oxidizer, and one                     existing Group 2 room air emissions at
                                              reduction from a facility within this                   uses a gas/solid reactor. Note that this                 area source facilities, we considered an
                                              group. A 99.99 percent reduction would                  does not sum to 12 because one facility                  emission reduction of 80 percent that
                                              eliminate SCV emissions as a                            uses two different types of control                      reflects the use of control devices
                                              contributor to a facility’s MIR exceeding               systems to reduce its ARV emissions.49                   (Option 1) but did not finalize that
                                              100-in-a-million for facilities using at                A 99.9 percent emission reduction                        option under CAA section 112(d)(5) for
                                              least 30 tpy of EtO. We received                        would eliminate ARV emissions as a                       reasons stated in section IV.B.3.b.
                                              comment on the technical feasibility of                 contributor to a facility’s MIR to exceed                However, having determined under
                                              emission standards that exceed the                      100-in-1 million for facilities using at                 CAA section 112(f)(2) that the risk for
                                              manufacturer guarantee for SCVs (i.e.,                  least 30 tpy of EtO.50                                   the source category is unacceptable, we
                                              99.9 percent emission reduction), but                                                                            are determining the emissions standards
                                                                                                      iii. Group 2 Room Air Emissions                          necessary to reduce risk to an acceptable
                                              we do not have any information
                                              suggesting that any facility within this                   There are 13 facilities, all area                     level without considering costs. We
                                              group cannot achieve 99.99 percent                      sources, where revised allowable Group                   evaluated 80 percent emission reduction
                                              emission reduction. See section IV.C.3                  2 room air emissions contribute to the                   of Group 2 room air emissions from area
                                              of this preamble for more information.                  facilities’ MIRs exceeding 100-in-1                      source facilities using at least 4 tpy but
                                                                                                      million and the EtO usage at these                       less than 20 tpy of EtO. As discussed in
                                              ii. ARV Emissions                                       facilities ranges from 4 tpy to 446 tpy.51               section IV.B.3.b of this preamble, 80
                                                 There are three facilities where                     Because Group 2 room air emissions                       percent is the manufacturer guarantee
                                              revised allowable ARV emissions                         contribute to unacceptable risks from                    for room air emissions controls
                                              contribute to the facility’s MIR                        existing area sources in this source                     provided by one of the commenters. We
                                              exceeding 100-in-1 million, and EtO use                 category, we evaluated available control                 do not have any performance test data
                                              at these facilities currently ranges from               options for reducing risks from Group 2                  for Group 2 room air emissions at these
                                              44 tpy to 446 tpy of EtO. The previous                  room air emissions.                                      facilities, so it is unknown whether
                                              subpart O required a 1 ppm maximum                         As discussed in section IV.B of this                  these sources can achieve greater than
                                              outlet concentration or 99 percent                      preamble, we are finalizing a GACT                       80 percent emission reduction. An 80
                                              emission reduction for ARVs at facilities               standard for previously unregulated                      percent reduction would eliminate
                                              where EtO use is at least 10 tpy. As                    Group 2 room air emissions at existing                   Group 2 room air emissions as a
                                              discussed in section IV.B, we are                       area source facilities. Specifically, we                 contributor to a facility’s MIRs
                                              removing the 1 ppm maximum outlet                       are finalizing under CAA section                         exceeding 100-in-1 million for area
                                              concentration alternative standard, and                 112(d)(5) that area source facilities                    source facilities using at least 4 tpy but
                                              we are finalizing 99 percent emission                   lower the EtO concentration within each                  less than 20 tpy.
                                              reduction standards under CAA section                   sterilization chamber to 1 ppm before                      For area source facilities using at least
                                              112(d)(5) for previously unregulated                                                                             20 tpy, further reduction would be
                                              ARVs, which were those at facilities
                                                                                                      Industry Profile, Review of Unregulated Emissions,       needed to eliminate Group 2 room air
                                                                                                      CAA Section 112(d)(6) Technology Review, and             emissions as a contributor to a facility’s
                                              where EtO use is less than 10 tpy. As                   CAA Section 112(f) Risk Assessment for the
                                              a result, the final 112(d) standard for                 Ethylene Oxide Emissions Standards for                   MIR exceeding 100-in-a-million. Our
                                              ARV emissions at all facilities is 99                   Sterilization Facilities NESHAP, located at Docket       data do not identify any add-on controls
                                                                                                      ID No. EPA–HQ–OAR–2019–0178.                             beyond those we have already
                                              percent reduction.                                         48 As discussed above, one of the facilities where
                                                 Our data do not identify any add-on                                                                           considered when finalizing the
                                                                                                      allowable ARV emissions contribute to the facility’s
                                              controls beyond those we have already                   MIR exceeding 100-in-1 million uses 44 tpy.              standards for the previously unregulated
                                              considered when promulgating, or                        Evaluating the emission reduction for facilities         Group 2 room air emission in section
                                              proposing revisions to the previous ARV                 where EtO use is at least 30 tpy provides a              IV.B. However, our evaluation of the
                                                                                                      sufficient buffer in case the EtO use at this facility   performance data shows that these
                                              standards in subpart O or finalizing the                drops to below 40 tpy.
                                              standards for the previously unregulated                   49 As part of the proposed rulemaking, a similar
                                                                                                                                                               controls can achieve greater than 80
                                              ARVs in section IV.B. However, as                       analysis was conducted for ARVs at facilities where      percent emission reduction at area
                                              discussed in section III.F.3 of the                     EtO use is at least 10 tpy. See section III.F.3.a of     source facilities where EtO use is at
                                                                                                      the proposal preamble for more details on that           least 20 tpy. We therefore considered a
                                              proposal preamble (88 FR 22790, April                   analysis (88 FR 22790, April 13, 2023).
                                              13, 2023), our evaluation of the                           50 As part of the proposed rulemaking, we
                                                                                                                                                               more stringent Group 2 room air
                                              performance test data shows that these                  evaluated a 99.9 percent emission reduction              emission standard for these facilities.
                                              controls can achieve greater than 99                    standard for ARVs at facilities where EtO use is at      We evaluated 98 percent reduction of
                                              percent emission reduction.47 We
                                                                                                      least 10 tpy as part of the technology review (see       Group 2 room air emissions from area
                                                                                                      section III.F.3 of the proposal preamble (88 FR          source facilities using at least 20 tpy,
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                                                                                                      22790, April 13, 2023)). For existing sources, this
                                                47 While the types of controls used for ARVs are      option was rejected in favor of a more cost-effective    which is the emission reduction that has
                                              the same as those used for SCVs, the distribution       option (i.e., 99.6 percent emission reduction).          been achieved in one-third of the
                                              of these controls is different. For example, the use    However, we proposed a 99.9 percent emission
                                              of catalytic oxidizers and gas/solid reactors is more   reduction standard for new sources pursuant to             52 As discussed in section IV.B of this preamble,
                                              prominent when controlling ARV emissions, while         CAA section 112(d)(6).                                   we are finalizing an 80 percent emission reduction
                                              the use wet scrubbers is more prominent when               51 As discussed earlier, the EPA has the authority    standard for all new Group 2 room air emissions at
                                              controlling SCV emissions. See memorandum,              to conduct an (f)(2) review of GACT standards and        area source facilities, regardless of EtO use, under
                                              Technical Support Document for Proposed Rule—           is exercising that authority in this action.             CAA section 112(d)(5).



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                                              available performance test runs for these                standard for Group 1 room air emissions                     • 99.8 percent emission reduction for
                                              facilities.53 98 percent reduction would                 at area source facilities.                                SCVs at facilities where EtO use is at
                                              eliminate Group 2 room air emissions as                     Our data do not identify any add-on                    least 1 tpy but less than 10 tpy,
                                              a contributor to a facility’s MIR                        controls beyond those we have already                       • 99.9 percent emission reduction for
                                              exceeding 100-in-a-million for area                      considered when finalizing the                            ARVs at facilities where EtO use is at
                                              source facilities where EtO use is at                    standards for Group 1 room air                            least 30 tpy,
                                              least 20 tpy.                                            emissions in section IV.B. However, our                     • 99.9 percent emission reduction for
                                                                                                       evaluation of the performance test data                   CEVs at facilities where EtO use is at
                                              iv. CEV Emissions                                                                                                  least 400 tpy,
                                                                                                       shows that these controls can achieve
                                                There is one facility within the source                                                                            • 98 percent emission reduction for
                                                                                                       greater than 80 percent reduction. We
                                              category where revised allowable                                                                                   Group 1 room air emissions at area
                                                                                                       therefore considered a more stringent
                                              emissions from CEVs contribute to the                                                                              source facilities where EtO use is at
                                                                                                       Group 1 room air emission standard for
                                              facility’s MIR exceeding 100-in-1                                                                                  least 40 tpy,
                                                                                                       area source facilities where EtO use is                     • 98 percent emission reduction for
                                              million, and this is an area source
                                                                                                       at least 40 tpy. We evaluated 98 percent                  Group 2 room air emissions at area
                                              facility that currently uses 446 tpy of
                                                                                                       emission reduction of Group 1 room air                    source facilities where EtO use is at
                                              EtO. The previous subpart O did not
                                                                                                       emissions from area source facilities                     least 20 tpy, and
                                              regulate CEVs at area source facilities.
                                                                                                       using at least 40 tpy, which is the                         • 80 percent emission reduction for
                                              As discussed in section IV.B of this
                                                                                                       emission reduction that has been                          Group 2 room air emissions at area
                                              preamble, we are finalizing a GACT
                                              standard for these sources. Specifically,                achieved in all but one of the six                        source facilities where EtO use is at
                                              pursuant to CAA section 112(d)(5), we                    available performance test runs for these                 least 4 tpy but less than 20 tpy.
                                              are finalizing a 99 percent emission                     facilities.55 A 98 percent reduction
                                                                                                       would eliminate Group 1 room air                          b. Ample Margin of Safety (Step 2)
                                              reduction standard for CEVs at area
                                              source facilities.                                       emissions as a contributor to a facility’s                   At step 1 of our review of residual
                                                Our data do not identify any add-on                    MIRs exceeding 100-in-1-million for                       risks under CAA section 112(f)(2), we
                                              controls beyond those we have already                    area source facilities where EtO use is                   have identified a suite of standards and
                                              considered when finalizing the                           at least 40 tpy.                                          determined that they are necessary to
                                              standards for CEVs in section IV.B.                         Considering all of the emission                        reduce risks to an acceptable level.
                                              However, our evaluation of the                           reductions that we evaluated above, the                   These include standards for SCVs at
                                              performance test data shows that these                   source category MIR would be reduced                      facilities with EtO usage of at least 1
                                              controls can achieve greater than 99                     to 100-in-1 million. This means that all                  tpy, ARVs at facilities with EtO usage of
                                              percent reduction. We therefore                          facilities would have an MIR at or below                  at least 30 tpy, CEVs at area source
                                              considered a more stringent CEV                          100-in-1 million,56 and the population                    facilities with EtO usage of at least 400
                                              emission standard for area source                        exposed to risk levels greater 100-in-1                   tpy, Group 1 room air emissions at area
                                              facilities where EtO use is at least 400                 million would be reduced to zero. In                      source facilities with EtO usage of at
                                              tpy. We evaluated 99.9 percent                           addition, the population exposed to risk                  least 40 tpy, and Group 2 room air
                                              reduction of CEV emissions from                          levels greater than or equal to 1-in-1                    emissions at area source facilities with
                                              facilities where EtO use is at least 400                 million living within 50 km of a facility                 EtO usage of at least four tpy. For step
                                              tpy, which is the emission reduction                     would be reduced to between 710,000                       2 of our review of residual risks, we
                                              that is currently achieved by 75 percent                 (when considering some facilities are                     evaluate whether more stringent
                                              of these facilities.54 A 99.9 percent                    currently performing better than the                      standards are necessary to provide an
                                              reduction would eliminate CEV                            standards) and 1.41 million people                        ample margin of safety to protect public
                                              emissions as a contributer to a facility’s               (when considering all facilities perform                  health. While we do not consider costs
                                              MIR exceeding 100-in-1-million for                       at the level of the standards). Finally,                  in the step 1 analysis, costs are a factor
                                              facilities where EtO use is at least 400                 the cancer incidence would be reduced                     we consider in the step 2 analysis. For
                                              tpy.                                                     from 0.9 to between 0.1 (when                             details on the assumptions and
                                                                                                       considering some facilities are currently                 methodologies used in the costs and
                                              v. Group 1 Room Air Emissions                                                                                      impacts analyses, see the technical
                                                                                                       performing better than the standards)
                                                 There are four area source facilities                 and 0.2 (when considering all facilities                  memorandum titled Ample Margin of
                                              within the source category where                         perform at the level of the standards), or                Safety Analysis for Ethylene Oxide
                                              revised allowable Group 1 room air                       from 1 cancer case every 1.1 years to 1                   Commercial Sterilization—
                                              emissions contribute to the facilities’                  cancer case every 5 to 10 years. For                      Promulgation Rule Review for the
                                              MIRs exceeding 100-in-1 million, and                     these reasons, we find that the                           Ethylene Oxide Commercial
                                              the EtO usage at these facilities ranges                 preceding emission reductions that we                     Sterilization Source Category, which is
                                              from 44 to 446 tpy. The previous                         evaluated reduce risks to an acceptable                   available in the docket for this
                                              subpart O did not regulate Group 1                       level. These emission reduction                           rulemaking.
                                              room air emissions at area source                        measures are:                                                As part of the proposed rulemaking,
                                              facilities. As discussed in section IV.B                    • 99.99 percent emission reduction                     we considered six options (which are
                                              of this preamble, we are finalizing a                    for SCVs at facilities where EtO use is                   identified in the proposal preamble
                                              GACT standard for these sources.                         at least 30 tpy,                                          table 22 (88 FR 22829) and proposed
                                              Specifically, pursuant to CAA section                                                                              Control Options A and C as part of the
                                              112(d)(5), we are finalizing an 80                          • 99.9 percent emission reduction for                  ample margin of safety analysis. Control
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                                              percent emission reduction as the GACT                   SCVs at facilities where EtO use is at                    Option A would have required 99.94
                                                                                                       least 10 tpy but less than 30 tpy,                        percent emission reduction for SCVs at
                                                53 All of these facilities use gas/solid reactors to
                                                                                                                                                                 facilities where EtO use is at least 10 tpy
                                              control their Group 2 room air emissions.                   55 All of these facilities use gas/solid reactors to
                                                                                                                                                                 but less than 40 tpy. We are not
                                                54 There are three facilities that are currently       control their Group 1 room air emissions.
                                              achieving this emission reduction. Of these three           56 Considering actual emissions, most facilities       finalizing Control Option A for the
                                              facilities, two use catalytic oxidizers, and one uses    (i.e., 87 out of 88) would have an MIR less than 100-     following reasons. First, this option is
                                              a wet scrubber.                                          in-1 million.                                             less stringent than the standard we have


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                                              already identified in Step 1 (99.99                      emission reduction for room air                          determined to be cost-effective for
                                              percent emission reduction) for SCV                      emissions, which is the standard for                     highly toxic HAPs. As explained in
                                              emissions at facilities where EtO use is                 facilities using at least 4 tpy but less                 section IV.B.3.b of this preamble, this
                                              at least 30 tpy.57 Second, for facilities                than 20 tpy of EtO that we have                          includes hexavalent chromium, where
                                              where EtO use is less than 30 tpy, we                    determined under step 1 as necessary to                  we finalized a requirement with a cost-
                                              do not have any performance tests                        reduce risks to an acceptable level).                    effectiveness of $15,000/lb
                                              showing that these facilities can perform                   • For Group 2 room air emissions at                   ($30,000,000/ton) for existing small
                                              better than the manufacturer guarantee                   area source facilities where EtO use is                  hard chromium electroplating to
                                              (i.e., 99.9 percent emission reduction for               less than 4 tpy, 80 percent emission                     provide an ample margin of safety
                                              SCVs). For these reasons, we are not                     reduction is not cost effective.58                       (taking into account cost among other
                                              finalizing Control Option A as part of                      • For Group 1 room air emissions at                   factors) (77 FR 58227–8, 58239). While
                                              this rulemaking. Control Option C                        area source facilities where EtO use is                  we do not know what the full extent of
                                              would have required 99.8 percent                         at least 40 tpy, we do not have data                     risk reductions would be, we estimate
                                              emission reduction for SCVs at facilities                indicating that it is technically feasible               that, compared to the measures in step
                                              where EtO use is at least 1 tpy but less                 for all facilities to achieve greater than               1, this control option would further
                                              than 10 tpy. As discussed in section                     98 percent emission reduction (which is                  reduce the population exposed to risk
                                              IV.C.2.a of this preamble (step 1 of risk                the standard for these affected sources                  levels greater than or equal to 1-in-1
                                              review), Control Option C is one of the                  that we have identified in Step 1 as                     million by additional 10,000–30,000
                                              standards identified under the revised                   necessary to reduce risks to an                          people. For area sources where EtO use
                                              Step 1 analysis as necessary to reduce                   acceptable level).                                       is less than 60 tpy, we do not have any
                                              risks to an acceptable level.                               • For Group 1 room air emissions at                   performance test data showing that
                                                 In addition, we evaluated the                         area source facilities where EtO use is                  existing controls can achieve greater
                                              following options but rejected them for                  less than 40 tpy, we do not have any                     than 99 percent reduction for CEVs
                                              the reasons discussed below:                             performance tests showing that these                     (which is the GACT standard we have
                                                 Æ For ARVs at facilities where EtO                    facilities can perform better than the                   established in this final rule for CEV at
                                              use is at least 30 tpy, we do not have                   manufacturer guarantee (i.e., 80 percent
                                                                                                                                                                area sources). In addition, for area
                                              data showing that it is technically                      emission reduction for room air
                                                                                                                                                                source facilities where EtO use is at
                                              feasible for all facilities to achieve                   emissions, which we have established
                                                                                                                                                                least 400 tpy, we were unable to identify
                                              greater than 99.9 percent emission                       in this final rule as the GACT standard
                                                                                                                                                                any cost-effective options. Therefore, we
                                              reduction (which is the standard                         for Group 1 room air emissions at these
                                                                                                                                                                did not consider a more stringent CEV
                                              applicable to these sources that we have                 facilities).
                                                                                                          However, there are two potential                      standard for facilities where EtO use at
                                              determined under step 1 as necessary to                                                                           least 400 tpy.
                                                                                                       options. One potential option is 99.6
                                              reduce risks to an acceptable level).                                                                                In the post control scenario (i.e., with
                                                                                                       percent emission reduction for ARVs at
                                                 • For ARVs at facilities where EtO                                                                             the implementation of the standards
                                                                                                       facilities where EtO use is at least 10 tpy
                                              use is less than 10 tpy, we were unable                                                                           identified under step 1 and the two
                                                                                                       but less than 30 tpy. This is cost
                                              to identify any cost-effective options                                                                            potential options discussed immediately
                                                                                                       effective and is already being achieved
                                              that achieve emission reduction greater                  by these facilities. The other potential                 above in this step 2 analysis, we
                                              than the current 99 percent emission                     option is to further reduce CEV                          estimated that the baseline cancer MIR
                                              reduction standard (GACT). More                          emissions at area source facilities.59                   of 6,000-in-1 million for actual
                                              information is presented in the                          Under this option, which would reduce                    emissions and 8,000-in-1 million for
                                              technical memorandum titled Ample                        CEV emissions by 99.9 percent at area                    allowable emissions would be reduced
                                              Margin of Safety Analysis for Ethylene                   source facilities where EtO use is at                    to 100-in-1 million, with EtO driving the
                                              Oxide Commercial Sterilization—                          least 60 tpy less than 400 tpy,60 costs                  risk. While the MIR for the source
                                              Promulgation Rule Review for the                         were found to be a $6,820,000 total                      category will be 100-in-1 million, we
                                              Ethylene Oxide Commercial                                capital investment and a $1,670,000                      estimate that most facilities (i.e., 87 out
                                              Sterilization Source Category, which is                  total annualized cost. The estimated EtO                 of 88) will have an MIR less than 100-
                                              available in the docket for this                         emissions reductions are 1.9 tpy (i.e.,                  in-1 million. There is an estimated
                                              rulemaking.                                              3,720 lb/year) with a cost effectiveness                 reduction in cancer incidence to 0.2
                                                 • For Group 2 room air emissions at                   of $895,000 per ton of EtO (i.e., $448 per               excess cancer cases per year (or one
                                              area source facilities where EtO use is                  lb of EtO). Considering EtO is a highly                  excess case every 5 years), down from
                                              at least 20 tpy, we do not have data                     potent carcinogen, the cost-effectiveness                0.9 excess cancer cases per year (or one
                                              indicating that it is technically feasible               number of this option is within the                      excess cancer case every 1.1 years) for
                                              for all facilities to achieve greater than               range of the values that we have                         baseline actual emissions and down
                                              98 percent emission reduction (which is                                                                           from 8 excess cancer cases per year (or
                                              the standard applicable to these sources                    58 As discussed in section IV.B.3.b of this           one excess cancer case every 1.5
                                              that we have determined under step 1                     preamble, we analyzed this option as part of the         months) for baseline allowable
                                              as necessary to reduce risks to an                       GACT analysis and found it to be cost-effective.
                                                                                                                                                                emissions. We estimate that, after full
                                              acceptable level).                                       However, this analysis included all facilities in the
                                                                                                       source category (i.e., not just those where EtO use      implementation of this final rule, 0
                                                 • For Group 2 room air emissions at                   is less than 4 tpy).                                     people would have cancer risks greater
                                              area source facilities where EtO use is                     59 As discussed in section IV.B.3.b of this
                                                                                                                                                                than 100-in-1 million, down from
                                              less than 20 tpy, we do not have any                     preamble, pursuant to CAA sections 112(d)(2) and         19,000 people for actual emissions and
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                                              performance tests showing that these                     112(d)(3), we are finalizing a 99.94 percent
                                                                                                       emission reduction standard for CEVs at major            260,000 people for allowable emissions.
                                              facilities can perform better than the                   source facilities. We did not identify any cost-         In addition, the number of people
                                              manufacturer guarantee (i.e., 80 percent                 effective BTF options.                                   estimated to have a cancer risk greater
                                                                                                          60 As discussed in step 1 analysis, pursuant to
                                                57 For facilities where use is less than 30 tpy, we
                                                                                                                                                                than or equal to 1-in-1 million would be
                                                                                                       CAA section 112(f)(2), this standard for CEVs at
                                              do not have performance test data indicating that        area source facilities where EtO usage is at least 400
                                                                                                                                                                reduced to 1.38 million people, down
                                              99.99 percent emission reduction for SCVs is             tpy is necessary to reduce risks to an acceptable        from 8.5 million people for actual
                                              technical feasible.                                      level.                                                   emissions and 62 million people for


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                                              allowable emissions (table 19 of this                               the maximum lifetime individual cancer                approximately 700,000 people estimated
                                              preamble).                                                          risk as 100-in-1 million, with EtO                    to have cancer risks greater than or
                                                 Again, we note that some facilities are                          driving the risk. The total estimated                 equal to 1-in-1 million and 0 people
                                              currently performing better than the                                cancer incidence is estimated to be 0.1               estimated to have cancer risks greater
                                              controls finalized under CAA sections                               excess cancer cases per year, or 1 excess             than 100-in-1 million (table 19 of this
                                              112(f)(2), and in that case we estimate                             case in every 10 years, with                          preamble).

                                                TABLE 19—BASELINE AND POST-CONTROL RISK (AFTER CONTROLS PROMULGATED UNDER CAA SECTIONS 112(F)(2)
                                                   SUMMARY FOR THE COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY BASED ON EMISSIONS IN THE FINAL
                                                   RULE
                                                                                                                                Inhalation cancer risk                               Population cancer risk

                                                                                                                                                                           Cancer
                                                                                                                         Maximum                                         incidence         >100-in-1
                                                                                                                      individual risk           Risk driver                                               ≥1-in-1 million
                                                                                                                                                                        (cases per          million
                                                                                                                       (in 1 million)                                       year)

                                              Actual Emissions Baseline Risk ...........................                       6,000    ethylene oxide ..............            0.9             19,000        8,500,000
                                              Allowable Emissions Baseline Risk ......................                         8,000    ethylene oxide ..............              8            260,000       62,000,000
                                              Post-control Risk ...................................................              100    ethylene oxide ..............      1 0.1–0.2                  0       1 700,000–

                                                                                                                                                                                                               1,380,000
                                                1 Ranges in values account for if all facilities were performing at the level of the standards (high end) to considering facilities that are currently
                                              performing better than the standards (low end).


                                                 Additional details of the analyzed                               the following emissions standards                     risk review we conducted during the
                                              risks can be found in the Residual Risk                             pursuant to CAA section 112(f)(2):                    proposal stage, which has been
                                              Assessment for the Commercial                                          • 99.99 percent emission reduction                 substantially revised. As discussed
                                              Sterilization Facilities Source Category                            for SCVs at facilities where EtO use is               above, based on the revised risk review,
                                              in Support of the 2024 Risk and                                     at least 30 tpy,                                      we are finalizing a different suite of
                                              Technology Review Final Rule, available                                • 99.9 percent emission reduction for              standards pursuant to CAA section
                                              in the docket for this rulemaking.                                  SCVs at facilities where EtO use is at                112(f)(2) to reduce risks to an acceptable
                                                 Based on our ample margin of safety                              least 10 tpy but less than 30 tpy,                    level and provide an ample margin of
                                              analysis, including all health                                         • 99.8 percent emission reduction for              safety to protect public health.
                                              information and the associated cost and                             SCVs at facilities where EtO use is at
                                                                                                                  least 1 tpy but less than 10 tpy,                     3. What key comments did we receive
                                              feasibility discussed above, we find that
                                                                                                                     • 99.9 percent emission reduction for              on the risk review, and what are our
                                              requiring the standards that, based on
                                                                                                                  ARVs at facilities where EtO use is at                responses?
                                              our analysis, would bring risks to an
                                              acceptable level, along with 99.6                                   least 30 tpy,                                            This section provides comment
                                              percent emission reduction for ARVs at                                 • 99.6 percent emission reduction for              summaries and responses for the key
                                              facilities where EtO use is at least 10 tpy                         ARVs at facilities where EtO use is at                comments received regarding our
                                              but less than 30 tpy and 99.9 percent                               least 10 tpy but less than 30 tpy,                    exclusion of allowable emissions from
                                              emission reduction for CEVs at area                                    • 99.9 percent emission reduction for              the risk assessment, the control
                                              source facilities where EtO use is at                               CEVs at area source facilities where EtO              requirements proposed for SCVs, and
                                              least 60 tpy but less than 400 tpy, would                           use is at least 60 tpy,                               the work practice standards that were
                                              provide an ample margin of safety to                                   • 98 percent emission reduction for                proposed for facilities where the MIR
                                              protect public health.                                              Group 1 room air emissions at area                    remained greater than 100-in-1 million
                                                                                                                  source facilities where EtO use is at                 after the imposition of requirements
                                              c. Environmental Effects                                            least 40 tpy,                                         under ‘‘Control Option 1’’ evaluated in
                                                 As explained in our proposed rule,                                  • 98 percent emission reduction for                the residual risk assessment during the
                                              the emissions data indicate that no                                 Group 2 room air emissions at area                    proposal stage, as well as the proposed
                                              environmental HAP are emitted by                                    source facilities where EtO use is at                 GACT standards that were incorporated
                                              sources within this source category. In                             least 20 tpy, and                                     into the residual risk assessment. We
                                              addition, we are unaware of any adverse                                • 80 percent emission reduction for                received comments against the
                                              environmental effects caused by HAP                                 Group 2 room air emissions at area                    exclusion of allowable emissions from
                                              emitted by this source category.                                    source facilities where EtO use is at                 the risk assessment, the control
                                              Therefore, we do not expect there to be                             least 4 tpy but less than 20 tpy.                     requirements proposed for SCVs, and
                                              an adverse environmental effect as a                                   We are not finalizing the work                     the work practice standards that were
                                              result of HAP emissions from this                                   practice standards that were proposed                 proposed for facilities where the MIR
                                              source category. For the reason stated                              for facilities where the MIR remained                 remained greater than 100-in-1 million
                                              above, it is not necessary to set a more                            greater than 100-in-1 million after the               after the imposition of requirements
                                              stringent standard to prevent, taking                               imposition of requirements under                      under ‘‘Control Option 1.’’ Other
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                                              into consideration costs, energy, safety,                           ‘‘Control Option 1’’, which would have                comments on these issues, as well as on
                                              and other relevant factors, an adverse                              required facilities to limit their existing           additional issues regarding the residual
                                              environmental effect.                                               Group 2 room air emissions to a                       risk review and our proposed changes
                                                                                                                  maximum volumetric flow rate of 2,900                 based on the residual risk review, can be
                                              d. Rule Changes                                                     dscfm and a maximum EtO                               found in the document, Summary of
                                                Based on comments received on the                                 concentration of 30 ppbv. We had                      Public Comments and Responses for the
                                              proposed rulemaking, we are finalizing                              proposed these standards based on the                 Risk and Technology Review for


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                                              Commercial Sterilization Facilities,                       Two commenters stated that                           currently achieving greater than 99.9946
                                              available in the docket for this                        emissions standards should be based on                  percent emission reduction on the first
                                              rulemaking.                                             achievable, manufacturer guaranteed                     evacuation, and the highest emission
                                                 Comment: Two commenters                              destruction removal efficiency of                       reduction on the first evacuation that we
                                              contended that we should use allowable                  emission control equipment. One                         have observed is 99.99999982 percent.
                                              emissions when conducting residual                      commenter stated that, based on their                   Of these 15 facilities that are currently
                                              risk assessments. One commenter stated                  discussions with control device                         achieving this emission reduction, eight
                                              that actual emissions only provide a                    manufacturers, they believe that the best               use wet scrubbers, three use a wet
                                              snapshot in time and that there is no                   and most advanced technologies will be                  scrubber and gas/solid reactor in series,
                                              legal requirement at the Federal level to               guaranteed to meet a 99.9 percent                       two use thermal oxidizers, one uses a
                                              maintain emissions beyond the                           emission reduction standard for SCVs.                   catalytic oxidizer, and one uses a wet
                                              NESHAP requirements in any given                           Response: We disagree with the                       scrubber and catalytic oxidizer in series.
                                              year. The commenter also referenced a                   commenters that our technical                              • The second performance test was
                                              2010 Science Advisory Board (SAB)                       publications on reduction ranges for                    conducted on March 10, 11, and 12,
                                              report that recommended we use                          add-on control equipment for HAPs do                    2020,64 and EtO use at this facility is
                                              ‘‘facility-specific allowable emissions                 not show that an emission reduction of                  229.2 tpy. This facility uses wet
                                              reflecting current regulatory limits.’’ 61              99.94 percent (and, therefore, any                      scrubbers and gas/solid reactors in
                                                 Response: We agree with commenters                   greater emission reduction) is                          series to control its SCV emissions. Due
                                              that allowable emissions should be                      achievable under normal continuous                      to the configuration of the control
                                              considered as part of the residual risk                 operation for SCVs. Such a performance                  system at this facility, there is no
                                              assessment. As discussed in section III.C               test was conducted for at least two                     mechanism to test the SCVs on their
                                              of the proposed rulemaking (88 FR                       systems that control SCV emissions, and                 own. Therefore, this performance test
                                              22790), because allowable emissions                     the reported emission reduction for both                was conducted for all emission sources
                                              and risks were higher than actual                       of these systems was 99.99 percent.                     at the facility. For lower concentration
                                              emissions, and in light of our finding                  Below is a discussion on the relevant                   streams like ARVs, CEVs, and room air
                                              that risks were unacceptable based on                   points for each performance test:                       emissions, emission reductions tend to
                                              actual emissions, we determined that a                     • The first performance test was                     be lower. Therefore, it is likely that the
                                              separate assessment of allowable                        conducted on November 17, 1999.62 It is                 SCV emission reduction at this facility
                                              emissions was unnecessary. However,                     unknown what the EtO use at this                        exceeds 99.99 percent.
                                              for the reasons stated by the                           facility was at the time of the                            As a general matter, it is not our
                                              commenters, we have incorporated                        performance test, but it is expected that               policy to simply rely on manufacturer
                                              allowable emissions into our revised                    it was somewhere between 10 tpy and                     guarantees when setting or revising
                                              risk assessment as part of this final                   30 tpy. At the time of the performance                  emission standards. Typically, we
                                              rulemaking.                                             test, the facility used a wet scrubber to               evaluate performance tests to see what
                                                 Comment: Two commenters                              control its SCV emissions.63 Prior to                   the controls are actually achieving in
                                              expressed the following concerns with                   November 2, 2001, we required facilities                practice and then set or revise the
                                              the 99.94 percent emission reduction                    to test the both the first and last                     standards based on that evaluation.
                                              standard for SCVs:                                      evacuations of the SCV. The SCV                         However, if representative performance
                                                 • Our technical publications on                                                                              test data are not available, then
                                                                                                      concentration decreases over time, so
                                              reduction ranges for add-on control                                                                             manufacturer guarantees may be
                                                                                                      any emission reductions between the
                                              equipment for HAPs do not show that                                                                             considered. We also note that it is
                                                                                                      first and last evacuations are going to be
                                              a destruction and removal efficiency of                                                                         common within this industry to
                                                                                                      at least as high as that of the last
                                              99.94 percent is achievable under                                                                               combine different types of control
                                                                                                      evacuation. For this performance test,
                                              normal continuous operation.                                                                                    devices in series when reducing
                                                 • The proposed requirement does not                  the average emission reduction at the
                                                                                                      first evacuation was 99.9946 percent,                   emissions. Since these control devices
                                              require additional controls based on                                                                            are often made by different
                                              new technology, but requires achieving                  and the average emission reduction at
                                                                                                      the last evacuation was 99.99 percent.                  manufacturers, there is no manufacturer
                                              greater efficiency from existing controls.                                                                      guarantee available for these systems.
                                              Specifically, one commenter stated that                 This means that the emission reduction
                                                                                                      over all the SCV cycles exceeded 99.99                  We do not share the commenters’
                                              nothing in the proposal preamble                                                                                concerns that emission control device
                                              suggests that the control systems                       percent. While this performance test
                                                                                                      data is almost 25 years old, emission                   manufacturers do not guarantee a
                                              installed in order to meet the current                                                                          destruction removal efficiency of 99.94
                                              SCV standard need to be replaced or                     control technology has continued to
                                                                                                      improve over time, and emission                         percent for SCVs, as representative
                                              their performance upgraded. The                                                                                 performance test data is available and
                                              commenter further stated that our cost                  reductions today are likely higher.
                                                                                                         • The data from this performance test                indicates that these emission reductions
                                              estimates include nothing with respect                                                                          (and, in fact, higher emission
                                              to controls for SCVs.                                   indicates that, for facilities where EtO
                                                                                                      use is at least 30 tpy, any SCV control                 reductions) are achievable for higher use
                                                 • Emission control device                                                                                    facilities. However, such performance
                                              manufacturers do not guarantee a                        system that is achieving higher than
                                                                                                      99.9946 percent emission reduction on                   test data are not available for smaller
                                              destruction removal efficiency of 99.94
                                                                                                      the first evacuation is likely achieving at             users, and it is not known whether those
                                              percent for SCVs.
                                                                                                      least 99.99 percent emission reduction                  facilities can meet the emission
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                                                61 Commenter provided the following reference:        overall. Our current performance test                   reduction that the higher use facility is
                                              EPA Science Advisory Board, Review of EPA’s draft       data indicates that at least 15 facilities              demonstrating. Therefore, we agree with
                                              entitled, ‘‘Risk and Technology Review (RTR) Risk       where EtO use is at least 30 tpy are                    commenters that consideration of
                                              Assessment Methodologies: For Review by the                                                                     manufacturer guarantees is warranted
                                              EPA’s Science Advisory Board with Case Studies—
                                              MACT I Petroleum Refining Sources and Portland            62 https://www.regulations.gov/document/EPA-          for lower use facilities, and the
                                              Cement Manufacturing’’, at ii, (May 7, 2010),           HQ-OAR-2019-0178-0297.
                                              https://www.regulations.gov/document/EPA-HQ-              63 This facility continues to use a wet scrubber to    64 https://www.regulations.gov/document/EPA-

                                              OAR-2010-0682-0103.                                     control its SCV emissions to this day.                  HQ-OAR-2019-0178-0349.



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                                              standards that we are finalizing for                    using ‘‘a two-step standard-setting                   an ample margin of safety to protect
                                              SCVs at facilities where EtO use is less                approach, with an analytical first step to            public health.
                                              than 30 tpy do not exceed the                           determine an ‘acceptable risk’ that
                                                                                                                                                            D. Technology Review for the
                                              manufacturer guarantee.                                 considers all health information,
                                                 In addition, we disagree with one                                                                          Commercial Sterilization Facilities
                                                                                                      including risk estimation uncertainty,                Source Category
                                              commenter’s assertion that there is                     and includes a presumptive benchmark
                                              nothing in the proposal preamble to                     on MIR of approximately 1-in-10                       1. What did we propose pursuant to
                                              suggest that the control systems                        thousand’’ (88 FR 22790, April 13, 2023;              CAA section 112(d)(6) for the
                                              installed in order to meet the current                  see also 54 FR 38045, September 9,                    Commercial Sterilization Facilities
                                              SCV standard need to be replaced or                     1989). We weigh all health risk factors               source category?
                                              their performance upgraded.                             in our risk acceptability determination,                 Based on our technology review for
                                              Furthermore, the commenter’s assertion                  including the cancer MIR, cancer                      the Commercial Sterilization Facilities
                                              that our cost estimates include nothing                 incidence, the maximum TOSHI, the                     source category, we proposed under
                                              with respect to controls for SCVs is                    maximum acute HQ, the extent and the                  CAA section 112(d)(6) changes to the
                                              incorrect. As discussed in section II.A of              distribution of cancer and noncancer                  standards for SCVs where EtO use is at
                                              this preamble, under the first step of the              risks in the exposed population,                      least 10 tpy, SCVs where EtO use is at
                                              residual risk assessment, if risks are                  multipathway risks, and the risk                      least 1 tpy but less than 10 tpy, and
                                              unacceptable, the EPA must determine                    estimation uncertainties. In the second               ARVs where EtO use is at least 10 tpy.
                                              the emissions standards necessary to                    step of the approach, the EPA considers               We provide a summary of our findings,
                                              reduce risk to an acceptable level                      whether the emissions standards                       as proposed, in this section. In general,
                                              without considering costs. While we did                 provide an ample margin of safety to                  while the types of controls have
                                              not conduct a cost analysis for the SCV                 protect public health ‘‘in consideration              essentially remained the same since
                                              standards that we are finalizing                        of all health information, including the              promulgation of subpart O, available
                                              pursuant to CAA section 112(f)(2) step                  number of persons at risk levels higher               information show greater emission
                                              1 (risk acceptability analysis), we                     than approximately 1-in-1 million, as                 reduction since then for some of these
                                              assume that new controls would be                       well as other relevant factors, including             control options.
                                              needed in order to achieve those                        costs and economic impacts,                              For SCVs, we proposed the following
                                              standards, and the cost of those controls               technological feasibility, and other                  emission standards pursuant to CAA
                                              are included in the total costs of the                  factors relevant to each particular                   section 112(d)(6):
                                              rule. However, we note that the final                   decision.’’ Id. The EPA must promulgate                  • 99.94 percent reduction for new
                                              standard is simply an emission                          emission standards necessary to provide               and existing SCVs at facilities where
                                              reduction standard, and owners and                      an ample margin of safety to protect                  EtO use is at least 10 tpy, and
                                              operators may choose to meet the                        public health or determine that the                      • 99.8 percent reduction for new and
                                              standard however they see fit (e.g.,                    standards being reviewed provide an                   existing SCVs at facilities where EtO use
                                              either through process changes, the                     ample margin of safety without any                    is at least 1 tpy but less than 10 tpy.
                                              replacement of a control system, or the                 revisions. After conducting the ample                    These are the maximum SCV
                                              use of additional control devices to                    margin of safety analysis, we consider                emission reductions with which
                                              further reduce emissions from an                        whether a more stringent standard is                  compliance can be demonstrated. We
                                              existing control system). In some cases,                necessary to prevent an adverse                       evaluated these standards against the
                                              existing controls may already be                        environmental effect, taking into                     maximum SCV emission reductions that
                                              achieving the standard, and in that case,               consideration costs, energy, safety, and              all facilities are currently meeting
                                              no changes are required.                                other relevant factors.                               within each subcategory. For more
                                                 Comment: Several commenters stated                                                                         information, see sections III.F.1 and
                                              that reducing the volumetric flow rate                     Since proposal, our determinations
                                                                                                                                                            III.F.2 of the proposal preamble (88 FR
                                              from Group 2 room air emissions to                      regarding risk acceptability, ample
                                                                                                                                                            22790, April 13, 2023).
                                              2,900 dscfm would be detrimental to                     margin of safety, or adverse                             For ARVs, we proposed the following
                                              sterilization operations and may make it                environmental effects have not changed.               emission standards pursuant to CAA
                                              impossible to achieve the proposed PTE                  The revised risk assessment (see                      section 112(d)(6):
                                              requirement.                                            document, Residual Risk Assessment for                   • 99.6 percent emission reduction for
                                                 Response: Based on comments                          the Commercial Sterilization Facilities               existing ARVs at facilities where EtO
                                              received on the proposed rulemaking,                    Source Category in Support of the 2024                use is at least 10 tpy, and
                                              we revised the risk assessment, which                   Risk and Technology Review Final Rule,                   • 99.9 percent emission reduction for
                                              resulted in different emission reduction                which is available in the docket for this             new ARVs at facilities where EtO use is
                                              measures than what we proposed to                       rulemaking) shows that, after                         at least 10 tpy.
                                              bring the risk to the acceptable level.                 application of controls finalized in this                These are the emission reductions
                                              The proposed work practice standards                    rulemaking, the MIR for the source                    that have been demonstrated by 75
                                              are no longer necessary to bring the MIR                category is 100-in-1 million. Therefore,              percent and 50 percent of all available
                                              of Group 2 room air emissions at area                   after application of the controls for                 performance tests, respectively. We
                                              source facilities to 100-in-1 million.                  SCVs at facilities where EtO use is at                evaluated both emission reductions for
                                              Therefore, we are not including a work                  least 1 tpy, ARVs at facilities where EtO             new and existing ARVs. For more
                                              practice standard that would require                    use is at least 30 tpy, CEVs at area                  information, see section III.F.3 of the
                                                                                                      source facilities where EtO use is at
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                                              any facilities to reduce their throughput                                                                     proposal preamble (88 FR 22790, April
                                              as part of this final rule.                             least 400 tpy, Group 1 room air                       13, 2023).
                                                                                                      emissions at area source facilities where
                                              4. What is the rationale for our final                  EtO use is at least 40 tpy, and Group 2               2. How did the technology review
                                              approach and final decisions for the risk               room air emissions at area source                     change for the Commercial Sterilization
                                              review?                                                 facilities where EtO use is at least four             Facilities source category?
                                                 As noted in our proposal, we set                     tpy, we find that the risks are acceptable               We are finalizing the following
                                              standards under CAA section 112(f)(2)                   and that the final standards will achieve             emission standards as a result of the


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                                              technology review for the Commercial                    concentration, which have not been                     concerned that some owners and
                                              Sterilization Facilities source category,               required to be tested. The commenters                  operators may dilute the air flow of the
                                              as proposed:                                            contended that the performance test                    emissions stream to meet a
                                                 • 99.8 percent emission reduction for                results based on the proposed testing                  concentration standard, which would
                                              new and existing SCVs at facilities                     procedures would be lower than those                   not result in any actual emission
                                              where EtO use is at least 1 tpy but less                under the previous testing procedures.                 reductions. Furthermore, it is not
                                              than 10 tpy,                                            One commenter stated that there are no                 appropriate to establish upper-bound
                                                 • 99.6 percent emission reduction for                data confirming whether state-of-the-art               limitations on air flow within this
                                              existing ARVs at facilities where EtO                   control systems can meet a 99.94                       source category, as additional flow may
                                              use is at least 10 tpy, and                             percent emission reduction standard for                be necessary in order to mitigate any
                                                 • 99.9 percent emission reduction for                SCVs where each performance test run                   potential safety issues that may arise.
                                              new ARVs at facilities where EtO use is                 is 24 hours, and another commenter                     Therefore, we are not finalizing any
                                              at least 10 tpy.                                        stated that we must ensure that any                    concentration standards as part of this
                                                 For new and existing SCVs at                         required emission reduction standards                  rulemaking.
                                              facilities where EtO use is at least 10                 that are finalized for SCVs are proven                   Comment: One commenter stated that,
                                              tpy, based on comments received on the                  and achievable as part of performance                  for the SCV technology rule under CAA
                                              proposal, we are finalizing a 99.9                      tests consisting of 24-hour test runs.                 section 112(d)(6), we merely referred
                                              percent emission reduction, which is                    One commenter stated that, based on                    back to, and repeated the proposed
                                              the manufacturer guarantee. There is a                  their discussions with control device                  standards of, the residual risk review.
                                              lack of representative performance test                 manufacturers, they believe that the best              The commenter further stated that we
                                              data for these SCVs, and we are unable                  and most advanced technologies will be                 did not conduct the technology review
                                              to determine whether all facilities can                 guaranteed to meet a 99.9 percent                      as a separate analysis, but rather, it was
                                              achieve an emission reduction higher                    emission reduction standard for SCVs.                  inseparably intertwined with the
                                              than the manufacturer guarantee. For                       Response: We agree with the                         residual risk review. Finally, the
                                              more information, see section IV.D.3.a                  commenters that it is not appropriate to               commenter stated there is no true
                                              of this preamble.                                       use performance test data based on the                 technology review in the record and that
                                              3. What key comments did we receive                     previous testing procedures in Subpart                 cost considerations of the proposed
                                              on the technology review, and what are                  O to justify revisions to the emission                 CAA section 112(d)(6) emissions
                                              our responses?                                          standards for SCVs. We disagree with                   standard for existing SCVs at facilities
                                                                                                      one commenter’s statement that there                   where EtO use is at least 40 tpy were
                                                 This section provides comment and                    are no data confirming whether state-of-               never considered, even though section
                                              responses for the major comments on                     the-art control systems can meet a 99.94               112(d)(6) requires considerations of
                                              our proposed CAA section 112(d)(6)                      percent emission reduction standard for                cost.66
                                              standards. Other comment summaries                      SCVs where each test run is 24 hours.                    Response: We disagree with the
                                              and our responses for additional issues                 As discussed in section IV.C.3, such                   commenter’s statement that a ‘‘true’’
                                              raised regarding these activities, as well              data exist for at least one system that                technology review was never
                                              as issues raised regarding our proposed                 controls SCV emissions. However, the                   conducted. In the proposal preamble (88
                                              revisions, can be found in the document                 EtO usage at this facility is fairly high,             FR 22839–41), the EPA discussed
                                              Summary of Public Comments and                          and we are unable to determine whether                 control options that can achieve further
                                              Responses for the Risk and Technology                   smaller users can meet this emission                   emission reductions compared to the
                                              Review for Commercial Sterilization                     standard. With respect to the suggestion               existing subpart O standards. While the
                                              Facilities, available in the docket for this            by some commenters that we consider a                  types of controls have essentially
                                              rulemaking.                                             manufacturer guarantee reduction level,                remained the same, available
                                              a. SCVs at Facilities Where EtO Use Is                  which one commenter stated is 99.9                     information shows improvement in
                                                                                                      percent emission reduction for SCVs,                   emission reduction potential for some of
                                              at Least 10 tpy
                                                                                                      we have no data disputing such level or                these control options, which we
                                                 Comment: Several commenters                          reason to question the manufacturer’s                  consider to be a development in control
                                              questioned whether the proposed                         guarantee. Further, as discussed in our                technologies; we analyzed this
                                              emission standards for SCVs at facilities               response to the next comment below,                    development and proposed revisions to
                                              where EtO use is at least 10 tpy could                  we find the cost of this option to be                  the standards pursuant to CAA section
                                              be achieved with existing technology                    reasonable. Therefore, pursuant to CAA                 112(d)(6). The commenter appears to
                                              and stated that we should consider                      section 112(d)(6), we are finalizing a                 take issue with the fact that these are the
                                              manufacturer guarantees when revising                   99.9 percent emission reduction                        same options as those we evaluated
                                              the standard, along with a maximum                      standard for SCVs at facilities where                  under CAA section 112(f)(2),
                                              concentration limit. The commenters                     EtO use is at least 10 tpy.65                          specifically under step 2 (ample margin
                                              stated that we arrived at a 99.94 percent                  We disagree with the commenter’s                    of safety) analysis. However, in
                                              emission reduction standard based on                    suggestion that we should consider a                   evaluating whether we can achieve
                                              performance tests that used the previous                maximum concentration limit along                      further emission reduction and thus
                                              testing procedures in Subpart O. These                  with the percentage reduction standard.                lower risks, we naturally would
                                              consisted of one-hour test runs that                    As discussed in section IV.B.3.a, we are
                                              occurred during the initial vacuum                                                                               66 In support of its comment that control costs

                                              event, when EtO loading to the control                    65 We also note that, as discussed in section        must be considered under section 112(d)(6) review,
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                                                                                                      IV.F.3 of this preamble, we are finalizing a           the commenter cited to Nat’l Ass’n for Surface
                                              system (and, therefore, emission                                                                               Finishing, 795 F.3d at 5 (‘‘in the technology review,
                                                                                                      requirement for owners and operators to include a
                                              reduction) is high. The commenters                      representative performance test period for SCVs,       EPA periodically assess, no less often than every
                                              further stated that we proposed                         along with a justification, in their stack test        eight years, whether standards should be tightened
                                              extending the duration of each test run                 protocol, so that the delegated authorities can        in view of developments in technologies and
                                                                                                      review and approve or deny the protocol as             practices since the standard’s promulgation or last
                                              to 24 hours, which would cover a                        appropriate. This will ensure that performance tests   revision, and, in particular, the cost and feasibility
                                              variety of operating conditions,                        provide a more accurate representation of SCVs         of developments and corresponding emissions
                                              including periods of low inlet                          emission reductions.                                   savings’’).



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                                              consider controls that reflect the current                   section 112(d)(6) for SCV at facilities                commenter’s discussions with control
                                              developments in processes and                                using at least 10 tpy EtO, we                          device manufacturers, the best and most
                                              technology by this industry (i.e., well                      inadvertently evaluated the control                    advanced technologies will be
                                              performing air pollution control), which                     costs for facilities using between 10 to               guaranteed to meet 99.9 percent
                                              we are also required to evaluate under                       40 tpy only. However, as discussed in                  emission reduction for SCVs. The
                                              CAA section 112(d)(6). For the reason                        our comment response above, we no                      impacts of this option and the 99.6
                                              stated above, we find the comment that                       longer consider the proposed 99.94                     percent reduction option that we
                                              our technology review was not a ‘‘true’’                     percent emission reduction standard to                 considered during the proposal stage are
                                              review to be without merit.                                  be appropriate. As suggested by several                presented below in table 20 for existing
                                                We acknowledge that in proposing a                         commenters, we evaluated a                             sources:
                                              99.94 percent standard pursuant to CAA                       manufacturer guarantee. Based on one

                                                 TABLE 20—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                              112(d)(6) FOR EXISTING SCVS AT FACILITIES WHERE ETO USE IS AT LEAST 10 TPY
                                                                                                                             Total capital     Total annual            EtO emission                     Cost effectiveness
                                                  Option                          Standard evaluated                         investment           costs                 reductions                         ($/ton EtO)
                                                                                                                                  ($)             ($/yr)                   (tpy)

                                              1 ................   99.9 percent emission reduction .....................       $1,840,000            $752,000   1.14 [2,280 lb] ............          $661,000 [$330/lb].
                                              2 ................   99.6 percent emission reduction .....................                0                   0   0 .................................   N/A.



                                                 Based on the estimates above, and                         (taking into account cost among other                    The impacts of these options for new
                                              considering EtO is a highly potent                           factors) (77 FR 58227–8, 58239). As part               sources, which are presented in table 21
                                              carcinogen, the cost-effectiveness                           of the proposed rulemaking, the highest                of this preamble, are based on a model
                                              number of this option is within the                          cost-effectiveness number that we found                plant for new SCVs at a facility using at
                                              range of the values that we have                             was $19,420,188/ton. We did not                        least 10 tpy of EtO with the following
                                              determined to be cost-effective for                          receive adverse comment on our finding                 assumptions reflecting the average of
                                              highly toxic HAPs. As explained in                           that this is cost-effective. While Option              each of the parameters at existing
                                              section IV.B.3.b of this preamble, this                      2 would prevent backsliding, it does not               facilities using at least 10 tpy of EtO:
                                              includes hexavalent chromium, where                          achieve additional emission reduction.                   • Annual EtO use: 120 tpy.
                                              we finalized a requirement with a cost-                      Therefore, pursuant to CAA section
                                                                                                                                                                    • Annual operating hours: 8,000.
                                              effectiveness of $15,000/lb                                  112(d)(6), we are revising the standard
                                              ($30,000,000/ton) for existing small                         to require facilities where EtO use is at                • Portion of EtO going to SCVs: 94.41
                                              hard chromium electroplating to                              least 10 tpy to reduce their emissions                 percent.
                                              provide an ample margin of safety                            from existing SCVs by 99.9 percent.                      • SCV flow rate: 200 cfs.

                                                 TABLE 21—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                                                               112(d)(6) FOR NEW SCVS AT FACILITIES WHERE ETO USE IS AT LEAST 10 TPY
                                                                                                                             Total capital     Total annual            EtO emission                     Cost effectiveness
                                                  Option                          Standard evaluated                         investment           costs                 reductions                         ($/ton EtO)
                                                                                                                                  ($)             ($/yr)                   (tpy)

                                              1 ................   99.9 percent emission reduction .....................         $523,000            $136,000   1.02 [2,040 lb] ............          $134,000 [$67/lb].
                                              2 ................   99.6 percent emission reduction .....................          348,000             106,000   0.68 [1,360 lb] ............          158,000 [$79/lb].



                                                Based on the estimates above, we find                      facilities. The commenter also stated                  method to calculate alternative,
                                              both options to be cost effective. Option                    that any standard that fails to reflect                equivalent mass rate emission
                                              1 would achieve greater emission                             individual facility dynamics that                      standards. Another commenter stated
                                              reductions than Option 2, and Option 1                       materially affect the ability to comply is             that, based on their discussions with
                                              would be more cost-effective. Therefore,                     inappropriate and not achievable.                      control device manufacturers, they
                                              pursuant to CAA section 112(d)(6), we                           Response: We agree with the                         believe that the best and most advanced
                                              are revising the standard to require                         commenters’ concerns regarding the                     technologies will be guaranteed to meet
                                              facilities where EtO use is at least 10 tpy                  alternative, equivalent mass rate                      a 99.9 percent emission reduction
                                              to reduce their emissions from new                           emission standards. Therefore, they are                standard for SCVs.
                                              SCVs by 99.9 percent.                                        not included in this final rule.
                                                                                                                                                                    Response: We agree with the
                                                Comment: In response to the EPA’s                          b. SCVs at Facilities Where EtO Use Is                 commenter’s suggestion that
                                              solicitation of comment on whether to                        at Least 1 Tpy but Less Than 10 Tpy                    manufacturer guarantees be considered
                                              include a mass emission rate standard                           Comment: One commenter stated that                  when finalizing the standard. Most of
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                                              as an alternative to the percent emission                    they support emission reduction                        the performance tests that are currently
                                              reduction standard, two commenters                           standards based on manufacturer                        available for SCVs are based on the
                                              were opposed to such an alternative.                         guarantees for control equipment, along                previous testing procedures, which are
                                              One commenter stated that mass                               with a maximum concentration limit, to                 not reflective of actual operating
                                              emission rate standards for individual                       ensure that compliance can be achieved                 conditions. The one performance test
                                              vents do not account for variability                         and demonstrated. In addition, the                     we have that is based on actual
                                              between facilities or variability within                     commenter did not agree with our                       operating conditions is for a facility


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                                              where EtO use exceeds 30 tpy and thus                      Response: We disagree with the                     including these standards in the final
                                              not appropriate for the group of                        commenters’ position that the proposed                rule.
                                              facilities at issue here (i.e., those using             emission reduction standards are not                     Comment: One commenter stated that
                                              at least 1 tpy but less than 10 tpy of                  achievable. As discussed in section                   if the lowest practicably measured
                                              EtO). Therefore, a manufacturer                         III.F.3.a of the proposal preamble (88 FR             concentration is 30 ppbv (our presumed
                                              guarantee is appropriate to consider in                 22790, April 13, 2023), most existing                 workable-in-practice detection limit for
                                              this instance, and a 99.8 percent                       sources (i.e., 75 percent) are already                CEMS), then a source with an inlet
                                              emission reduction standard falls within                achieving 99.6 percent emission                       concentration that is too low will be
                                              the manufacturer guarantee range for                    reduction. In addition, 99.9 percent                  unable to show the required emission
                                              SCV controls as provided by one of the                  emission reduction has been                           reduction, even if the control system is
                                              commenters (99.9 percent emission                       demonstrated by 50 percent of existing                providing that level of reduction,
                                              reduction). However, this does not                      sources. We also disagree with one                    because the monitoring approach will
                                              change our rationale for a 99.8 percent                 commenter’s suggestion that                           be unable to distinguish the true outlet
                                              reduction standard during the proposal                                                                        concentration from 30 ppbv. The
                                                                                                      manufacturer guarantees be considered
                                              stage, which was that this is the                                                                             commenter further stated that existing
                                                                                                      in this instance for two reasons. First,
                                              maximum emission SCV reduction with                                                                           sources would need to have pre-control
                                                                                                      there is no need to rely on manufacturer
                                              which compliance can be demonstrated                                                                          aeration room concentrations of at least
                                                                                                      guaranteed emission levels because                    7.5 ppmv to make this demonstration.
                                              at all facilities where EtO use is at least             there are available performance test data
                                              1 tpy but less than 10 tpy considering                                                                        Two commenters stated that the
                                                                                                      for ARVs that are representative of                   increased 99.6 percent (existing
                                              current emission profiles.                              actual operating conditions. Unlike
                                                 We disagree with the commenter’s                                                                           facilities) or 99.9 percent (new facilities)
                                                                                                      SCVs, which go through different active               ARV emission reduction standards
                                              recommendation for a maximum                            phases with wildly varying                            penalize facilities that have reduced EtO
                                              concentration limit. As discussed in                    concentrations, fluctuations in ARV                   concentrations during the sterilization
                                              section IV.B.3.a, we are concerned that                 concentrations are slight; an aeration                cycle. Several commenters noted that
                                              some owners and operators may dilute                    room serves one purpose, which is to                  facilities have reduce EtO
                                              the air flow of the emissions stream to                 hold product at an elevated                           concentrations during the sterilization
                                              meet a concentration standard, which                    temperature, and the resulting ARV                    cycle (i.e., use of vacuum and/or
                                              would not result in any actual emission                 concentration is relatively constant.                 nitrogen wash cycles) prior to moving
                                              reductions. Furthermore, it is not                      Therefore, a one-hour test period for this            the sterilized load to aeration to reduce
                                              appropriate to establish upper-bound                    source is appropriate, and the resulting              inlet ARV concentrations, and that
                                              limitations on air flow within this                     performance test data are representative              removals, on a percent basis, are only
                                              source category, as additional flow may                                                                       achievable with elevated inlet
                                                                                                      of actual operating conditions. To that
                                              be necessary in order to mitigate any                                                                         concentrations.
                                                                                                      end, we disagree with another
                                              potential safety issues that may arise.                                                                          Response: One commenter is correct
                                                                                                      commenter’s statement that fluctuations
                                              Finally, as discussed in section IV.D.3.a,                                                                    that, given the lowest practicable
                                                                                                      in the ARV make it difficult to comply
                                              we are not including any alternative,                                                                         measured concentration (30 ppbv), the
                                                                                                      with an emission reduction standard.
                                              equivalent mass rate emission standards                                                                       pre-control concentration would need to
                                              in the final rule. Therefore, the                       Second, performance test data for ARVs
                                                                                                      are plentiful. As discussed in section                be 7.5 ppmv in order to demonstrate
                                              commenter’s concerns regarding the                                                                            compliance with the proposed standard
                                              methodology used to calculate the limits                III.F.3.a of the proposal preamble, there
                                                                                                      are 47 facilities where EtO use is at least           for existing sources. The performance
                                              are no longer relevant.                                                                                       test data that are available for ARVs at
                                                                                                      10 tpy, 41 of which have ARVs. Of these
                                              c. ARVs at Facilities Where EtO Use Is                  41 facilities, 32 (78 percent) have                   these facilities consist of 86 test runs. Of
                                              at Least 10 Tpy                                         performance test data. Because the                    these 86 test runs, only five (six percent)
                                                                                                      performance test data from ARVs at                    had a measured concentration less than
                                                 Comment: Several commenters                                                                                7.5 ppmv, which suggests low
                                              objected to the proposed emission                       these facilities are both plentiful and
                                                                                                                                                            likelihood that facilities will have
                                              reduction standards and stated that they                representative of actual operating
                                                                                                                                                            difficulty demonstrating compliance
                                              are not achievable as written. One                      conditions, there is no need to rely on
                                                                                                                                                            due to low pre-control concentration.
                                              commenter stated that we should                         a manufacturer guaranteed emission                    based on the current operating
                                              require emission reduction standards                    reduction level in this instance. We also             conditions Furthermore, regarding the
                                              based on manufacturer guarantees,                       disagree with the commenters’                         comment that these standards would
                                              along with a maximum concentration                      recommendation for a maximum                          penalize sources who have already
                                              limit. Another commenter stated that                    concentration standard. As discussed in               worked to reduce their EtO
                                              sterilization is a batch process and that               section IV.B.3.a, we are concerned that               concentrations during sterilization and,
                                              the concentration from the aeration area                some owners and operators may dilute                  by extension, their inlet ARV
                                              is subject to constant fluctuation due to               the air flow of the emissions stream to               concentrations, as discussed in section
                                              differences in product, cycles, facility                meet a concentration standard, which                  III.F.3 of the proposal preamble, 75
                                              design, and EtO decline curve, which                    would not result in any actual emission               percent of existing sources are already
                                              makes a consistent emission reduction                   reductions. Furthermore, it is not                    meeting the proposed standard; it is
                                              challenging to determine. Finally,                      appropriate to establish upper-bound                  unclear, and the commenter does not
                                              several commenters expressed concerns                   limitations on air flow within this                   explain, why a requirement that retains
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                                              with the use, and our development, of                   source category, as additional flow may               facilities’ status quo is a punishment to
                                              the alternative, equivalent mass rate                   be necessary in order to mitigate any                 those facilities. Most of the industry is
                                              emission standards due to the wide                      potential safety issues that may arise.               either (1) currently meeting the
                                              variations in ARV parameters across this                Finally, with respect to the alternative              proposed standard or (2) capable of
                                              group of facilities, as well as the                     equivalent mass rate emission                         meeting the proposed standard based on
                                              difficulty in demonstrating compliance                  standards, we agree with the                          current operating conditions. In
                                              with this standard for larger facilities.               commenters’ concerns, and we are not                  addition, if a facility with existing ARVs


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                                              wishes to further reduce their EtO                      in section IV.D.3 of this preamble and                than normal operation. The commenter
                                              concentrations during sterilization, then               in the document, Summary of Public                    further stated that constructing and
                                              operational changes can be made to the                  Comments and Responses for the Risk                   starting new abatement equipment
                                              aeration room so that the facility can                  and Technology Review for Commercial                  includes periods of troubleshooting and
                                              continue to demonstrate compliance                      Sterilization Facilities, available in the            acceptance testing. The commenter also
                                              with the emission reduction standard.                   docket for this rulemaking.                           stated that the proposal does not
                                              Since new facilities are not currently in                                                                     address the permit-to-construct process
                                              operation, there has been no reduction                  E. Amendments Addressing Emissions                    and related requirements before
                                              in EtO concentrations during                            During Periods of SSM                                 transferring to an operating permit.
                                              sterilization and, therefore, no penalty                1. What amendments did we propose to                  Finally, one commenter suggested that
                                              has been incurred.                                      address emissions during periods of                   the malfunction exemption should not
                                                                                                      SSM?                                                  be eliminated because, due to the nature
                                              4. What is the rationale for our final
                                                                                                                                                            of sterilization operations and various
                                              approach for the technology review?                        For all emission points in the
                                                                                                                                                            stages of cycles, commercial sterilizers
                                                 Our technology review focused on the                 Commercial Sterilization Facilities
                                                                                                                                                            must be able to address malfunctions
                                              identification and evaluation of                        source category, we proposed                          that could result in a potential risk to
                                              developments in practices, processes,                   eliminating the SSM exemptions and to                 employees or the facility without the
                                              and control technologies that have                      have the standards apply at all times.                risk of being in noncompliance.
                                              occurred since the standards for                        More information concerning the                          Response: As discussed in section
                                              Commercial Sterilization Facilities were                elimination of SSM provisions is in                   III.G.1 of the proposal preamble (88 FR
                                              originally promulgated on December 6,                   section III.G. of the proposal preamble               22790, April 13, 2023), it is common
                                              1994 (59 FR 62585) and further                          (88 FR 22790, April 13, 2023).                        practice in this source category to start
                                              amended on November 2, 2001 (66 FR                      2. How did the SSM provisions change                  an air pollution control device (APCD)
                                              55577). Specifically, we focused our                    since proposal?                                       prior to startup of the emissions source
                                              technology review on all previous                                                                             it is controlling, so the APCD would be
                                              standards for the various emission                        We are finalizing the SSM provisions                operating before emissions are routed to
                                              sources in the Commercial Sterilization                 as proposed (88 FR 22790, April 13,                   it, which has been confirmed by one of
                                              Facilities source category, including                   2023).                                                the commenters. In addition, based on
                                              SCVs at facilities where EtO use is at                  3. What key comments did we receive                   responses to the December 2019
                                              least 10 tpy, SCVs at facilities where                  on the SSM revisions and what are our                 questionnaire and the September 2021
                                              EtO use is at least 1 tpy but less than                 responses?                                            ICR, many facilities already have
                                              10 tpy, and ARVs at facilities where EtO                                                                      measures in place to ensure that the
                                              use is at least 10 tpy. In the proposal,                  This section provides comment                       emission standards are met during
                                              we identified developments for all                      summaries and responses for the key                   periods of SSM, including holding
                                              emission sources, and we proposed to                    comments received regarding our                       emissions within the process unit or the
                                              revise the standards for these emissions                proposed revisions. Other comment                     APCD itself, or the use of onsite
                                              sources under the technology review.                    summaries and the EPA’s responses for                 generators in the event of a power
                                              Further information regarding the                       additional issues raised regarding these              outage.67 The comments provided do
                                              technology review can be found in the                   activities as well as issues raised                   not support establishing emission
                                              proposed rule (88 FR 22790, April 13,                   regarding our proposed revisions can be               standards that apply only during
                                              2023) and in the supporting materials in                found in the document, Summary of                     periods of SSM. With respect to
                                              the rulemaking docket at Docket ID No.                  Public Comments and Responses for the                 classifying sources in SSM states as sub-
                                              EPA–HQ–OAR–2019–0178.                                   Risk and Technology Review for                        sources subject to different emissions
                                                 During the public comment period,                    Commercial Sterilization Facilities,                  limitations or work practice standards,
                                              we received several comments on our                     available in the docket for this                      the commenter does not provide any
                                              proposed determinations for the                         rulemaking.                                           rationale for why this should be done or
                                              technology review. No information                         Comment: One commenter stated that                  any suggestions for what those emission
                                              presented by commenters has led us to                   the EPA should consider other                         standards should be. With respect to
                                              change our proposed determination                       approaches to adequately account for                  emission spikes from troubleshooting
                                              under CAA section 112(d)(6) for SCVs at                 SSM contingencies. The commenter                      control devices, as discussed in section
                                              facilities where EtO use is at least 1 tpy              suggested that the EPA classify sources               IV.F.3 of this preamble, the EPA is
                                              but less than 10 tpy and ARVs at                        in SSM states as sub-sources subject to               finalizing a requirement for emission
                                              facilities where EtO use is at least 10                 different emissions limitations or work               limits to be based on 30-operating day
                                              tpy, and we are finalizing the changes                  practice standards. Another commenter                 rolling sums of EtO entering the control
                                              to those standards as proposed. For                     stated that EtO sterilizers do not create             system(s) for EtO CEMS, which will
                                              SCVs at facilities where EtO use is at                  emissions during startup or shut down                 help to mitigate these spikes over time.
                                              least 10 tpy, based on comments                         because, unlike other industrial                      However, the commenter does not
                                              received on the proposal, we are                        processes regulated under the NESHAP                  provide any rationale for why the
                                              finalizing a 99.9 percent emission                      program, EtO is not emitted as a                      permitting process should be
                                              reduction standard, which is the                        byproduct of combustion or chemical                   considering when evaluating SSM.
                                              manufacturer guarantee. There is at least               reaction but is released intentionally in             Finally, we cannot agree with the
                                              one representative performance test                     a highly controlled manner. The                       commenter’s recommendation to keep
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                                              available for SCVs, but it was conducted                commenter further stated that                         the malfunction exemption in
                                              at a facility with a higher EtO usage rate,             sterilization never begins before control
                                              and we are unable to determine whether                  equipment is activated and always ends                  67 See memorandum, Review of Startup,

                                              smaller facilities can achieve the                      before control equipment is deactivated.              Shutdown, and Malfunction of Process and APCD
                                                                                                                                                            Equipment in the Ethylene Oxide Commercial
                                              emission reduction from that                            Similarly, another commenter stated                   Sterilization Source Category Technology Review
                                              performance test. The key comments                      that the EPA inaccurately assumed that                Project, located at Docket ID No. EPA–HQ–OAR–
                                              and our specific responses can be found                 startup and shutdown are no different                 2019–0178.



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                                              contradiction with Sierra Club v. EPA,                  respect to specific reporting and                     standard have been achieved.
                                              551 F.3d 1019 (D.C. Cir. 2008), in which                monitoring alternative requirements that              Determination of whether a source is
                                              the court vacated two provisions that                   apply during periods of SSM, the                      operating in compliance with operation
                                              exempted sources from the requirement                   commenter did not provide any                         and maintenance requirements will be
                                              to comply with otherwise applicable                     recommendations for what those                        based on information available to the
                                              CAA section 112(d) emission standards                   requirements should be. In addition, we               Administrator which may include, but
                                              during periods of SSM. As discussed in                  agree with one commenter’s suggestion                 is not limited to, monitoring results,
                                              section III.G.1 of the proposal preamble,               that facilities should only be required to            review of operation and maintenance
                                              in its 2008 decision in Sierra Club v.                  report malfunction events that result in              procedures, review of operation and
                                              EPA, 551 F.3d 1019 (D.C. Cir. 2008), the                unpermitted releases to the atmosphere.               maintenance records, and inspection of
                                              court held that emissions standards or                  However, to be clear, we are finalizing               the source.’’
                                              limitations must be continuous in                       reporting requirements for malfunction                   We disagree with the commenter’s
                                              nature, which means that there cannot                   events that occur with emissions or                   suggestion to not finalize the general
                                              be exemptions for periods of                            parametric monitoring equipment.                      duty clause. We do not consider this
                                              malfunction. Further, while the EPA                        Comment: One commenter suggested                   duty clause to be redundant just because
                                              could consider establishing a different                 that the EPA should not include the                   the emission standards apply at all
                                              standard during malfunction if                          general duty clause in the final rule. The            times; the provision imposes a general
                                              warranted and still be consistent with                  commenter stated that it is not clear on              duty to operate and maintain any
                                              the Sierra Club decision, the commenter                 what basis the EPA is claiming authority              affected source, including associated air
                                              does not provide any specific                           to impose a general standard of behavior              pollution control equipment and
                                              information regarding instances where                   on regulated sources. The commenter                   monitoring equipment, in a manner
                                              compliance with the standards during                    asserted that CAA section 112 grants the              consistent with safety and good air
                                              malfunction could result in potential                   EPA authority to set emissions limits                 pollution control practices for
                                              risks to the employees or the facility or               and certain specific alternative                      minimizing emissions. Commenters did
                                              suggestions for what emission standards                 standards but does not grant authority to             not provide data supporting the
                                              the EPA should consider to address the                  impose a ‘‘vague and subjective code of               suggestion that this general duty clause
                                              concern. Therefore, the EPA is not                      conduct.’’ The commenter stated that                  is redundant. Even assuming it were
                                              finalizing any emission standards that                  the general duty clause is redundant to               redundant, which it is not, the
                                              apply only during periods of SSM.                       proposed amendment to 40 CFR                          commenter does not explain why it
                                                 Comment: One commenter stated that                   63.632(b) that would require                          must be removed. In addition, the
                                              a specific area of concern is the ability               compliance ‘‘at all times.’’ The                      inclusion of a general duty clause like
                                              to demonstrate compliance during                        commenter asserted that if compliance                 the one proposed is standard practice
                                              startup and shutdown, asserting that the                with the specific requirements of the                 for other NESHAPs. Furthermore, we
                                              proposed rule offered no means for a                    rule will satisfy the general duty, then              disagree with the commenter’s
                                              source to remain in compliance during                   there is no need for the EPA to reserve               suggestion to incorporate the general
                                              the inevitable and foreseeable, but not                 the authority to evaluate a source’s good             duty clause from Subpart A. As
                                              predictable, failure of monitoring                      air pollution control practices.                      discussed in earlier in this section, in its
                                              equipment. The commenter further                        Furthermore, the commenter asserted                   2008 decision in Sierra Club v. EPA, 551
                                              suggested that the EPA should consider                  that the general duty provisions date                 F.3d 1019 (D.C. Cir. 2008), the court
                                              specific reporting and monitoring                       back to a regulatory period during                    held that under section 302(k) of the
                                              alternative requirements for these                      which air quality control rules lacked                CAA, emissions standards or limitations
                                              scenarios. The commenter provided the                   the specificity of monitoring, reporting,             must be continuous in nature, which
                                              example of a requirement specific to                    and recordkeeping that are included in                means that there cannot be exemptions
                                              releases from sterilizer pressure relief                the proposed rule. The commenter                      for periods of SSM. The general duty
                                              devices (PRDs) resulting from                           suggested that either the EPA should not              clause in Subpart A contains certain
                                              malfunctions or required during                         finalize the proposed general duty                    exemptions for periods of SSM. We are
                                              shutdown events that the commenter                      clause at 40 CFR 63.632(j) or that the                therefore finalizing the general duty
                                              suggested could be modeled after recent                 general duty clause from the General                  provision as proposed.
                                              PRD requirements in 40 CFR 63.648(j).                   Provisions should be incorporated. The
                                                                                                                                                            4. What is the rationale for our final
                                              Another commenter recommended that                      commenter stated that the General
                                                                                                                                                            approach and final decisions to address
                                              facilities should only be required to                   Provision contains language that more
                                                                                                                                                            emissions during periods of SSM?
                                              report malfunction events that result in                clearly explains the EPA’s exercise of
                                              unpermitted releases to the atmosphere.                 enforcement discretion during SSM                        We evaluated all of the comments on
                                              The commenter stated that, in the                       periods.                                              the EPA’s proposed amendments to the
                                              example situation where control                            Response: As part of the proposed                  SSM provisions. As explained in section
                                              equipment unexpectedly goes offline                     rulemaking, we proposed to add the                    III.G of the proposed rule (88 FR 22790,
                                              during operations but EtO remains                       following general duty clause to 40 CFR               April 13, 2023), in its 2008 decision in
                                              trapped within the facilities ducts under               63.362(j):                                            Sierra Club v. EPA, the court held that
                                              negative pressure, there would be no                       ‘‘At all times, you must operate and               under CAA section 302(k), emissions
                                              need to create additional administrative                maintain any affected source, including               standards or limitations must be
                                              compliance requirements for the                         associated air pollution control                      continuous in nature and that the SSM
                                              facility.                                               equipment and monitoring equipment,                   exemption violates the CAA’s
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                                                 Response: With respect to accounting                 in a manner consistent with safety and                requirement that some CAA section 112
                                              for the failure of monitoring equipment                 good air pollution control practices for              standards apply continuously. In
                                              when demonstrating compliance, as                       minimizing emissions. The general duty                addition, as part of this rulemaking, we
                                              discussed in section IV.F.3 of this                     to minimize emissions does not require                have gathered information that indicates
                                              preamble, the EPA is finalizing a                       the owner or operator to make any                     many facilities already have measures in
                                              minimum data availability requirement                   further efforts to reduce emissions if                place to ensure that the emission
                                              of 90 percent for EtO CEMS. With                        levels required by the applicable                     standards are met during periods of


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                                              SSM. Therefore, we determined that                      feasibility of fenceline monitoring and               operators of combined emission
                                              these amendments, which remove and                      available technology able to measure at               streams. We also proposed revisions to
                                              revise provisions related to SSM, are                   any potential action level; and (3) the               clarify text or correct typographical
                                              necessary to be consistent with the                     potential cost of continuous fenceline                errors, grammatical errors, and cross-
                                              requirement that the standards apply at                 monitoring and associated work                        reference errors.
                                              all times. More information concerning                  practices if implemented.
                                                                                                        With respect to ambient air                         2. How did the other amendments for
                                              the amendments we are finalizing for                                                                          the Commercial Sterilization Facilities
                                              SSM is in the preamble to the proposed                  monitoring, we solicited comment on
                                                                                                      how this could be used to screen for                  source category change since proposal?
                                              rule and in the comments and our
                                              specific responses to the comments in                   elevated concentrations of EtO above                     We are finalizing a requirement for
                                              the document, Summary of Public                         the ambient baseline and how this                     owners and operators to use EtO CEMS
                                              Comments and Responses for the Risk                     information could be used to trigger a                to demonstrate compliance. In addition,
                                              and Technology Review for Commercial                    root cause analysis to identify potential             for affected sources with a percent
                                              Sterilization Facilities, available in the              source(s) of emission and to perform                  emission reduction standard, we are
                                              docket for this rulemaking. Therefore,                  corrective action, if a potential source of           finalizing a requirement for source
                                              we are finalizing our approach for the                  the emissions was part of an affected                 owners or operators to obtain and record
                                              SSM provisions as proposed.                             source under the commercial                           hourly average ppbvd of EtO
                                                                                                      sterilization proposed rule. We also                  concentration, dscfm of flow rate, and
                                              F. Other Amendments to the Standards                    solicited comment on (1) the feasibility              weight differential in pounds of EtO
                                              1. What other amendments did we                         of other types of air monitoring that                 used, to calculate and record each day
                                              propose for the Commercial                              could be applied to this sector for                   of operation—where any operation less
                                              Sterilization Facilities source category?               compliance assurance and the costs                    values obtained during periods of SSM
                                                                                                      associated with this type of monitoring,              constitute a day of operation—and the
                                                 We proposed that owners and                          (2) how frequently this monitoring                    emission limit(s) based on the 30-
                                              operators would be required to                          should occur, (3) the recordkeeping and               operating day rolling sum of EtO
                                              demonstrate compliance via annual                       reporting requirements for this type of               entering the control system(s), as
                                              performance testing and parametric                      monitoring, and (4) how should any                    determined using values from the
                                              monitoring of EtO through the use of                    action-level be defined.                              current operating day and the previous
                                              CEMS. As discussed in section III.G.2.c                   We proposed various changes to the                  29 operating days. However, owners and
                                              of the proposal preamble (88 FR 22790,                  performance testing requirements to                   operators of facilities where EtO use is
                                              April 13, 2023), we did not propose to                  ensure that the results are as accurate as            less than 100 lb/year will have the
                                              include requirements for fenceline or                   possible, including the approved test                 option to demonstrate compliance
                                              ambient air monitoring as part of this                  methods, requirements for SCV inlet                   through annual performance testing and
                                              rule for the following reasons:                         testing, and 24-hour test runs for larger             parametric monitoring. We are not
                                                 • Typically for this type of                         users. Furthermore, we proposed                       including requirements for fenceline or
                                              monitoring, we require the fenceline                    various changes to the parametric                     ambient air monitoring in this final rule.
                                              monitor to be located at least 50 meters                monitoring requirements, as well as                   For EtO CEMS, based on comments
                                              from the source of emissions to allow                   requirements for demonstrating                        received during the proposed
                                              for some dispersion.                                    continuous compliance with the PTE                    rulemaking, we are finalizing a
                                                 • In contrast to the large number of                 requirements given in EPA Method 204.                 requirement for quarterly reporting, as
                                              dispersed and difficult-to-monitor                        We also proposed that owners or                     well as a minimum data availability of
                                              emission points for other source                        operators submit electronic copies of                 90 percent. For performance testing, we
                                              categories for which we have either                     required compliance reports (at 40 CFR                are finalizing the incorporation of
                                              finalized or proposed fenceline                         63.366(b) and (c)), performance test                  additional test methods. Based on
                                              monitoring requirements (e.g.,                          reports (at 40 CFR 63.366(f)), and                    comments received during the proposed
                                              refineries), current room air releases at               performance evaluation reports (at 40                 rulemaking, we are also retaining
                                              commercial sterilization facilities are                 CFR 63.366(g)) through the EPA’s CDX                  currently approved test methods that we
                                              typically at ground-level and consist of                using CEDRI, and we proposed two                      proposed to remove, and we are not
                                              uncontrolled building emissions                         narrow circumstances in which owners                  finalizing a requirement to conduct SCV
                                              through doorways, loading points, and                   or operators may, within five business                inlet testing. For performance test
                                              ventilation exhausts, all of which can be               days of the reporting deadline, seek                  duration, based on comments received
                                              captured while inside the building and                  extensions of that deadline if they are               during the proposed rulemaking, we are
                                              routed through a vent to a control                      prevented from reporting by conditions                not finalizing a requirement for 24-hour
                                              device.                                                 outside of their control. We proposed at              test runs. Instead, owners and operators
                                                 • The proposed PTE design criteria,                  40 CFR 63.366(h) that an extension may                may continue to conduct 1-hour test
                                              room air emission standards, and                        be warranted due to outages of the                    runs for ARVs, CEVs, room air
                                              associated parametric monitoring would                  EPA’s CDX or CEDRI that precludes an                  emissions, or any combination thereof.
                                              effectively and continuously ensure                     owner or operator from accessing the                  For emission streams that contain an
                                              these previously uncontrolled emissions                 system and submitting required reports.               SCV, we are finalizing a requirement for
                                              are captured and routed to exhaust                      We also proposed at 40 CFR 63.366(i)                  owners and operators to include a
                                              points that are then subject to removal                 that an extension may be warranted due                representative test period as part of their
                                              or emission rate standards.                             to a force majeure event, such as an act              test protocol, which is subject to
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                                                 With respect to fenceline monitoring,                of nature, act of war or terrorism, or                approval from the delegated authority.
                                              we solicited comment on (1) whether                     equipment failure or safety hazards                   Based on comments received during the
                                              fenceline monitoring should be required                 beyond the control of the facility.                   proposed rulemaking, we are finalizing
                                              regardless of the proposed PTE design                     Finally, we proposed to reinstate title             numerous revisions to the proposed
                                              criteria, proposed room air emission                    V permitting requirements for all area                requirements for parametric monitoring.
                                              standards, and proposed continuous                      source facilities, and we proposed                    Furthermore, based on comments
                                              parametric monitoring; (2) the technical                compliance mechanisms for owners and                  received during the proposed


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                                              rulemaking, we are not finalizing a                     it can lead to multiple, simultaneous                 source(s). This is the case for source
                                              requirement for owners and operators                    parameter collection and processing,                  categories where we have either
                                              that are required to comply with EPA                    increasing system complexity and                      required or proposed fenceline
                                              Method 204 to conduct daily                             increasing the time necessary for                     monitoring, such as refineries, because
                                              inspections of all applicable NDOs.                     diagnosis and correction of control                   facilities within these source categories
                                              Instead, we a finalizing a requirement                  device or process problems.                           cover a wide variety of emission sources
                                              for owners and operators to demonstrate                    Therefore, the EPA is finalizing a                 where PTE is not feasible. At such
                                              continuous compliance with EPA                          requirement to only use CEMS for                      sources, it is frequently impossible to
                                              Method 204 through the use of either                    demonstrating compliance. However,                    rapidly detect and remedy a leak or
                                              outlet volumetric flow rate monitors or                 facilities where EtO use is less than 100             other unauthorized release without the
                                              differential pressure monitors.                         lb/year will still have the option to use             use of fenceline monitoring.
                                                 We are not finalizing a requirement                  CEMS or performance testing and                          By contrast, as discussed in section
                                              for all area source facilities to obtain a              parametric monitoring to demonstrate                  IV.B.3.c, PTE in accordance with EPA
                                              title V operating permit. In addition,                  compliance. This is because risk                      Method 204 has been demonstrated to
                                              based on comments received during the                   remains at acceptable levels for these                be feasible for commercial sterilization
                                              proposed rulemaking, we are finalizing                  facilities even when considering                      facilities. As part of the PTE
                                              revised compliance mechanisms for                       uncontrolled emissions. In addition,                  requirements the EPA is finalizing in
                                              combined emission streams. We are also                  these facilities tend to have relatively              this rule, the EPA is also requiring
                                              finalizing an option for owners and                     simple control systems. Although EtO                  monitoring of either the volumetric flow
                                              operators to demonstrate compliance                     CEMS is a relatively new technology in                rate from each outlet or differential
                                              with a site-wide emission limitation, as                this industry, it has been proven as a                pressure in order to ensure that the PTE
                                              opposed to demonstrating compliance                     highly effective method for                           is operating effectively on a continuous
                                              for each individual and combined                        demonstrating compliance. While the                   basis. Furthermore, as discussed above,
                                              emission stream.                                        use of these CEMS systems for low-level               we are requiring EtO CEMS at facilities
                                                                                                      measurements of EtO is relatively new,                where EtO use is at least 100 lb/year,
                                              3. What key comments did we receive
                                                                                                      they are in use in this sector; because of            which includes most facilities within
                                              on the other amendments for the
                                                                                                      this, we find it technically feasible to              the source category. The data from these
                                              Commercial Sterilization Facilities
                                                                                                      require their use more broadly.                       CEMS will help to ensure that
                                              source category and what are our
                                                                                                      Additionally, the EtO instruments used                commercial sterilization facilities are
                                              responses?
                                                                                                      as part of these CEMS are readily
                                                 Comment: We received extensive                                                                             complying with the rule requirements,
                                                                                                      available and although the low-level
                                              comment on our proposal to allow                                                                              and the data will be made available to
                                                                                                      detection levels are recent, they have
                                              either the use of EtO CEMS or annual                                                                          the public, providing important
                                                                                                      been demonstrated in the field.
                                              performance testing with parametric                        Comment: We received extensive                     information about emissions, exposure,
                                              monitoring for demonstrating                            comments on our decision to not                       and the efficacy of control equipment to
                                              compliance with emission standards.                     include fenceline or ambient air                      nearby communities, regulatory
                                              Some commenters stated that EtO CEMS                    monitoring as part of the proposed                    agencies, and workers. As noted above,
                                              should be the only mechanism allowed                    rulemaking. Some commenters were                      the physical configuration of
                                              for demonstrating compliance, as it will                supportive of this exclusion, stating that            commercial sterilizer facilities can also
                                              yield more real-time data that will allow               this source category is comprised of                  make the implementation of fenceline
                                              for potential issues to be identified and               enclosed facilities with defined                      monitoring challenging at these sources.
                                              resolved more quickly. Other                            emission points (e.g., windows, doors,                For these reasons, the EPA is not
                                              commenters stated that EtO CEMS are a                   ventilation exhaust) and that PTE is                  finalizing fenceline monitoring
                                              relatively new technology and that the                  sufficient to ensure the containment of               requirements as part of this rule.
                                              available supply, reliability in industrial             emissions. Other commenters were                         Comment: We received extensive
                                              facilities, and maintenance support for                 opposed to this exclusion, stating that               comments on our proposed requirement
                                              EtO CEMS is questionable. Commenters                    fenceline and ambient air monitoring                  that EtO CEMS data be reported on a
                                              also expressed concerns with parametric                 are necessary in order to ensure that                 daily basis. Some commenters were
                                              monitoring and pointed to our                           commercial sterilization facilities are               supportive, stating that daily reporting
                                              requirements for CEMS in other rules, as                complying with the rule requirements,                 provides assurance to the public that
                                              well as the fact that EtO CEMS are used                 as well as to provide important                       emission control devices are working as
                                              in a number of sterilization facilities.                information about emissions, exposure,                designed. Other commenters were
                                                 Response: In the majority of instances,              and the efficacy of control equipment to              opposed, stating that facilities need
                                              parametric monitoring is used to good                   nearby communities, regulatory                        sufficient time to conduct QA/QC to
                                              effect as an ongoing means of ensuring                  agencies, and workers. The commenters                 verify the accuracy and reliability of the
                                              that control devices continue to get                    pointed to other source categories where              data and that reporting inaccurate data
                                              necessary emission reductions.                          we have either required fenceline                     due to insufficient QA/QC would
                                              However, given the nature of EtO, in                    monitoring (i.e., petroleum refineries) or            undermine public confidence of the
                                              which small amounts can have large                      proposed it (i.e., the Synthetic Organic              CEMS monitoring and potentially
                                              risk impacts, parametric monitoring                     Chemical Manufacturing Industry and                   adversely impact the medical supply
                                              alone will not be sensitive enough to                   the Polymers and Resins industry).                    chain if there is undue public concern.
                                              detect very small fluctuations. In                         Response: We acknowledge that many                 One commenter questioned whether
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                                              addition, many facilities in this source                commenters expressed their strong                     there is a precedent for daily reporting,
                                              category are controlling their EtO                      support for fenceline monitoring                      and another was unaware of any other
                                              emissions using systems that contain                    requirements as part of this rule. As a               NESHAP that requires daily reporting
                                              one or more control devices, each with                  general matter, fenceline monitoring is               for CEMS. Several commenters stated
                                              their own parametric monitoring                         considered a particularly useful                      that quarterly or semi-annual reporting
                                              requirements. While this has proven to                  compliance monitoring approach if it is               is sufficient and more consistent with
                                              be effective in reducing EtO emissions,                 infeasible to enclose an emission                     other NESHAPs.


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                                                 Response: We agree with the                          assurance activities, such as daily                   facilities where EtO use is at least 10
                                              commenters’ concern that daily                          calibrations, do not count as periods of              tpy, stating that this requirement is
                                              reporting of CEMS data is not                           data unavailability, however, periods of              difficult, infeasible, and of limited
                                              appropriate. Sufficient time is needed so               out-of-control monitor operation or                   value. The commenters stated that there
                                              that the proper QA/QC procedures can                    when the EtO CEMS is unable to                        are a limited number of testing
                                              be conducted to verify the accuracy and                 provide quality-assured data, such as                 companies with both the experience to
                                              reliability of the data. Therefore, we are              those periods associated with monitor                 conduct performance tests of this
                                              finalizing a requirement that CEMS data                 or data acquisition and handling system               length, as well as the personnel to
                                              be reported quarterly, which is                         failure, do count as periods of data                  remain at facilities during these long
                                              consistent with other NESHAPs that                      unavailability. Note that source owners               performance test periods. The
                                              regulate pollutants of significant                      or operators are to record EtO CEMS                   commenters stated that multiple
                                              concern, as well as at least one                        values during all periods of operation,               companies will be in demand for these
                                              sterilization facility that uses CEMS to                include SSM, to the extent that the                   limited services and that scheduling
                                              demonstrate compliance with local                       values are available. Source owners or                these performance tests so that the
                                              requirements.                                           operators will need to keep records of                medical supply chain is not adversely
                                                 Comment: One commenter stated we                     periods of process operation, EtO CEMS                impacted will be difficult. In general,
                                              did not address CEMS downtime and                       availability, and EtO CEMS                            the commenters agreed that a
                                              how downtime will be assessed or                        unavailability; cause and duration of                 performance test run longer than one
                                              impact reporting. In addition, two                      EtO CEMS unavailability; and of activity              hour is necessary but were divided on
                                              commenters stated that there should be                  taken to correct and prevent future                   what constitutes a representative period,
                                              allowances or an exemption from                         periods of EtO CEMS unavailability.                   with one commenter stating that eight to
                                              sampling during periods of non-                         Moreover, owners or operators will be                 10 hours is representative, and another
                                              operation (e.g., power outages, plant                   required to provide immediate notice of               stating that six to 12 hours is
                                              shutdowns).                                             failure to meet the data availability of 90           representative. Several commenters
                                                 Response: Our general policy is to                   percent, as well as root cause analysis               stated the performance test duration
                                              require source owners and operators to                  of periods of EtO CEMS monitor                        should be determined by the facility and
                                              have working monitoring while the                       unavailability and specific corrective                accompanied with a justification of how
                                              emissions-producing process is                          actions—along with schedule and                       normal operations are captured over this
                                              operating and to identify those periods                 enumerated expenditures—planned to                    duration. One commenter stated that
                                              where monitoring is not working while                   address EtO CEMS unavailability.                      ARV and room air emissions are
                                              the emissions-producing process is                         Comment: Several commenters stated                 continuous in nature and that one-hour
                                              operating, as well as to quickly correct                that the requirement to measure SCV                   performance test runs are sufficient for
                                              monitoring issues so that such periods                  inlets can create significant safety                  these sources. The commenter also
                                              are minimized. Recognizing that EtO                     hazards. Two commenters stated that                   stated the CEV operations are started
                                              CEMS are a newer technology that may                    EtO concentrations in abatement system                and completed within an hour and,
                                              pose challenges to users who may be                     inlets coming from SCVs can reach                     therefore, one-hour performance test
                                              unfamiliar with instrument                              several hundred thousand ppm. The                     runs are appropriate for these sources as
                                              characteristics, the rule will provide a                commenters noted that these                           well. Finally, one commenter suggested
                                              period of data unavailability for up to                 concentrations exceed the lower                       that each performance test run for
                                              ten percent of process operating time for               explosion limit of 30,000 ppm, thereby
                                                                                                                                                            facilities where EtO use is less than 10
                                              EtO CEMS in operation before requiring                  posing a significant explosion risk.
                                                                                                                                                            tpy should be longer than one hour.
                                              additional corrective activity by owners                Commenters noted that this situation
                                              or operators. Such an allowance,                        could also expose workers to EtO levels                  Response: As discussed earlier, we are
                                              referred to as a minimum data                           above the Immediately Dangerous to                    finalizing a requirement to only use EtO
                                              availability requirement, has been used                 Life or Health limit set by the U.S.                  CEMS for demonstrating compliance. In
                                              to good effect for other types of CEMS                  Occupational Safety and Health                        addition, owners or operators of affected
                                              as they were introduced. As familiarity                 Administration (OSHA), resulting in                   sources subject to a percent emission
                                              with those CEMS increased, so did their                 hazardous working conditions. Several                 reduction standard will obtain and
                                              minimum data availability                               commenters stated that we should retain               record EtO concentration in ppbvd, flow
                                              requirements; the EPA expects this                      the option to determine emission                      rate in dscfm, and daily EtO use in
                                              pattern to continue for EtO CEMS such                   reduction using mass balance                          pounds; determine daily amounts of EtO
                                              that in the future, the minimum data                    calculations and pounds of EtO injected               entering and exiting control systems;
                                              availability requirement for EtO CEMS                   into the sterilization chamber to ensure              use those daily amounts to calculate and
                                              will be replaced by the agency’s general                safe testing practices.                               record 30-operating day rolling sums;
                                              policy. Until then, the rule will have a                   Response: We agree with the                        and calculate emission limits and
                                              minimum data availability for EtO                       commenters’ concerns regarding the                    determine compliance based on those
                                              CEMS of ninety percent. This means                      safety risks associated with testing the              rolling sums. However, facilities where
                                              that EtO emissions data must be                         SCV inlet. Therefore, we are removing                 EtO use is less than 100 lb/year will still
                                              collected over at least ninety percent of               this requirement for SCVs from the final              have the option to use CEMS or
                                              the process operating time in order to                  rule. Owners and operators must instead               performance testing and parametric
                                              avoid non-compliance and potential                      determine the mass of EtO emissions                   monitoring to demonstrate compliance.
                                              penalties. Data availability will be                    from the SCV by measuring the daily                   Therefore, our proposal for each
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                                              determined by assessment of the ratio of                change in weight of the EtO drums that                performance test run to be conducted
                                              periods of valid EtO CEMS values to                     are used to charge the sterilization                  over a 24-hour period for facilities
                                              process operation periods, where valid                  chamber.                                              where EtO use is at least 10 tpy is no
                                              EtO CEMS values occur when a                               Comment: Several commenters were                   longer applies and is not included in the
                                              minimum of 4 equally spaced values                      opposed to our proposed requirement                   final rule. For facilities where EtO use
                                              occur over an hour of process operation.                for each performance test run to be                   is less than 100 lb/year, we agree that a
                                              Periods associated with normal quality                  conducted over a 24 hour period for                   one-hour performance test period for


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                                              ARVs and room air emissions is                          NDO inspections. Therefore, we are not                monitoring, recordkeeping, and
                                              appropriate, as these operations are                    including this requirement in the final               reporting that are proposed for the area
                                              continuous in nature, with minimal                      rule. In order to ensure that emissions               source category), several commenters
                                              variations in emissions. We also agree                  are not leaving through uncontrolled                  stated that requiring title V operating
                                              that a one-hour performance test period                 spaces, it is critical to demonstrate                 permits would not provide significant
                                              is appropriate for CEVs, as these                       continuous compliance with EPA                        improvements to compliance
                                              operations are typically started and                    Method 204. In the absence of daily                   requirements. Two commenters agreed
                                              concluded in less than one hour. For                    NDO inspections, differential pressure                with our 2005 analysis that the NESHAP
                                              SCVs, the emissions profile can vary                    monitoring and outlet volumetric flow                 requirements applicable to area sources
                                              significantly depending on the number                   rate monitoring are viable options for                already subjected them to continuous
                                              of chambers at a facility and how the                   verifying the continuous flow of air into             monitoring and assessment, reporting,
                                              emissions are staggered. Therefore, we                  a control device, and both of these                   and certification of compliance status
                                              are finalizing a requirement for owners                 options were included in the proposed                 on a semiannual basis, which was
                                              and operators to include a                              rulemaking. Therefore, we are finalizing              similar to what was required by title V.
                                              representative performance test period                  a requirement for owners and operators                Commenters stated that the proposed
                                              for SCVs, along with a justification, in                to demonstrate continuous compliance                  rule addressed increased transparency
                                              their stack test protocol, so that the                  with EPA Method 204 either through                    and further strengthened monitoring,
                                              delegated authorities can review and                    outlet volumetric flow rate monitoring                recordkeeping, and reporting
                                              approve or deny the protocol as                         or through differential pressure                      requirements, including developing a
                                              appropriate.                                            monitoring. We also agree with                        new performance specification and
                                                 Comment: We received comments on                     commenters that, if differential pressure             associated QA procedures for CEMS
                                              continuous compliance requirements for                  monitoring is used, the pressure                      capable of detecting EtO at very low
                                              verifying EPA Method 204. Several                       differential should be maintained at or               levels. One commenter stated that we
                                              commenters contended that                               above 0.007 inch of water in order to                 recognized that modern NESHAPs have
                                              continuously verifying the direction of                 demonstrate continuous compliance, as                 sufficient parametric monitoring. The
                                              airflow through daily inspections of                    this is what is required in EPA Method                commenter also stated that the only gain
                                              each NDO presents significant safety                    204.
                                                                                                                                                            that we identified that was not already
                                              risks and are redundant or impractical.                    Comment: We received extensive
                                                                                                                                                            satisfied was the public comment period
                                              They noted that NDOs may be located                     comments on our proposed requirement
                                              at ceiling levels (such as a makeup air                 for all area source facilities within the             for title V permitting; however, the
                                              unit) in processing areas or in other                   source category to obtain a title V                   commenter noted that many facilities
                                              hard to reach areas where EtO                           operating permit. Several commenters                  may need construction permits to come
                                              concentrations may require the use of                   were supportive, citing the serious                   into compliance with the updated
                                              specialized protective equipment. One                   health concerns of EtO. The commenters                requirements, during which many States
                                              commenter stated that streamers are not                 stated that facilities with title V                   have an option to hold a public
                                              practical, may not be observable, and                   operating permits tend to receive more                comment period and a public meeting(s)
                                              often get stuck or wrapped around                       oversight and that this, along with                   for changes that may be of interest to the
                                              objects. Another commenter noted that                   increased community engagement, will                  community. The commenter noted that,
                                              smoke testing in EtO facilities is                      ensure that these facilities are                      as part of this rulemaking process, the
                                              discouraged due to safety concerns, as                  complying with the rule requirements.                 EPA held numerous public meetings for
                                              any indication of fire in an EtO facility               Other commenters were opposed,                        local communities regarding specific
                                              is highly problematic, and seeing smoke                 stating the current and proposed                      facilities and additional public outreach
                                              within the facility should not be                       NESHAP included substantial                           meetings for transparency. This
                                              routine. Finally, two commenters                        compliance, parametric monitoring,                    commenter stated these outreach efforts
                                              questioned the value of daily NDO                       recordkeeping, and reporting                          and the potential construction
                                              inspections when other relevant                         obligations. One commenter stated that                permitting actions will eliminate the
                                              parameters are being continuously                       subjecting area source EtO commercial                 need to have the title V public comment
                                              monitored.                                              sterilizers to the title V permitting                 period. Three commenters stated that
                                                 One commenter recommended the                        program requires additional regulatory                one of the primary purposes of the title
                                              use of differential pressure monitoring                 fees; burdensome permitting,                          V program was to clarify in a single
                                              to verify EPA Method 204, accompanied                   recordkeeping and reporting                           document the various and complex
                                              by a data recording system to                           requirements; increased administrative                regulations that applied to a facility in
                                              demonstrate continuous compliance.                      costs; as well as Clean Air Act citizen               order to improve compliance. Two
                                              Other commenters were opposed to any                    suits. Two commenters suggested that                  commenters stated that we agreed that
                                              continuous compliance requirements for                  the proposed requirements could be                    EtO sterilizers were still subject only to
                                              verifying EPA Method 204, stating that                  incorporated into a State minor source                a single NESHAP. Three commenters
                                              they would be burdensome, expensive,                    permit without the additional burden of               stated the benefit of requiring a title V
                                              and difficult to maintain. Two                          title V permitting, and that title V                  permit to house all applicable
                                              commenters stated that we should                        permits should apply only to major                    regulations into a single document
                                              change the criteria for demonstrating                   sources. Multiple commenters also                     would not apply to those area sources
                                              continuous compliance with EPA                          indicated that the four-factor balancing              and was not needed, and one
                                              Method 204 from ‘‘maintained above                      test still weighs in favor of continued               commenter added that area sources
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                                              0.007 inches of water’’ to ‘‘at least 0.007             exclusion of area source facilities within            should be exempt from title V on that
                                              inches of water’’ to align to the Method                this source category from title V                     basis alone. One commenter stated that,
                                              204 definition of facial velocity                       permitting requirements.                              in response to a comment on our 2005
                                              equivalence.                                               With respect to the first factor (i.e.,            proposed rule, we also indicated that
                                                 Response: We agree with the                          whether title V would result in                       NESHAP provisions independently
                                              commenters’ concerns regarding the                      significant improvements to the                       required schedules of compliance,
                                              safety and practical aspects of daily                   compliance requirements, including                    provided inspection and entry


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                                              authority, and established emissions                    the certainty of an outcome that will                 associated with title V ($67,211 for the
                                              limitations and standards that were                     allow continued operation. One                        first year, as calculated in 2019) will
                                              enforceable regardless of title V                       commenter noted that many Small                       likely be less for area sources. This
                                              permitting. This commenter noted the                    Business Environmental Assistance                     commenter suggested that our cost
                                              proposed rule asserted that the                         Programs are precluded from assisting                 determination did not align with the
                                              compliance benefits of title V were                     with title V permitees and, as such, this             proposed rule, which said ‘‘the rule
                                              greater today than in 2005 and so the                   rule could strip small businesses of the              amendments proposed provide for a
                                              benefits would be greater, but the                      assistance mandated under CAA section                 greater degree of complexity and
                                              commenter argued that we made these                     507. One commenter stated that our                    requirements to achieve and
                                              statements without providing                            justification seemed premised on an                   demonstrate compliance for area
                                              supporting analysis.                                    expectation of noncompliance, although                sources.’’ One commenter noted that we
                                                 With respect to the second factor (i.e.,             clarified that we had not alleged that                stated that the burden was not
                                              whether title V permitting would                        small commercial sterilizers have a                   insignificant, but justified the costs
                                              impose significant burdens on the area                  history of noncompliance. The                         because it represented a small portion of
                                              source category and whether the                         commenter noted that recent                           the anticipated costs related to the
                                              burdens would be aggravated by any                      controversies around EtO facilities had               amendments of the proposed rule. One
                                              difficulty in obtaining assistance from                 centered around large facilities owned                commenter stated that the analysis on
                                              permitting authorities), several                        by large businesses. The commenter                    title V applicability did not ask how the
                                              commenters noted that requiring area                    indicated it was not clear how title V                burden compared to the cost of
                                              sources to obtain a title V permit would                permitting of area sources would create               complying [with] some other measure,
                                              pose significant burdens on sterilization               additional incentives for compliance or               but that the question was whether the
                                              facilities, with one commenter stating                  give State enforcement authorities the                potential compliance benefits
                                              that it would pose significant burden                   resources and expertise they would not                outweighed the steep costs, the answer
                                              ‘‘within the time frame being                           otherwise have to enforce this NESHAP.                to which we seemed to concede was
                                              proposed.’’ 68 Additionally, the                        One commenter stated the addition of                  ‘‘no.’’
                                              commenter stated the State permitting                   title V permitting for area sources                      With respect to the fourth factor (i.e.,
                                              agencies may be overly burdened in                      formalized community involvement in                   whether adequate oversight by State and
                                              issuing title V permits at a facility with              the authorization of area source                      local permitting authorities could
                                              such low emissions. Several                             commercial sterilizers, and that this
                                              commenters stated that the proposed                                                                           achieve high compliance with the
                                                                                                      level of community review was                         NESHAP requirements without relying
                                              title V permitting requirement for area                 unnecessary and overly burdensome.
                                              sources would be a significant burden                                                                         on title V permitting), one commenter
                                                                                                      Another commenter noted that the                      stated that CAA sections 112, 113, and
                                              for small businesses, as these permits                  public already had access to commercial
                                              required businesses to prepare                                                                                114 required implementation and
                                                                                                      sterilizer locations, emissions, and                  enforcement programs to be conducted
                                              significant amounts of paperwork,                       current standards to which they were
                                              negotiate compliance with the                                                                                 by the EPA or delegated to the proper
                                                                                                      subject via our website and regulations,              State authority and a small business
                                              permitting authority, and subject their                 as well as our community outreach to
                                              operations and permit application to                                                                          assistance program to assist area sources
                                                                                                      advise the public of the hazards of EtO.              exempted from title V with compliance.
                                              public comment or petitions that would
                                              potentially delay operations and create                    With respect to the third factor (i.e.,            The commenter noted that States and
                                              additional regulatory burdens that, per                 whether the costs of title V permitting               the EPA routinely conducted voluntary
                                              OMB analysis, may be biased against                     for area sources would be justified                   compliance assistance outreach and
                                              small businesses. One commenter noted                   taking into consideration any potential               education programs. The commenter
                                              that small businesses in this industry                  gains in compliance likely to occur for               noted that the EPA’s review of State-
                                              had no experience with title V                          such sources), two commenters stated                  provided empirical data demonstrated
                                              permitting and that obtaining these                     there would be no justification for                   that area sources were adequately
                                              permits would require additional                        imposing the burden of title V                        compliant with their requirements
                                              resources. The commenter stated that                    permitting. One commenter stated that                 without title V permitting. The
                                              we ignored the significant cost of                      we could have separated the cost                      commenter stated that the proposed rule
                                              uncertainty that title V permitting                     estimate for the 86 area sources in order             is silent on whether permitting
                                              introduced to small business planning.                  to provide more accurate numbers.                     authorities could effectively implement
                                              The commenter explained that rather                     Additionally, the commenter stated that               NESHAPs without title V, and that the
                                              than hiring an engineer to determine                    the 2019 cost estimates were not                      EPA alluded to its 2019 ICR, implying
                                              how a facility could meet the                           accurate, as the new rules would require              that the responses thereto supported the
                                              requirements, a small business would                    facilities to change not only their                   EPA’s title V decision, but the EPA
                                              have to engage in a process with                        equipment, but also their calculation                 never identified specific data or
                                              multiple partners, develop supporting                   methods, monitoring, and testing. The                 explained how it would support any of
                                              material that may or may not be                         commenter stated that those costs                     EPA’s cursory statements. The
                                              sufficient in the eyes of the regulatory                needed to be considered in a title V cost             commenter concluded that there was no
                                              authority, and prepare a public relations               analysis. Three commenters stated that                more difficulty enforcing the single
                                              strategy in anticipation of community                   our cost estimate for obtaining a title V             NESHAP for area sources now versus in
                                              opposition to their operations, and that                permit underestimated the cost of this                2005, when EPA unequivocally
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                                              this investment must be made without                    requirement and that we should not add                determined title V would provide no
                                                                                                      to the burdens for area sources. One                  benefits to its ability to enforce CAA
                                                 68 Commenter provided the following statement:       commenter stated that the time and cost               regulations in tandem with its State and
                                              ‘‘Requiring areas sources to obtain a title V permit    of getting a title V permit did not                   local partners. The commenter stated
                                              would pose significant burdens on sterilization
                                              facilities especially within the time frame being
                                                                                                      correlate to the potential gains and that             that requiring title V now would only
                                              proposed.’’ (see Docket Item No. EPA–HQ–OAR–            we provided no supporting data for our                make enforcement more difficult, as
                                              2019–0178–0632, Attachment 2, page 20).                 conclusion that the average costs                     State agencies would be flooded with


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                                              title V applications that would require                 basis, and this data will be made                     reduction standards that the component
                                              time and State funds to implement and                   available to the public.                              streams are subject to.
                                              could potentially shift attention away                     In summary, the benefits of requiring                 Option 1 is consistent with what was
                                              from major source compliance in a way                   title V permitting for area source                    proposed, and Option 2 has been added
                                              that would compromise (and not                          facilities are not outweighed by the                  in order to provide more flexibility for
                                              improve) implementation of any final                    concerns. For the reasons stated above,               facilities in terms of how they chose to
                                              NESHAP program. Another commenter                       we agree with commenters that the four-               demonstrate compliance. As an
                                              stated there was already sufficient                     factor balancing test continues to weigh              example, suppose an area source facility
                                              oversight by State and local permitting                 in favor of exempting area source                     uses at least 30 tpy but less than 60 tpy,
                                              authorities, as well as subpart O                       facilities from title V permitting on the             and the facility chooses to control all of
                                              requirements. One commenter stated                      basis that title V is unnecessarily                   its ARVs and CEVs with one control
                                              that, as a State regulatory agency, they                burdensome. Therefore, we are not                     system. The emission reduction
                                              had the ability to adequately ensure                    finalizing title V permitting                         standards that apply to the ARVs and
                                              compliance with the proposed standard                   requirements for area source facilities.              CEVs are 99.9% and 99%, respectively.
                                              for facilities within their jurisdiction                   Comment: One commenter suggested                   In this example, suppose the mass of
                                              regardless of whether the facility is                   that we require only a single combined                EtO emissions from the ARVs is 4 lb,
                                              subject to title V permitting. Another                  performance test for the outlet point and             and the mass of EtO emissions from the
                                              commenter stated the proposed removal                   that the most stringent applicable                    CEVs is 1 lb, meaning that the mass of
                                              of the title V permitting exemption for                 standard (i.e., the control level required            EtO emissions from the combined
                                              area sources meant a significant number                 for the SCV) should be applied. Two                   stream is 5 lb. Under Option 1, the
                                              of small operations would be required to                commenters stated that our affected                   facility would need to apply an
                                              obtain title V permits for the first time,              source proposal is unnecessarily                      emission reduction of 99.9% to the
                                              and as many of these area sources were                  complicated. One commenter stated that                combined stream, resulting in an
                                              subject to a limited set of applicable                  where control equipment has a single                  emission limit of 0.005 lb. Under Option
                                              requirements and permits, there was                     inlet and outlet, the facility should not             2, the facility would apply an emission
                                              little apparent benefit from the                        be required to test individual source                 reduction of 99.9% to the ARV stream
                                              consolidation of these requirements                     inlets or outlets. The commenter also                 and an emission reduction of 99% to the
                                              within a title V permit. One commenter                  stated that it is logical that point sources
                                                                                                                                                            CEV stream, resulting in an emission
                                              stated that the EPA failed to discuss                   routed to the same emission control
                                                                                                                                                            limit of 0.014 lb. When an affected
                                              whether there was a history of                          system should be defined as a single
                                                                                                                                                            source is subject to a relatively high
                                              noncompliance with the EtO                              unit. The commenter stated it is
                                                                                                                                                            emission reduction standard, it can be
                                                                                                      important to set emission limits that
                                              Commercial Sterilization NESHAP,                                                                              difficult to demonstrate compliance
                                                                                                      reflect this reality and test methods that
                                              which indicated that that there are few                                                                       with that standard when the
                                                                                                      allow for combined system testing at the
                                              potential gains from the increased                                                                            concentration of pollutants going into
                                                                                                      outlet of the system. The commenter
                                              burdens. Finally, one commenter stated                                                                        the control device is low. By combining
                                                                                                      also stated that the proposed language
                                              that State operating permits (e.g.,                                                                           emission streams and increasing the
                                                                                                      implies that the SCV, CEV, and ARV
                                              Synthetic Minor or Federally                                                                                  concentration of pollutants in the air
                                                                                                      must be tested separately, which is
                                              Enforceable State Operating Permits) are                                                                      stream, it is easier to demonstrate
                                                                                                      challenging given the complexity in
                                              abundant and adequate to deal with                                                                            compliance.
                                                                                                      design of existing duct work and access
                                              these GACT sources without the added                                                                             Comment: One commenter
                                                                                                      to inlets. The commenter stated that
                                              expense, complication, and delays                       testing the combined inlet to the APCD                recommended the creation of the option
                                              associated with title V permitting.                     would be the safest, most accurate, and               for a site-wide emission limitation. This
                                                 Response: We agree with commenters                   most cost-effective method for                        limitation could take the form of either
                                              that the four-factor balancing test                     determining compliance for facilities                 overall removal efficiency, or a total
                                              continues to weigh in favor of                          with combined emissions. Another                      mass rate per hour. Another commenter
                                              exempting area source facilities from                   commenter stated that applying the                    suggested a site-wide emission
                                              title V permitting. In particular, we                   most restrictive removal efficiency                   limitation based upon EtO usage and
                                              agree with commenters that one of the                   standard when different sources are                   end-state emissions and identified as
                                              primary benefits of the title V program                 combined is impractical.                              precedent an Illinois construction
                                              is to clarify, in a single document, the                   Response: The EPA is finalizing                    permit containing monthly and annual
                                              various and complex regulations that                    approaches that will provide facilities               mass emissions caps. The commenter
                                              apply to a facility in order to improve                 with flexibility in terms of how they                 also suggested a compliance option by
                                              compliance, and that this benefit is not                choose to demonstrate compliance with                 emission reduction or emission rate
                                              realized in this case because commercial                the standards for instances where                     standards and identified as precedent
                                              sterilization facilities are subject to only            emission streams are combined prior to                Illinois legislation requiring 99.9
                                              one NESHAP (Subpart O). In addition,                    entering a control system. Facilities can             percent emission reduction at each
                                              we agree with commenters that, in light                 determine compliance via one of two                   exhaust point or limitation of EtO
                                              of the robust monitoring, recordkeeping                 options:                                              emissions to 0.2 ppm.
                                              and reporting requirements in the final                    • Option 1: Determine the mass of                     Response: We agree with the creation
                                              rule, a title V permit would likely not                 EtO entering the control device at a                  of an option for a site-wide emission
                                              add any substantial monitoring,                         point after the emission streams are                  limitation and have included this in the
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                                              recordkeeping and reporting                             combined, and apply the most stringent                final rulemaking. Specifically, we are
                                              requirements. We further note that, even                emission reduction standard that the                  finalizing two options for determining
                                              in the absence of title V permitting                    component streams are subject to.                     compliance on a site-wide basis:
                                              requirements, this final rule will ensure                  • Option 2: Determine the mass of                     • Option 1: Determine the mass of
                                              transparency around the emissions from                  EtO entering the control device at points             EtO being used at the facility and apply
                                              these facilities by requiring that EtO                  before the emission streams are                       the SCV emission reduction standard,
                                              CEMS data be reported on a quarterly                    combined, and apply the emission                      which is the most stringent emission


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                                              reduction standard that any emission                    two planned facilities. However, based                with the final rule will impact multiple
                                              stream at the facility is subject to.                   on comments received on the proposed                  sources at once, and those costs form
                                                 • Option 2: Determine the mass of                    rulemaking, we understand that one of                 the basis of our impact estimates. These
                                              EtO being emitted from each affected                    the existing facilities has closed. In                costs are presented in table 2 of this
                                              source, and apply the emission                          addition, the commenters identified                   preamble. There are 90 facilities
                                              reduction standards that each affected                  three existing commercial sterilization               (including the 88 existing facilities and
                                              source is subject to. For SCVs, the mass                facilities that were unknown during the               the two planned facilities) affected by
                                              of EtO may be determined by measuring                   proposed rulemaking. However, it                      the amendments, and the number of
                                              how much is used and then applying a                    should be noted that EtO use at the                   facilities associated with each of the
                                              facility-specific factor that accounts for              three facilities that were previously                 specific costs is indicated in table 2. The
                                              EtO entering the control systems from                   unknown is very small (i.e., less than 1              facility list was developed using
                                              other affected sources.                                 tpy). A complete list of the known 88                 methods described in section II.C of the
                                                 We disagree with the suggestion to set               Commercial Sterilization Facilities that              proposal preamble (88 FR 22790, April
                                              an emissions cap, as the amount of EtO                  are affected by this rulemaking is                    13, 2023). A complete list of known
                                              that a facility will use in a given month               available in Appendix 1 of the                        commercial sterilization facilities is
                                              is unknown.                                             document, Residual Risk Assessment for                available in Appendix 1 of the
                                                                                                      the Commercial Sterilization Facilities               document, Residual Risk Assessment for
                                              4. What is the rationale for our final                  Source Category in Support of the 2024                the Commercial Sterilization Facilities
                                              approach and final decisions for the                    Risk and Technology Review Final Rule,                Source Category in Support of the 2024
                                              other amendments for the Commercial                     which is available in the docket for this             Risk and Technology Review Final Rule,
                                              Sterilization Facilities source category?               rulemaking.                                           which is available in the docket for this
                                                 We are not finalizing a requirement                                                                        rulemaking.
                                                                                                      B. What are the air quality impacts?
                                              for all area sources facilities to obtain a                                                                   D. What are the economic impacts?
                                              title V operating permit, and we are not                  At the current level of control prior to
                                              including requirements for fenceline or                 the amendments being finalized in this                   The economic impact analysis is
                                              ambient air monitoring as part of this                  action, the EPA estimates that EtO                    designed to inform decision makers
                                              final rule. Based on the comments                       emissions were approximately 23 tpy                   about the potential economic
                                              received during the proposed                            (actuals) and 160 tpy (allowables) from               consequences of the compliance costs
                                              rulemaking, we are requiring EtO CEMS                   commercial sterilization facilities. At               outlined in section V.C of this preamble.
                                              for facilities where EtO use is at least                the level of control required by the                  The EPA performed a screening analysis
                                              100 lb/year, and we are finalizing a                    amendments being finalized in this                    that compared compliance costs to
                                              requirement for EtO CEMS data to be                     action, which includes standards for                  revenues at the ultimate parent
                                              reported quarterly. We are not finalizing               previously unregulated sources and                    company level (several companies own
                                              a requirement for owners and operators                  amendments to all sources where                       more than one affected facility). This is
                                              to conduct SCV inlet testing, and we are                standards were already in place, we                   known as the cost-to-revenue or cost-to-
                                              not finalizing a requirement for each                   estimated EtO emissions reductions of                 sales test, or the ‘‘sales test.’’ The use of
                                              performance test run to be conducted                    21 tpy (actuals) and 150 tpy (allowables)             a sales test for estimating small business
                                              over a 24-hour period. Lastly, we are                   for the source category.                              impacts for a rulemaking is consistent
                                              finalizing revised compliance                                                                                 with EPA guidance on compliance with
                                                                                                      C. What are the cost impacts?                         the Regulatory Flexibility Act (RFA) and
                                              mechanisms for combined emission
                                                                                                        The total capital investment cost of                is consistent with guidance published
                                              streams, as well as the option for
                                                                                                      the final amendments and standards is                 by the U.S. Small Business
                                              facilities to demonstrate compliance
                                                                                                      estimated to be approximately $313                    Administration’s Office of Advocacy
                                              with a site-wide emission limit, as
                                                                                                      million in 2021 dollars. We estimate                  that suggests that cost as a percentage of
                                              opposed to having to demonstrate
                                                                                                      total annual costs of the final                       total revenues is a metric for evaluating
                                              compliance for each individual and
                                                                                                      amendments to be approximately $74                    cost increases on small entities in
                                              combined emission stream. See section
                                                                                                      million.                                              relation to increases on large entities.
                                              IV.F.3 of this preamble for further                       The present value (PV) of the                          There are 88 existing commercial
                                              discussion.                                             estimated compliance costs over the 20-               sterilization facilities and 2 planned
                                                 In a few instances, we received                                                                            commercial sterilization facilities,
                                                                                                      year timeframe from 2025 to 2044 for
                                              comments that led to additional minor                                                                         owned by 50 parent companies, affected
                                                                                                      the final rule is $773 million in 2021
                                              editorial corrections and technical                                                                           by the final amendments. Of the parent
                                                                                                      dollars, discounted at a 7 percent rate.
                                              clarifications being made in the final                                                                        companies, 22 companies, or 44
                                                                                                      The equivalent annualized value (EAV)
                                              rule, and our rationale for these                                                                             percent, are small entities based on the
                                                                                                      of the costs is $88 million, using a 7
                                              corrections and technical clarifications                                                                      U.S. Small Business Administration’s
                                                                                                      percent discount rate. Using a 3 percent
                                              can be found in the document,                                                                                 table of size standards. Next, we
                                                                                                      discount rate, the PV and EAV of the
                                              Summary of Public Comments and                                                                                determined the magnitude of the costs
                                                                                                      costs from 2025 to 2044 are estimated to
                                              Responses for the Risk and Technology                                                                         of the amendments being finalized in
                                                                                                      be $932 million and $63 million,
                                              Review for Commercial Sterilization                                                                           this action for each entity and then
                                                                                                      respectively.
                                              Facilities, available in the docket for this              The nationwide costs of the different               calculated a cost-to-sales ratio for each
                                              rulemaking.                                             amendments being finalized in this                    entity by comparing estimated costs to
                                              V. Summary of Cost, Environmental,                      action are presented in table 2 of this               the annual revenues of each parent
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                                              and Economic Impacts and Additional                     preamble. As described in this                        company. We then assessed whether
                                              Analyses Conducted                                      preamble, we are finalizing standards                 there would be potential for a
                                                                                                      for previously unregulated sources, as                significant impact on small entities
                                              A. What are the affected facilities?                    well as amendments for sources where                  based on the cost-to-sales ratios. For all
                                                As part of the proposed rulemaking,                   standards were already in place. Many                 entities, the average cost-to-sales ratio is
                                              we estimated that there were 86 existing                of the emissions capture and control                  approximately 8 percent; the median
                                              commercial sterilization facilities and                 technologies that are needed to comply                cost-to-sales ratio is 0.2 percent; and the


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                                              maximum cost-to-sales ratio is                                            additional emissions controls. The                                  medical supply chain. As discussed in
                                              approximately 69 percent. For large                                       controls necessary to meet the                                      section III.G of this preamble, we have
                                              firms, the average cost-to-sales ratio is                                 requirements of this final rule include                             reviewed the time that it has taken for
                                              approximately 0.2 percent; the median                                     PTEs and gas/solid reactors, along with                             these projects to be completed, from
                                              cost-to-sales ratio is 0.03 percent; and                                  (in some cases) alterations to facility                             submission of the initial permit
                                              the maximum cost-to-sales ratio is 1.3                                    design to ensure adequate capture of                                application to installation of the
                                              percent. This rule has potentially                                        EtO emissions. Such controls rely on                                continuous compliance mechanisms.
                                              significant impacts on small entities.                                    existing technologies that are                                      Based on this review, we found that the
                                              For small firms, the average cost-to-sales                                commercially available from                                         process of bringing a facility into
                                              ratio is approximately 18 percent, the                                    manufacturers and are already well                                  compliance with the PTE requirements
                                              median cost-to-sales ratio is 4.7 percent,                                established in this industry. In addition,                          of EPA Method 204, as well as installing
                                              and the maximum cost-to-sales ratio is                                    a few companies have constructed, or                                and verifying additional emission
                                              69 percent. There are 13 small entities                                   are in the process of constructing, new                             controls, takes approximately a year
                                              (59 percent of all affected small entities)                               facilities with state-of-the-art design and                         from permit submission to project
                                              with estimated cost-to-sales ratios of 3                                  control installations to ensure full                                completion.
                                              percent or greater. See the Regulatory                                    capture and control of EtO emissions.
                                              Impact Analysis for further detail on the                                                                                                        The EPA has evaluated available
                                                                                                                        These early actions by industry                                     information about the state of control
                                              cost estimates, small entity impact                                       demonstrate the feasibility of
                                              analysis, and a discussion of potential                                                                                                       installations at existing commercial
                                                                                                                        implementing the requirements in this                               sterilization facilities. Of the 88 existing
                                              market and economic impacts.                                              final rule.
                                                 The EtO sterilization industry is an                                                                                                       facilities, seven appear have already met
                                              integral part of the supply chain for                                        Over the last several years, the                                 the emission standards and will not
                                              many medical devices and capacity                                         industry has demonstrated the                                       need to install additional emission
                                              constraints have been reported. Based                                     capability to install controls on multiple                          controls. Another 55 facilities appear to
                                              on the data we analyzed, we expect that                                   facilities simultaneously without                                   only need additional abatement devices.
                                              the largest impacts of this rule are                                      interfering with medical supply chains.                             We expect that 28 facilities still need to
                                              limited to a handful of the companies                                     For example, three companies re-                                    meet the PTE requirements of EPA
                                              that play a key role in the availability                                  designed their Illinois and Georgia                                 Method 204 and install additional
                                              of certain medical devices, and several                                   facilities to comply with the PTE                                   abatement devices. Table 22 presents
                                              of them are already in the planning                                       requirements of EPA Method 204, as                                  the apparent compliance status with the
                                              stage for additional controls.                                            well as installed emission controls at                              final rule for each relevant emission
                                                 Some companies involved in medical                                     these facilities during overlapping                                 source and facility EtO use combination,
                                              device sterilization have installed, or are                               timeframes from May 2019 through                                    based on controls that are currently in
                                              already planning for installation of,                                     August 2020 without disruption to the                               place.

                                                                      TABLE 22—APPARENT COMPLIANCE STATUS WITH FINAL RULE AND COMPLIANCE TIMEFRAMES
                                                                                                                                                                                                       Number of
                                                                                                                                                                                 Number of              facilities         Compliance
                                                                        Emission source                                                Facility EtO use                      facilities with this     appearing to          timeframe
                                                                                                                                                                              affected source         achieve final
                                                                                                                                                                                                       standard 1

                                              SCV .........................................................................   At least 30 tpy ......................                           38                     19      Two years.
                                                                                                                              At least 10 but less than 30                                      9                      9      Two years.
                                                                                                                                tpy.
                                                                                                                              At least 1 but less than 10                                      18                     16      Two years.
                                                                                                                                tpy.
                                                                                                                              Less than 1 tpy ....................                             23                     22     Three years.
                                              ARV .........................................................................   At least 30 tpy ......................                           36                     12      Two years.
                                                                                                                              At least 10 but less than 30                                      5                      5     Three years.
                                                                                                                                tpy.
                                                                                                                              At least 1 but less than 10                                      10                      7     Three years.
                                                                                                                                tpy.
                                                                                                                              Less than 1 tpy ....................                              4                   2        Three years.
                                              CEVs at major source facilities ...............................                 N/A .......................................                       0                 N/A        Three years.
                                              CEVs at area source facilities .................................                At least 60 tpy ......................                           25                  12         Two years.
                                                                                                                              Less than 60 tpy ..................                              15                   8        Three years.
                                              Group 1 room air emissions at major sources .......                             N/A .......................................                       0                 N/A        Three years.
                                              Group 1 room air emissions at area sources .........                            At least 40 tpy ......................                           36                  16         Two years.
                                                                                                                              Less than 40 tpy ..................                              38                   7        Three years.
                                              Group 2 room air emissions at major sources .......                             N/A .......................................                       1                   0        Three years.
                                              Group 2 room air emissions at area sources .........                            At least 20 tpy ......................                           44                  17         Two years.
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                                                                                                                              At least 4 but less than 20                                      13                   1         Two years.
                                                                                                                                tpy.
                                                                                                                              Less than 4 tpy ....................                             27                     27     Three years.
                                                 1 The phrase ‘‘appearing to achieve’’ is used (as opposed to ‘‘achieving’’) to account for uncertainties in the data. A notable example is the
                                              SCVs where, for a given facility, the emission reduction on the first evacuation may not high enough to ensure that the standard is being met
                                              across all evacuations. Another uncertainty is the fraction of EtO going to each emission stream. In some instances, there is facility-specific infor-
                                              mation available, and in others, there is no information available and default fractions are applied as a result.




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                                              E. What are the benefits?                               included in the docket for this final rule            potential for EJ concerns associated with
                                                                                                      for the public’s understanding.                       this source category in the baseline, as
                                                 The EPA did not monetize the                            The baseline risk-based demographic                well as the substantial anticipated
                                              benefits from the estimated emission                    analysis is an assessment of risks to                 benefits these final standards will have
                                              reductions of HAP associated with this                  individual demographic groups in the                  in reducing EtO emissions and
                                              final action. The EPA currently does not                population living within the 10 km and                associated health risks for all of the
                                              have sufficient methods to monetize                     50 km radii around the facilities prior to            affected public, including people living
                                              benefits associated with HAP, HAP                       the implementation of any controls                    in communities with EJ concerns. Those
                                              reductions, and risk reductions for this                finalized by this action (‘‘baseline’’).              benefits include that no individual is
                                              rulemaking. However, we estimate that                   Again, in this preamble, we present for               expected to be exposed to inhalation
                                              the final rule amendments would                         the public’s understanding the results                cancer risk levels above 100-in-1 million
                                              reduce EtO emissions by 21 tons per                     for populations living within 10 km of                due to emissions from this source
                                              year and expect that these reductions                   facilities. Results for populations living            category after implementation of all the
                                              will lower the risk of adverse health                   within 50 km are included in the                      CAA standards finalized in this action.
                                              effects, including cancer, for individuals              technical report included in the docket                  The methodology and detailed results
                                              in communities near commercial                          for this final rule.                                  of the demographic analysis are
                                              sterilization facilities. For example, the                 Overall, the results of the proximity              presented in a technical report, Analysis
                                              estimated cancer incidence due to                       demographic analysis (see first three                 of Demographic Factors for Populations
                                              emissions from the source category                      columns of table 23) indicate that the                Living Near Ethylene Oxide Commercial
                                              would be reduced from 0.9 to between                    percent of the population living within               Sterilization and Fumigation
                                              0.1 to 0.2, or from 1 cancer case every                 10 km of the 88 facilities that is                    Operations, available in the docket for
                                              1.1 years to 1 cancer case every 5 to 10                Hispanic or Latino is substantially                   this action, but a synopsis is provided
                                              years.                                                  higher than the national average (36
                                                                                                                                                            below. We also received comments on
                                                                                                      percent versus 19 percent), driven
                                              F. What analysis of environmental                                                                             the demographic analysis. Those
                                                                                                      largely by the seven facilities in Puerto
                                              justice did we conduct?                                                                                       comments and our specific responses
                                                                                                      Rico. The baseline proximity analysis
                                                                                                                                                            can be found in the document,
                                                 Consistent with applicable executive                 indicates that the proportion of other
                                                                                                                                                            Summary of Public Comments and
                                              orders and EPA policy, the EPA has                      demographic groups living within 10
                                                                                                                                                            Responses for the 2024 Risk and
                                              carefully analyzed the environmental                    km of commercial sterilizers is closer to
                                                                                                                                                            Technology Review for Commercial
                                              justice implications of the benefits                    the national average. The baseline risk-
                                                                                                                                                            Sterilization Facilities, available in the
                                              associated with the reductions in EtO                   based demographic analysis (see
                                                                                                                                                            docket for this rulemaking.
                                              emissions as a result of this final rule.               ‘‘baseline’’ column in tables 23 to 25),
                                              The EPA conducted this analysis for the                 which presents information for                        1. Demographics
                                              purpose of providing the public with as                 individuals that are expected to have
                                                                                                      higher cancer risks (greater than or                     The first three columns of tables 23,
                                              full as possible an understanding of the                                                                      24, and 25 of this document show the
                                              potential impacts of this final action.                 equal to 1-in-1 million, greater than or
                                                                                                      equal to 50-in-1 million, and greater                 total population, population
                                              The EPA believes that analyses like this                                                                      percentages, and population count for
                                              can inform the public’s understanding,                  than 100-in-1 million), suggests that the
                                                                                                      African American, Hispanic or Latino,                 each demographic group for the
                                              place EPA’s action in context, and help,                                                                      nationwide population and the total
                                              identify and illustrate the extent of                   below the poverty level, over 25 and
                                                                                                      without a high school diploma, and                    population living within 10 km of EtO
                                              potential burdens and protections.                                                                            sterilization facilities. A total of 17.3
                                                                                                      linguistically isolated demographic
                                                 As part of understanding the impacts                                                                       million people live within 10 km of the
                                                                                                      groups are also disproportionally
                                              of this source category and of this final               represented at the higher risk levels.                88 facilities that were assessed. The
                                              rule, we examined the potential for the                    The post-control risk-based                        results of the proximity demographic
                                              88 facilities that were assessed to pose                demographic analysis presents                         analysis indicate that the percent of the
                                              concerns to communities with EJ                         information on current health risks and               population that is Hispanic or Latino is
                                              concerns both in the baseline i.e., under               how the standards considered in this                  substantially higher than the national
                                              the current standards) standards                        final regulatory action would affect the              average (36 percent versus 19 percent),
                                              considered in this final rule.                          distribution of these risks across the                driven by the seven facilities in Puerto
                                                 To examine the potential for EJ                      populations and communities identified                Rico, where an average of 99 percent of
                                              concerns in the pre-control baseline, we                in the baseline. The CAA section                      the 658,000 people living within 10 km
                                              conducted two baseline demographic                      112(d)(2), (3), and (5) post-control                  of the facilities in PR are Hispanic or
                                              analyses, a proximity analysis and a                    scenario is shown in tables 23 to 25 and              Latino. The percent of the population
                                              risk-based analysis. The baseline                       the residual risk post-control options are            that is ‘‘Other and multiracial’’ (11
                                              proximity demographic analysis is an                    shown in tables 26 to 28. The post-                   percent) is higher than the national
                                              assessment of individual demographic                    control options show a substantial                    average (8 percent). The percent of
                                              groups in the total population living                   reduction in the number of individuals                people living below the poverty level
                                              within 10 kilometers (km) and 50 km of                  at each risk level, as well as a significant          (15 percent) and those over the age of
                                              the facilities. In this preamble, we focus              reduction in the proportion of African                25 without a high school diploma (16
                                              on the 10 km radius for the health risk                 Americans that experience higher risk                 percent) are higher than the national
                                              assessment and for the demographic                      levels from facilities in this source                 averages (13 percent and 12 percent,
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                                              analysis because it encompasses all the                 category. We project that a majority of               respectively). The percent of people
                                              facility MIR locations and captures 100                 the individuals that would remain at                  living in linguistic isolation 69 is double
                                              percent of the population with risks                    risk after implementation of the final
                                                                                                                                                               69 Linguistic Isolation is defined in the U.S.
                                              greater than 100-in-1 million. The                      standards are Hispanic or Latino, driven
                                                                                                                                                            Census Bureau’s American Community Survey as
                                              results of the proximity analysis for                   largely by the facilities in Puerto Rico.             ‘‘a household in which all members age 14 years
                                              populations living within 50 km are                        These three distinct but                           and over speak a non-English language and also
                                              included in the technical report                        complementary analyses indicate the                                                             Continued




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                                              the national average (10 percent versus                  equal to 50-in-1 million (124,000                     million (table 23), greater than or equal
                                              5 percent). We note that this estimate of                people), and greater than 100-in-1                    to 50-in-1 million (table 24), and greater
                                              linguistic isolation is largely driven by                million (19,000 people) are                           than 100-in-1 million (table 25) after
                                              the facilities in Puerto Rico, where an                  predominantly made up of African                      implementation of standards that we are
                                              average of 67 percent of the population                  Americans (43 and 31 percent versus 12                finalizing under CAA sections 112(d)(2),
                                              is in linguistic isolation in comparison                 percent nationally), and have a higher                (3), and (5). The results of our analysis
                                              to the national average.                                 percentage of the population below the                of risk-based demographics considering
                                                 In summary, the baseline proximity                    poverty level (22 and 25 percent versus               standards under CAA sections 112(d)(2),
                                              analysis indicates that the percent of                   13 percent nationally). For this same                 (3), and (5) are shown in the last column
                                              Hispanic or Latino populations living                    group, the percent over 25 without a                  of tables 23, 24, and 25 titled ‘‘Baseline
                                              near commercial sterilizers (within 10                   high school diploma is above the                      and CAA Section 112(d)(2), (3), and
                                              km) is higher than what would be                         national average (17 and 18 percent                   (5).’’ In this analysis we evaluated how
                                              expected based on the national average                   versus 12 percent), and linguistic                    the final CAA sections 112(d)(2), (3),
                                              distribution. This is largely driven by                  isolation is above the national average (9            and (5) emission reductions in this final
                                              the seven facilities located in Puerto                   and 16 percent versus 5 percent). This                regulatory action affect the distribution
                                              Rico where, on average, the population                   shows that risks tend to be higher both               of risks identified in the baseline. This
                                              of 658,000 people living within 10 km                    where more African American residents                 enables us to characterize the post-
                                              of these seven facilities is 99 percent                  reside, and where poverty is higher than              control risks and to illustrate for the
                                              Hispanic or Latino. In addition, the                     in the rest of the area within 10 km. It              public’s understanding whether this
                                              population around the facilities in                      should be noted that the higher                       part of the final action affects, creates or
                                              Puerto Rico has 67 percent living in                     percentage African American                           mitigates potential EJ concerns as
                                              linguistic isolation, 45 percent living                  population with baseline cancer risk                  compared to the baseline.
                                              below the poverty level, and 24 percent                  greater than or equal to 50-in-1 million                 The risk analysis indicated that the
                                              over 25 without a high school diploma.                   is driven largely by seven facilities                 emissions from the source category,
                                                                                                       located in or near communities that                   after implementation of the standards
                                              2. Baseline Risk-Based Demographics
                                                                                                       have African American populations that                (resulting in emissions reductions) that
                                                 The baseline risk-based demographic                   are between two and eight times the                   we are finalizing under CAA sections
                                              analysis results are shown in the                        national average. The higher percentage               112(d)(2), (3), and (5), reduces the
                                              ‘‘baseline’’ column of tables 23, 24, and                African American population with                      number of people living within 10 km
                                              25. This analysis presented information                  baseline cancer risk greater than 100-in-             of a facility and with a cancer risk
                                              on the populations living within 10 km                   1 million is driven largely by three                  greater than or equal to 1-in-1 million
                                              of the facilities with estimated actual                  facilities that are located in                        from 5.3 million people around 75
                                              cancer risks greater than or equal to 1-                 communities where the proportion of                   facilities to 3.2 million people around
                                              in-1 million (table 23), greater than or                 African American residents is between                 70 facilities, reduces the number of
                                              equal to 50-in-1 million (table 24), and                 2.5 and 8 times the national average.                 people living within 10 km of a facility
                                              greater than 100-in-1 million (table 25).                The population with higher baseline                   and with a cancer risk greater than or
                                              The risk analysis indicated that                         cancer risks living within 10 km of the               equal to 50-in-1 million from 124,000
                                              emissions from the source category,                      facilities consists of a substantially                people around 38 facilities to 23,000
                                              prior to the reductions we are finalizing,               smaller percentage of Hispanic or Latino              people around 23 facilities, and reduces
                                              expose a total of 5.3 million people to                  (22 and 26 percent) than the total                    the number of people living within 10
                                              a cancer risk greater than or equal to 1-                population living within 10 km (36                    km of a facility and with a cancer risk
                                              in-1 million around 75 facilities,                       percent Hispanic or Latino) and is above              greater than 100-in-1 million from
                                              124,000 people to a cancer risk greater                  the national average (19 percent).                    19,000 people around 16 facilities to
                                              than or equal to 50-in-1 million around                     In summary, the baseline risk-based                3,900 people around 13 facilities.
                                              38 facilities, and 19,000 people to a                    demographic analysis, which presents                     The demographics of the population
                                              cancer risk greater than 100-in-1 million                information on those specific locations               with estimated cancer risks greater than
                                              around 16 facilities. The demographics                   that are expected to have higher cancer               or equal to 1-in-1 million considering
                                              of the baseline population with                          risks, suggests that African Americans,               the standards we are finalizing under
                                              estimated cancer risks greater than or                   those living below poverty, and those                 CAA sections 112(d)(2), (3), and (5) are
                                              equal to 1-in-1 million are very similar                 living in linguistic isolation are                    very similar to both the total population
                                              to the total population within 10 km.                    disproportionally represented where                   within 10 km and to the baseline
                                              Specifically, the percent of the                         risk is highest. The population with                  population with risks greater than or
                                              population that is Hispanic or Latino is                 risks greater than 100-in-1 million living            equal to 1-in-1 million. Specifically, the
                                              more than two times larger than the                      within 10 km of a commercial sterilizer               percent of the population that is
                                              national average (39 percent versus 19                   has a proportion of African Americans                 Hispanic or Latino is twice the national
                                              percent), the percent below the poverty                  (31 percent), those living below poverty              average (38 percent versus 19 percent),
                                              level is above national average (16                      (25 percent) and those living in                      the percent below the poverty level is
                                              percent versus 13 percent), the percent                  linguistic isolation (16 percent) that is             above national average (16 percent
                                              over 25 without a high school diploma                    more than twice as large as the                       versus 13 percent), the percent over 25
                                              is above the national average (18 percent                respective national average.                          without a high school diploma is above
                                              versus 12 percent), and the percent                                                                            the national average (18 percent versus
                                                                                                       3. Risks Across Demographics                          12 percent), and the percent linguistic
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                                              linguistic isolation is two times the                    Anticipated After Standards Under CAA
                                              national average (11 percent versus 5                                                                          isolation is two times the national
                                                                                                       Sections 112(d)(2), 112(d)(3), and                    average (11 percent versus 5 percent).
                                              percent).                                                112(d)(5)
                                                 In contrast, the smaller populations                                                                           After implementation of the standards
                                              with baseline cancer risk greater than or                   This analysis presented information                that we are finalizing under CAA
                                                                                                       on the populations living within 10 km                sections 112(d)(2), (3), and (5), the
                                              speak English less than ‘‘very well’’ (have difficulty   of the facilities with estimated cancer               percentage and number of African
                                              with English).’’                                         risks greater than or equal to 1-in-1                 Americans at cancer risks greater than


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                                              or equal to 50-in-1 million and greater                                     emissions reductions. However,.                                          the number of people in all
                                              than 100-in-1 million is significantly                                      Similarly, the number of people below                                    demographic groups that are exposed to
                                              reduced. For example, African                                               the poverty level or linguistically                                      risks greater than or equal to 1-in-1
                                              Americans exposed to risks greater than                                     isolated with a cancer risk >100-in-1                                    million, greater than and equal to 50-in-
                                              100-in-1 million went from 31 percent                                       million decreased significantly;                                         1 million, and greater than 100-in-1
                                              or 5,900 people in the baseline to 6                                        however, the percentage of the                                           million. Specifically, the percent of the
                                              percent or 220 people after                                                 remaining population at risk post-                                       population that is African American
                                              implementation of the final CAA section                                     emission controls that are in these                                      who are at a cancer risk greater than or
                                              112(d)(2), 112(d)(3), and 112(d)(5)                                         demographics went up from the                                            equal to 50-in-1 million and greater than
                                              emissions reductions. It should be noted                                    baseline. For example, the proportion of
                                                                                                                                                                                                   100-in-1 million was reduced from 43
                                              that while the number of Hispanic or                                        the population with risks greater than
                                                                                                                                                                                                   percent in the baseline to about 13
                                              Latino people with risks greater than                                       100-in-1 million that were below the
                                              100-in-1 million was reduced from                                                                                                                    percent after the CAA section 112(d)(2),
                                                                                                                          poverty level was much higher than the
                                              4,900 to 2,600 people, the percentage of                                    baseline (38 percent versus 25 percent),                                 112(d)(3), and 112(d)(5) controls. The
                                              the remaining population at >100-in-1                                       but the number of people was reduced                                     percentage of Hispanic or Latino people
                                              million risk that is Hispanic or Latino                                     from 4,700 people to 560 people.                                         increased as the higher risk facilities in
                                              went up from 26 percent in the baseline                                        In summary, implementation of the                                     Puerto Rico make-up an increasing
                                              to 68 percent after the final CAA section                                   final CAA sections 112(d)(2), (3), and (5)                               portion of the remaining populations
                                              112(d)(2), 112(d)(3), and 112(d)(5)                                         standards would significantly reduce                                     with higher cancer risks.

                                               TABLE 23—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
                                                  POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 1-IN-1 MILLION LIVING WITHIN 10 KM OF FACILITIES
                                                  THAT WERE ASSESSED
                                                                                                                                                                                                      Total        Cancer risk ≥ 1-in-1 million
                                                                                                                                                                                                   population
                                                                                                                                                                                                      living
                                                                                         Demographic group                                                               Nationwide               within 10 km      Baseline        Post-control
                                                                                                                                                                                                     of EtO
                                                                                                                                                                                                    facilities

                                              Total Population ...............................................................................................                        328M               17.3M             5.3M              3.2M
                                              Number of Facilities .........................................................................................           ........................              88              75                70

                                                                                                                    Race and Ethnicity by Percent [Number of People]

                                              White ................................................................................................................        60 percent               40 percent     40 percent        40 percent
                                                                                                                                                                                [197M]                   [6.9M]          [2.1M]            [1.3M]
                                              African American .............................................................................................                12 percent               13 percent     15 percent        16 percent
                                                                                                                                                                                  [40M]                  [2.3M]          [770K]            [520K]
                                              Native American ..............................................................................................                0.7 percent             0.3 percent     0.3 percent       0.3 percent
                                                                                                                                                                                   [2M]                   [51K]            [17K]              [9K]
                                              Hispanic or Latino (includes white and nonwhite) ...........................................                                  19 percent               36 percent     39 percent        38 percent
                                                                                                                                                                                  [62M]                  [6.2M]          [2.1M]            [1.2M]
                                              Other and Multiracial .......................................................................................                   8 percent             11 percent        7 percent         6 percent
                                                                                                                                                                                 [27M]                   [1.9M]          [350K]            [190K]

                                                                                                                              Income by Percent [Number of People]

                                              Below Poverty Level ........................................................................................                   13 percent              15 percent      16 percent        16 percent
                                                                                                                                                                                 [44M]                    [2.5M]         [840K]            [520K]
                                              Above Poverty Level ........................................................................................                   87 percent              85 percent      84 percent        84 percent
                                                                                                                                                                                [284M]                  [14.8M]          [4.5M]            [2.7M]

                                                                                                                            Education by Percent [Number of People]

                                              Over 25 and without a High School Diploma ..................................................                                   12 percent              16 percent      18 percent        18 percent
                                                                                                                                                                                 [40M]                    [2.7M]         [960K]            [590K]
                                              Over 25 and with a High School Diploma .......................................................                                 88 percent               84percent      82 percent        82 percent
                                                                                                                                                                                [288M]                  [14.6M]          [4.3M]            [2.7M]

                                                                                                                  Linguistically Isolated by Percent [Number of People]

                                              Linguistically Isolated .......................................................................................                  5 percent             10 percent      11 percent        11 percent
                                                                                                                                                                                  [18M]                  [1.8M]          [570K]            [360K]
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                                                Notes:
                                                • Nationwide population and demographic percentages are based on the Census Bureau’s (Census) 2015–2019 American Community Survey
                                              (ACS) 5-year block group averages. Total population count within 10 km is based on 2010 Decennial Census block population.
                                                • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
                                              panic or Latino is counted as Hispanic or Latino, regardless of race.
                                                • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
                                              at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
                                                • The sum of individual populations with a demographic category may not add up to total due to rounding.



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                                               TABLE 24—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
                                                  POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 50-IN-1 MILLION LIVING WITHIN 10 KM OF FACILI-
                                                  TIES THAT WERE ASSESSED

                                                                                                                                                                                                        Total       Cancer risk ≥ 50-in-1 million
                                                                                                                                                                                                    population
                                                                                         Demographic group                                                               Nationwide                living within
                                                                                                                                                                                                  10 km of EtO        Baseline        Post-control
                                                                                                                                                                                                      facilities

                                              Total Population ...............................................................................................                        328M                17.3M           124,000            23,000
                                              Number of Facilities .........................................................................................           ........................               88               38                23

                                                                                                                    Race and Ethnicity by Percent [Number of People]

                                              White ................................................................................................................        60 percent                40 percent      31 percent        30 percent
                                                                                                                                                                                [197M]                    [6.9M]            [39K]               [7K]
                                              African American .............................................................................................                12 percent                13 percent      43 percent        13 percent
                                                                                                                                                                                  [40M]                   [2.3M]            [54K]             [2.9K]
                                              Native American ..............................................................................................                0.7 percent              0.3 percent      0.1 percent       0.1 percent
                                                                                                                                                                                   [2M]                    [51K]            [190]            [<100]
                                              Hispanic or Latino (includes white and nonwhite) ...........................................                                  19 percent                36 percent      22 percent        56 percent
                                                                                                                                                                                  [62M]                   [6.2M]            [27K]              [13K]
                                              Other and Multiracial .......................................................................................                   8 percent              11 percent         3 percent         2 percent
                                                                                                                                                                                 [27M]                    [1.9M]           [3.9K]              [400]

                                                                                                                              Income by Percent [Number of People]

                                              Below Poverty Level ........................................................................................                   13 percent              15 percent        22 percent        29 percent
                                                                                                                                                                                 [44M]                    [2.5M]            [28K]            [6.6K]
                                              Above Poverty Level ........................................................................................                   87 percent              85 percent        78 percent        71 percent
                                                                                                                                                                                [284M]                  [14.8M]             [96K]             [17K]

                                                                                                                            Education by Percent [Number of People]

                                              Over 25 and without a High School Diploma ..................................................                                   12 percent              16 percent        17 percent        21 percent
                                                                                                                                                                                 [40M]                    [2.7M]             [21K]             [5K]
                                              Over 25 and with a High School Diploma .......................................................                                 88 percent              84 percent        83 percent        79 percent
                                                                                                                                                                                [288M]                  [14.6M]            [103K]             [18K]

                                                                                                                  Linguistically Isolated by Percent [Number of People]

                                              Linguistically Isolated .......................................................................................                  5 percent             10 percent         9 percent        30 percent
                                                                                                                                                                                  [18M]                  [1.8M]             [11K]            [6.9K]
                                                Notes:
                                                • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
                                              count within 10 km is based on 2010 Decennial Census block population.
                                                • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
                                              panic or Latino is counted as Hispanic or Latino, regardless of race.
                                                • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
                                              at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
                                                • The sum of individual populations with a demographic category may not add up to total due to rounding.
                                                • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
                                              shown simply as ‘‘<100.’’

                                               TABLE 25—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
                                                  POPULATIONS WITH CANCER RISK GREATER THAN 100-IN-1 MILLION LIVING WITHIN 10 KM OF FACILITIES THAT
                                                  WERE ASSESSED
                                                                                                                                                                                                        Total       Cancer risk > 100-in-1 million
                                                                                                                                                                                                    population
                                                                                         Demographic group                                                               Nationwide                living within
                                                                                                                                                                                                  10 km of EtO        Baseline        Post-control
                                                                                                                                                                                                      facilities

                                              Total Population ...............................................................................................                        328M                17.3M            19,000             3,900
                                              Number of Facilities .........................................................................................           ........................               88               16                13
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                    Race and Ethnicity by Percent [Number of People]

                                              White ................................................................................................................        60 percent                40 percent      40 percent         25 percent
                                                                                                                                                                                [197M]                    [6.9M]            [7.7K]             [1K]
                                              African American .............................................................................................                12 percent                13 percent      31 percent          6 percent
                                                                                                                                                                                  [40M]                     [3M]            [5.9K]            [200]
                                              Native American ..............................................................................................                0.7 percent              0.3 percent      0.1 percent         0 percent
                                                                                                                                                                                   [2M]                    [51K]           [<100]                [0]



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                                               TABLE 25—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
                                                  POPULATIONS WITH CANCER RISK GREATER THAN 100-IN-1 MILLION LIVING WITHIN 10 KM OF FACILITIES THAT
                                                  WERE ASSESSED—Continued
                                                                                                                                                                                        Total        Cancer risk > 100-in-1 million
                                                                                                                                                                                    population
                                                                                       Demographic group                                                        Nationwide         living within
                                                                                                                                                                                  10 km of EtO         Baseline        Post-control
                                                                                                                                                                                      facilities

                                              Hispanic or Latino (includes white and nonwhite) ...........................................                           19 percent      36 percent         26 percent        68 percent
                                                                                                                                                                          [62M]          [6.2M]             [4.9K]             [2.6K]
                                              Other and Multiracial .......................................................................................           8 percent      11 percent          3 percent         1 percent
                                                                                                                                                                         [27M]           [1.9M]              [500]            [<100]

                                                                                                                         Income by Percent [Number of People]

                                              Below Poverty Level ........................................................................................           13 percent      15 percent         25 percent        38 percent
                                                                                                                                                                         [44M]            [2.5M]            [4.7K]            [1.4K]
                                              Above Poverty Level ........................................................................................           87 percent      85 percent         75 percent        62 percent
                                                                                                                                                                        [284M]          [14.8M]              [14K]            [2.4K]

                                                                                                                       Education by Percent [Number of People]

                                              Over 25 and without a High School Diploma ..................................................                           12 percent      16 percent         18 percent        22 percent
                                                                                                                                                                         [40M]            [2.7M]            [3.5K]             [900]
                                              Over 25 and with a High School Diploma .......................................................                         88 percent      84 percent         82 percent        78 percent
                                                                                                                                                                        [288M]          [14.6M]              [16K]              [3K]

                                                                                                              Linguistically Isolated by Percent [Number of People]

                                              Linguistically Isolated .......................................................................................         5 percent      10 percent         16 percent        44 percent
                                                                                                                                                                         [18M]           [1.8M]               [3K]            [1.7K]
                                                Notes:
                                                • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
                                              count within 10 km is based on 2010 Decennial Census block population.
                                                • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
                                              panic or Latino is counted as Hispanic or Latino, regardless of race.
                                                • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
                                              at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
                                                • The sum of individual populations with a demographic category may not add up to total due to rounding.
                                                • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
                                              shown simply as ‘‘<100.’’


                                              4. Demographics of Affected                                            enables us to characterize the post-                              The demographics of the post-control
                                              Populations Anticipated After                                          control risks and to understand whether                        population living within 10 km of a
                                              Implementation of Residual Risk                                        the final action affects, creates or                           facility and with an estimated cancer
                                              Standards (Post-Control)                                               mitigates potential EJ concerns as                             risks greater than or equal to 1-in-1
                                                 This analysis presented information                                 compared to the baseline.                                      million after implementation of the
                                              on the populations living within 10 km                                                                                                residual risk standards and resulting
                                                                                                                        The risk analysis indicated that the
                                              of the facilities with estimated cancer                                                                                               controls (table 26) are very similar to the
                                                                                                                     number of people exposed to risks
                                              risks greater than or equal to 1-in-1                                                                                                 CAA section 112(d)(2), (3), and (5) post-
                                                                                                                     greater than or equal to 1-in-1 million                        control population with risks greater
                                              million (table 26), greater than or equal                              within 10 km of a facility (table 26) is
                                              to 50-in-1 million (table 27), and greater                                                                                            than or equal to 1-in-1 million.
                                                                                                                     reduced from 3.2 million people after                          Specifically, the percent of the
                                              than 100-in-1 million (table 28) after
                                                                                                                     implementation of the CAA section                              population that is Hispanic or Latino is
                                              implementation of the standards being
                                                                                                                     112(d)(2), (3), and (5) controls to                            nearly twice the national average (34
                                              finalized under CAA section 112(f)(2) as
                                                                                                                     approximately 700,000 people after                             percent versus 19 percent), the percent
                                              described in section IV.C of this
                                              preamble. The demographic results for                                  implementation of the residual risk                            below poverty is above national average
                                              the risks after implementation of the                                  standards. This represents a significant                       (15 percent versus 13 percent), the
                                              residual risk-based controls are in the                                reduction (about 80 percent reduction)                         percent over 25 without a high school
                                              column titled ‘‘Residual Risk                                          in the size of the population facing this                      diploma is above the national average
                                              Standards.’’ These standards will be                                   level of risk after implementation of the                      (15 percent versus 12 percent), and the
                                              implemented in addition to the CAA                                     residual risk standards being finalized,                       percent linguistic isolation is almost
                                              section 112(d)(2), (3), and (5) standards                              when compared to the population facing                         two times the national average (11
khammond on DSKJM1Z7X2PROD with RULES2




                                              and are anticipated to result in                                       this level of risk after implementation of                     percent versus 5 percent).
                                              additional post-control emissions                                      just the CAA section 112(d)(2), (3), and                          The risk analysis indicated that the
                                              reductions. Therefore, in this analysis,                               (5) controls. The people with a cancer                         number of people living within 10 km
                                              we evaluated how all of the final                                      risk greater than or equal to 1-in-1                           of a facility and exposed to risks greater
                                              standards and emission reductions                                      million are located around 67 facilities                       than or equal to 50-in-1 million (table
                                              described in this action affect the                                    after implementation of the residual risk                      27) is reduced from 23,000 people after
                                              reduction and distribution of risks. This                              standard-based controls.                                       implementation of the CAA section


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                                              112(d)(2), (3), and (5)-based controls to                                   Hispanic or Latino people with risks                                         demographic analysis, the standards
                                              170 people after implementation of the                                      greater than or equal to 50-in-1 million                                     being finalized will reduce the number
                                              residual risk-based controls. This                                          was reduced by about 99 percent from                                         of people and facilities expected to have
                                              represents a 99 percent reduction in the                                    13,000 people to 130 people after                                            cancer risks greater than or equal to 1-
                                              size of the populations at risk. The                                        anticipated implementation of the                                            in-1 million, greater than or equal to 50-
                                              people living within 10 km of a facility                                    residual risk standard-based controls.                                       in-1 million, and greater than 100-in-1
                                              and with a cancer risk greater than or                                      Similarly, the percentage of the                                             million significantly. Under residual
                                              equal to 50-in-1 million after                                              population that is below the poverty                                         risk-based controls, the number of
                                              implementation of the final rule are                                        level or linguistically isolated went up                                     Hispanic or Latino people that are
                                              located around 11 facilities.                                               from the CAA section 112(d)(2), (3), and                                     exposed to risks greater than or equal to
                                                 The demographic breakdown of the                                         (5) post-control population, but the                                         1-in-1 million is reduced by 80 percent,
                                              much smaller post-control population                                        number of people in each demographic                                         the number of Hispanic or Latino people
                                              living within 10 km of a facility and                                       decreased significantly.                                                     that are exposed to risks greater than or
                                              with estimated cancer risks greater than                                       The risk analysis indicated that the                                      equal to 50-in-1 million is reduced by
                                              or equal to 50-in-1 million for the                                         number of people living within 10 km                                         99 percent, and the number of Hispanic
                                              residual risk controls (table 27) is                                        of a facility and exposed to risks greater                                   or Latino people that are exposed to
                                              significantly different from the                                            than 100-in-1 million (table 28) is                                          risks greater than 100-in-1 million is
                                              population after implementation of the                                      reduced from 3,900 people after                                              reduced by 100 percent. We note that,
                                              CAA section 112(d)(2), (3), and (5)                                         implementation of the CAA section                                            primarily driven by the higher risk
                                              controls. Specifically for the 170                                          112(d)(2), (3), and (5)-based controls to                                    facilities in Puerto Rico, the percentage
                                              individuals still at greater than or equal                                  zero people for residual risk-based                                          of population that is Hispanic or Latino,
                                              to 50-in-1 million risk, the percent of                                     controls. After implementation of the                                        below the poverty level, over 25 without
                                              the population that is Hispanic or                                          residual risk standards, there are no                                        a high school diploma, or in linguistic
                                              Latino is significantly higher at 76                                        facilities or people with risks greater                                      isolation increases as the cancer risk
                                              percent for the residual risk controls.                                     than 100-in-1 million. Therefore, there                                      increases from greater than or equal to
                                              This higher percentage is driven by two                                     are no greater than 100-in-1 million risk                                    1-in-1 million to greater than 50-in-1
                                              facilities in Puerto Rico, for which the                                    populations or demographics to discuss.                                      million. Under residual risk-based
                                              population is over 99 percent Hispanic                                         In summary, as shown in the residual                                      controls, there are no facilities or people
                                              or Latino. However, the number of                                           risk post-control risk-based                                                 with risks greater than 100-in-1 million.

                                               TABLE 26—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 1-IN-1
                                                  MILLION LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF THE
                                                  FINAL STANDARDS
                                                                                                                                                                                                                                Cancer risk ≥1-in-1 million

                                                                                                                                                                                                                               Post-control     Residual risk
                                                                                                       Demographic group                                                                             Nationwide                CAA section        standards
                                                                                                                                                                                                                              112(d)(2), (3),   (CAA section
                                                                                                                                                                                                                              and (5) stand-      112(f)(2))
                                                                                                                                                                                                                                   ards

                                              Total Population ...........................................................................................................................                        328M                  3.2M             700K
                                              Number of Facilities with Pop. Above Cancer Level ...................................................................                                ........................                70              67

                                                                                                                     Race and Ethnicity by Percent [Number of People]

                                              White ............................................................................................................................................         60 percent               40 percent        40 percent
                                                                                                                                                                                                             [197M]                   [1.3M]            [280K]
                                              African American .........................................................................................................................                12 percent                16 percent        18 percent
                                                                                                                                                                                                               [40M]                  [520K]            [130K]
                                              Native American ..........................................................................................................................                0.7 percent              0.3 percent       0.2 percent
                                                                                                                                                                                                                 [2M]                    [9K]            [2.2K]
                                              Hispanic or Latino (includes white and nonwhite) .......................................................................                                   19 percent              38 percent        34 percent
                                                                                                                                                                                                               [62M]                  [1.2M]            [240K]
                                              Other and Multiracial ...................................................................................................................                   8 percent                6 percent         8 percent
                                                                                                                                                                                                              [27M]                   [190K]              [53K]

                                                                                                                               Income by Percent [Number of People]

                                              Below Poverty Level ....................................................................................................................                   13 percent               16 percent       15 percent
                                                                                                                                                                                                             [44M]                    [520K]           [100K]
                                              Above Poverty Level ....................................................................................................................                   87 percent               84 percent       85 percent
                                                                                                                                                                                                            [284M]                      [7M]           [600K]
khammond on DSKJM1Z7X2PROD with RULES2




                                                                                                                            Education by Percent [Number of People]

                                              > 25 w/o a HS Diploma ...............................................................................................................                      12 percent               18 percent       15 percent
                                                                                                                                                                                                             [40M]                    [590K]           [110K]
                                              > 25 w/HS Diploma ......................................................................................................................                   88 percent               82 percent       85 percent
                                                                                                                                                                                                            [288M]                    [2.7M]           [590K]




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                                               TABLE 26—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 1-IN-1
                                                  MILLION LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF THE
                                                  FINAL STANDARDS—Continued
                                                                                                                                                                                                                                Cancer risk ≥1-in-1 million

                                                                                                                                                                                                                               Post-control     Residual risk
                                                                                                       Demographic group                                                                             Nationwide                CAA section        standards
                                                                                                                                                                                                                              112(d)(2), (3),   (CAA section
                                                                                                                                                                                                                              and (5) stand-      112(f)(2))
                                                                                                                                                                                                                                   ards

                                                                                                                  Linguistically Isolated by Percent [Number of People]

                                              Linguistically Isolated ...................................................................................................................                  5 percent              11 percent       11 percent
                                                                                                                                                                                                              [18M]                   [360K]            [80K]
                                                Notes:
                                                • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
                                              count within 10 km is based on 2010 Decennial Census block population.
                                                • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
                                              panic or Latino is counted as Hispanic or Latino, regardless of race.
                                                • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
                                              at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
                                                • The sum of individual populations with a demographic category may not add up to total due to rounding.

                                               TABLE 27—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 50-IN-
                                                  1 MILLION LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF
                                                  THE FINAL RULE

                                                                                                                                                                                                                               Cancer risk ≥50-in-1 million
                                                                                                                                                                                                                                      post-control

                                                                                                       Demographic group                                                                             Nationwide                CAA section      Residual risk
                                                                                                                                                                                                                              112(d)(2), (3),    standards
                                                                                                                                                                                                                                 and (5)         (112(f)(2))
                                                                                                                                                                                                                                standards

                                              Total Population ...........................................................................................................................                        328M                23,000               170
                                              Number of Facilities with Pop. Above Cancer Level ...................................................................                                ........................               23                11

                                                                                                                     Race and Ethnicity by Percent [Number of People]

                                              White ............................................................................................................................................         60 percent               30 percent        12 percent
                                                                                                                                                                                                             [197M]                      [7K]           [<100]
                                              African American .........................................................................................................................                12 percent                13 percent        11 percent
                                                                                                                                                                                                               [40M]                  [2.9K]            [<100]
                                              Native American ..........................................................................................................................                0.7 percent              0.1 percent       0.3 percent
                                                                                                                                                                                                                 [2M]                  [190]            [<100]
                                              Hispanic or Latino (includes white and nonwhite) .......................................................................                                   19 percent              56 percent        76 percent
                                                                                                                                                                                                               [62M]                   [13K]              [130]
                                              Other and Multiracial ...................................................................................................................                   8 percent                2 percent       0.4 percent
                                                                                                                                                                                                              [27M]                    [400]            [<100]

                                                                                                                               Income by Percent [Number of People]

                                              Below Poverty Level ....................................................................................................................                   13 percent               29 percent       30 percent
                                                                                                                                                                                                             [44M]                    [6.6K]           [<100]
                                              Above Poverty Level ....................................................................................................................                   87 percent               71 percent       70 percent
                                                                                                                                                                                                            [284M]                     [17K]             [120]

                                                                                                                            Education by Percent [Number of People]

                                              >25 w/o a HS Diploma ................................................................................................................                      12 percent               21 percent       31 percent
                                                                                                                                                                                                              [40M]                     [5K]           [<100]
                                              >25 w/HS Diploma .......................................................................................................................                   88 percent               79 percent       69 percent
                                                                                                                                                                                                            [288M]                     [18K]             [120]

                                                                                                                  Linguistically Isolated by Percent [Number of People]
khammond on DSKJM1Z7X2PROD with RULES2




                                              Linguistically Isolated ...................................................................................................................                  5 percent              30 percent       47 percent
                                                                                                                                                                                                              [18M]                   [6.9K]           [<100]
                                                Notes:
                                                • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
                                              count within 10 km is based on 2010 Decennial Census block population.
                                                • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
                                              panic or Latino is counted as Hispanic or Latino, regardless of race.



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                                                • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
                                              at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
                                                • The sum of individual populations with a demographic category may not add up to total due to rounding.
                                                • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
                                              shown simply as ‘‘<100’’.

                                               TABLE 28—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN 100-IN-1 MILLION
                                               LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF THE FINAL RULE
                                                                                                                                                                                                                              Cancer risk >100-in-1 million

                                                                                                                                                                                                                               CAA section
                                                                                                       Demographic group                                                                             Nationwide               112(d)(2), (3),     Residual risk
                                                                                                                                                                                                                              and (5) post-         controls
                                                                                                                                                                                                                                 control

                                              Total Population ...........................................................................................................................                        328M                 3,900                          0
                                              Number of Facilities with Pop. Above Cancer Level ...................................................................                                ........................               13                          0

                                                                                                                     Race and Ethnicity by Percent [Number of People]

                                              White ............................................................................................................................................         60 percent               25 percent     ........................
                                                                                                                                                                                                             [197M]                      [1K]
                                              African American .........................................................................................................................                12 percent                 6 percent     ........................
                                                                                                                                                                                                               [40M]                    [200]
                                              Native American ..........................................................................................................................                0.7 percent                0 percent     ........................
                                                                                                                                                                                                                 [2M]                      [0]
                                              Hispanic or Latino (includes white and nonwhite) .......................................................................                                   19 percent               68 percent     ........................
                                                                                                                                                                                                               [62M]                   [2.6K]
                                              Other and Multiracial ...................................................................................................................                   8 percent                1 percent     ........................
                                                                                                                                                                                                              [27M]                   [<100]

                                                                                                                               Income by Percent [Number of People]

                                              Below Poverty Level ....................................................................................................................                   13 percent               38 percent     ........................
                                                                                                                                                                                                             [44M]                    [1.4K]
                                              Above Poverty Level ....................................................................................................................                   87 percent               62 percent     ........................
                                                                                                                                                                                                            [284M]                    [2.4K]

                                                                                                                            Education by Percent [Number of People]

                                              >25 w/o a HS Diploma ................................................................................................................                      12 percent               22 percent     ........................
                                                                                                                                                                                                              [40M]                    [900]
                                              >25 w/HS Diploma .......................................................................................................................                   88 percent               78 percent     ........................
                                                                                                                                                                                                            [288M]                      [3K]

                                                                                                                  Linguistically Isolated by Percent [Number of People]

                                              Linguistically Isolated ...................................................................................................................                  5 percent              44 percent     ........................
                                                                                                                                                                                                              [18M]                   [1.7K]
                                                Notes:
                                                • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
                                              count within 10 km is based on 2010 Decennial Census block population.
                                                • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
                                              panic or Latino is counted as Hispanic or Latino, regardless of race.
                                                • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
                                              at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
                                                • The sum of individual populations with a demographic category may not add up to total due to rounding.
                                                • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
                                              shown simply as ‘‘<100’’.


                                              VI. Statutory and Executive Order                                           review. Documentation of any changes                                         B. Paperwork Reduction Act (PRA)
                                              Reviews                                                                     made in response to the Executive Order
                                                                                                                                                                                                         The information collection activities
                                              A. Executive Orders 12866: Regulatory                                       12866 review is available in the docket.
                                                                                                                                                                                                       in this rule have been submitted for
                                              Planning and Review and Executive                                           The EPA prepared an analysis of the
                                                                                                                                                                                                       approval to the Office of Management
                                              Order 13563: Improving Regulation and                                       potential costs and benefits associated                                      and Budget (OMB) under the PRA. The
                                              Regulatory Review                                                           with this action. This analysis,                                             Information Collection Request (ICR)
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                                                                                                                          Regulatory Impact Analysis for the Final                                     document that the EPA prepared has
                                                This action is a ‘‘significant regulatory
                                                                                                                          National Emission Standards for                                              been assigned EPA ICR number 1666.12.
                                              action’’, as defined under section 3(f)(1)
                                              of Executive Order 12866, as amended                                        Hazardous Air Pollutants: Ethylene                                           You can find a copy of the ICR in the
                                              by Executive Order 14094. Accordingly,                                      Oxide Commercial Sterilization and                                           docket for this rulemaking, and it is
                                              the EPA submitted this action to the                                        Fumigation Operations, is also available                                     briefly summarized here.
                                              Office of Management and Budget                                             in the docket.                                                                 We are amending the reporting and
                                              (OMB) for Executive Order 12866                                                                                                                          recordkeeping requirements for several


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                                              emission sources at commercial                          to complete periodic reviews of                       3. SBA Office of Advocacy Comments
                                              sterilization facilities (e.g., SCV, ARV,               NESHAPs following initial                             and EPA Response
                                              CEV, and room air emissions). The                       promulgation. The requirements are                       The SBA’s Office of Advocacy
                                              amendments also require electronic                      being finalized to address unacceptable               (hereafter referred to as ‘‘Advocacy’’)
                                              reporting, removes the SSM exemption,                   health risks linked to emissions from                 provided substantive comments on the
                                              and imposes other revisions that affect                 subpart O facilities and to provide an                April 2023 Proposal. Those comments
                                              reporting and recordkeeping. This                       ample margin of safety to protect public              made the following claims: (1) the
                                              information was be collected to assure                  health.                                               proposed compliance period for existing
                                              compliance with 40 CFR part 63,                            The EPA is required under CAA                      sources (18 months) would
                                              subpart O.                                              section 112(d) to establish emission                  disadvantage small business; (2) the
                                                Respondents/affected entities:                        standards for each category or                        proposed requirement for area source
                                              Owners or operators of commercial                       subcategory of major and area sources of              commercial sterilization facilities to
                                              sterilization facilities.                               HAPs listed for regulation in section                 obtain a title V permit would impose
                                                Respondent’s obligation to respond:                   112(b). These standards are applicable                significant costs and uncertainty for
                                              Mandatory (40 CFR part 63, subpart O).                  to new or existing sources of HAPs and
                                                Estimated number of respondents: 88                                                                         small businesses; and (3) EPA should
                                                                                                      require the maximum degree of                         adopt the BMP alternatives for GACT at
                                              facilities.                                             emission reduction. The EPA is required
                                                Frequency of response: Quarterly,                                                                           area source facilities. Based on those
                                                                                                      to review these standards set under                   claims, Advocacy insisted that EPA
                                              semiannual, or annual. Responses                        CAA section 112 every eight years
                                              include notification of compliance                                                                            reconsider these policies to reduce the
                                                                                                      following their promulgation and revise               impact on small entities and reduce the
                                              status reports and semiannual                           them as necessary, taking into account
                                              compliance reports.                                                                                           likelihood they will leave the market.
                                                                                                      any ‘‘developments in practices,                         In response to Advocacy’s comments,
                                                Total estimated burden: 34,351 hours
                                                                                                      processes, or control technologies.’’ This            EPA agrees that the proposed
                                              (per year) for the responding facilities
                                                                                                      review is known as the technology                     compliance timeframe is too short and
                                              and 9,174 hours (per year) for the
                                                                                                      review. It has been over 25 years since               that more time is needed to comply with
                                              Agency. Burden is defined at 5 CFR
                                                                                                      the initial NESHAP for this source                    the rule. Therefore, as part of the final
                                              1320.3(b).
                                                Total estimated cost: $5,140,563 (per                 category was promulgated in 1994 and                  rulemaking, EPA is providing the
                                              year), which includes $2,549,368                        roughly 15 years since the last                       maximum amount of time that is
                                              annualized capital and operation and                    technology review. As such, this final                allowed under the CAA to comply with
                                              maintenance costs for the responding                    rule is overdue. This rule also                       the emission standards, which is three
                                              facilities.                                             establishes standards for currently                   years for standards that are promulgated
                                                An Agency may not conduct or                          unregulated sources of EtO emissions at               pursuant to CAA section 112(d) and two
                                              sponsor, and a person is not required to                subpart O facilities under CAA section                years for standards that are promulgated
                                              respond to, a collection of information                 112(d), such as room air emissions. The               pursuant to CAA section 112(f)(2). With
                                              unless it displays a currently valid OMB                decision in Louisiana Environmental                   respect to title V permitting, because of
                                              control number. The OMB control                         Action Network v. EPA, 955 F.3d 1088                  the lack of other Federal requirements
                                              numbers for the EPA’s regulations in 40                 (D.C. Cir. 2020) concluded that the EPA               under the CAA that commercial
                                              CFR are listed in 40 CFR part 9. When                   is required to address regulatory gaps                sterilization facilities are subject to, as
                                              OMB approves this ICR, the Agency will                  (i.e., ‘‘gap-filling’’) when conducting               well as the robust monitoring and
                                              announce that approval in the Federal                   NESHAP reviews. Finally, the EPA                      reporting requirements of the final rule,
                                              Register and publish a technical                        determined that a risk review was                     the EPA is not finalizing a requirement
                                              amendment to 40 CFR part 9 to display                   warranted (despite not being required)                for area source facilities to obtain a title
                                              the OMB control number for the                          due to the updated unit risk estimate                 V permit. In addition, with respect to
                                              approved information collection                         associated with EtO, which is                         GACT, emission standards were
                                              activities contained in this final rule.                significantly higher than it was during               evaluated against the BMP on a source-
                                                                                                      the last review of this NESHAP in 2006.               by-source basis. In general, we are
                                              C. Regulatory Flexibility Act (RFA)                     Therefore, the EPA is finalizing                      finalizing the emission standards for
                                                 Pursuant to section 603 of the RFA,                  requirements under CAA section 112(f)                 each source pursuant to CAA section
                                              the EPA prepared a final regulatory                     to address unacceptable health risk                   112(d)(5), with the exception of existing
                                              flexibility analysis (FRFA) that                        attributed to emissions from subpart O                Group 2 room air emissions at areas
                                              examines the impact of the rule on                      facilities and to provide an ample                    source facilities, because they achieve
                                              small entities along with regulatory                    margin of safety to protect public health.            higher emission reductions than the
                                              alternatives that could minimize the                    2. Significant Issues Raised by the                   BMP. Further discussion is available in
                                              impact. The complete FRFA is available                  Public Comments in Response to the                    section IV.B.3.
                                              for review in the docket and is                         Initial Regulatory Flexibility Analysis                  More detailed responses to
                                              summarized here.                                        (IRFA) and EPA Response                               Advocacy’s comments can be found in
                                                                                                                                                            the document, Summary of Public
                                              1. Statement of Need and Rule                             While the EPA did not receive any                   Comments and Responses for the Risk
                                              Objectives                                              comments specifically in response to                  and Technology Review for Commercial
                                                 This industry is regulated by the EPA                the IRFA, we did receive comments                     Sterilization Facilities, available in the
                                              because pollutants emitted from EtO                     from the Office of Advocacy within the                docket for this rulemaking.
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                                              sterilization and fumigation facilities are             Small Business Administration (SBA),
                                              considered to cause or contribute                       and a summary of the major comments                   4. Estimate of the Number of Small
                                              significantly to air pollution that may                 and our responses is provided in the                  Entities to Which the Final Rule Applies
                                              reasonably be anticipated to endanger                   next section. The issues raised by SBA                  For purposes of assessing the impacts
                                              public health. This action is being                     were also reflected in comments from                  of this rule on small entities, a small
                                              finalized to comply with CAA section                    small businesses and organizations with               entity is defined as a small business in
                                              112 requirements, which direct the EPA                  small business interests.                             the commercial EtO sterilization


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                                              industry whose parent company has                       Affairs within OMB, and the Chief                     D. Unfunded Mandates Reform Act
                                              revenues or numbers of employees                        Counsel for Advocacy of the SBA.                      (UMRA)
                                              below the SBA Size Standards for the                       Prior to convening the Panel, the EPA                This action does not contain an
                                              relevant NAICS code. We have                            conducted outreach and solicited                      unfunded mandate of $100 million or
                                              identified 20 different NAICS codes                     comments from the SERs. After the                     more as described in UMRA, 2 U.S.C.
                                              within this source category. A complete                                                                       1531–1538, and does not significantly or
                                                                                                      Panel was convened, the Panel provided
                                              list of those NAICS codes and SBA Size                                                                        uniquely affect small governments. The
                                                                                                      additional information to the SERs and
                                              Standards is available in section 5.2 of                                                                      action imposes no enforceable duty on
                                              the RIA. The rule contains provisions                   requested their input. In light of the
                                                                                                      SERs’ comments, the Panel considered                  any State, local, or Tribal governments.
                                              that will affect 22 small entities. These
                                              small entities are involved in sterilizing              the regulatory flexibility issues and                 E. Executive Order 13132: Federalism
                                              various types of medical devices and                    elements of the IRFA specified by RFA/                  This action does not have federalism
                                              spices. In addition, at least 12 of these               Small Business Regulatory Enforcement                 implications. It will not have substantial
                                              small entities are involved in sterilizing              and Fairness Act and developed the                    direct effects on the States, on the
                                              the types of medical devices discussed                  findings and discussion summarized in                 relationship between the National
                                              in section I.A.1 of this preamble.                      the SBAR report. The report was                       Government and the States, or on the
                                                                                                      finalized on April 26, 2021, and                      distribution of power and
                                              5. Projected Reporting, Recordkeeping                   transmitted to the EPA Administrator                  responsibilities among the various
                                              and Other Compliance Requirements of                    for consideration. A copy of the full                 levels of government.
                                              the Final Rule
                                                                                                      SBAR Panel Report is available in the                 F. Executive Order 13175: Consultation
                                                Under the rule requirements, small                    rulemaking docket.                                    and Coordination With Indian Tribal
                                              entities will be required to comply with
                                                                                                      b. Alternatives Considered                            Governments
                                              various emission standards, which may
                                              require the use of one or more new                                                                               This action does not have Tribal
                                                                                                         The SBAR Panel recommended                         implications as specified in Executive
                                              control devices. Small entities will also
                                                                                                      several flexibilities relating to the format          Order 13175. None of the commercial
                                              need to demonstrate compliance with
                                                                                                      of the standards, room air emissions                  sterilization facilities that have been
                                              the emission standards through the use
                                                                                                      requirements, subcategorization, the                  identified as being affected by this final
                                              of an EtO CEMS or through periodic
                                              performance testing and parametric                      compliance timeframe, the                             action are owned or operated by Tribal
                                              monitoring. This rule includes                          consideration of GACT standards,                      governments or located within Tribal
                                              reporting, recordkeeping, and other                     incentivizing lower EtO use, a                        lands within a 10-mile radius. Thus,
                                              administrative requirements. Under the                  compliance alternative for combined                   Executive Order 13175 does not apply
                                              rule, the EPA estimates that                            emission streams, proximity                           to this action. We conducted an impact
                                              approximately 13 small entities (60                     requirements, and the consideration of                analysis using the latitude and
                                              percent of small entities) could incur                  interactions with OSHA standards. The                 longitude coordinates from the risk
                                              total annual costs associated with the                  EPA is including some of these                        modeling input file to identify Tribal
                                              proposal that are at least three percent                flexibilities as a part of the rule                   lands within a 10- and 50-mile radius of
                                              of their annual revenues. Considering                   requirements.                                         commercial sterilization facilities to
                                              the level of total annual costs relative to                                                                   determine potential air quality impacts
                                                                                                         As discussed in section VI.C.3, the
                                              annual sales for these small entities, the                                                                    on Tribes. Consistent with the EPA
                                                                                                      EPA is providing the maximum amount
                                              EPA determined that there is potential                                                                        Policy on Consultation and
                                                                                                      of time that is allowed under the CAA                 Coordination with Indian Tribes,
                                              for the requirements to have a                          to comply with the emission standards.
                                              ‘Significant Impact on a Substantial                                                                          although there were no Tribal lands
                                                                                                      In addition, as discussed in section                  located within a 10-mile radius of
                                              Number of Small Entities’. See section                  IV.B.3.b, the EPA is not any finalizing
                                              5.2 of the RIA for more information on                                                                        commercial sterilization facilities, the
                                                                                                      any mass rate emission standards and is               EPA offered consultation with all Tribes
                                              the characterization of the impacts                     finalizing percent emission reduction
                                              under the rule.                                                                                               that were identified within a 50-mile
                                                                                                      standards in their place. Finally, as                 radius of an affected facility, however,
                                              6. Steps Taken To Minimize Economic                     discussed in section IV.F.3, the EPA is               only one Tribal official requested
                                              Impact to Small Entities                                finalizing compliance flexibilities for               consultation. Additional details
                                              a. Small Business Advocacy Review                       combined emission streams, as well as                 regarding the consultation letter and
                                              Panel                                                   the option to demonstrate compliance                  distribution list can be found in the
                                                                                                      with a site-wide emission limit, as                   memorandum, Commercial Sterilization
                                                As required by section 609(b) of the                  opposed to having to demonstrate                      Facilities RTR Consultation Letter,
                                              RFA, the EPA also convened a Small                      compliance with each individual or                    which is available in the docket for this
                                              Business Advocacy Review (SBAR)                         combined emission stream.                             rulemaking. The EPA also participated
                                              Panel to obtain advice and                                                                                    on a phone call with the National Tribal
                                              recommendations from small entity                          In addition, the EPA is preparing a
                                                                                                                                                            Air Association on May 25, 2023, and
                                              representatives (SERs) that potentially                 Small Entity Compliance Guide to help
                                                                                                                                                            presented an overview of the
                                              would be subject to the rule’s                          small entities comply with this rule.
                                                                                                                                                            rulemaking.
                                              requirements. On November 25, 2020,                     The Small Entity Compliance Guide
                                              the EPA’s Small Business Advocacy                       will be available on the same date as the             G. Executive Order 13045: Protection of
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                                              Chairperson convened the Panel, which                   date of publication of the final rule or              Children From Environmental Health
                                              consisted of the Chairperson, the                       as soon as possible after that date and               Risks and Safety Risks
                                              Director of the Sector Policies and                     will be available on the rule web page                  Executive Order 13045 (62 FR 19885,
                                              Programs Division within the EPA’s                      at: https://www.epa.gov/stationary-                   April 23, 1997) directs Federal agencies
                                              Office of Air Quality Planning and                      sources-air-pollution/ethylene-oxide-                 to include an evaluation of the health
                                              Standards, the Administrator of the                     emissions-standards-sterilization-                    and safety effects of the planned
                                              Office of Information and Regulatory                    facilities.                                           regulation on children in Federal health


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                                              and safety standards and explain why                    1 million. The methodology and                        During the EPA’s VCS search, if the title
                                              the regulation is preferable to                         detailed results of the demographic                   or abstract (if provided) of the VCS
                                              potentially effective and reasonable                    analysis are presented in a technical                 described technical sampling and
                                              feasible alternatives. This action is                   report, Analysis of Demographic Factors               analytical procedures that are similar to
                                              subject to Executive Order 13045                        for Populations Living Near Ethylene                  the EPA’s reference method, the EPA
                                              because it is a 3(f)(1) significant                     Oxide Commercial Sterilization and                    reviewed it as a potential equivalent
                                              regulatory action as defined by                         Fumigation Operations, available in the               method.
                                              Executive Order 12866, and the EPA                      docket for this action.                                  The EPA incorporates by reference
                                              believes that the environmental health                    More detailed information on the                    VCS ANSI/ASME PTC 19.10–1981 Part
                                              or safety risk addressed by this action                 evaluation of the scientific evidence and             10, ‘‘Flue and Exhaust Gas Analyses,’’ a
                                              has a disproportionate effect on                        policy considerations pertaining to                   method for quantitatively determining
                                              children. The EPA’s Policy on                           children, including an explanation for                the gaseous constituents of exhausts
                                              Children’s Health also applies to this                  why the Administrator judges the                      resulting from stationary combustion
                                              action. Accordingly, we have evaluated                  standards to be requisite to protect                  and includes a description of the
                                              the environmental health or safety                      public health, including the health of                apparatus, and calculations used which
                                              effects of EtO emissions and exposures                  children, with an adequate margin of                  are used in conjunction with
                                              on children. The protection offered by                  safety, in addition to the summaries of               Performance Test Codes to determine
                                              these standards may be especially                       this action’s health and risk assessments             quantitatively, as an acceptable
                                              important for children.                                 are contained in sections II.A and IV.C               alternative to EPA Method 3B of
                                                 Because EtO is mutagenic (i.e., it can               of this preamble and further                          appendix A to 40 CFR part 60 for the
                                              damage DNA), children are expected to                   documented in the risk report, Residual               manual procedures only and not the
                                              be more susceptible to its harmful                      Risk Assessment for the Commercial                    instrumental procedures. The ANSI/
                                              effects. To take this into account, as part             Sterilization Facilities Source Category              ASME PTC 19.10–1981 Part 10 method
                                              of the risk assessment in support of this               in Support of the 2024 Risk and                       incorporates both manual and
                                              rulemaking, the EPA followed its                        Technology Review Final Rule, which is                instrumental methodologies for the
                                              guidelines and applied age-dependent                    available in Docket ID No. EPA–HQ–                    determination of oxygen content. The
                                              adjustment factors (ADAFs) for early                    OAR–2019–0178.                                        manual method segment of the oxygen
                                              lifestage exposures (from birth up to 16                                                                      determination is performed through the
                                                                                                      H. Executive Order 13211: Actions
                                              years of age). With the ADAF applied to                                                                       absorption of oxygen. This method is
                                                                                                      Concerning Regulations That
                                              account for greater susceptibility of                                                                         available at the American National
                                                                                                      Significantly Affect Energy Supply,
                                              children, the adjusted EtO inhalation                                                                         Standards Institute (ANSI), 1899 L
                                                                                                      Distribution, or Use
                                              URE is 5 × 10¥3 per mg/m3. It should                                                                          Street NW, 11th floor, Washington, DC
                                              be noted that, because EtO is mutagenic,                   This action is not a ‘‘significant                 20036 and the American Society of
                                              emission reductions in this preamble                    energy action’’ because it is not likely to           Mechanical Engineers (ASME), Three
                                              will be particularly beneficial to                      have a significant adverse effect on the              Park Avenue, New York, NY 10016–
                                              children. In addition, children are at                  supply, distribution, or use of energy.               5990. See https://www.ansi.org and
                                              increased risk if they live, play, or                   The overall energy impact of this rule                https://www.asme.org.
                                              attend school in close proximity to a                   should be minimal for commercial                         The EPA incorporates by reference
                                              commercial sterilization facility, of                   sterilization facilities and their parent             VCS ASTM D6348–12 (Reapproved
                                              which there are many cases noted by the                 companies. EPA was unable to quantify                 2020), ‘‘Determination of Gaseous
                                              public to be the case. For these reasons,               the degree to which manufacturers will                Compounds by Extractive Direct
                                              there is both increased susceptibility                  need to switch sites, so we cannot                    Interface Fourier Transform (FTIR)
                                              and increased exposure for early                        estimate potential energy impacts                     Spectroscopy,’’ as an acceptable
                                              lifestages as a result of EtO emissions                 related to transportation. The EPA                    alternative to EPA Method 320 of
                                              from commercial sterilization facilities.               solicited comment on any potential                    appendix A to 40 CFR part 63 with
                                                 A total of 3.97 million children ages                impacts the proposed standards may                    caveats requiring inclusion of selected
                                              0–17 live within 10km of commercial                     have in relation to energy use for                    annexes to the standard as mandatory.
                                              sterilization facilities. Due to baseline               transportation but did not receive any                The ASTM D6348–12 (R2020) method is
                                              emissions from commercial sterilization                 comments that would help to quantify                  an extractive FTIR spectroscopy-based
                                              facilities (prior to application of controls            such impacts.                                         field test method and is used to quantify
                                              in this action), there are approximately                                                                      gas phase concentrations of multiple
                                                                                                      I. National Technology Transfer and
                                              1.25 million children (0–17 years) with                                                                       target compounds in emission streams
                                                                                                      Advancement Act (NTTAA) and 1 CFR
                                              increased lifetime cancer risks of greater                                                                    from stationary sources. This Éeld test
                                                                                                      Part 51                                               method provides near real time analysis
                                              than or equal to 1-in-1 million, 30,000
                                              with increased lifetime cancer risks                       This rulemaking involves technical                 of extracted gas samples. In the
                                              greater than or equal to 50-in-1 million,               standards. The EPA conducted searches                 September 22, 2008, NTTAA summary,
                                              and 4,300 with increased lifetime cancer                for the standards through the Enhanced                ASTM D6348–03(2010) was determined
                                              risks greater than 100-in-1 million. After              National Standards Systems Network                    equivalent to EPA Method 320 with
                                              application of the controls in this                     Database managed by the American                      caveats. ASTM D6348–12 (R2020) is a
                                              action, lifetime cancer risks to children               National Standards Institute (ANSI). We               revised version of ASTM D6348–
                                              from commercial sterilization facility                  also contacted voluntary consensus                    03(2010) and includes a new section on
                                              emissions decrease significantly to                     standards (VCS) organizations and                     accepting the results from direct
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                                              approximately 162,300 children with                     accessed and searched their databases.                measurement of a certified spike gas
                                              increased lifetime cancer risks of greater              We conducted searches for EPA                         cylinder, but still lacks the caveats we
                                              than or equal to 1-in-1 million, less than              Methods 1, 1A, 2, 2A, 2C, 3A, 3B, and                 placed on the D6348–03(2010) version.
                                              100 with increased lifetime cancer risks                4 of 40 CFR part 60, Appendix A, EPA                  We are finalizing that the test plan
                                              of greater than or equal to 50-in-1                     Method 204 of 40 CFR part 51,                         preparation and implementation in the
                                              million, and none with increased                        Appendix M, and EPA Methods 301 and                   Annexes to ASTM D 6348–12 (R2020),
                                              lifetime cancer risks greater than 100-in-              320 in 40 CFR part 63, Appendix A.                    Sections Al through A8 are mandatory;


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                                              and in ASTM D6348–12 (R2020) Annex                      value does not meet this criterion for a              compound must be reported in the test
                                              A5 (Analyte Spiking Technique), the                     target compound, the test data is not                 report, and all field measurements must
                                              percent (%) R must be determined for                    acceptable for that compound and the                  be corrected with the calculated %R
                                              each target analyte (equation A5.5). We                 test must be repeated for that analyte                value for that compound by using the
                                              are finalizing that, in order for the test              (i.e., the sampling and/or analytical                 following equation:
                                              data to be acceptable for a compound,                   procedure should be adjusted before a
                                              %R must be 70% ≤ R ≤ 130%. If the %R                    retest). The %R value for each


                                                                                        Reported Results= st ack Concentration
                                                                                                                                          %R                  = 100
                                                 The ASTM D6348–12 (R2020) method                     the seven facilities in Puerto Rico,                  will increase transparency and will
                                              is available at ASTM International, 1850                where an average of 99 percent of the                 provide greater access to information for
                                              M Street NW, Suite 1030, Washington,                    658,000 people living within 10 km of                 the public, including impacted
                                              DC 20036. See https://www.astm.org/.                    the facilities are Hispanic or Latino. The            communities.
                                                 ASTM D3695–88 is already approved                    proportion of other demographic groups                  The information supporting this
                                              for the locations in which it appears in                living within 10 km of commercial
                                                                                                                                                            Executive order review is contained in
                                              the amendatory text.                                    sterilizers is similar to the national
                                                                                                                                                            section VI.F of this preamble, as well as
                                                 While the EPA identified 12 other                    average. The EPA also conducted a risk
                                                                                                      assessment of possible cancer risks and               in a technical report, Analysis of
                                              VCS as being potentially applicable, the
                                                                                                      other adverse health effects, and found               Demographic Factors for Populations
                                              Agency decided not to use them because
                                              these methods are impractical as                        that prior to the implementation of this              Living Near Ethylene Oxide Commercial
                                              alternatives due to lack of equivalency,                regulation, cancer risks are unacceptable             Sterilization and Fumigation
                                              documentation, validation data, and                     for several communities. See section                  Operations, available in the docket for
                                              other important technical and policy                    VI.F for an analysis that characterizes               this action.
                                              considerations. The search and review                   communities living in proximity to                    K. Congressional Review Act (CRA)
                                              results have been documented and are                    facilities and risks prior to
                                              in the memorandum, Voluntary                            implementation of the final regulation.                 This action is subject to the CRA, and
                                              Consensus Standard Results for                             The EPA believes that this action is               the EPA will submit a rule report to
                                              National Emission Standards for                         likely to reduce existing                             each House of the Congress and to the
                                              Hazardous Air Pollutants: Ethylene                      disproportionate and adverse effects on               Comptroller General of the United
                                              Oxide Emissions Standards for                           communities with EJ concerns. This                    States. This action is not a ‘‘major rule’’
                                              Sterilization Facilities Residual Risk                  action establishes standards for SCVs                 as defined by 5 U.S.C. 804(2).
                                              and Technology Review, which is                         and ARVs at facilities where EtO use is
                                              available in the docket for this                        less than 1 tpy, ARVs at facilities where             List of Subjects
                                              rulemaking.                                             EtO use is at least 1 tpy but less than               40 CFR Part 60
                                                 Under 40 CFR 63.7(f) and 40 CFR                      10 tpy, CEVs, and room air emissions.
                                              63.8(f), subpart A—General Provisions,                  In addition, it tightens standards for                  Environmental protection,
                                              a source may apply to the EPA for                       SCVs at facilities where EtO use is at                Administrative practice and procedures,
                                              permission to use alternative test                      least 1 tpy, as well as ARVs at facilities            Hazardous substances, Reporting and
                                              methods or alternative monitoring                       where EtO use is at least 10 tpy. This                recordkeeping requirements.
                                              requirements in place of any required                   action also finalizes amendments to
                                              testing methods, performance                            correct and clarify regulatory provisions             40 CFR Part 63
                                              specifications, or procedures in the final              related to emissions during periods of
                                                                                                      SSM, including removing general                         Environmental protection,
                                              rule or any amendments.
                                                                                                      exemptions for periods of SSM and                     Administrative practice and procedures,
                                              J. Executive Order 12898: Federal                       adding work practice standards for                    Air pollution control, Hazardous
                                              Actions To Address Environmental                        periods of SSM where appropriate. As a                substances, Incorporation by reference,
                                              Justice in Minority Populations and                     result of these changes, we expect zero               Intergovernmental relations, Reporting
                                              Low-Income Populations and Executive                    people to be exposed to cancer risk                   and recordkeeping requirements.
                                              Order 14096: Revitalizing Our Nation’s                  levels above 100-in-1 million. See
                                              Commitment to Environmental Justice                                                                           Michael S. Regan,
                                                                                                      section IV for more information about
                                              for All                                                 the control requirements of the
                                                                                                                                                            Administrator.
                                                The EPA believes that the human                       regulation and the resulting reduction in               For the reasons set forth in the
                                              health or environmental conditions that                 cancer risks.                                         preamble, the EPA amends 40 CFR parts
                                              exist prior to this action result in or                    The EPA additionally identified and                60 and 63 as follows:
                                              have the potential to result in                         addressed environmental justice
                                              disproportionate and adverse human                      concerns by engaging in outreach                      PART 60—STANDARDS OF
                                              health or environmental effects on                      activities to communities we expect to
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                                                                                                                                                            PERFORMANCE FOR NEW
                                              communities with EJ concerns. A total                   be impacted most by the rulemaking                    STATIONARY SOURCES
                                              of 17.3 million people live within 10 km                The EPA is also requiring owners and
                                              of the 88 facilities that were assessed.                operators of commercial sterilization                 ■ 1. The authority citation for part 60
                                              The percent of the population that is                   facilities to submit electronic copies of
                                                                                                                                                            continues to read as follows:
                                              Hispanic or Latino is substantially                     required compliance reports,
                                              higher than the national average (36                    performance test reports, and                            Authority: 42 U.S.C. 7401 et seq.
                                                                                                                                                                                                          ER05AP24.001</GPH>




                                              percent versus 19 percent), driven by                   performance evaluation reports, which


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                                              Appendix B to Part 60—Performance                       or configuration and changes in materials of          emission standard is expressed as mass
                                              Specifications                                          construction. Changes consistent with                 emissions, use the average flow rate in the
                                                                                                      instrument manufacturer upgrade that fall             duct to calculate the concentration
                                              ■ 2. Appendix B to part 60 is amended                   under manufacturer’s certification do not             equivalent of the emission standard.
                                              by adding Performance Specification 19                  require additional field verification.                   3.3 Centroidal area means a central area
                                              to read as follows:                                     Manufacturer’s upgrades (e.g., changes to the         that is geometrically similar to the stack or
                                                                                                      quantification algorithm) require                     duct cross section and is no greater than 10
                                              Appendix B to Part 60—Performance                       recertification by the manufacturer for those         percent of the stack or duct cross-sectional
                                              Specifications                                          requirements allowed by this PS, including            area.
                                                                                                      interference, and level of detection (LOD).              3.4 Continuous Emission Monitoring
                                              *      *     *       *      *                                                                                 System (CEMS) means the total equipment
                                                                                                        1.2.6 This specification is not designed to
                                              Performance Specification 19-Performance                evaluate the ongoing CEMS performance, nor            required to measure the pollutant
                                              Specifications and Test Procedures for                  does it identify specific calibration                 concentration or emission rate continuously.
                                              Ethylene Oxide (ETO) Continuous Emission                techniques and auxiliary procedures to assess         The system generally consists of the
                                              Monitoring Systems                                      CEMS performance over an extended period              following three major subsystems:
                                                                                                      of time. The requirements in Procedure 7 to              3.4.1 Sample interface means that portion
                                              1.0 Scope and Application                                                                                     of the CEMS used for one or more of the
                                                                                                      Appendix F of this part are designed to
                                                 1.1 Analyte. This performance                        provide a way to assess CEMS and CEMS                 following: Sample acquisition, sample
                                              specification (PS) is applicable for measuring          components (if applicable) performance over           transport, sample conditioning, and
                                              gaseous concentrations of Ethylene Oxide                an extended period of time. The source                protection of the monitor from the effects of
                                              (EtO), CAS: 775–21–8, on a continuous basis             owner or operator is responsible to calibrate,        the stack effluent.
                                              in the units of the applicable standard or in                                                                    3.4.2 EtO analyzer means that portion of
                                                                                                      maintain, and operate the CEMS properly.
                                              units that can be converted to units of the                                                                   the EtO CEMS that measures the total vapor
                                              applicable standard(s) (e.g., lbs/hr,). This            2.0 Summary of Performance Specification              phase EtO concentration and generates a
                                              performance specification may be approved                  2.1 This specification covers the                  proportional output.
                                              for the measurement of other pollutants and/            procedures that each EtO CEMS must meet                  3.4.3 Data recorder means that portion of
                                              or in other sectors by the Administrator on                                                                   the CEMS that provides a permanent
                                                                                                      during the performance evaluation test.
                                              a case-by-case basis if not otherwise allowed                                                                 electronic record of the analyzer output. The
                                                                                                      Installation and measurement location
                                              or denied in an applicable subpart of the                                                                     data recorder may record other pertinent data
                                                                                                      specifications, data reduction procedures,
                                              regulations.                                                                                                  such as effluent flow rates, various
                                                                                                      and performance criteria are included.
                                                 1.2 Applicability.                                                                                         instrument temperatures or abnormal CEMS
                                                                                                         2.2 The technology used to measure EtO             operation. The data recorder may also
                                                 1.2.1 This specification is used to                  must provide a distinct response and address          include automatic data reduction capabilities
                                              evaluate the acceptability of EtO continuous            any appropriate interference correction(s). It        and CEMS control capabilities.
                                              emission monitoring systems (CEMS) at the               must accurately measure EtO in a                         3.5 Diluent gas means a major gaseous
                                              time of installation or soon after and                  representative sample of stack effluent.              constituent in a gaseous pollutant mixture.
                                              whenever specified in the regulations. The                 2.3 The relative accuracy (RA) must be             For combustion sources, either carbon
                                              specification includes requirements for                 established against a reference method (RM)           dioxide (CO2) or oxygen (O2) or a
                                              initial acceptance including instrument                 (i.e., Method 320, or other alternative               combination of these two gases are the major
                                              accuracy and stability assessments and use of           approved as a RM by the Administrator) on             gaseous diluents of interest.
                                              audit samples if they are available.                    a case-by-case basis if not otherwise allowed            3.6 Dynamic spiking (DS) means the
                                                 1.2.2 The Administrator may require the              or denied in an applicable subpart of the             procedure where a known concentration of
                                              operator, under section 114 of the Clean Air            regulations.                                          EtO gas is injected into the probe sample gas
                                              Act, to conduct CEMS performance                           2.4 A standard addition (SA) procedure             stream for extractive CEMS at a known flow
                                              evaluations at other times besides the initial          using a reference standard is included in             rate to assess the performance of the
                                              test to evaluate the CEMS performance. See              appendix A to this performance specification          measurement system in the presence of
                                              40 CFR part 60, § 60.13(c) and § 63.8(e)(1).            for use in verifying LOD. For extractive              potential interference from the flue gas
                                                 1.2.3 A source that demonstrates their               CEMS, where the SA is done by dynamic                 sample matrix.
                                              CEMS meets the criteria of this PS may use              spiking (DS), the appendix A procedure is                3.7 Flow Rate Sensor means that portion
                                              the system to continuously monitor gaseous              allowed as an option for assessing calibration        of the CEMS that senses the volumetric flow
                                              EtO under any regulation or permit that                 drift and is also referenced by Procedure 7 of        rate and generates an output proportional to
                                              requires compliance with this PS. If your               appendix F to this part for ongoing quality           that flow rate. The flow rate sensor shall have
                                              CEMS reports the EtO concentration in the               control tests.                                        provisions to check the CD for each flow rate
                                              units of the applicable standard, no                                                                          parameter that it measures individually (e.g.,
                                              additional CEMS components are necessary.               3.0 Definitions
                                                                                                                                                            velocity, pressure).
                                              If your CEMS does not report concentrations               3.1 Calibration drift (CD) means the                   3.8 Independent measurement(s) means
                                              in the units of the existing standard, then             absolute value of the difference between the          the series of CEMS data values taken during
                                              other CEMS (i.e., oxygen) or CEMS                       CEMS output response and an upscale                   sample gas analysis separated by two times
                                              components (e.g., temperature, stack gas                reference gas or a zero-level gas, expressed as       the procedure specific response time (RT) of
                                              flow, moisture, and pressure) may be                    a percentage of the span value, when the              the CEMS.
                                              necessary to convert the units reported by              CEMS is challenged after a stated period of              3.9 Interference means a compound or
                                              your CEMS to the units of the standard.                 operation during which no unscheduled                 material in the sample matrix other than EtO
                                                 1.2.4 These specification test results are           adjustments, maintenance or repairs took              whose characteristics may bias the CEMS
                                              intended to be valid for the life of the system.        place. For other parameters that are                  measurement (positively or negatively). The
                                              As a result, the EtO measurement system                 selectively measured by the CEMS (e.g.,               interference may not prevent the sample
                                              must be tested and operated in a                        temperature, velocity, pressure, flow rate) to        measurement but could increase the
                                              configuration consistent with the                       measure in the units of the applicable                analytical uncertainty in the measured EtO
                                              configuration that will be used for ongoing             standard, use two analogous values (e.g.,             concentration through reaction with EtO or
                                              continuous emissions monitoring.                        Low: 0–20% of full scale, High: 50–100% of            by changing the electronic signal generated
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                                                 1.2.5 Substantive changes to the system              full scale). 3.2 Calibration Span means the           during EtO measurement.
                                              configuration require retesting according to            calibrated portion of the measurement range              3.10 Interference test means the test to
                                              this PS. Examples of such conditions include            as specified in the applicable regulation or          detect CEMS responses to interferences that
                                              but are not limited to: major changes in                another requirement. If the span is not               are not adequately accounted for in the
                                              dilution ratio (for dilution-based systems);            specified in the applicable regulation or other       calibration procedure and may cause
                                              changes in sample conditioning and                      requirement, then it must be a value                  measurement bias.
                                              transport, if used, such as filtering device            approximately equivalent to three times the              3.11 Level of detection (LOD) means the
                                              design or materials; changes in probe design            applicable emission standard. When the                lowest level of pollutant that the CEMS can



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                                              detect in the presence of the source gas                methane (CH4), and water (H2O) are potential          appendix F). Calibration must be conducted
                                              matrix interferents with 99 percent                     optical interferences with certain types of           on an annual basis or whenever significant
                                              confidence.                                             EtO monitoring technology.                            changes are made to the dilution system. In
                                                 3.12 Measurement error (ME) is the mean                Note: Interferences may be mitigated                addition to the requirements in Method 205,
                                              difference between the concentration                    though the use of dilution systems, however           when in use, you must document gas flow
                                              measured by the CEMS and the known                      this approach could also affect the sensitivity       rates through each of the channels; if the
                                              concentration of a reference gas standard,              of the measurement.                                   dilution system records these values
                                              divided by the span, when the entire CEMS,                                                                    electronically, this is considered the
                                                                                                      5.0 Safety
                                              including the sampling interface, is                                                                          documentation. For the purpose of this PS,
                                              challenged.                                               The procedures required under this PS               cylinder gas should not be diluted beyond a
                                                 3.13 Reference gas standard means the                may involve hazardous materials, operations,          dilution ratio of 500:1 using Method 205.
                                              gas mixture containing EtO at a known                   and equipment. This PS may not address all
                                                                                                      the safety issues associated with these               8.0 CEMS Measurement Location
                                              concentration and produced and certified in
                                                                                                      procedures. It is the responsibility of the user      Specifications and Pretest Preparation
                                              accordance with ‘‘EPA Traceability Protocol
                                              for Assay and Certification of Gaseous                  to establish appropriate safety and health               8.1 Prior to the start of your initial PS
                                              Calibration Standards,’’ September 1997, as             practices and determine the applicable                tests, you must ensure that the CEMS is
                                              amended August 25, 1999, EPA–600/R–97/                  regulatory limitations prior to performing            installed according to the manufacturer’s
                                              121 or more recent updates. The tests for               these procedures. The CEMS user’s manual              specifications and the requirements in this
                                              analyzer measurement error, calibration drift,          and as well as cautions within and materials          section.
                                              and system bias require the use of calibration          recommended by the RM should be                          8.2 CEMS Installation. Install the CEMS
                                              gas prepared according to this protocol. If a           consulted for specific precautions to be taken        at an accessible location where the pollutant
                                              zero gas is used for the low-level gas, it must         in regard to the relative accuracy testing.           concentration or emission rate measurements
                                              meet the requirements under the definition              6.0 Equipment and Supplies                            are directly representative of the EtO
                                              for ‘‘zero air’’ in 40 CFR 72.2. Alternatively,                                                               emissions. If the units of the emission
                                              if the ‘‘protocol’’ gas is not commercially               The equipment and supplies are the same             standard are expressed as a mass (e.g., lb/hr),
                                                                                                      as in section 6 of PS 18, except replace HCl          then the CEMS probe must also be located
                                              available, you must use a reference gas that
                                                                                                      for EtO where appropriate. The following              within 0.5 equivalent diameters of the flow
                                              has been prepared according to the
                                                                                                      definitions are added and/or revised:                 sensor and the CEMS must be located (1) at
                                              procedures in appendix B of this PS.
                                                                                                        6.1 Moisture Measurement System. If                 least two equivalent diameters downstream
                                                 3.14 Relative accuracy (RA) means the
                                                                                                      correction of the measured EtO emissions for          from the nearest control device, the point of
                                              absolute mean difference between the gas
                                                                                                      moisture is required, you must install,               pollutant generation, or other point at which
                                              concentration, or the emission rate
                                                                                                      operate, maintain, and quality assure a               a change in the pollutant concentration or
                                              determined by the CEMS, and the value
                                                                                                      continuous moisture monitoring system for             emission rate may occur and (2) at least a half
                                              determined by the RM, plus the confidence
                                                                                                      measuring and recording the moisture                  equivalent diameter upstream from the
                                              coefficient of a series of nine test runs,
                                                                                                      content of the flue gases. The following              effluent exhaust or control device. If the
                                              divided by the average of the RM or the                 continuous moisture monitoring systems are
                                              applicable emission standard.                                                                                 CEMS are to utilize time-sharing, the
                                                                                                      acceptable: Any optical measurement system
                                                 3.15 Response time (RT) means the time                                                                     distance between each measurement point
                                                                                                      validated according to Method 301 or section
                                              it takes for the measurement system, while                                                                    and the CEMS should be approximately the
                                                                                                      13.0 of Method 320 in appendix A to part 63
                                              operating normally at its target sample flow                                                                  same. The CEMS need not be installed at the
                                                                                                      of this chapter; a continuous moisture sensor;
                                              rate, dilution ratio, or data collection rate to                                                              same location as the relative accuracy test
                                                                                                      an oxygen analyzer (or analyzers) capable of
                                              respond to a known step change in gas                                                                         location. If you fail the RA requirements in
                                                                                                      measuring O2 both on a wet basis and on a
                                              concentration, either from a low- or zero-                                                                    this specification due to the CEMS
                                                                                                      dry basis; or other continuous moisture
                                              level to a high-level gas concentration or                                                                    measurement location and a satisfactory
                                                                                                      measurement methods approved by the
                                              from a high-level to a low or zero-level gas                                                                  correction technique cannot be established,
                                                                                                      Administrator.
                                              concentration, and to read 95 percent of the                                                                  the Administrator may require the CEMS to
                                              change to the stable instrument response.               7.0 Reagents and Standards                            be relocated.
                                              There may be several RTs for an instrument                 7.1 Reference Gases means the gas                     8.2.1 Single point sample gas extraction
                                              related to different functions or procedures            mixture containing EtO at a known                     should be (1) no less than 1.0 m (3.3 ft.) from
                                              (e.g., DS, LOD, and ME).                                concentration and produced and certified in           the stack or duct wall or (2) within the
                                                 3.16 Span value means an EtO                         accordance with ‘‘EPA Traceability Protocol           centroidal area of the stack or duct cross
                                              concentration approximately equal to two                for Assay and Certification of Gaseous                section.
                                              times the concentration equivalent to the               Standards, May 2012 (EPA 600/R–12/531) or                8.2.2 CEMS and Data Recorder Scale
                                              emission standard unless otherwise specified            more recent updates. The tests for analyzer           Check. After CEMS installation, record and
                                              in the applicable regulation, permit or                 measurement error, calibration drift, and             document the measurement range of the EtO
                                              another requirement. Unless otherwise                   system bias require the use of calibration gas        CEMS. The CEMS operating range and the
                                              specified, the span may be rounded up to the            prepared according to this protocol. If a zero        range of the data recording device must
                                              nearest multiple of 5.                                  gas is used for the low-level gas, it must meet       encompass all potential and expected EtO
                                                 3.17 Stable value means the measure of               the requirements under the definition for             concentrations, including the concentration
                                              two or more values that are statistically the           ‘‘zero air’’ in 40 CFR 72.2. Alternatively, if        equivalent to the applicable emission limit
                                              same and the absence of measurement system              the ‘‘protocol’’ gas is not commercially              and the span value.
                                              drift.                                                  available, you must use a reference gas that          9.0      Quality Control—Reserved
                                                 3.18 Standard addition means the                     has been prepared according to the
                                              addition of known amounts of EtO gas (either            procedures in appendix B of this PS and               10.0 Calibration and Standardization—
                                              statically or dynamically) measured sample              meeting the requirements in section 12.2 of           Reserved
                                              gas stream.                                             appendix B of this PS, if applicable.
                                                                                                                                                            11.0 Performance Specification Test
                                                 3.19 Zero gas means a gas with an EtO                   7.2 Cylinder gas may be diluted for use in
                                                                                                      this specification, including measurement             Procedure
                                              concentration that is below the LOD of the
                                              measurement system.                                     error testing. You must document the                    After completing the CEMS installation,
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                                                                                                      quantitative introduction of EtO standards            setup, and calibration, you must complete
                                              4.0 Interferences                                       into the system using Method 205, found in            the PS test procedures in this section. You
                                                Sample gas interferences will vary                    40 CFR part 51, appendix M, or other                  must perform the following procedures and
                                              depending on the instrument or technology               procedure approved by the Administrator.              meet the performance requirements for the
                                              used to make the measurement. Interferences             The laboratory/field evaluations in Method            initial demonstration of your CEMS:
                                              must be evaluated through the interference              205 must be conducted at least quarterly and            a. Interference Test;
                                              test in this PS. Several compounds including            prior to any audit test (e.g., CGA, RAA)                b. Level of Detection Determination;
                                              carbon dioxide (CO2), carbon monoxide (CO),             required in QA Procedure 7 (40 CFR part 60,             c. Response Time Test;



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                                                 d. Measurement Error Test;                           to conduct the interference test. A gas               concentration in the stack or duct relative to
                                                 e. Calibration Drift Test; and                       blending system or manifold may be used.              the native stack concentration plus the SA.
                                                 f. Relative Accuracy Test.                              11.1.8 Ensure the duration of each                 You must be able to detect the effective spike
                                                 g. If CEMS is to be time-shared, determine           interference test is sufficient to condition the      addition (ESA) above the native EtO present
                                              the response time to each measurement                   EtO measurement system surfaces before a              in the stack gas matrix. The ESA is calculated
                                              point, the sampling time at each                        stable measurement is obtained.                       using equation A7 in appendix A of this PS.
                                              measurement point, and the cycle time at                   11.1.9 Measure the EtO response of the                11.2.5.4 If the field verification of your
                                              each measurement point. The sampling time               analyzer/sample conditioning system                   system LOD does not demonstrate a SAR
                                              at each measurement point shall be at least             combination to the test gases in ppbv. Record         greater than or equal to your initial
                                              3 times as long as the system response time             the responses and determine the overall               controlled environment LOD, you must
                                              (RT), and the maximum number of                         interference response using table 2 in section        increase the SA concentration incrementally
                                              measurement points shall not exceed the                 17.0 of this PS.                                      and repeat the field verification procedure
                                              quotient, rounded down to the next whole                   11.1.10 For each interference gas (or              until the SAR is equal to or greater than LOD.
                                              number, of 15 minutes divided by the longest            mixture), calculate the mean difference               The site-specific standard addition detection
                                              cycle time of the measurement point.                    (DMCavg) between the measurement system               level (SADL) is equal to the standard
                                                 11.1 Interference Test                               responses with and without the interference           addition needed to achieve the acceptable
                                                 11.1.1 Prior to its initial use in the field,        test gas(es) using equation 1 in section 12.2         SAR, and the SADL replaces the controlled
                                              you must demonstrate that your monitoring               of this PS. Summarize the results following           environment LOD. The SADL is calculated as
                                              system meets the performance requirements               the format contained in table 2 in section 17.        the ESA using equation A7 in appendix A of
                                              of the interference test in section 13.5 of this           11.1.11 Calculate the percent interference         this PS. As described in section 13.1 of this
                                              PS to verify that the candidate system                  (I) for the gas runs using equation 2 in section      PS, the controlled environment LOD or the
                                              measures EtO accurately in the presence of              12.2 of this PS.                                      SADL that replaces a controlled environment
                                              common interferences in emission matrices                  11.1.12 The total interference response            LOD must be less than 20 percent of the
                                              from commercial sterilizers. In the event this          (i.e., the sum of the interference responses of       applicable emission limit.
                                              performance specification is applied in other           all tested gaseous components) must not                  11.3 Response Time Determination. You
                                              emission sources, the interference test must            exceed the criteria set forth in section 13.5         must determine ME– and SA–RT.
                                              evaluate any other predominant gases is the             of this PS.                                              11.3.1 For ME–RT, start the upscale RT
                                              emission matrices of those sources.                        11.2 Level of Detection Determination              determination by injecting zero gas into the
                                                 11.1.2 Your interference test must be                   11.2.1 You must determine the minimum              measurement system as required by the
                                              conducted in a controlled environment. The              amount of EtO that can be detected above the          procedures in section 11.4 of this PS. For the
                                              equipment you test for interference must                background in a representative gas matrix.            SA–RT start the upscale RT determination at
                                              include the combination of the analyzer,                                                                      native stack concentration of EtO. Allow the
                                                                                                         11.2.2 You must perform the LOD
                                              related analysis software, and any sample                                                                     value to stabilize, which for the purpose of
                                                                                                      determination in a controlled environment
                                              conditioning equipment (e.g., dilution                                                                        this PS is a change no change greater than 1.0
                                                                                                      such as a laboratory or manufacturer’s
                                              module, moisture removal equipment or                                                                         percent of span or 10 ppbv (whichever is
                                                                                                      facility.
                                              other interferent scrubber) used to control                                                                   greater) for 30 seconds.
                                                                                                         11.2.3 You must add interference gases                11.3.2 When the CEMS output has
                                              interferents.
                                                 11.1.3 If you own multiple measurement               listed in table 1 of this PS to a constant            stabilized, record the response in ppbv,
                                              systems with components of the same make                concentration of EtO reference gas.                   record the time (hh:mm:ss), and immediately
                                              and model numbers, you need only perform                   11.2.3.1 You may not use an effective              introduce an upscale (high level) or spike
                                              this interference test on one analyzer and              reference EtO gas concentration greater than          reference gas as required by the relevant
                                              associated interference conditioning                    ten times the estimated instrument LOD.               (ME–RT or SA–RT) procedure. Record the
                                              equipment combination. You may also rely                   11.2.3.2 Inject the EtO and interferents           time (hh:mm:ss) required for the
                                              on an interference test conducted by the                described in section 11.1.5 of this PS directly       measurement system to reach 95 percent of
                                              manufacturer or a continuous measurement                into the inlet to the analyzer, allow time for        the change to the final stable value, the
                                              system integrator on a system having                    the value to stabilize and then collect               difference in these times is the upscale RT.
                                              components of the same make(s) and                      measurement data for 15 minutes and                      11.3.3 Reintroduce the zero gas for the
                                              model(s) of the system that you use.                    average those results. Repeat this procedure          ME–RT or stop the upscale gas flow for the
                                                 11.1.4 Perform the interference check                to obtain a total of seven or more of these           SA–RT and immediately record the time
                                              using an EtO reference gas concentration of             runs, purging the measurement system with             (hh:mm:ss). Record the time (hh:mm:ss)
                                              approximately ten times the LOD or at 50                ambient air between each run, to determine            required to reach within 95 percent of the
                                              parts per billion, whichever is greater.                the LOD.                                              previous stable response in 11.3.1 or 10 ppbv
                                                 11.1.5 Introduce the interference test                  11.2.4 Calculate the standard deviation of         (whichever is greater); the difference in these
                                              gases listed in table 1 in section 17.0 of this         the measured values and define the LOD as             times is the downscale RT.
                                              PS to the analyzer/conditioning system                  three times the standard deviation of these              Note: For CEMS that perform a series of
                                              separately or in any combination. The                   measurements.                                         operations (purge, blow back, sample
                                              interference test gases need not be of                     11.2.5 You must verify the controlled              integration, analyze, etc.), you must start
                                              reference gas quality.                                  environment LOD of section 11.2.2 of this PS          adding reference or zero gas immediately
                                                 11.1.6 The interference test must be                 for your CEMS during initial setup and field          after these procedures are complete.)
                                              performed by combining an EtO reference gas             certification testing using the SA procedure             11.3.4 Repeat the entire procedure until
                                              with each interference test gas (or gas                 in appendix A of this PS with the following           you have three sets of data, then determine
                                              mixture). You must measure the baseline EtO             exceptions:                                           the mean upscale and mean downscale RTs
                                              response, followed by the response after                   11.2.5.1 You must make three                       for each relevant procedure (from each
                                              adding the interference test gas(es) while              independent SA measurements spiking the               measurement point if the CEMS is time-
                                              maintaining a constant EtO concentration.               native source concentration by no more than           sharing). Report the greater of the average
                                              You must perform each interference gas                  five times the controlled environment LOD             upscale or average downscale RTs as the RT
                                              injection and evaluation in triplicate.                 concentration determined in section 11.2.4.           for the system.
                                                 Note: The baseline EtO gas may include                  11.2.5.2 You must perform the SA as a                 11.4 Measurement Error (ME) Test
                                              interference gases at concentrations typical of         dynamic spike by passing the spiked source               11.4.1 The measurement error test must
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                                              ambient air (e.g., 21 percent O2, 400 parts per         gas sample through all filters, scrubbers,            be performed at the same time as the
                                              million (ppm) CO2, 2 percent H2O), but these            conditioners, and other monitoring system             calibration drift test when the system is being
                                              concentrations must be brought to the                   components used during normal sampling,               placed in service. The measurement error test
                                              concentrations listed in table 1 of this PS             and as much of the sampling probe as                  must be performed any time a substantive
                                              when their interference effects are being               practical.                                            change (see section 1.2.5) has been made to
                                              evaluated.                                                 11.2.5.3 The amount detected, or                   the measurement system.
                                                 11.1.7 You should document the gas                   standard addition response (SAR), is based               11.4.1.1 Introduce reference gases to the
                                              volume/rate, temperature, and pressure used             on the average difference of the native EtO           CEMS probe, prior to the sample



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                                              conditioning and filtration system. You may             consecutive unit operating days need not be           same location, a half diameter may be used
                                              use a gas dilution system meeting the                   7 consecutive calendar days.                          in lieu of two equivalent diameters. The
                                              requirement in section 7.2 of this PS.                     11.5.6 Record the CEMS response for                equivalent duct diameter is calculated
                                                 11.4.1.2 Challenge the measurement                   single measurements of zero gas and high-             according to Method 1 in appendix A–1 to
                                              system with a zero gas and at the three                 level reference gas. You may use table 6 in           this part. The CEMS and RM sampling
                                              upscale EtO reference gas concentrations in             section 17 of this PS to record and report the        locations need not be the same.
                                              the range shown in table 3 of this PS. You              results of your 7-day CD test. Calculate the             11.6.3.2 Traverse Point Selection. Select
                                              may introduce different reference gas                   CD using equation 3B in section 12.3. Report          traverse points that assure acquisition of
                                              concentrations in any order, but you must               the absolute value of the differences as a            representative RM samples over the stack or
                                              not introduce the same gas concentration                percentage of the span value.                         duct cross section according to one of the
                                              twice in succession.                                       11.5.7 The zero-level and high-level CD            following options: (a) sample at twelve
                                                 11.4.1.3 Introduce the calibration gas into          for each day must be less than 5.0 percent of         traverse points located according to section
                                              the sampling probe with sufficient flow rate            the span value or an absolute difference of 10        11.3 of Method 1 in appendix A–1 to this
                                              to replace the entire source gas sample and             ppbv, as specified in section 13.2 of this PS.        part or (b) sample at the three traverse points
                                              continue the gas flow until the response is             You must meet this criterion for 7                    at 16.7, 50.0, and 83.3 percent of the
                                              stable, as evidenced when the difference                consecutive operating days.                           measurement line. Alternatively, you may
                                              between two consecutive measurements is                    11.5.8 Dynamic Spiking Option for                  conduct a stratification test following the
                                              within 1.0 percent of span or 5 ppbv                    Seven-Day CD Test. You have the option to             procedures in sections 11.6.3.2.1 through
                                              (whichever is less). Record this value and              conduct a high-level dynamic spiking                  11.6.3.2.4 to justify sampling at a single
                                              inject the next calibration gas.                        procedure for each of the 7 days in lieu of           point. Stratification testing must be
                                                 11.4.1.4 Make triplicate measurements for            the high-level reference gas injection                conducted at the sampling location to be
                                              each reference gas for a total of twelve                described in sections 11.5.2 and 11.5.3. If this      used for the RM measurements during the RA
                                              measurements.                                           option is selected, the daily zero CD check           test and must be made during normal facility
                                                 11.4.1.5 At each reference gas                       is still required.                                    operating conditions. You must evaluate the
                                              concentration, determine the average of the                11.5.8.1 To conduct each of the seven              stratification by measuring the gas on the
                                              three CEMS responses (MCl). Calculate the               daily mid-level dynamic spikes, you must              same moisture basis as the EtO CEMS (wet
                                              ME using equation 3A in section 12.3.                   use the DS procedure described in appendix            or dry). Stratification testing must be
                                                 11.4.1.6 For non-dilution systems, you               A of this PS using a single spike chosen to           repeated for each RA test program to justify
                                              may adjust the system to maintain the correct           yield the range as indicated in table 3.              single point.
                                              flow rate at the analyzer during the test, but             11.5.8.2 You must perform the dynamic                 11.6.3.2.1 Use a probe of appropriate
                                              you may not make adjustments for any other              spike procedure by passing the spiked source          length to measure the EtO concentration, as
                                              purpose. For dilution systems, you must                 gas sample through all filters, scrubbers,            described in this section, using 12 traverse
                                              operate the measurement system at the                   conditioners, and other monitoring system             points located according to section 11.3 of
                                              appropriate dilution ratio during all system            components used during normal sampling,               Method 1 in appendix A–1 to this part for a
                                              ME checks, and you may make only the                    and as much of the sampling probe as                  circular stack or nine points at the centroids
                                              adjustments necessary to maintain the proper            practical.                                            of similarly shaped, equal area divisions of
                                              ratio.                                                     11.5.8.3 Calculate the high-level CD as a          the cross section of a rectangular stack.
                                                 11.4.2 You may use table 5 in section                percent of span using equation A6 of                     11.6.3.2.2 Calculate the mean measured
                                              17.0 to record and report your ME test                  appendix A to this PS and calculate the zero-         concentration for all sampling points
                                              results.                                                drift using equation 3B in section 12.3.              (MNavg).
                                                 11.4.3 If the ME specification in section            Record and report the results as described in            11.6.3.2.3 Calculate the percent
                                              13.3 is not met for all four reference gas              sections 11.5.6 and 11.5.7.                           stratification (St) of each traverse point using
                                              concentrations, take corrective action, and                11.6 Relative Accuracy Test                        equation 5 in section 12.5.
                                              repeat the test until an acceptable 4-level ME             11.6.1 Unless otherwise specified in an               11.6.3.2.4 The gas stream is considered to
                                              test is achieved.                                       applicable regulation, use Method 320 as the          be unstratified and you may perform the RA
                                                 11.5 Seven-Day Calibration Drift (CD)                RM for EtO measurement. Conduct the RM                testing at a single point that most closely
                                              Test                                                    tests in such a way that they will yield              matches the mean if the concentration at
                                                 11.5.1 The CD Test Period. Prior to the              results representative of the emissions from          each traverse point differs from the mean
                                              start of the RA tests, you must perform a               the source that can be compared to the CEMS           measured concentration for all traverse
                                              seven-day CD test. The purpose of the seven-            data. You must collect gas samples that are           points by no more than 5.0 percent of the
                                              day CD test is to verify the ability of the             at stack conditions (hot and wet), and you            mean concentration of EtO or 10 ppbv,
                                              CEMS to maintain calibration for each of                must traverse the stack or duct as required in        whichever is less restrictive.
                                              seven consecutive unit operating days as                section 11.6.3.                                          11.6.4 In order to correlate the CEMS and
                                              specified in section 11.5.5 of this PS.                    11.6.2 Conduct the diluent (if applicable),        RM data properly, record the beginning and
                                                 11.5.2 The CD tests must be performed                moisture (if needed), and pollutant                   end of each RM run (including the time of
                                              using the zero gas and high-level reference             measurements simultaneously. If the                   day in hours, minutes, and seconds) using a
                                              gas standards as defined in table 3 of this PS.         emission standard is expressed in a mass unit         clock synchronized with the CEMS clock
                                                 11.5.3 Conduct the CD test on each day               (i.e., lb/hr) you must also determine the             used to create a permanent time record with
                                              during continuous operation of the CEMS                 flowrate simultaneously with each test using          the CEMS output.
                                              and normal facility operations following the            Method 2, 2A, 2B, 2C or 2D in appendix A–                11.6.5 You must conduct the RA test
                                              procedures in section 11.7 of this PS, except           1 to this part, as applicable.                        during representative process and control
                                              that the zero gas and high-level gas need only             11.6.3 Reference Method Measurement                operating conditions or as specified in an
                                              be introduced to the measurement system                 Location and Traverse Point(s) Selection.             applicable regulation, permit or subpart.
                                              once each for the seven days.                              11.6.3.1 Measurement Location. Select, as             11.6.6 Conduct a minimum of nine RM
                                                 11.5.4 If periodic automatic or manual               appropriate, an accessible RM measurement             test runs.
                                              adjustments are made to the CEMS zero and               location at least two equivalent diameters               Note: More than nine RM test runs may be
                                              upscale response factor settings, conduct the           downstream from the nearest control device,           performed. If this option is chosen, up to
                                              CD test immediately before these                        point of pollutant generation, or other point         three test run results may be excluded so
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                                              adjustments.                                            at which a change in the pollutant                    long as the total number of test run results
                                                 Note: Automatic signal or mathematical               concentration or emission rate may occur,             used to determine the CEMS RA is greater
                                              processing of all measurement data to                   and at least one-half equivalent diameter             than or equal to nine. However, all data must
                                              determine emission results may be performed             upstream from the effluent exhaust or a               be reported including the excluded test runs.
                                              throughout the entire CD process.                       control device. When pollutant concentration             11.6.7 Analyze the results from the RM
                                                 11.5.5 Determine the magnitude of the CD             changes are due solely to diluent leakage             test runs using equations 9 through14 in
                                              at approximately 24-hour intervals, for 7               (e.g., air heater leakages) and pollutants and        section 12.6. Calculate the RA between the
                                              consecutive unit operating days. The 7                  diluents are simultaneously measured at the           CEMS results and the RM results.



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                                                11.7 Record Keeping and Reporting                       Ci = Zero or EtO reference gas                        MNbi = Measured native concentration
                                                11.7.1 Record the results of the CD test,             concentration used for test i (ppbv);                 bracketing each calibration check
                                              the RT test, the ME test, and the RA test. Also           CC = Confidence coefficient (ppbv);                 measurement (ppbv);
                                              keep records of the RM and CEMS field data,               CD = Calibration drift (percent);                     MNi = Measured native concentration for
                                              calculations, and reference gas certifications            davg = Mean difference between CEMS                 test or run I (ppbv);
                                              necessary to confirm that the performance of            response and the reference gas (ppbv);                  n = Number of measurements in an average
                                              the CEMS met the performance                              di = Difference of CEMS response and the            value;
                                              specifications.                                         RM value (ppbv or units of emission                     RA = Relative accuracy of CEMS compared
                                                11.7.2 For systems that use Method 205                standard, as applicable);                             to a RM (percent);
                                              to prepare EtO reference gas standards,                   I = Total interference from major matrix              RMavg = Mean measured RM value (ppbv)
                                                                                                      stack gases (percent);                                or units of the emission standard);
                                              record results of Method 205 performance
                                                                                                        DMCavg = Average of the 3 absolute values             RMi = RM concentration for test run i
                                              test field evaluation, reference gas
                                                                                                      of the difference between the measured EtO            (ppbv or units of the emission standard);
                                              certifications, and gas dilution system                 calibration gas concentrations with and                 S = Span value (ppmv);
                                              calibration.                                            without interference from selected stack                Sd = Standard deviation of the differences
                                                11.7.3 Record the LOD and field verified              gases (ppbv);                                         (ppmv);
                                              SADL for the CEMS in ppbv.                                MCi = Measured EtO (or zero) reference gas            Sti = Stratification at traverse point i
                                                11.7.4 Record the results of the                      concentration i (ppbv);                               (percent);
                                              interference test.                                        MCi = Average of the measured EtO (or                 SADL = Standard addition detection level
                                                11.7.5 Report the results of all                      zero) reference gas concentration i (ppbv);           (ppmv);
                                              certification tests to the appropriate                    MCint = Measured EtO concentration of the             t0.975 = One-sided t-value at the 97.5th
                                              regulatory agency (or agencies), in hardcopy            EtO reference gas plus the individual or              percentile obtained from table 4 in section
                                              and/or electronic format, as required by the            combined interference gases (ppbv);                   17.0 for n-1 measurements;
                                              applicable regulation or permit.                          ME = Measurement error for CEMS                       12.2 Calculate the difference between the
                                                                                                      (percent);                                            measured EtO concentration with and
                                              12.0   Calculations and Data Analysis                     MNavg = Average concentration at all                without interferents for each interference gas
                                                 12.1   Nomenclature.                                 sampling points (ppbv);                               (or mixture) for your CEMS as:



                                                                                                                                                                      Eq.1

                                                 Calculate the total percent interference as:

                                                                                          n

                                                                                    1=L~x100                                                                         Eq.2
                                                                                         i:1


                                                12.3 Calculate the ME or CD at
                                              Concentration i as:


                                                                                                 ICt-MCil
                                                                                      ME=--                                                                    Eq.3A
                                                                                                     s
                                                                                                 IQ-MC1I
                                                                                      CD=           s                                                          Eq.3B



                                                                                                                                                                                                             ER05AP24.006</GPH>
                                                12.4 Calculate the average native
                                              concentration before and after each
                                              calibration check measurement as:                                                                                                                              ER05AP24.005</GPH>




                                                                                                                                                                     Eq.4
                                                                                                                                                                                                             ER05AP24.004</GPH>




                                                 12.5 Calculate the Percent Stratification
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                                              at Each Traverse Point as:
                                                                                                                                                                                                             ER05AP24.003</GPH>




                                                                                                                                                                     Eq.5
                                                                                                                                                                                                             ER05AP24.002</GPH>




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                                                12.6 Calculate the RA Using RM and                    confirm that the results have been corrected            12.6.3 Make a direct comparison of the
                                              CEMS Data                                               to the same moisture, temperature, and                average RM results and CEMS average value
                                                12.6.1 Determine the CEMS final                       diluent concentration basis, as applicable. If        for identical test periods.
                                              integrated average pollutant concentration or           the emission standard is based on a mass                12.6.4 For each test run, calculate the
                                              emission rate for each RM test period.                  emission (i.e., lbs/hr), confirm the results          arithmetic difference of the RM and CEMS
                                              Consider system RT, if important, and                   have been calculated correctly.                       results using equation 6.


                                                                                                                                                                Eq.6

                                                12.6.5 Calculate the standard deviation of
                                              the differences (Sd) of the CEMS measured
                                              results and RM results using equation 7.



                                                                                             t (di - <I;'=l d)) 2
                                                                                                                                                                     Eq. 7
                                                                                                     n-1

                                                12.6.6 Calculate the confidence
                                              coefficient (CC) for the RA test using
                                              equation 8.



                                                                                                                                                                     Eq.8


                                                12.6.7 Calculate the mean difference                  the units of ppbv or of the emission standard
                                              (davg) between the RM and CEMS values in                using equation 9.




                                                                                                                                                                Eq.9


                                                12.6.8 Calculate the average RM value
                                              using equation 10.




                                                                                                                                                                Eq.10




                                                                                                                                                                                                             ER05AP24.012</GPH>
                                                12.6.9 Calculate RA of the CEMS using




                                                                                                                                                                                                             ER05AP24.011</GPH>
                                              equation 11.




                                                                                                                                                                     Eq.11                                   ER05AP24.010</GPH>




                                              13.0 Method Performance                                 absolute difference of 10.0 ppbv for 7                than or equal to 20.0 percent of the RM when
                                                                                                                                                                                                             ER05AP24.009</GPH>




                                                13.1 Level of Detection. You may not use              consecutive operating days.                           RMavg is used in the denominator of equation
                                              a CEMS whose LOD or SADL is greater than                   13.3 Measurement Error. The ME must be             11.
                                              20 percent of the applicable regulatory limit           less than or equal to 5.0 percent of the span           13.4.1 In cases where the RA is calculated
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                                              or other action level for the intended use of           or an absolute difference of 10.0 ppbv value          on a concentration (ppmv) basis, if the
                                              the data. If the regulatory limit is not based          at the low-, mid-, and high-level reference gas       average RM emission level for the test is less
                                                                                                                                                                                                             ER05AP24.008</GPH>




                                              on a concentration, document the calculated             concentrations.                                       than 50 percent of the EtO concentration
                                              concentration equivalent as required in                    13.4 Relative Accuracy. Unless otherwise
                                                                                                                                                            equivalent to the emission standard, you may
                                              section 11.7.                                           specified in an applicable regulation or
                                                                                                                                                            substitute the EtO concentration equivalent
                                                13.2 Calibration Drift. The zero- and high-           permit, the RA of the CEMS, whether
                                              level calibration drift for the CEMS must not           calculated in units of EtO concentration or in        to the standard in the denominator of
                                                                                                                                                            equation 14 in place of RMavg.
                                                                                                                                                                                                             ER05AP24.007</GPH>




                                              exceed 5.0 percent of the span value or an              units of the emission standard, must be less



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                                                13.4.2 Similarly, if the RA is calculated in                               span or ±3.0 percent of the equivalent EtO                      Various Waste Media,’’ 40 CFR part 63,
                                              units of the emission standard and the EtO                                   concentration used for the interference test,                   appendix A.
                                              emission level measured by the RMs is less                                   whichever is less restrictive. The results are                    2. EPA Traceability Protocol for Assay and
                                              than 50 percent of the emission standard, you                                also acceptable if the sum of the interference                  Certification of Gaseous Calibration
                                              may substitute the emission standard in the                                  response(s) does not exceed ten times the                       Standards, U.S. Environmental Protection
                                              denominator of equation 14 in place of
                                                                                                                           LOD or 30 ppbv.                                                 Agency office of Research and Development,
                                              RMavg.
                                                13.4.3 The alternative calculated RA in                                                                                                    EPA/600/R–12/531, May 2012.
                                                                                                                           14.0       Pollution Prevention—[Reserved]
                                              paragraph 13.4.1 or 13.4.2 must be less than                                                                                                 17.0 Tables, Diagrams, Flowcharts, and
                                              or equal to 15.0 percent.                                                    15.0       Waste Management—[Reserved]
                                                                                                                                                                                           Validation Data
                                                13.5 Interference Test.
                                                                                                                           16.0       Bibliography
                                                13.5.1 The sum of the interference
                                              response(s) from equation 2 must not be                                        1. ‘‘Method 301—Field Validation of
                                              greater than 2.5 percent of the calibration                                  Pollutant Measurement Methods from

                                                                                                             TABLE 1—INTERFERENCE TEST GAS CONCENTRATIONS
                                                                                                                                                                                         Approximate concentration
                                                                                  Potential interferent gas 1                                                                                  (balance N2)

                                              CO2 ...........................................................................................................     1% ± 0.2% CO2.
                                              CH4 ...........................................................................................................     20 ± 5 ppm.
                                              H2O ...........................................................................................................     5% ± 1% H2O.1
                                              N2 ..............................................................................................................   Balance.1
                                                1 Any of these specific gases can be tested at a lower level if the manufacturer has provided reliableness for limiting or scrubbing that gas to a
                                              specified level in CEMS field installations.

                                                                                                             TABLE 2—EXAMPLE INTERFERENCE TEST DATA SHEET
                                              Date of Test

                                              Analyzer type

                                              Model Number

                                              Serial Number

                                              Span

                                              Test Organization

                                              Test Personnel


                                                                                                                                                                                        EtO
                                                                                                                                                                  EtO                                   Absolute     Average absolute
                                                                                                                                                                                   concentration
                                                                          Interference gas or combination                                                     concentration                             difference      difference
                                                                                                                                                                                   w/interference
                                                                                                                                                                 (ppbv)                                   (ppbv)          (ppbv)
                                                                                                                                                                                       (ppbv)
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                                                                                                                                                                                                  EtO
                                                                                                                                                                    EtO                                                 Absolute               Average absolute
                                                                                                                                                                                             concentration
                                                                          Interference gas or combination                                                       concentration                                           difference                difference
                                                                                                                                                                                             w/interference
                                                                                                                                                                   (ppbv)                                                 (ppbv)                    (ppbv)
                                                                                                                                                                                                 (ppbv)




                                                                                  TABLE 3—PERFORMANCE SPECIFICATION TEST ZERO AND REFERENCE GAS RANGES
                                                                                                                                                                                        EtO zero and reference gas concentrations
                                                                                                                                                                                               in terms of percent of span a
                                                                        Test                                                          Units                                                                                                                 Section
                                                                                                                                                                                   Zero               Low level       Mid-level            High level

                                              Calibration Drift ..........................................   % Of Span .................................................   <LOD .................            NA     ....................     b 80–100               11.5
                                              Measurement Error ....................................         % Of Span .................................................   NA .....................       20–30               50–60           80–100                11.4
                                                  a Reference gas concentration must be NIST traceable. (See section 7.1)
                                                  b High-level is required. For DS calibration drift option, choose a concentration that yields a value in this range at the analyzer.



                                                                                                                                    TABLE 4—STUDENT’S t-VALUES
                                                                                        n¥1 a                                                         t-value                     n¥1 a                  t-value                    n¥1 a                 t-value

                                              1 ...........................................................................................                    12.71                           11                 2.201                       21               2.080
                                              2 ...........................................................................................                    4.303                           12                 2.179                       22               2.074
                                              3 ...........................................................................................                    3.182                           13                 2.160                       23               2.069
                                              4 ...........................................................................................                    2.776                           14                 2.145                       24               2.064
                                              5 ...........................................................................................                    2.571                           15                 2.131                       25               2.060
                                              6 ...........................................................................................                    2.447                           16                 2.120                       26               2.056
                                              7 ...........................................................................................                    2.365                           17                 2.110                       27               2.052
                                              8 ...........................................................................................                    2.306                           18                 2.101                       28               2.048
                                              9 ...........................................................................................                    2.262                           19                 2.093                       29               2.045
                                              10 .........................................................................................                     2.228                           20                 2.086                       30               2.042
                                                a The value n is the number of independent pairs of measurements. Either discrete (independent) measurements in a single run or run aver-
                                              ages can be used.

                                                                                                                       TABLE 5—MEASUREMENT ERROR TEST DATA
                                              Source:                                                                                                               Date:

                                              CEMS:                                                                                                                 Location:

                                              Serial Number:                                                                                                        Span:

                                                                                                                 Reference                      CEMS                                   Difference—                            Difference—               Difference—
                                                                 Run number                                      gas value                    response                                       low                                    low                       low
                                                                                                                  (ppbv)                        (ppbv)                                     (ppbv)                                 (ppbv)                    (ppbv)

                                              1

                                              2

                                              3

                                              4
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                                              5

                                              6

                                              7

                                              8




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                                                                                         TABLE 5—MEASUREMENT ERROR TEST DATA—Continued
                                              Source:                                                                               Date:

                                              CEMS:                                                                                 Location:

                                              Serial Number:                                                                        Span:

                                                                                                 Reference           CEMS                         Difference—                  Difference—   Difference—
                                                           Run number                            gas value         response                             low                          low           low
                                                                                                  (ppbv)             (ppbv)                           (ppbv)                       (ppbv)        (ppbv)

                                              9

                                              Mean Difference—ppbv

                                              Measurement Error—%


                                                                                                      TABLE 6—CALIBRATION DRIFT TEST DATA
                                              Source/Location:

                                              CEMS:

                                              Instrument Serial Number:

                                              Instrument Span:

                                                                                                                                            Reference             CEMS         Difference      Percent
                                                                  Day                                  Date               Time              gas value           response         (ppbv)        of span
                                                                                                                                             (ppbv)               (ppbv)

                                                                                                                            Zero Gas
                                              1                                                                                                  0
                                              2                                                                                                  0
                                              3                                                                                                  0
                                              4                                                                                                  0
                                              5                                                                                                  0
                                              6                                                                                                  0
                                              7                                                                                                  0
                                                                                                                         High-Level Gas
                                              1
                                              2
                                              3
                                              4
                                              5
                                              6
                                              7



                                              PS–19 Appendix A Standard Addition                       part as an alternative to upscale calibration         into the measurement system as an addition
                                              Procedures                                               drift (CD) tests, cylinder gas audits and             to the native EtO and the native source gas
                                                                                                       relative accuracy audits (RAAs), and may be           matrix.
                                              1.0   Scope and Application
                                                                                                       used for quality assurance purposes under             3.0 Definitions
                                                 1.1 This appendix A (appendix PS–19A)                 other applicable regulations or permits that
                                              to Performance Specification 19 (PS–19)                  require EtO monitoring.                                 (See PS–19 and Procedure 7 of appendix F
                                              describes the procedure and performance                                                                        to this part for the Definitions Used in this
                                                                                                                                                             appendix.)
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                                              requirements for standard addition (SA) as a             2.0 Summary of the Appendix for Standard
                                              quality check for ethylene oxide (EtO)                   Addition
                                                                                                                                                             4.0 Interferences
                                              continuous emission monitoring systems                     As used here, SA is a gas phase method of             Interferences are discussed in PS–19,
                                              (CEMS).                                                  standard additions (either static or dynamic)         section 4.0.
                                                 1.2 This procedure must be used, as a                 used to verify the accuracy of CEMS
                                              level of detection (LOD) verification of all             measurements in the presence of the sample            5.0 Safety
                                              field-installed CEMS. Additionally, it is                matrix. For extractive CEMS, it consists of             The procedures required under this
                                              allowed by Procedure 7 in appendix F to this             spiking a known quantity of EtO dynamically           appendix may involve hazardous materials,



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                                              operations, and equipment. This procedure               concentration as the CEMS being qualified             particulate filter or sample conditioning
                                              may not address all of the safety problems              with this PS.                                         system and as close to the sampling inlet as
                                              associated with these procedures. You as the               8.2 Dynamic Spiking Procedure.                     practical.
                                              facility or operator must establish                        8.2.1 Your EtO spike addition must not                8.2.5.2 Maintain the EtO gas spike for at
                                              appropriate safety and health practices and             alter the total volumetric sample system flow         least twice the DS response time of your
                                              determine the applicable regulatory                     rate or basic dilution ratio of your CEMS (if         CEMS or until the consecutive measurements
                                              limitations prior to performing these                   applicable).                                          agree within 5.0 percent. Collect two
                                              procedures. As the CEMS user, you should                   8.2.2 Your spike gas flow rate must not            independent measurements of the native plus
                                              consult instrument operation manuals,                   contribute more than 10 percent of the total          spiked EtO concentration.
                                              material safety data sheets, compressed gas             volumetric flow rate through the CEMS.                   8.2.5.3 Stop the flow of spike gas for at
                                              safety requirements, and other Occupational                8.2.3 You must determine a dilution                least twice the DS response time of your
                                              Safety and Health Administration regulations            factor (DF) or relative concentration of EtO          CEMS or until the consecutive measurements
                                              for specific precautions to be taken.                   for each dynamic spike. Calibrated, NIST-             agree within 5.0 percent. Collect two
                                                                                                      traceable flow meters accurate to within 2.0          independent measurements of the native EtO
                                              6.0 Equipment and Supplies                              percent or highly accurate tracer gas                 concentration.
                                                An example of equipment and supplies is               measurements are required to make the                    8.2.6 Repeat the collection of sample
                                              described in section 6 of PS–18.                        necessary DF determinations at the accuracy           measurements in section 8.2.5 until you have
                                                                                                      required for this PS. Calibrated, NIST-               data for each spike concentration including
                                              7.0 Reagents and Standards                              traceable flow meters (e.g., venturi, orifice)        a final set of unspiked sample measurements
                                                SA materials must meet the requirements               accurate to within 2.0 percent should be              according to section 8.2.5.3.
                                              defined for reference gases in section 7 of             recertified against an NIST-traceable flow               8.2.7 Verify that the CEMS responded as
                                              PS–19 to perform this procedure.                        meter annually. Note: Since the spiking mass          expected for each spike gas injection, and
                                                                                                      balance calculation is directly dependent on          that the data quality is not impacted by large
                                              8.0 Standard Addition and Dynamic                       the accuracy of the DF determination, the             shifts in the native source concentration.
                                              Spiking Procedure                                       accuracy of measurements required to                  Discard and repeat any spike injections as
                                                 The standard addition procedure consists             determine the total volumetric gas flow rate,         necessary to generate a complete set of the
                                              of measuring the native source gas                      spike gas flow rate, or tracer gas standard           required replicate spike measurements.
                                              concentration, addition of reference gas, and           addition concentration is critical to your               8.2.8 Calculate the standard addition
                                              measurement of the resulting SA elevated                ability to accurately perform the DS                  response (SAR) for extractive CEMS, using
                                              source gas concentration. EtO is spiked                 procedure and calculate the results.                  equation A4 in section 11.2, of this appendix
                                              dynamically and thus, one must account for                 8.2.4 You must monitor and record the              PS–19A.
                                                                                                      total sampling system flow rate and sample
                                              the dilution of sample gas from the addition                                                                     8.2.9 If the DS results do not meet the
                                                                                                      dilution factor (DF) for the spiking and stack
                                              of the EtO reference gas.                                                                                     specifications for the appropriate
                                                                                                      gas sampling systems to ensure they are
                                                 8.1 SA Concentration and Measurement                                                                       performance test in PS–19 or Procedure 7 of
                                                                                                      known and do not change during the spiking
                                              Replicates.                                                                                                   appendix F of this part, you must take
                                                                                                      procedure. Record all data on a data sheet
                                                 8.1.1 You must inject EtO gas to create a                                                                  corrective action and repeat the DS
                                                                                                      similar to table A1 in section 13 of this
                                              measured concentration based on the                                                                           procedure.
                                                                                                      appendix.
                                              requirements of the particular performance                 8.2.4.1 You may either measure the spike           9.0      Quality Control—Reserved
                                              test (e.g., LOD verification, CD).                      gas flow and the total flow with calibrated
                                                 8.1.2 Each dynamic spike (DS) or                     flow meters capable of NIST traceable                 10.0 Calibration and Standardization—
                                              standard addition (SA) replicate consists of a          accuracy to ±2.0 percent or calculate the flow        Reserved
                                              measurement of the source emissions                     using a stable tracer gas included in your
                                              concentration of EtO (native stack                                                                            11.0 Calculations and Data Analysis
                                                                                                      spike gas standard.
                                              concentration) with and without the addition               8.2.4.2 If you use flow measurements to              Calculate the SA response for each
                                              of EtO. With a single CEMS, you must                    determine the spike dilution, then use                measurement and its associated native EtO
                                              alternate the measurement of the native and             equation A1 in section 11.2.1 of this                 measurement(s), using equations in this
                                              SA-elevated source gas so that each                     appendix PS–19A to calculate the DF.                  section. (Note: For cases where the emission
                                              measurement of SA-elevated source gas is                Determination of the spike dilution requires          standard is expressed in units of lb/hr or
                                              immediately preceded and followed by a                  measurement of EtO spike flow (Qspike) and            corrected to a specified O2 or CO2
                                              measurement of native stack gas. Introduce              total flow through the CEM sampling system            concentration, an absolute accuracy
                                              the SA gases in such a manner that the entire           (Qprobe).                                             specification based on a span at stack
                                              CEMS is challenged. Alternatively, you may                 8.2.4.3 If your CEMS is capable of                 conditions may be calculated using the
                                              use an independent continuous EtO monitor               measuring an independent stable tracer gas,           average concentration and applicable
                                              to measure the native source concentration              you may use a spike gas that includes the             conversion factors. The appropriate
                                              before and after each standard addition as              tracer to determine the DF using equation A2          procedures for use in cases where a percent
                                              described in section 8.1.4.                             or A3 (sections 11.2.2 and 11.2.3 of this             removal standard is more restrictive than the
                                                 8.1.3 Unless specified otherwise by an               appendix PS–19A) depending on whether the             emission standard is the same as in PS–2,
                                              applicable rule, your SA-elevated                       tracer gas is also present in the native source       sections 12 and 13, in this appendix.)
                                              concentration may not exceed 100 percent of             emissions.                                              11.1 Nomenclature.
                                              span when the SA and native EtO                            8.2.4.4 For extractive CEMS, you must                Cspike = Actual EtO reference gas
                                              concentration are combined.                             correct the background measurements of EtO            concentration spiked (e.g., bottle or reference
                                                 8.1.4 As an alternative to making                    for the dilution caused by the addition of the        gas concentration) ppmv;
                                              background measurements pre- and post-SA,               spike gas standard. For spiking systems that            Ctracer spiked = Tracer gas concentration
                                              you may use an independent continuous EtO               alternate between addition of EtO and zero            injected with spike gas (‘‘reference
                                              monitor as a temporary unit to measure                  gas at a constant DF, the background                  concentration’’) ppmv;
                                              native stack EtO concentration while                    measurements between spikes will not be                 DF = Spiked gas dilution factor;
                                              simultaneously using the CEMS to measure                equal to the native source concentration.               DSCD = Calibration drift determined using
                                              the SA-elevated source concentration. If you               8.2.5 Begin by collecting unspiked                 DS procedure (percent);
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                                              use an independent continuous EtO monitor               sample measurements of EtO. You must use                DSE = Dynamic spike error (ppmv);
                                              you must make one concurrent background                 the average of two unspiked sample                      ESA = Effective spike addition (ppmv);
                                              or native EtO measurement using both the                measurements as your pre-spike background.              MCSA = Measured SA-elevated source gas
                                              installed CEMS and the independent                         Note: Measurements should agree within             concentration (ppmv);
                                              continuous EtO monitor, immediately before              5.0 percent or three times the level of                 MCspiked = Measured EtO reference gas
                                              the SA procedure in section 8.2 or 8.3 begins,          detection to avoid biasing the spike results.         concentration i (ppmv);
                                              to confirm that the independent monitoring                 8.2.5.1 Introduce the EtO gas spike into             MCnative = Average measured concentration
                                              system measures the same background                     the permanent CEMS probe, upstream of the             of the native EtO (ppmv);



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                                                Mnative tracer = Measured tracer gas                      Qspike = Flow rate of the dynamic spike gas            11.2 Calculating Dynamic Spike
                                              concentration present in native effluent gas              (Lpm);                                                 Response and Error.
                                              (ppmv);                                                     Qprobe = Average total stack sample flow               11.2.1 If you determine your spike DF
                                                Mspiked tracer = Measured diluted tracer gas            through the system (Lpm);                              using spike gas and stack sample flow
                                              concentration in a spiked sample (ppmv);                    S = Span (ppmv);                                     measurements, calculate the DF using
                                                                                                          SAR = Standard addition response (ppmv)              equation A1:



                                                                                                                                                                 Eq.Al

                                                11.2.2 If you determine your spike DF                   not present in the native source emissions,
                                              using an independent stable tracer gas that is            calculate the DF for DS using equation A2:



                                                                                       DF_M.,iw.,.                                                                Eq.A2
                                                                                                  C1raccroiW

                                                 11.2.3 If you determine your spike                     emissions, calculate the dilution factor for
                                              dilution factor using an independent stable               dynamic spiking using equation A3:
                                              tracer that is present in the native source



                                                                                 ~---Mmtiv.---
                                                                                DF :.-------                                                                            Eq.A3
                                                                                           C..,.roiW-Ma.....,.

                                                11.2.4 Calculate the SA response using
                                              equation A4:


                                                                               SARrMCJpiW-(1- DF)xMG.tiw                                                                 Eq.A4

                                                11.2.5 Calculate the DS error using
                                              equation A5.




                                                                                                                                                                                                          ER05AP24.019</GPH>
                                                                           DSE=MC.w-MC..,...DFx(c...,.MC....)                                                                  Eq.AS

                                                11.2.6 Calculating CD using DS. When                    level CD, calculate the CD as a percent of
                                              using the DS option for determining mid-                  span using equation A6:




                                                                                                                                                                                                          ER05AP24.018</GPH>
                                                                                       DCSD=IDSEI                                                                 Eq.A6
                                                                                                        s

                                                                                                                                                                                                          ER05AP24.017</GPH>
                                                 11.2.7 The effective spike addition (ESA)              concentration as a result of injecting a spike.
                                              is the expected increase in the measured                  Calculate ESA using equation A7:                                                                  ER05AP24.016</GPH>




                                                                                                                                                                        Eq.A7
                                                                                                                                                                                                          ER05AP24.015</GPH>




                                              12.0   Reserved
                                              13.0   Tables and Figures
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                                                                                                          TABLE A13—1—SPIKE DATA SHEET
                                                                                                                                                                                                          ER05AP24.014</GPH>




                                              Facility Name:                                                                         Date:
                                                                                                                                                                           I Time:
                                              Unit(s) Tested:                                                                        Personnel:
                                              Analyzer Make and Mode                                                                                                       I
                                                                                                                                                                                                          ER05AP24.013</GPH>




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                                                                                                 TABLE A13—1—SPIKE DATA SHEET—Continued
                                              Serial Number
                                              Calibration Span

                                                                                                                                     MCnative                           Actual value (ppb)
                                                         Qprobe                     Qspike                                                                                                          DSE
                                                                                                     DF 1
                                                         (lpm)                      (lpm)                               Pre            Post            Avg.           Cspike 2     MCspike 3       (ppbv)




                                                                                                                                                                                    Average
                                                                                                                                                                                    SD
                                                 1 DF must be less than or equal to 10%.
                                                 2C
                                                    spike = Actual EtO concentration of the spike gas, ppbv.
                                                 3 MC
                                                      spike = Measured EtO concentration of the spiked sample at the target level, ppbv.




                                              PS–19 Appendix B Preparation and                        An alternative approach is needed to                    Gaseous Standards, May 2012 (EPA 600/R–
                                              Certification of Ethylene Oxide Gas                     establish a gas standard functionally                   12/531). Users of this appendix PS–19B for
                                              Standards                                               equivalent to the EPA Protocol gas standard             the preparation of GMPS and GMACS must
                                                                                                      when NIST or NMI reference gas standard are             be proficient with the preparation protocol
                                              1.0 Scope and Application                               not available. This appendix PS–19B is                  cylinders using this standard.
                                                1.1 This appendix (appendix PS–19B) to                intended to provide procedures and                         Note: This appendix PS–19B does not
                                              Performance Specification 19 (PS–19)                    performance criteria for the establishment of           require the user to participate in any protocol
                                              describes the procedure and performance                 Gas Manufacturer Alternative Certified                  gas verification program.
                                              criteria for the preparation and certification          Standards (GMACS), the functional                          2.4 Any alternatives to the procedures in
                                              of EtO Gas Manufacturer Primary Standards               equivalent of EPA Protocol gas standards.               this appendix PS–19B are subject to
                                              (GMPS) and Gas Manufacturer Alternative                 GMACS and Gas Manufacturer Primary                      Administrator review under the alternative
                                              Certified Standards (GMACS). These                      Standards (GMPS), the functional equivalent             test method the authority to approve
                                              procedures are not specific to ethylene oxide           of the NIST or NMI reference gas standards.             alternatives or changes to test methods
                                              and could be transferable to the preparation            The GMPS are the reference gases used to                specified in the General Provisions to 40 CFR
                                              of gas standards for other pollutants                   establish the certified concentrations of the           parts 60, 61, and 63 (§§ 60.8(b)(2),
                                              regulated under 40 CFR parts 59, 60, 61, 63,            GMACs. The GMPS are established using a                 61.13(h)(1)(ii), and 63.7(e)(2)(ii)). Requests
                                              and 65.                                                 dual certification approach where the                   for alternative to the procedures must be
                                                                                                      gravimetrically prepared reference value is             submitted to the agency according to
                                              2.0 Summary of the Appendix                             confirmed using an independent                          Guideline Document 22 (https://
                                                EPA requires the use of EPA Protocol gas              measurement approach traceable to the                   www.epa.gov/system/files/documents/2022-
                                              standards for emissions monitoring. These               International System of Units (SI) and                  09/gd-022r5.pdf).
                                              gases are established following the EPA                 references materials or devices.
                                              Traceability Protocol for Assay and                       2.1 This appendix PS–19B is intended to               3.0 Definitions
                                              Certification of Gaseous Standards, May 2012            be performance-based and allow specialty gas              3.1 Certification means a set of
                                              (EPA 600/R–12/531) otherwise referred in                manufacturers (SGM) flexibility in the                  procedures and performance criteria used by
                                              this appendix PS–19B as the EPA                         preparation and certification of GMPS and               a SGM to prepare and certify a GMPS and/
                                              Traceability Protocol. The EPA Traceability             GMACS.                                                  or GMACS for commercial sale.
                                              Protocol requires the use of certified                    2.2 This appendix PS–19B is not                         3.2 Certified Reference Material or CRM
                                              reference gas standards directly traceable to           intended to be a replacement for the EPA                means a material that has been certified or
                                              National Institute of Standards and                     Protocol gases established according to the             verified by either NIST or other NMI (e.g.,
                                              Technology (NIST) or other recognized                   EPA Traceability Protocol when calibration              VSL, NPL) and may be used for traceability
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                                              national metrology institute (NMI) reference            gases that meet EPA Traceability Protocol               purposes.
                                              gas standards. A NIST certified value is a              requirements are available. When NIST or                  3.3 Dual Method Certification means a
                                              value for which NIST has the highest                    other recognized NMI reference gas standards            process in which the gravimetric value is
                                              confidence in that all known or suspected               are manufactured and readily available, those           independently confirmed by a measured
                                              sources of bias and imprecision have been               gases must be used.                                     value.
                                              accounted for. Without NIST or other NMI                  2.3 This appendix PS–19B is reliant on                  3.4 EPA Protocol Gas means a calibration
                                              reference gas standards, the necessary EPA              the procedures included the EPA Traceability            or reference gas required for emissions
                                              Protocol gas standards cannot be prepared.              Protocol for Assay and Certification of                 monitoring directly traceable to NIST or



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                                              other accepted NMI reference gas standards,             (kelvin), luminous intensity (candela), and              The procedures for the gravimetric
                                              prepared following the EPA Traceability                 mass (kilogram).                                      preparation, stability evaluation, and
                                              Protocol                                                   3.18 Standard Reference Material or SRM            independent verification of GMPS must meet
                                                 3.5 EPA Traceable Protocol for Assay                 means a material or substance issued by               the criteria in this section following the
                                              and Calibration Gas Standards or commonly               NIST that meets NIST-specific certification           procedures in 8.1(a) through (g).
                                              referred to as the ‘‘EPA Traceability                   criteria and is issues with that with a                  (a) Raw Materials
                                              Protocol’’ means the document The protocol              certificate or certificate of analysis that              (b) GMPS Cylinder Preparation/Creation
                                              allows producers of these standards, users of           reports the results of its characterizations and         (c) GMPS Cylinder Independent
                                              gaseous standards, and other analytical                 provides information regarding the                    Verification
                                              laboratories to establish traceability of EPA           appropriate use(s) of the material.                      (d) GMPS Cylinder Certification
                                              Protocol Gases to gaseous reference standards              3.19 Uncertainty means the expression of              (e) GMPS Cylinder Stability
                                              produced by the National Institute of                   the statistical dispersion of the values                 (f) GMPS Cylinder Expiration Period
                                              Standards and Technology (NIST).                        attributed to a measured quantity. For the               (g) GMPS Documentation
                                                 3.6 Gas Calibration Cylinder means a                 purpose of this appendix, uncertainty is                 8.1.1 Raw Materials. Raw materials used
                                              refillable cylinder that meets the applicable           calculated using the root sum square of all           in the production of GMPS must be of high
                                              DOT/TC specifications for high pressure                 uncertainty budget items associated with              quality (e.g., 99+% purity recommended).
                                              cylinders. The cylinders shall be                       each procedure at k=2 (i.e., approximately 95         Additionally, because raw material purity is
                                              permanently stamped with a unique value.                confidence).                                          the largest component of uncertainty in gas
                                                 3.7 Gas Manufacturer Alternative                        3.20 VSL means Van Swinden National                gravimetry, SGMs must substantiate the
                                              Certified Standards or GMACS means a gas                Lab, located in Delft, Netherlands.                   purity of the raw material prior to use, either
                                              that has been prepared according to this                4.0   Interferences—Reserved                          via (1) a validated certificate of analysis for
                                              procedure and serves as a functional                                                                          the actual lot number purchased provided by
                                              substitute for an EPA Protocol Gas where                5.0 Safety                                            the raw material vendor, or (2) a purity assay
                                              EPA Protocol gases are not available.                     The procedures required under this                  conducted by the SGM on the actual raw
                                                 3.8 Gas Manufacturer Intermediate                    appendix may involve hazardous materials,             material to be used. The uncertainty of the
                                              Standard means a gas reference standard                 operations, and equipment. This procedure             raw material (Ur) assay must be included as
                                              made by a gas supplier and certified                    may not address all of the safety problems            one of the components of the total combined
                                              according to the U.S. EPA protocol rules for            associated with these procedures. You as the          uncertainty for the mixture.
                                              GMISs. For the purpose of this Appendix,                facility or operator must establish                      8.1.2 GMPS Gravimetric Cylinder
                                              GMISs may be assayed against a GMPS.                    appropriate safety and health practices and           Preparation/Creation. The GMPS standards
                                                 3.9 Gas Manufacturer Primary Standards               determine the applicable regulatory                   shall be based on a gravimetric preparation.
                                              or GMPS means a reference gas standard                  limitations prior to performing these                 The gravimetric preparation shall yield an
                                              prepared and certified by the SGM that                  procedures. You should consult instrument             expected concentration for the target
                                              serves as a functional substitute for the               operation manuals, material safety data               component, and with the required statistical
                                              reference gas standards established by, but             sheets, compressed gas safety requirements,           controls in place to calculate the uncertainty
                                              not yet available from NIST or other accepted           and other Occupational Safety and Health              of that concentration.
                                              NMI and required by the EPA Traceability                Administration regulations for specific                  8.1.2.1 The scale used to generate the
                                              Protocol to produce EPA Protocol gases.                 precautions to be taken.                              gravimetric reference standard must be
                                                 3.10 Gravimetry means the quantitative                                                                     independently calibrated over the range of
                                              measurement of an analyte by weight.                    6.0 Equipment and Supplies                            target masses with ASTM E617–13 Class-1
                                                 3.11 NIST means the National Institute                 This procedure is not prescriptive on the           weights on no less than a yearly basis. For
                                              of Standards and Technology, located in                 type of equipment or the supplies necessary           such certifications, a high accuracy mass
                                              Gaithersburg, Maryland.                                 for the preparation of GMPS and GMACS                 comparator (electronic or pendulum-type
                                                 3.12 NIST Traceable Reference Material               gaseous cylinder standards, however SGM               scale) is employed as the ‘‘scale.’’ The
                                              or NTRM means is a reference material                   must use the appropriate equipment and                resolution of the scale should be sufficient to
                                              produced by a commercial supplier with a                supplies necessary to meet the uncertainty            be able to calculate the overall uncertainty of
                                              well-defined traceability linkage to NIST and           requirements in this appendix.                        any concentration derived from these steps.
                                              named by NIST procedures, on a batch rather             7.0   Reagents and Standards—Reserved                    8.1.2.1.1 The scale used for the
                                              than individual basis. This linkage is                                                                        gravimetric operation must be independently
                                              established via criteria and protocols defined          8.0 Procedures.                                       calibrated and traceable to NIST standards
                                              by NIST that are tailored to meet the needs               The exact procedures used will depend on            with a defined uncertainty (ut).
                                              of the metrological community to be served.             the gas manufacturer and the physical                    8.1.2.1.2 The scale calibration must be
                                                 3.13 Primary Reference Materials or PRM              characteristics of the compound being                 checked before the start of each new
                                              means a mixture composition is verified                 prepared as a gaseous calibration standard.           weighing operation (i.e., the day of) with a
                                              against VSL’s own primary standard gas                  Any procedure is deemed appropriate so long           weight in the appropriate range that also
                                              mixtures to confirm the assigned value.                 as the criteria in section 8.1 for GMPS and           meets ASTM E617–13 Class-1 requirements.
                                                 3.14 Protocol Gas means a calibration or             section 8.2 for GMACS are met.                           8.1.2.1.3 All material and equipment
                                              reference gas required for emissions                      8.1 Preparation and Certification of the            associated with the gravimetric analysis shall
                                              monitoring traceable to NIST or other                   GMPS.                                                 have or apply a procedure to estimate the
                                              accepted NMI, prepared following the EPA                  The GMPS certified value is established             uncertainty of the measurement, including
                                              Traceability Protocol.                                  using the dual certification approach. A              but not limited to the balance(s) used (uca)
                                                 3.15 Research Gas Mixture or RGMs                    candidate GMPS cylinder is prepared                   standard weight (uw).
                                              means a reference material produced by a                gravimetrically, and its established reference           8.1.2.1.4 The assay purity and associated
                                              commercial supplier certified by NIST on an             value is confirmed by an independent                  material uncertainty (ur) of the assay for each
                                              individual basis, often using non routine               measurement traceable to SI units as well as          component raw material and the balance gas
                                              procedures, are called Research Gas Mixtures            other appropriate reference materials. The            must be known. This purity deviation is
                                              (RGMs), and may be used for traceability                level of agreement between the gravimetric            factored into the uncertainty of the mass of
                                              purposes.                                               reference value and the SI-based independent          each material blended into the mixture.
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                                                 3.16 Specialty Gas Manufacturer or SGM               measurements along with the average value                8.1.2.1.5 The procedures below are
                                              means an organization that prepares and                 and associated, combined, expanded                    minimum requirements and do not speak to
                                              certified gas calibration gas mixtures.                 uncertainties serve to establish the certified        all of the details an SRM would do to ensure
                                                 3.17 International System of Units or SI             reference value. If high purity reference             the preparation of a high-accuracy
                                              means the standards for international                   material is not readily available for a               gravimetric candidate GMPS, (e.g., controls
                                              measurement and are comprised of length                 gravimetric preparation, a user may petition          for external factors that would influence
                                              (meter), time (second), amount of substance             the Administrator for an alternative method           scale reading accuracy buoyancy effects,
                                              (mole), electric current (ampere), temperature          for preparation of a GMPS.                            moisture/dust adsorption on the cylinder



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                                              surface, and errors caused by the location of           gravimetrically prepared GMPS candidate.                (b) Any propagated uncertainties through
                                              the cylinder on the scale). The SGM should              The independent verification must be based            serial dilutions;
                                              develop and follow and internal standard                on a measurement approach traceable to the              (c) The errors in volumetric sampling of
                                              operation procedures (SOP) for the                      SI and may include the use of intrinsic NIST          the candidate GMPS mixture;
                                              preparation of the candidate GMPS.                      or accepted NMI reference materials to                  (d) The uncertainty of the instrument
                                                 8.1.2.1.6 Record the Target cylinder                 establish said traceability. Candidate                calibration curve (least squares fit and
                                              identification number, blend date, and                  independent verification measurement                  residual);
                                              balance gas on the appropriate form (see                approaches include classical chemistry,                 (e) The bias or error associated with any
                                              figure B–1). Additionally, record the                   spectroscopic approaches, as well as other            measurement interferences;
                                              intended component(s) to be used in the                 instrumental approaches as long as adequate             (f) The repeatability of replicate aliquot
                                              preparation for this candidate GMPS,                    and appropriate SI traceability can be                injections from the same sample;
                                              identifying the standard type, material name            incorporated. The approach must be
                                              (e.g., Ethylene Oxide), MW (g/mol), and                                                                         (g) The repeatability of replicate samples of
                                                                                                      performed using NIST (or equivalent)                  the mixture;
                                              purity (wt%).                                           traceable calibrations materials and using
                                                 8.1.2.1.7 Add the components to the                                                                          (h) Any external factors influencing
                                                                                                      procedures that would allow the user to               sampling or instrument accuracy;
                                              candidate GMPS, recording the weight of                 determine the overall uncertainty of the
                                              each component added.                                                                                           (i) The uncertainty of measured volumetric
                                                                                                      measurement. In some instances, a                     gas flows;
                                                 8.1.2.1.8 GMPS Gravimetric Uncertainty.              component may not be suitable to analysis
                                              Calculate and document the gravimetric                                                                          (j) The bias or uncertainty associated with
                                                                                                      using a classical approach, in those instances
                                              concentration (GMPS–Cg) for each                                                                              quantitative gas flow delivery;
                                                                                                      alternative approaches may be used do long
                                              component of the candidate GMPS. You must                                                                       (k) The error associated with instrumental
                                                                                                      as they (1) yield a concentration for the target
                                              also document the combined uncertainty,                                                                       measurement analyzers;
                                                                                                      com, (2) have a calculated uncertainty, (3)
                                              expressed as the root sum of the uncertainty                                                                    (l) Replicate measurement instrument error
                                                                                                      have traceability to the SI, and (4)
                                              budget items identified, for the candidate                                                                    and precision.
                                              GMPS value (GMPS–Cgu). Gravimetric                      documented conformity to the general
                                                                                                      metrological principles for primary methods             8.1.4 GMPS Certification. The candidate
                                              preparation uncertainty budget items                                                                          GMPS certified value is based on three
                                              include:                                                outlined above.
                                                                                                         8.1.3.1 GMPS Independent Verification              factors:
                                                 (a) The purity of the raw material and the                                                                   (a) The relative agreement between the
                                              balance gas;                                            Measurement Uncertainty. The cumulative
                                                                                                      uncertainty of the GMPS independent                   gravimetric reference value and the
                                                 (b) The measured accuracy of the                                                                           independent, measured value of the
                                              (electronic) balance including consideration            verification measurement approach is
                                                                                                      integral to the ability to assess the overall         gravimetrically-prepared GMPS candidate;
                                              the uncertainty of the calibration weights, the                                                                 (b) The combined, expanded uncertainty
                                              calibration uncertainty, and its linearity;             quality of the independent verification
                                                                                                      measurement. You must also document the               (k=2) of the gravimetric value and
                                                 (c) The repeatability of the balance
                                                                                                      combined uncertainty, expressed as the root           independently measured concentrations
                                              readings including errors caused by the
                                              location of the cylinder on the balance;                sum of the uncertainty budget items                   values;
                                                 (d) Balance Buoyancy effects;                        identified. Ensure that all known or                    (c) The average of the independently
                                                 (e) Effects of moisture adsorption and dust          suspected sources of bias and imprecision             measured concentrations values.
                                              on the outer surface of the cylinder;                   have been accounted for. The following                  8.1.4.1 GMPS Relative Agreement.
                                                 (f) Cylinder dilutions, if any, used to              elements are examples of sources of                   Calculate the relative agreement according to
                                              prepare target concentrations, including                measurement error that must be included in            equation B–1, expressed as Relative Percent
                                              propagated uncertainties.                               the overall uncertainty calculation for the           Difference (RPD) between the gravimetric
                                                 8.1.3 GMPS Independent Verification.                 GMPS independent verification                         concentration (GMPS–Cg) the independently
                                              The certification of the candidate GMPS is              measurement:                                          measured concentrations (GMPS–Ca). The
                                              based on independent measurements                          (a) The uncertainty of the certified               results of these two analyses must agree
                                              verifying the reference concentration of the            reference solution (the traceability source);         within 4.0 percent (%).



                                                                                                                                                                      Eq.Bl


                                                8.1.4.2 GMPS Combined, Expanded                       Cua) according to equation B–2. Establish the         ≤5.0 percent (%). If these objectives are not
                                              Uncertainty. Determine the individual                   GMPS combined, expanded uncertainty                   met, the candidate GMPS is not acceptable,
                                              uncertainties for the gravimetric approach              (GMPS–Cuc) as the root sum of the two                 and must not be used.
                                              (GMPS–Cug) and the independent                          individual uncertainties with a coverage
                                              measurement verification approach (GMPS–                factor k=2. The combined uncertainty must



                                                                        GMPS-C.a or GMPS-C. =Jut+ u~ + ... + u~                                                           Eq.B2

                                                8.1.4.3 GMPS Certified Concentration                    8.1.4.4 An SGMs may propose to                      the GMPS to assure that the mixture stays
                                              Value. If the GMPS meets the Relative                   Administrator an alternative acceptance               within claimed accuracy bounds for the
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                                              Agreement criteria in section 8.1.5.3 and the           values for section 8.1.5.1 or 8.1.5.2 for those       entire claimed expiration period.
                                              combined, expanded uncertainty criteria in              components that are unable to meet the                Alternatively, once a preparation process has
                                                                                                                                                                                                              ER05AP24.021</GPH>




                                              section 8.1.5.4, the GMPS is valid. The GMPS            documented criteria. These proposals must             been developed, the SGM can perform a
                                              certified value (GMPS–CC) is based on the               include sufficient documentation that the             stability study consisting not less than three
                                              independently measurement concentration                 objectives are unreasonable for a given               cylinders prepared using the defined process
                                              (GMPS–Ca). The certification date is the date           component and concentrations.                         and at the concentration(s) defined by the
                                                                                                        8.1.5 GMPS Stability Testing. The SGM               process. Once the stability study cylinders
                                              of the last confirmatory measurement.
                                                                                                                                                                                                              ER05AP24.020</GPH>




                                                                                                      must test and document mixture stability of           have demonstrated acceptable stability for



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                                              the minimum expiration period (6-months),               material, balance, and environmental effects.         Standards (GMIS) can be prepared by direct
                                              additional GMPS cylinders can be prepared               You must include sufficient information that          comparison to a GMPS that has been
                                              under identical process conditions.                     will allow a 3rd party to recalculate the             prepared and certified according to section
                                                 8.1.5.1 The SGM may select the sampling              prepared concentration and expanded                   2.1.3.1 and 2.2 of the EPA Traceability
                                              frequency based on the targeted expiration              uncertainties.                                        Protocol. The tagged value of the GMACS
                                              period, the gas consumed in the analysis and              8.1.7.2 The following information for the           must be based on the EPA Traceability
                                              expected component behavior. Stability                  analytical verification of the GMPS must be           Protocol measured value as long as the
                                              testing data must consist of at least:                  recorded and maintained as a record. This             performance criteria in sections 12.1 and 12.2
                                                 (a) Five discrete samplings of the retained          record should include the confirming                  are met.
                                              mixture for an expiration period of 6-months            methodology and any associated SOPs,                     8.2.3 GMACS Stability Testing. The SGM
                                              to 1-year;                                              confirming concentration(s), instrumentation          must test and document the stability of the
                                                 (b) Ten discrete samplings for an                    used, calibration standards used and                  GMACS to assure that the mixture stays
                                              expiration period of 1–3 years; and                     associated COAs, calibration curve data,              within claimed certified bounds for the entire
                                                 (c) Twenty for any period greater than 3             replicate analysis calculated, and expanded           claimed expiration period. Use the
                                              years.                                                  uncertainties.                                        procedures in section 8.1.6 to assess stability.
                                                 8.1.5.2 Stability testing must be                      8.1.7.3 The following information must              The GMACS must also meet the requirements
                                              conducted for each cylinder size/type and at            be documented for inclusion on the COA for            in section 2.1.5.2 of the EPA Traceability
                                              a similar concentration as the candidate                the GMACS.                                            Protocol.
                                              GMPS. Stability analyses must be performed                (a) Manufacturer’s company name and                    8.2.4 GMACS Expiration Date. The
                                              using methods that assure consistent results            address of the producing location                     certification period of the GMACS shall be
                                              can be achieved. If instrumental analysis                 (b) Manufacturer’s part number for the              based on the documented stability tests of the
                                              using a gas standard is employed, use of a              GMPS, lot number, and/or production record.           GMPS in section 8.1.6. The expiration date
                                              GMPS standard is highly recommended. In                   (c) Cylinder number, cylinder type,                 shall be based on the certification date, plus
                                              the absence of a certified GMPS, stability              cylinder preparation ID, moisture dew point           the certification period plus one day. There
                                              testing must be conducted using the same                and cylinder pressure.                                is not a maximum period of expiration;
                                              independent verification measurement                      (d) Certification date and claimed                  however, expiration periods must not be less
                                              procedures and methodology used in section              expiration date.                                      than six months.
                                              8.1.4, or using another known-to-be-stable                (e) GMPS component(s) name, final                      8.2.5 GMACS Documentation You must
                                              gas standard containing the target component            certified concentration(s) (GMPS–Cc), and             document and maintain the same
                                              in a similar concentration range.                       balance gas.                                          information required for the analytical
                                                 8.1.5.3 Stability testing data must not                (f) Gravimetric value and uncertainty               verification of the GMPS, as found in section
                                                                                                                                                            8.1.8 for GMACS, as a record. The records of
                                              show any upward or downward trends that                   (g)Verification value and uncertainty
                                                                                                                                                            the preparation and certification must be
                                              would cause the mixture to become out of                  (h) GMPS final certified value and
                                                                                                                                                            made available upon request by the
                                              specification prior to the claimed expiration           uncertainty absolute as a percentage (GMPS–
                                                                                                                                                            appropriate delegated authority.
                                              period.                                                 Cu)
                                                                                                                                                               8.2.6 GMACS Certificate of Analysis
                                                 8.1.6 GMPS Expiration Period. The                      8.2 Preparation and Certification of the            (COA). You must provide comprehensive
                                              expiration period for the GMPS mixture                  GMACS. The preparation and certification of           documentation of the GMPS and GMACS
                                              based must be based on the empirical                    the candidate GMACS is also based on the              development process in the form of a
                                              stability test data. The expiration periods for         independent verification of the                       GMACS Certificate of Analysis (COA) that
                                              reactive gases must not exceed the length of            gravimetrically prepared reference value.             accompanies each commercially distributed
                                              the stability test, however for non-reactive            However, the independent verification                 GMACS. As a minimum, the COA must
                                              gases you may forecast an expiration period             utilizes the GMPS to perform the                      contain the following information:
                                              not to exceed two times the actual stability            independent verification. This is                        (a) Identification of the gas as a Gas
                                              testing duration. The maximum expiration                accomplished by following the procedures in           Manufacturer Alternative Certified Standard;
                                              period for a GMPS is time span from the date            section 2.1 and 2.2 of the EPA Traceability              (b) The cylinder number;
                                              of preparation to the date of the last/most             Protocol, using the GMPS as the certified                (c) The certified concentration of the
                                              recent stability study may not be less than 6-          reference material. The measured value of the         GMACS;
                                              months. Provided that acceptable stability is           independent verification following the EPA               (d) The combined expanded uncertainty
                                              observed, the maximum expiration period                 Traceability Protocol procedures also                 (k=2) of the GMACS reference value (both
                                              may be extended by retaining the stability              establishes the certified reference value,            absolute and relative);
                                              study cylinders and performing additional               providing the relative agreement performance             (e) The expiration date;
                                              analyses.                                               criteria are met.                                        (f) The reference materials or standards
                                                 8.1.7 GMPS Documentation. You must                     8.2.1 GMACS Gravimetric Cylinder                    used (i.e., GMPS and GMIS);
                                              document the preparation of the GMPS                    Preparation/Creation. The gravimetric                    (g) The same information (cylinder
                                              through the appropriate record keeping and              preparation of the GMACS is identical to the          number, certified concentration,
                                              document the certification of a GMPS. The               procedures used to gravimetrically prepare            uncertainties, expiration dates, etc. for these
                                              information is section 8.1.8.1 and 8.1.8.2              the GMPS. You must maintain the same                  cylinders);
                                              must be maintained as a record by the SGM               information required for the gravimetric                 (h) The gravimetric and independent
                                              for the purpose of maintaining traceability             preparation of GMPS, as found in section              measured verification reference
                                              and to verify the preparation. The                      8.1.8.1 for GMACS, as a record.                       concentration values and associated
                                              information in section 8.1.8.3 must be                    8.2.2 GMACS Independent Verification                uncertainties for each GMPS used;
                                              documented and maintained by the SGM.                   and Certification. The candidate GMACS                   (i) Associated measurement principles and
                                              This documentation and the records of the               independent verification of the                       uncertainties;
                                              preparation and certification must be made              gravimetrically prepared reference value is              (j) Any additional information stipulated
                                              available upon request by the appropriate               contingent on the SGM following the                   by the EPA Traceability Protocol;
                                              delegated authority.                                    procedures in sections 2.1 and 2.2 of the EPA            (k) Any comments/special instructions.
                                                 8.1.7.1 The following information for the            Traceability Protocol. In addition, the EtO              The SGM GMACS provider is encouraged
                                              gravimetric preparation information of the              candidate GMACS certified reference value             to include additional relevant information to
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                                              GMPS must be documented and maintained                  and associated expanded uncertainty is based          the COA, as appropriate. An example
                                              as a record. This record should include but             on the EPA Traceability Protocol measured             GMACS COA can be found in section 14 of
                                              is not limited to the: blend date, gravimetric          value. This is contingent upon the                    this appendix.
                                              concentration, gravimetric concentration                gravimetric and measured values meeting the           9.0      Quality Control—Reserved
                                              uncertainties as a percentage and absolute,             relative agreement performance criteria
                                              reference material information and purity,              established in section 8.1.5.3 and the                10.0 Calibration and Standardization
                                              scale ID, scale accuracy, and calculated                uncertainty criteria established in section             There is a myriad of instrumental and
                                              gravimetric uncertainties associated with               8.1.5.4. Gas Manufacturers Intermediate               mechanical techniques used in the



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                                              performance of this Appendix B. When                          12.2 GMACS/GMPS Uncertainty. Final                           2. EPA Alternative Method 114, Approval
                                              reference methods are used, you must follow                 certification of the GMPS and GMACS                         of Alternative Method for preparation of HCl
                                              the calibration requirements of those                       reference concentrations must meet the                      Gas Standards for PS–18 and Procedure 6,
                                              methods and as defined in this appendix. For                combined expanded uncertainty (k=2) of ≤5.0                 February 22, 2016, https://www.epa.gov/
                                              all other approaches, it is recommended to                  percent (%).                                                sites/default/files/2020-08/documents/
                                              develop internal SOPs and develop.                          13.0     Pollution Prevention—Reserved                      alt114.pdf.
                                                                                                                                                                         3. Evaluation of Measurement Data—Guide
                                              11.0 Calculations and Data Analysis—                        14.0     Waste Management—Reserved                          to the Expression of Uncertainty in
                                              Reserved
                                                                                                          15.0     Bibliography                                       Measurement, JCGM 100:2008, https://
                                              12.0   Method Performance                                                                                               www.bipm.org/documents/20126/2071204/
                                                                                                            1. EPA Traceability Protocol for Assay and
                                                12.1 GMPS/GMACS Relative Agreement.                                                                                   JCGM_100_2008_E.pdf/cb0ef43f-baa5-11cf-
                                                                                                          Certification of Gaseous Calibration
                                              As part of the certification/verification                                                                               3f85-4dcd86f77bd6.
                                                                                                          Standards, Office of Research and
                                              procedures for the candidate GMPS and                       Development, National Risk Management                       16.0     Tables and Figures
                                              GMACS, the relative agreement between the                   Research Laboratory, May 2012, EPA 600/R–
                                              gravimetrically prepared reference value and                12/531. https://www.epa.gov/air-research/                   Figure B–1 Example Gravimetric
                                              the independently measured verification                     epa-traceability-protocol-assay-and-                        Preparation Sheet for GMPS and GMACS
                                              value must agree within 4.0 percent (%).                    certification-gaseous-calibration-standards.                BILLING CODE 6560–50–P



                                                               General Information
                                                                                                                                                                         I :z.tbnber



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                                                               Component Parameters
                                                                                                                      Compon•tt             Compon•tt       CompoMnt         Compon•tt    Component
                                                                                                                             1                  2                3               4             5

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                                                                Dlludon Standard or Pin Cylinder
                                                                tbnber
                                                                lottbnber
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                                                                or Punt Weitdlt 5         : .. - ••
                                                                Dlludon Standard WelptAmnc:J,
                                                                relati!Nlor+/-wallltlt.9'           • iwt96)
                                                                DlludonStandlrd or Pin w__....,.1
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                                                                Scale c.nadtv Selection {I!}
                                                                Scafe Calibralion I
                                                                Scale"-~ •U.llrJ
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                                                                Total
                                                                                         ..
                                                                Additional          •
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                                                               Dilution standard or cross Contaminant Additions

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                                              Figure B–2       Apparatus for the assay of the
                                              GMACs

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                                                                                                                    Gas
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                                              Figure B–3       Examples COA




                                                                 Example Certificate of Analysis (COA)              Ethylene Oxide Gas Manufacturer Alternative Certified standard

                                                                 Assay Laboratory                                                                       QaSP!Dff 1oformatioQ
                                                                 COmpany Name                                       Lot Number                          QlentName
                                                                 eompany Address                                                                        Client Address
                                                                 Qty. state. Zip Code                                                                   Qty, state, Zip Code


                                                                  ProductJnformation
                                                                 Composition                      Q!rtified Cone,           Uprtainty (absolute)                    VDamJntv (a:ltUYel
                                                                 Ethylene Oxide                   XJ00C ppm                           XJOCppm                             X.XX9'
                                                                 Nltro&en                         Balance


                                                                 Cylinder Number:                 XXlOOOOCXX                                     Certification Date:       x-xxx-xxxx
                                                                 Cylinder Type:                   xxxxxx                                         Prior Certification Date: X·XXX·XXXX
                                                                 Cylinder Pressure                xxxx                                           Expiration Date:          x-xxx-xxxx
                                                                 Mixture Dew Point                xxxx                                           Part Number:              xxxxxxxxxxxx
                                                                 O!rtifiqtion Data
                                                                 Gravimetric: Analysis
                                                                 Composition                      Metsvmd Cone,                       Vocerta!ntv (absolute)              Uncert,lnty keJative)
                                                                 Ethylene Oxide                   X.XXXppm                            XJOCppm                             X.XX9'

                                                                 confirmIn, Analysis
                                                                 Composition                      Mgsuntd Cone,                       VDamJotv (absolute)                 UnamJnty kelltlvel
                                                                 Ethylene Oxide                   XJOOCppm                            XJOCppm                             XJOC9'

                                                                 Instrument Modef/Anafytical PrincJPle
                                                                 X>0000000CJ)OOO

                                                                 Reference standard XXXXXXXXXXX
                                                                 Composition           Mnsvmd Cone,                                   UngmJnty (absolute}                 Ung!rtainty (reJative)
                                                                 Ethylene Oxide        XJOOCppm                                       X.XXppm                             X.XX'6




                                              BILLING CODE 6560–50–C                                     on a continuous basis as specified in an               acceptable CEMS operation and valid
                                              ■ 3. Appendix F to part 60 is amended                      applicable permit or regulation.                       emission data.
                                              by adding Procedure 7 to read as                             1.1.1 This procedure specifies the                      1.2 Principle
                                              follows:                                                   minimum QA requirements necessary for the                 1.2.1 The QA procedures consist of two
                                                                                                         control and assessment of the quality of               distinct and equally important functions.
                                              Appendix F to Part 60—Quality                              CEMS data submitted to the Environmental               One function is the assessment of the quality
                                              Assurance Procedures                                       Protection Agency (EPA) or a delegated                 of the CEMS data by estimating accuracy.
                                                                                                         authority. If you are responsible for one or           The other function is the control and
                                              *      *     *        *      *                             more CEMS used for EtO compliance                      improvement of the quality of the CEMS data
                                              Procedure 7. Quality Assurance                             monitoring you must meet these minimum
                                                                                                                                                                by implementing QC policies and corrective
                                              Requirements for Gaseous Ethylene Exide                    requirements and you are encouraged to
                                                                                                                                                                actions. These two functions form an
                                              (ETO) Continuous Emission Monitoring                       develop and implement a more extensive QA
                                                                                                                                                                iterative control loop. When the assessment
                                              Systems Used for Compliance Determination                  program or to continue such programs where
                                                                                                         they already exist.                                    function indicates that the data quality is
                                              1.0 Applicability and Principle                              1.1.2 Data collected as a result of QA and           inadequate, the control effort must be
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                                                 1.1 Applicability. Procedure 7 is used to               quality control (QC) measures required in              increased until the data quality is acceptable.
                                              evaluate the effectiveness of quality control              this procedure are to be submitted to the EPA          In order to provide uniformity in the
                                              (QC) and quality assurance (QA) procedures                 or the delegated authority in accordance with          assessment and reporting of data quality, this
                                              and to evaluate the quality of data produced               the applicable regulation or permit. These             procedure specifies the assessment
                                              by any ethylene oxide (EtO) gas, CAS: 75–21–               data are to be used by both the delegated              procedures to evaluate response drift and
                                              8, continuous emission monitoring system                   authority and you, as the CEMS operator, in            accuracy. The procedures specified are based
                                              (CEMS) that is used for determining                        assessing the effectiveness of the CEMS QC             on Performance Specification 19 (PS–19) in
                                                                                                                                                                                                                  ER05AP24.024</GPH>




                                              compliance with emission standards for EtO                 and QA procedures in the maintenance of                appendix B to this part.



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                                                 Note 1 to section 1.0: Because the control              4.1.1 CD Requirement. Consistent with              not apply to the extent that alternate terms
                                              and corrective action function encompasses a            § 60.13(d) and with § 63.8(c) of this chapter,        are otherwise specified in an applicable rule
                                              variety of policies, specifications, standards          you, as source owners or operators of CEMS            or permit.
                                              and corrective measures, this procedure                 must check, record, and quantify the CD at               4.1.5.1 Any time the average measured
                                              treats QC requirements in general terms to              two levels, using a zero gas and high-level           concentration of EtO exceeds 200 percent of
                                              allow you, as source owner or operator to               gas at least once daily (approximately every          the span value for two consecutive one-hour
                                              develop the most effective and efficient QC             24 hours). Perform the CD check in                    averages, conduct the following ’above span’
                                              system for your circumstances.                          accordance with the procedure in the                  CEMS response check.
                                                                                                      applicable performance specification (e.g.,              4.1.5.1.1 Within a period of 24 hours
                                              2.0   Definitions                                       section 11.3 of PS–19 in appendix B to this           (before or after) of the ’above span’ period,
                                                                                                      part). The daily zero- and high-level CD must         introduce a higher, ’above span’ EtO
                                                See PS–19 in appendix B to this part for
                                                                                                      not exceed two times the drift limits                 reference gas standard to the CEMS. Use
                                              the primary definitions used in this
                                                                                                      specified in the applicable performance               ’above span’ reference gas that meets the
                                              Procedure.
                                                                                                      specification (e.g., section 13.2 of PS–19 in         requirements of section 7.0 of PS–19 in
                                              3.0   QC Requirements                                   appendix B to this part.)                             appendix B to this part and target a
                                                3.1 You, as a source owner or operator,                  4.1.2 Recording Requirement for CD                 concentration level between 75 and 125
                                                                                                      Corrective action. Corrective actions taken to
                                              must develop and implement a QC program.                                                                      percent of the highest hourly concentration
                                                                                                      bring a CEMS back in control after exceeding
                                              At a minimum, each QC program must                                                                            measured during the period of measurements
                                                                                                      a CD limit must be recorded and reported
                                              include written procedures and/or                                                                             above span or 5 ppmv whichever is greater.
                                                                                                      with the associated CEMS data. Reporting of
                                              manufacturer’s information which should                                                                          4.1.5.1.2 Introduce the reference gas at
                                                                                                      a corrective action must include the
                                              describe in detail, complete, step-by-step                                                                    the probe for extractive CEMS.
                                                                                                      unadjusted concentration measured prior to
                                              procedures and operations for each of the               resetting the calibration and the adjusted               4.1.5.1.3 At no time may the ’above span’
                                              following activities:                                   value after resetting the calibration to bring        concentration exceed the analyzer full-scale
                                                (a) Calibration Drift (CD) checks of CEMS;            the CEMS back into control.                           range.
                                                (b) CD determination and adjustment of                   4.1.3 Dynamic Spiking Option for high-                4.1.5.2 Record and report the results of
                                              CEMS;                                                   level CD. You have the option to conduct a            this procedure as you would for a daily
                                                (c) Routine and preventative maintenance              daily dynamic spiking procedure found in              calibration. The ’above span’ response check
                                              of CEMS (including spare parts inventory);              section 11.5.8 of PS–19 of appendix B to this         is successful if the value measured by the
                                                (d) Data recording, calculations, and                 part in lieu of the daily high-level CD check.        CEMS is within 20 percent of the certified
                                              reporting;                                              If this option is selected, the daily zero CD         value of the reference gas.
                                                (e) Accuracy audit procedures for CEMS                check is still required.                                 4.1.5.3 If the ’above span’ response check
                                              including reference method(s); and                         4.1.4 Out of Control Criteria for Excessive        is conducted during the period when
                                                (f) Program of corrective action for                  CD. Consistent with § 63.8(c)(7)(i)(A) of this        measured emissions are above span and there
                                              malfunctioning CEMS.                                    chapter, an EtO CEMS is out of control if the         is a failure to collect at least one data point
                                                3.2 These written procedures must be                  zero or high-level CD exceeds two times the           in an hour due to the response check
                                              kept on site and available for inspection by            applicable CD specification in the applicable         duration, then determine the emissions
                                              the delegated authority. As described in                performance specification or in the relevant          average for that missed hour as the average
                                              section 5.4, whenever excessive inaccuracies            standard. When a CEMS is out of control, you          of hourly averages for the hour preceding the
                                              occur for two consecutive quarters, you must            as owner or operator of the affected source           missed hour and the hour following the
                                              revise the current written procedures, or               must take the necessary corrective actions            missed hour.
                                              modify or replace the CEMS to correct the               and repeat the tests that caused the system              4.1.5.4 In the event that the ’above span’
                                              deficiency causing the excessive                        to go out of control (in this case, the failed        response check is not successful (i.e., the
                                              inaccuracies.                                           CD check) until the applicable performance            CEMS measured value is not within 20
                                                                                                      requirements are met.                                 percent of the certified value of the reference
                                              4.0 Daily Data Quality Requirements and                    4.1.5 Additional Quality Assurance for             gas), then you must normalize the one-hour
                                              Measurement Standardization Procedures                  Data Above Span. This procedure must be               average stack gas values measured above the
                                                4.1 CD Assessment. An upscale gas, used               used when required by an applicable                   span during the 24-hour period preceding or
                                              to meet a requirement in this section must be           regulation and may be used when significant           following the ’above span’ response check for
                                              a gas meeting the requirements in section 7.1           data above span are being collected.                  reporting based on the CEMS response to the
                                              of PS–19 of appendix B to this part.                    Furthermore, the terms of this procedure do           reference gas as shown in Eq. 7–1:


                                                                                                                                                                                       Eq. 7-1

                                                         .                                          Certtfted reference gas11alue
                                                    Nom,alindstackgasresult=                               d ,-L-- f ,,:            z Measuredsta.ckgasresult
                                                                                                   Measure 11CIARf o n 1 erence gas

                                                 4.2 Out of Control Period Duration for               used in calculating compliance with an                closer than 2 months apart. Annual audits are
                                              Daily Assessments. The beginning of the out-            emissions limit nor be counted towards                performed at least once every four
                                              of-control period is the hour in which the              meeting minimum data availability as                  consecutive calendar quarters.
                                              owner or operator conducts a daily                      required and described in the applicable                 5.1 Concentration Accuracy Auditing
                                              performance check (e.g., calibration drift)             regulation or permit.                                 Requirements. Unless otherwise specified in
                                              that indicates an exceedance of the                                                                           an applicable regulation or permit, you must
                                              performance requirements established under              5.0   Data Accuracy Assessment                        audit the EtO measurement accuracy of each
khammond on DSKJM1Z7X2PROD with RULES2




                                              this procedure. The end of the out-of-control             You must audit your CEMS for the                    CEMS at least once each calendar quarter,
                                              period is the completion of daily assessment            accuracy of EtO measurement on a regular              except in the case where the affected facility
                                              of the same type following corrective actions,          basis at the frequency described in this              is off-line (does not operate). In that case, the
                                              which shows that the applicable performance             section, unless otherwise specified in an             audit must be performed as soon as is
                                              requirements have been met.                             applicable regulation or permit. Quarterly            practicable in the quarter in which the unit
                                                 4.3 CEMS Data Status During Out-of-                  audits are performed at least once each               recommences operation. Successive quarterly
                                              Control Period. During the period the CEMS              calendar quarter. Successive quarterly audits,        audits must, to the extent practicable, be
                                                                                                                                                                                                                ER05AP24.025</GPH>




                                              is out-of- control, the CEMS data may not be            to the extent practicable, shall occur no             performed no less than 2 months apart. The



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                                              accuracy audits shall be conducted as                      procedure as described in appendix A to PS–              5.2.4.3 For the RAA, the RA must not
                                              follows:                                                   19 of appendix B to this part. You must               exceed 20.0 percent of the RMavg as
                                                 5.1.1 Relative Accuracy Test Audit                      conduct three spike injections with each of           calculated using equation 7–2 in section 6.2
                                              (RATA). A RATA must be conducted at least                  two upscale level audit gases. The upscale            of this procedure whether calculated in units
                                              once every four calendar quarters, except as               level gases must meet the requirements of             of EtO concentration or in units of the
                                              otherwise noted in sections 5.1.5 or 5.5 of                section 7 of PS–19 in appendix B to this part         emission standard. In cases where the RA is
                                              this procedure. Perform the RATA as                        and must be chosen to yield concentrations            calculated on a concentration (ppbv) basis, if
                                              described in section 11.6 of PS–19 in                      at the analyzer of 50 to 60 percent of span           the average EtO concentration measured by
                                              appendix B to this part. If the EtO                        and 80 to 100 percent of span. Do not inject          the RM during the test is less than 75 percent
                                              concentration measured by the RM during a                  the same spike gas concentration twice in             of the EtO concentration equivalent to the
                                              RATA (in ppmv or other units of the                        succession.                                           applicable standard, you may substitute the
                                              standard) is less than or equal to 20 percent                 5.1.4.2 Calculate results as described in          equivalent emission standard value (in
                                              of the concentration equivalent to the                     section 6.4. To determine CEMS accuracy,              ppbw) in the denominator of equation 7–2 in
                                              applicable emission standard, you must                     you must calculate the dynamic spiking error          the place of RMavg and the result of this
                                              perform a Cylinder Gas Audit (CGA) or a                    (DSE) for each of the two upscale audit gases         alternative calculation of RA must not exceed
                                              Dynamic Spike Audit (DSA) for at least one                 using equation A5 in appendix A to PS–19              15.0 percent.
                                              subsequent (one of the following three)                    and equation 7–3 in section 6.4 of this                  5.2.4.4 For DSA, the accuracy must not
                                              quarterly accuracy audits.                                 Procedure.                                            exceed 5.0 percent of the span value at the
                                                 5.1.2 Quarterly Relative Accuracy Audit                    5.1.5 Other Alternative Quarterly Audits.          zero gas and the mid- and high-level
                                              (RAA). A quarterly RAA may be conducted                    Other alternative audit procedures, as                reference gas concentrations or 20.0 percent
                                              as an option to conducting a RATA in three                 approved by the Administrator, may be used            of the applicable emission standard,
                                              of four calendar quarters, but in no more than             for three of four calendar quarters.                  whichever is greater.
                                              three quarters in succession. To conduct an                   5.2 Out of Control Criteria for Excessive             5.3 Criteria for Acceptable QC
                                              RAA, follow the test procedures in section                 Audit Inaccuracy. If the results of the RATA,         Procedures. Repeated excessive inaccuracies
                                              11.6 of PS–19 in appendix B to this part,                  RAA, CGA, or DSA do not meet the                      (i.e., out-of-control conditions resulting from
                                              except that only three test runs are required.             applicable performance criteria in section            the quarterly or yearly audits) indicate that
                                              The difference between the mean of the RM                  5.2.4, the CEMS is out-of-control. If the             the QC procedures are inadequate or that the
                                              values and the mean of the CEMS responses                  CEMS is out-of-control, take necessary                CEMS is incapable of providing quality data.
                                              relative to the mean of the values (or                     corrective action to eliminate the problem.           Therefore, whenever excessive inaccuracies
                                              alternatively the emission standard) is used               Following corrective action, the CEMS must            occur for two consecutive quarters, you must
                                              to assess the accuracy of the CEMS. Calculate              pass a test of the same type that resulted in         revise the QC procedures (see section 3.0) or
                                              the RAA results as described in section 6.2.               the out-of-control period to determine if the         modify or replace the CEMS.
                                              As an alternative to an RAA, a cylinder gas                CEMS is operating within the specifications              5.4 Criteria for Optional QA Test
                                              audit or a dynamic spiking audit may be                    (e.g., a RATA must always follow an out-of-           Frequency. If all the quality criteria are met
                                              conducted.                                                 control period resulting from a RATA).                in sections 4 and 5 of this procedure, the
                                                 5.1.3 Cylinder Gas Audit. A quarterly                      5.2.1 If the audit results show the CEMS           CEMS is in-control.
                                              CGA may be conducted as an option to                       to be out-of-control, you must report both the           5.5.1 Unless otherwise specified in an
                                              conducting a RATA in three of four calendar                results of the audit showing the CEMS to be           applicable rule or permit, if the CEMS is in-
                                              quarters, but in no more than three                        out-of-control and the results of the audit           control and if your source emits ≤75 percent
                                              consecutive quarters. To perform a CGA,                    following corrective action showing the               of the EtO emission limit for each averaging
                                              challenge the CEMS with a zero-level and                   CEMS to be operating within specifications.           period as specified in the relevant standard
                                              two upscale level audit gases of known                        5.2.2 Out-Of-Control Period Duration for           for eight consecutive quarters that include a
                                              concentrations within the following ranges:                Excessive Audit Inaccuracy. The beginning of          minimum of two RATAs, you may revise
                                                    Audit point                   Audit range
                                                                                                         the out-of-control period is the time                 your auditing procedures to use CGA, RAA
                                                                                                         corresponding to the completion of the                or DSA each quarter for seven subsequent
                                              1 (Mid-Level) ...........   50 to 60% of span value.       sampling for the failed RATA, RAA, CGA or             quarters following a RATA.
                                              2 (High-Level) ..........   80 to 100% of span value.      DSA. The end of the out-of-control period is             5.5.2 You must perform at least one
                                                                                                         the time corresponding to the completion of           RATA that meets the acceptance criteria
                                                 5.1.3.1 Inject each of the three audit gases            the sampling of the subsequent successful             every 2 years.
                                              (zero and two upscale) three times each for                audit.                                                   5.5.3 If you fail a RATA, RAA, CGA, or
                                              a total of nine injections. Inject the gases so               5.2.3 CEMS Data Status During Out-Of-              DSA, then the audit schedule in section 5.2
                                              that the entire measurement system is                      Control Period. During the period the CEMS            must be followed until the audit results meet
                                              challenged. Do not inject the same gas                     is out-of- control, the CEMS data may not be          the criteria in section 5.3.4 to start
                                              concentration twice in succession.                         used in calculating emission compliance nor           requalifying for the optional QA test
                                                 5.1.3.2 Use EtO audit gases that meet the               be counted towards meeting minimum data               frequency in section 5.5.
                                              requirements of section 7 of PS–19 in                      availability as required and described in the
                                              appendix B to this part.                                   applicable regulation or permit.                      6.0 Calculations for CEMS Data Accuracy
                                                 5.2.3.3 Calculate results as described in                  5.2.4 Criteria for Excessive Quarterly and           6.1 RATA RA Calculation. Follow
                                              section 6.3.                                               Yearly Audit Inaccuracy. Unless specified             equations 9 through 14 in section 12 of PS–
                                                 5.1.4 Dynamic Spiking Audit. A quarterly                otherwise in the applicable regulation or             19 in appendix B to this part to calculate the
                                              DSA may be conducted as an option to                       permit, the criteria for excessive inaccuracy         RA for the RATA. The RATA must be
                                              conducting a RATA in three of four calendar                are:                                                  calculated either in units of the applicable
                                              quarters, but in no more than three quarters                  5.2.4.1 For the RATA, the CEMS must                emission standard or in concentration units
                                              in succession.                                             meet the RA specifications in section 13.4 of         (ppbv).
                                                 5.1.4.1 To conduct a DSA, you must                      PS–19 in appendix B to this part.                       6.2 RAA Accuracy Calculation. Use
                                              challenge the entire EtO CEMS with a zero                     5.2.4.2 For the CGA, the accuracy must             equation 7–2 to calculate the accuracy for the
                                              gas in accordance with the procedure in                    not exceed 10.0 percent of the span value at          RAA. The RA may be calculated in
                                              section 11.8 of PS–19 in appendix B of this                the zero gas and the mid- and high-level              concentration units (ppmv) or in the units of
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                                              part. You must also conduct the DS                         reference gas concentrations.                         the applicable emission standard.



                                                                                          _MNavs-R.Ma.x100                                                              Eq. 7-2
                                                                                       RA-            RM.v.
                                                                                                                                                                                                                 ER05AP24.026</GPH>




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                                              Where:                                                    6.3 CGA Accuracy Calculation. For each              To calculate the DSA accuracy for each
                                              RA = Accuracy of the CEMS (percent)                     gas concentration, determine the average of           upscale spike concentration, first calculate
                                              MNavg = Average measured CEMS response                  the three CEMS responses and subtract the             the DSE using equation A5 in appendix A of
                                                                                                      average response from the audit gas value.            PS–19 in appendix B to this part. Then use
                                                 during the audit in units of applicable
                                                                                                      For extractive CEMS, calculate the ME at              equation 7–3 to calculate the average DSA
                                                 standard or appropriate concentration.               each gas level using equation 3A in section           accuracy for each upscale spike
                                              RMavg = Average reference method value in               12.3 of PS–19 of appendix B to this part.             concentration. To calculate DSA accuracy at
                                                 units of applicable standard or                        6.4 DSA Accuracy Calculation. DSA                   the zero level, use equation 3A in section
                                                 appropriate concentration.                           accuracy is calculated as a percent of span.          12.3 of PS–19 in appendix B to this part.



                                                                                                        If('D~Btl]
                                                                              DSA Accuracy=                     3          x:100                                      Eq. 7-3

                                              7.0   Reporting Requirements                            the CEMS to be operating within                       Washington, DC, telephone: 202–566–
                                                At the reporting interval specified in the            specifications.                                       1744. For information on the availability
                                              applicable regulation or permit, report for             8.0 Bibliography                                      of this material at NARA, visit
                                              each CEMS the quarterly and annual                                                                            www.archives.gov/federal-register/cfr/
                                                                                                      1. EPA Traceability Protocol for Assay and
                                              accuracy audit results from section 6 and the                                                                 ibr-locations or email fr.inspection@
                                                                                                          Certification of Gaseous Calibration
                                              daily assessment results from section 4.                                                                      nara.gov. The material may be obtained
                                                                                                          Standards, U.S. Environmental
                                              Unless otherwise specified in the applicable
                                                                                                          Protection Agency office of Research and          from the sources in the following
                                              regulation or permit, include all data sheets,
                                                                                                          Development, EPA/600/R–12/531, May                paragraphs of this section.
                                              calculations, CEMS data records (i.e., charts,
                                                                                                          2012.
                                              records of CEMS responses), reference gas
                                                                                                      2. Method 205, ‘‘Verification of Gas Dilution
                                                                                                                                                            *      *    *     *      *
                                              certifications and reference method results                 Systems for Field Instrument                         (f) American Society of Mechanical
                                              necessary to confirm that the performance of                Calibrations,’’ 40 CFR part 51, appendix
                                              the CEMS met the performance
                                                                                                                                                            Engineers (ASME), Two Park Avenue,
                                                                                                          M.                                                New York, NY 10016–5990; phone:
                                              specifications.
                                                7.1 Unless otherwise specified in the                 9.0 [Reserved]                                        (800) 843–2763; email: CustomerCare@
                                              applicable regulations or permit, report the                                                                  asme.org; website: www.asme.org.
                                              daily assessments (CD and beam intensity)               PART 63—NATIONAL EMISSION                                (1) ANSI/ASME PTC 19.10–1981,
                                              and accuracy audit information at the                   STANDARDS FOR HAZARDOUS AIR                           Flue and Exhaust Gas Analyses [Part 10,
                                              interval for emissions reporting required               POLLUTANTS FOR SOURCE
                                              under the applicable regulations or permits.
                                                                                                                                                            Instruments and Apparatus], issued
                                                                                                      CATEGORIES                                            August 31, 1981; IBR approved for
                                                7.1.1 At a minimum, the daily
                                              assessments and accuracy audit information              ■ 4. The authority citation for part 63
                                                                                                                                                            §§ 63.309(k); 63.365(b); 63.457(k);
                                              reporting must contain the following                    continues to read as follows:                         63.772(e) and (h); 63.865(b); 63.997(e);
                                              information:                                                                                                  63.1282(d) and (g); 63.1625(b); table 5 to
                                                a. Company name and address.                            Authority: 42 U.S.C. 7401 et seq.                   subpart EEEE; §§ 63.3166(a); 63.3360(e);
                                                b. Identification and location of monitors                                                                  63.3545(a); 63.3555(a); 63.4166(a);
                                              in the CEMS.                                            Subpart A—General Provisions
                                                                                                                                                            63.4362(a); 63.4766(a); 63.4965(a);
                                                c. Manufacturer and model number of each
                                                                                                      ■ 5. Section 63.14 is amended by:                     63.5160(d); table 4 to subpart UUUU;
                                              monitor in the CEMS.
                                                d. Assessment of CEMS data accuracy and               ■ a. Revising paragraphs (a) and (f) and              table 3 to subpart YYYY; §§ 63.7822(b);
                                              date of assessment as determined by a RATA,             paragraph (i) introductory text;                      63.7824(e); 63.7825(b); 63.8000(d);
                                              RAA, CGA or DSA described in section 5                  ■ b. Redesignating paragraphs (i)(88)                 63.9307(c); 63.9323(a); 63.9621(b) and
                                              including:                                              through (119) as paragraphs (i)(89)                   (c); 63.11148(e); 63.11155(e);
                                                i. The RA for the RATA;                               through (120), and;                                   63.11162(f); 63.11163(g); 63.11410(j);
                                                ii. The accuracy for the CGA, RAA, or DSA;            ■ c. Adding new paragraph (i)(88) and                 63.11551(a); 63.11646(a); 63.11945;
                                                iii. The RM results, the reference gas                note 2 to paragraph (i).                              table 4 to subpart AAAAA; table 5 to
                                              certified values;                                         The revisions and additions read as                 subpart DDDDD; table 4 to subpart JJJJJ;
                                                iv. The CEMS responses;                               follows:
                                                v. The calculation results as defined in
                                                                                                                                                            table 4 to subpart KKKKK; table 4 to
                                              section 6; and                                          § 63.14    Incorporations by reference.               subpart SSSSS; tables 4 and 5 of subpart
                                                vi. Results from the performance audit                                                                      UUUUU; table 1 to subpart ZZZZZ; and
                                                                                                        (a) Certain material is incorporated by
                                              samples described in section 5 and the                                                                        table 4 to subpart JJJJJJ.
                                                                                                      reference into this part with the
                                              applicable RMs.                                                                                                  (2) [Reserved]
                                                e. Summary of all out-of-control periods              approval of the Director of the Federal
                                              including corrective actions taken when                 Register under 5 U.S.C. 552(a) and 1                  *      *    *     *      *
                                              CEMS was determined out-of-control, as                  CFR part 51. To enforce any edition                      (i) ASTM International, 100 Barr
                                              described in sections 4 and 5. 7.1.2 If the             other than that specified in this section,            Harbor Drive, P.O. Box CB700, West
                                              accuracy audit results show the CEMS to be              the EPA must publish a document in the                Conshohocken, Pennsylvania 19428–
                                              out-of-control, you must report both the audit          Federal Register and the material must
                                              results showing the CEMS to be out-of-                                                                        2959; phone: (800) 262–1373; website:
                                                                                                      be available to the public. All approved
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                                              control and the results of the audit following                                                                www.astm.org.
                                                                                                      incorporation by reference (IBR)
                                              corrective action showing the CEMS to be                                                                      *      *    *     *      *
                                                                                                      material is available for inspection at
                                              operating within specifications.
                                                7.1.2 If the accuracy audit results show              the EPA and at the National Archives                     (88) ASTM D6348–12 (Reapproved
                                              the CEMS to be out-of-control, you must                 and Records Administration (NARA).                    2020), Standard Test Method for
                                              report both the audit results showing the               Contact the EPA at: EPA Docket Center,                Determination of Gaseous Compounds
                                              CEMS to be out-of-control and the results of            Public Reading Room, EPA WJC West,                    by Extractive Direct Interface Fourier
                                                                                                                                                                                                           ER05AP24.027</GPH>




                                              the audit following corrective action showing           Room 3334, 1301 Constitution Ave. NW,                 Transform (FTIR) Spectroscopy,


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                                              Approved December 1, 2020; IBR                             (e) An SCV, ARV, or CEV is                         SCV becomes subject to a more stringent
                                              approved for § 63.365(b).                               reconstructed if you meet the                         emission standard, immediately upon
                                              *    *    *     *     *                                 reconstruction criteria as defined in                 becoming subject to the more stringent
                                                                                                      § 63.2, and if you commence                           emission standard.
                                                Note 2 to paragraph (i): Standards listed in
                                                                                                      reconstruction after April 13, 2023.                     (6) All existing SCVs at facilities that
                                              this paragraph (i) may also be available from
                                              standards resellers including the Standards                (f) This subpart does not apply to                 do not exceed 1 tpy of EtO use within
                                              Store, https://global.ihs.com.                          beehive fumigators.                                   any consecutive 12-month period after
                                                                                                         (g) This subpart does not apply to                 April 6, 2026, that increase their EtO
                                              *      *     *       *      *                           research or laboratory facilities as                  use thereafter, such that the SCV
                                              ■ 6. Subpart O is revised and                           defined in section 112(c)(7) of title III of          becomes subject to a more stringent
                                              republished to read as follows:                         the Clean Air Act Amendment of 1990.                  emission standard, immediately upon
                                                                                                         (h) This subpart does not apply to EtO             becoming subject to the more stringent
                                              Subpart O—Ethylene Oxide Emissions                      sterilization operations at stationary                emission standard.
                                              Standards for Sterilization Facilities                  sources such as hospitals, doctor’s                      (7) All new SCVs at facilities that
                                                                                                      offices, clinics, or other facilities whose           increase their EtO use over a year after
                                              Sec.
                                              63.360 Applicability.                                   primary purpose is to provide medical                 startup such that the SCV becomes
                                              63.361 Definitions.                                     or dental services to humans or animals.              subject to a more stringent emission
                                              63.362 Standards.                                          (i) If you are an owner or operator of             standard, immediately upon becoming
                                              63.363 Compliance and performance                       an area source subject to this subpart,               subject to the more stringent emission
                                                   provisions.                                        you are exempt from the obligation to                 standard.
                                              63.364 Monitoring requirements.                         obtain a permit under 40 CFR part 70 or                  (8) All existing ARVs at facilities that
                                              63.365 Test methods and procedures.                     71, provided you are not required to                  meet or exceed 10 tpy of EtO use within
                                              63.366 Reporting requirements.                                                                                any consecutive 12-month period after
                                              63.367 Recordkeeping requirements.
                                                                                                      obtain a permit under 40 CFR 70.3(a) or
                                              63.368 Implementation and enforcement.                  71.3(a) for a reason other than your                  April 7, 2025, that increase their EtO
                                              Table 1 to Subpart O of Part 63 Standards for           status as an area source under this                   use after April 6, 2026, such that the
                                                   SCVs                                               subpart. Notwithstanding the previous                 ARV becomes subject to a more
                                              Table 2 to Subpart O of Part 63 Standards for           sentence, you must continue to comply                 stringent emission standard,
                                                   ARVs                                               with the provisions of this subpart                   immediately upon becoming subject to
                                              Table 3 to Subpart O of Part 63 Standards for           applicable to area sources.                           the more stringent emission standard.
                                                   CEVs                                                  (j) You must comply with the                          (9) All existing ARVs at facilities that
                                              Table 4 to Subpart O of Part 63 Standards for                                                                 do not exceed 10 tpy of EtO use within
                                                   Group 1 Room Air Emissions
                                                                                                      provisions of this subpart no later than
                                              Table 5 to Subpart O of Part 63 Standards for           the dates specified in paragraphs (j)(1)              any consecutive 12-month period after
                                                   Group 2 Room Air Emissions                         through (17) of this section:                         April 6, 2026, that increase their EtO
                                              Table 6 to Subpart O of Part 63 Applicability              (1) If you own or operate an existing              use after thereafter, such that the ARV
                                                   of General Provisions to Subpart O                 affected source, you must comply with                 becomes subject to a more stringent
                                              Appendix A to Subpart O of Part 63—                     the applicable provisions of this subpart             emission standard, immediately upon
                                                   Monitoring Provisions for EtO CEMS                 no later than the dates specified in                  becoming subject to the more stringent
                                                                                                      tables 1 through 5 to this subpart, as                emission standard.
                                              Subpart O—Ethylene Oxide Emissions                      applicable.                                              (10) All new ARVs at facilities that
                                              Standards for Sterilization Facilities                     (2) If you own or operate a new                    increase their EtO use over a year after
                                              § 63.360   Applicability.                               affected source, and the initial startup of           startup such that the ARV becomes
                                                 (a) You are subject to the                           your affected source is on or before                  subject to a more stringent emission
                                              requirements of this subpart if you own                 April 5, 2024, you must comply with                   standard, immediately upon becoming
                                              or operate a sterilization facility that has            the provisions of this subpart no later               subject to the more stringent emission
                                              an affected source specified in                         than April 5, 2024.                                   standard.
                                                                                                         (3) If you own or operate a new                       (11) All existing CEVs at facilities that
                                              paragraph (b) of this section. Table 6 to
                                                                                                      affected source, and the initial startup is           do not exceed 60 tpy of EtO use within
                                              this subpart shows which parts of the
                                                                                                      after April 5, 2024, you must comply                  any consecutive 12-month period after
                                              General Provisions in §§ 63.1 through
                                                                                                      with the provisions of this subpart upon              April 6, 2026, that increase their EtO
                                              63.15 apply to you.
                                                 (b) The affected sources subject to this             startup of your affected source.                      use thereafter, such that the CEV
                                                                                                         (4) If existing SCV, ARV, or CEV or                becomes subject to a more stringent
                                              subpart are:
                                                 (1) Each SCV at any sterilization                    parts of an existing collection of Group              emission standard, immediately upon
                                              facility;                                               1 or Group 2 room air emissions are                   becoming subject to the more stringent
                                                 (2) Each ARV at any sterilization                    replaced such that the replacement                    emission standard.
                                              facility;                                               meets the definition of reconstruction in                (12) All new CEVs at facilities that
                                                 (3) Each CEV at any sterilization                    § 63.2 and the reconstruction                         increase their EtO use over a year after
                                              facility;                                               commenced after April 13, 2023, then                  startup such that the CEV becomes
                                                 (4) The collection of all Group 1 room               the existing affected source becomes a                subject to a more stringent emission
                                              air emissions at any sterilization facility;            new affected source. The reconstructed                standard, immediately upon becoming
                                              and                                                     source must comply with the                           subject to the more stringent emission
                                                 (5) The collection of all Group 2 room               requirements for a new affected source                standard.
                                                                                                      upon initial startup of the reconstructed                (13) All existing collections of Group
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                                              air emissions at any sterilization facility.
                                                 (c) An existing affected source is one               source or by April 5, 2024, whichever is              1 room air emissions at facilities that do
                                              the construction or reconstruction of                   later.                                                not exceed 40 tpy of EtO use within any
                                              which was commenced on or before                           (5) All existing SCVs at facilities that           consecutive 12-month period after April
                                              April 13, 2023.                                         meet or exceed 1 tpy of EtO use within                6, 2026, that increase their EtO use
                                                 (d) A new affected source is one the                 any consecutive 12-month period after                 thereafter, such that the collection of
                                              construction or reconstruction of which                 April 7, 2025, that increase their EtO                Group 1 room air emissions becomes
                                              is commenced after April 13, 2023.                      use after April 6, 2026, such that the                subject to a more stringent emission


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                                              standard, immediately upon becoming                     occurs. For combination sterilization                    (2) Fails to meet any term or condition
                                              subject to the more stringent emission                  units, there is no ARV.                               that is adopted to implement an
                                              standard.                                                  Catalytic oxidizer means a                         applicable requirement in this subpart
                                                 (14) All new Group 1 room air                        combustion device that uses a solid-                  or that is included in the operating
                                              emissions at facilities that increase their             phase catalyst to lower the temperature               permit for any facility required to obtain
                                              EtO use over a year after startup such                  required to promote the oxidization and               such a permit.
                                              that the Group 1 room air emissions                     achieve adequate reduction of volatile                   EtO dispensing means charging a
                                              become subject to a more stringent                      organic compounds, as well as volatile                sterilization chamber or chambers with
                                              emission standard, immediately upon                     hazardous air pollutants.                             EtO from non-cartridge storage media
                                              becoming subject to the more stringent                     Chamber exhaust vent (CEV) means                   (e.g., drums, cylinders) via the use of
                                              emission standard.                                      the point(s) through which EtO-laden                  piping, lines, and other equipment. This
                                                 (15) All existing collections of Group               air is removed from the sterilization                 includes injection rooms and post-
                                              2 room air emissions at facilities that                 chamber during chamber unloading                      injection handling of containers.
                                              meet or exceed 4 tpy of EtO use within                  following the completion of sterilization                Gas/solid reactor means an add-on air
                                              any consecutive 12-month period after                   and associated air washes. This may                   pollution control device that uses a dry,
                                              April 7, 2025, that increase their EtO                  also be referred to as a ‘‘backvent’’ (or             solid-phase system to chemically
                                              use after April 6, 2026, such that the                  ‘‘back vent’’). For combination                       convert EtO so that it becomes bound to
                                              collection of Group 2 room air                          sterilization units, there is no CEV.                 the solid packing. This may also be
                                              emissions becomes subject to a more                        Combination sterilization unit means               referred to as a ‘‘dry bed reactor’’ or a
                                              stringent emission standard,                            any enclosed vessel in which both                     ‘‘dry bed scrubber.’’
                                              immediately upon becoming subject to                    sterilization and aeration of the same                   Group 1 room air emissions mean
                                              the more stringent emission standard.                   product occur within the same vessel,                 emissions from indoor EtO storage, EtO
                                                 (16) All existing collections of Group               i.e., the vessel is filled with ethylene              dispensing, vacuum pump operations,
                                              2 room air emissions at facilities that do              oxide gas or an ethylene oxide/inert gas              and pre-aeration handling of sterilized
                                              not exceed 4 tpy of EtO use within any                  mixture for the purpose of sterilizing                material.
                                              consecutive 12-month period after April                 and is followed by aeration of ethylene                  Group 2 room air emissions mean
                                              6, 2026, that increase their EtO use                    oxide.                                                emissions from post-aeration handling
                                              thereafter, such that the collection of                    Combined emission stream means                     of sterilized material.
                                              Group 2 room air emissions becomes                      when the emissions from more than one                    Indoor EtO storage means the storage
                                              subject to a more stringent emission                    emission source are routed together                   of EtO within non-cartridge media (e.g.,
                                              standard, immediately upon becoming                     using common ductwork prior to the                    drums, cylinders) inside a sterilization
                                              subject to the more stringent emission                  control system.                                       building.
                                              standard.                                                  Continuous monitoring system (CMS)                    Initial startup means the moment
                                                 (17) All new Group 2 room air                        means, for the purposes of this rule, the             when an affected source subject to an
                                              emissions at facilities that increase their             equipment necessary to continuously                   emissions standard in § 63.362 first
                                              EtO use over a year after startup such                  samples the regulated parameter                       begins operation.
                                              that the Group 2 room air emissions                     specified in § 63.364 or § 63.365 of this                Injection room means any room where
                                              become subject to a more stringent                      subpart without interruption, evaluates               EtO is injected into containers (e.g.,
                                              emission standard, immediately upon                     the detector response at least once every             bags, pouches) that are filled with
                                              becoming subject to the more stringent                  15 seconds, and computes and records                  product to be sterilized.
                                              emission standard.                                      the average value at least every 60                      Maximum ethylene glycol
                                              § 63.361   Definitions.                                 seconds, except during allowable                      concentration means the concentration
                                                 Terms and nomenclature used in this                  periods of calibration and except as                  of ethylene glycol in the scrubber liquor
                                              subpart are defined in the Clean Air Act                defined otherwise by the continuous                   of an acid-water scrubber control device
                                              (the Act) as amended in 1990, §§ 63.2                   emission monitoring system (CEMS)                     established during a performance test
                                              and 63.3, or in this section. For the                   performance specifications (PS) in                    when the scrubber achieves the
                                              purposes of this subpart, if the same                   appendix B to part 60 of this chapter.                appropriate control of EtO emissions.
                                              term is defined in subpart A of this part                  Control System Residence Time                         Maximum gas/solid reactor pressure
                                              and in this section, it shall have the                  means the time elapsed from entrance of               drop means the pressure drop of the
                                              meaning given in this section.                          flow into the control system until                    gas/solid reactor established during a
                                                 Acid-water scrubber means an add-on                  gaseous materials exit the control                    performance test when the gas/solid
                                              air pollution control device that uses an               system. For control systems with                      reactor achieves the appropriate control
                                              aqueous or alkaline scrubbing liquor to                 multiple exhaust streams whereby the                  of EtO emissions.
                                              absorb and neutralize acid gases.                       residence time may vary for the streams,                 Maximum liquor tank level means the
                                                 Aeration means, for the purposes of                  the residence time for purposes of                    level of scrubber liquor in the acid-
                                              this rule, exposing sterilized material at              complying with this subpart means the                 water scrubber liquor recirculation tank
                                              elevated temperatures to drive EtO out                  longest residence time for any exhaust                established during a performance test
                                              of the material.                                        stream in use. If a peak shaver is used,              when the scrubber achieves the
                                                 Aeration room means any vessel or                    it is part of the control system, and its             appropriate control of EtO emissions.
                                              room that is used to facilitate off-gassing             residence time must be considered.                       Maximum scrubber liquor pH means
                                              of EtO at a sterilization facility. If a                   Deviation means any instance in                    the pH of the acid-water scrubber liquor
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                                              facility uses only combination                          which an owner or operator of an                      established during a performance test
                                              sterilization units, for the purposes of                affected source, subject to this subpart:             when the scrubber achieves the
                                              this rule, there are no aeration rooms at                  (1) Fails to meet any requirement or               appropriate control of EtO emissions.
                                              the facility.                                           obligation established by this subpart                   Minimum stack volumetric flow rate
                                                 Aeration room vent (ARV) means the                   including, but not limited to, any                    means the stack volumetric flow rate
                                              point(s) through which the evacuation                   emission limitation, parameter value, or              corrected established during a
                                              of EtO-laden air from an aeration room                  best management practice; or                          compliance demonstration when


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                                              permanent total enclosure (PTE)                         units are used, and if material is not                  Thermal oxidizer means all
                                              requirements are met.                                   moved out of the vessel between                       combustion devices except flares.
                                                 Minimum temperature at the inlet to                  sterilization and aeration, then                        Vacuum pump operation means the
                                              the catalyst bed means the temperature                  emissions from this source do not exist.              operation of vacuum pumps, excluding
                                              at the inlet to the catalyst bed                        This does not include post-injection                  dry seal vacuum pumps, for the purpose
                                              established during a performance test                   handling of containers.                               of removing EtO from a sterilization
                                              when the catalytic oxidizer achieves the                   Rolling sum means the weighted sum                 chamber.
                                              appropriate control of EtO emissions.                   of all data, meeting QA/QC
                                                 Minimum temperature difference                                                                             § 63.362    Standards.
                                                                                                      requirements or otherwise normalized,
                                              across the catalyst bed means the                       collected during the applicable rolling                  (a) Compliance date. If you own or
                                              temperature difference across the                       time period. The period of a rolling sum              operate an affected source, you must
                                              catalyst bed established during a                       stipulates the frequency of data                      comply with the applicable requirement
                                              performance test when the catalytic                     collection, summing, and reporting. As                by the compliance date specified in
                                              oxidizer achieves the appropriate                       an example, to demonstrate compliance                 § 63.360(j). The standards of this section
                                              control of EtO emissions.                               with a rolling 30-operating day sum                   are summarized in tables 1 through 5 to
                                                 Minimum temperature in or                            emission reduction standard determined                this subpart.
                                              immediately downstream of the firebox                                                                            (b) Applicability of standards. The
                                                                                                      from hourly data, you must (1)
                                              means the temperature in or                                                                                   standards in paragraphs (c) through (k)
                                                                                                      determine the total mass of ethylene
                                              immediately downstream of the firebox                                                                         of this section apply at all times. If using
                                                                                                      oxide prior to control and following
                                              established during a performance test                                                                         EtO CEMS to determine compliance
                                                                                                      control for each operating day; (2) then
                                              when the thermal oxidizer achieves the                                                                        with an applicable standard, this
                                                                                                      sum the current daily total mass prior to
                                              appropriate control of EtO emissions.                                                                         compliance demonstration is based on
                                                                                                      control with the previous 29 operating
                                                 Natural draft opening (NDO) means                                                                          the previous 30-operating days of data.
                                                                                                      day total mass values and repeat the
                                              any permanent opening in the enclosure                                                                        If using EtO CEMS to determine
                                                                                                      same process for the current daily total
                                              that remains open during operation of                                                                         compliance with an applicable emission
                                                                                                      mass following control; and (3) then
                                              the facility and is not connected to a                                                                        reduction standard in paragraphs (c)
                                                                                                      divide the 30-operating day total mass
                                              duct in which a fan is installed.                                                                             through (g) and (i) of this section for
                                                                                                      emissions following control by the 30-
                                                 Operating day means any day that a                                                                         each operating day, you must determine
                                                                                                      operating day total mass prior to control
                                              facility is engaged in a sterilization                                                                        the total inlet mass to and outlet mass
                                                                                                      and subtract the resulting value from
                                              operation.                                                                                                    from the control system using the
                                                                                                      one to obtain the 30-operating day
                                                 Peak shaver means a device that is                                                                         procedures laid out in § 63.364(f) and
                                                                                                      emission reduction achieved.
                                              used to reduce high EtO concentrations                                                                        appendix A to this subpart, and you
                                              within an exhaust stream such that the                     Single-item sterilization means a                  must maintain the emission limit based
                                              downstream control device is not                        process in which one or more items are                on the inlet mass and the applicable
                                              overwhelmed.                                            placed in a pouch, EtO is injected into               emission reduction standard. If using
                                                 Permanent total enclosure (PTE)                      the pouch, and the sealed pouch is                    EtO CEMS to determine compliance
                                              means a permanently installed                           placed in a vessel to allow sterilization             with an applicable emission reduction
                                              enclosure that meets the criteria of                    to occur.                                             standard in paragraph (j) of this section,
                                              Method 204 of appendix M, 40 CFR part                      Sterilization chamber means any                    you must continuously comply with the
                                              51 for a PTE. A PTE completely                          enclosed vessel or room that is filled                requirements of that paragraph.
                                              surrounds a source of emissions such                    with EtO gas, or an EtO/inert gas                        (c) SCV. You must comply with each
                                              that all EtO emissions are captured,                    mixture, for the purpose of sterilizing               applicable standard in table 1 to this
                                              contained, and directed to a control                    and/or fumigating at a sterilization                  subpart, and you must meet each
                                              system or to an outlet(s).                              facility. This does not include injection             applicable requirement specified in
                                                 Post-aeration handling of sterilized                 rooms.                                                § 63.363. If a SCV is combined with a
                                              material means the storage and                             Sterilization chamber vent (SCV)                   stream from another emission source,
                                              transportation of material that has been                means the point (prior to the vacuum                  you must comply with the appropriate
                                              removed from aeration but has not been                  pump) through which the evacuation of                 emission standard as prescribed in
                                              placed in a vehicle for the sole purpose                EtO from the sterilization chamber                    paragraph (i) of this section.
                                              of distribution to another facility. Post-              occurs following sterilization or                        (d) ARV. You must comply with each
                                              aeration handling of sterilized material                fumigation, including any subsequent                  applicable standard in table 2 to this
                                              ends when that vehicle is closed for the                air washes.                                           subpart, and you must meet each
                                              final time before leaving the facility.                    Sterilization facility means any                   applicable requirement specified in
                                              This definition does not include                        stationary source where EtO is used in                § 63.363. If an ARV is combined with a
                                              handling of material that has been both                 the sterilization or fumigation of                    stream from another emission source,
                                              previously sterilized and not removed                   materials, including but not limited to               you must comply with the appropriate
                                              from aeration following re-sterilization.               facilities that engage in single-item                 emission standard as prescribed in
                                                 Post-injection handling of containers                sterilization.                                        paragraph (i) of this section.
                                              means the storage and transportation of                    Sterilization operation means any                     (e) CEV. You must comply with each
                                              containers (e.g., bags, pouches) that                   time when EtO is removed from the                     applicable standard in table 3 to this
                                              have been injected with EtO but have                    sterilization chamber through the SCV                 subpart, and you must meet each
                                              not been placed in a sterilization                      or the chamber exhaust vent, when EtO                 applicable requirement specified in
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                                              chamber.                                                is removed from the aeration room                     § 63.363. If a CEV is combined with a
                                                 Pre-aeration handling of sterilized                  through the aeration room vent, when                  stream from another emission source,
                                              material means the storage and                          EtO is stored within the building, when               you must comply with the appropriate
                                              transportation of material that has been                EtO is dispensed from a container to a                emission standard as prescribed in
                                              removed from a sterilization chamber                    chamber, when material is moved from                  paragraph (i) of this section.
                                              but has not been placed in an aeration                  sterilization to aeration, or when                       (f) Group 1 room air emissions. You
                                              room. If only combination sterilization                 materials are handled post-aeration.                  must comply with the applicable


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                                              standard in table 4 to this subpart, and                 if both conditions in paragraphs (h)(1)               requirements of paragraphs (i)(1)(i)
                                              you must meet each applicable                            and (2) of this section are met:                      through (iii) of this section to determine
                                              requirement specified in § 63.363. If                       (1) The capture system meets the                   the applicable combined emission
                                              Group 1 room air emissions are                           criteria in Method 204 of appendix M to               streams limitation and demonstrate
                                              combined with a stream from another                      40 CFR part 51 for a PTE and directs all              compliance. Under this approach, you
                                              emission source, you must comply with                    the exhaust gases from the enclosure to               must first determine the 30-operating
                                              the appropriate emission standard as                     an add-on control system.                             day rolling sum of mass inlet to the
                                              prescribed in paragraph (i) of this                         (2) All sterilization operations                   control system. Then, the emission
                                              section.                                                 creating exhaust gases for which the                  limitation is determined by applying the
                                                (g) Group 2 room air emissions. You                    compliance demonstration is applicable                most stringent emission reduction
                                              must comply with the applicable                          are contained within the capture                      standard to the 30-operating day rolling
                                              standard in table 5 to this subpart, and                 system.                                               sum of the inlet mass. You must
                                              you must meet each applicable                               (i) Requirements for combined                      maintain actual emissions at or below
                                              requirement specified in § 63.363. If                    emission streams. When streams from                   that rate. For example, suppose a facility
                                              Group 2 room air emissions are                           two or more emission sources are                      controls all of its ARVs and CEVs with
                                              combined with a stream from another                      combined, you must demonstrate                        one control system and that the
                                              emission source, you must comply with                    compliance by either the approach                     emission reduction standards that apply
                                              the appropriate emission standard as                     specified in paragraph (i)(1) of this                 to the ARVs and CEVs are 99.9% and
                                              prescribed in paragraph (i) of this                      section or the approach specified in                  99%, respectively. Further suppose that
                                              section. If you are required to limit the                paragraph (i)(2) of this section in lieu of           the mass of uncontrolled EtO emissions
                                              sterilization chamber concentration of                   the applicable standards in paragraphs                from the combined stream is 5 lb during
                                              EtO to 1 ppmv prior to opening the                       (c) through (g) of this section for the               the 30-operating day period. Under this
                                              sterilization chamber door, you must                     affected source. The combined emission                approach, the facility would need to
                                              meet the monitoring requirements                         stream limit is based on as 30-operating              apply an emission reduction of 99.9% to
                                              specified in § 63.364(h).                                day rolling sum. In order to elect to                 the combined stream, resulting in an
                                                (h) Capture systems. Room air                          comply with a combined emission                       emission limit of 0.005 lb for the 30-
                                              emissions for which numerical limits                     streams limit, you must use a CEMS on                 operating day period.
                                              are prescribed must be captured and                      each exhaust stack at the facility to                    (i) The combined emission streams
                                              routed under negative pressure to a                      determine compliance.                                 limit for each 30-operating day period is
                                              control system. You may assume the                          (1) Monitoring after emission streams              determined daily by using equation 1 to
                                              capture system efficiency is 100 percent                 are combined. You must follow                         this paragraph.


                                                               Equation 1 to paragraph (i) (2)(i)

                                                                               CBScom11ind = Maodoy * (1- Max(BR))                                                                (Eq. 1)

                                              Where:                                      the combined emission stream is split                              operating day rolling sum of each
                                              CESCombined = The combined emission stream  between two or more control systems,                               component stream and summing across
                                                  limit based upon monitoring after the   further sum the 30-operating day rolling                           the components. You must maintain
                                                  emission streams are combined, in       sum of emissions from each control                                 actual emissions at or below that rate.
                                                  pounds.                                 system to obtain ECombined.                                        For example, suppose a facility controls
                                              M30day = The 30-operating day total mass sent  (iii) Compliance with the combined                              all of its ARVs and CEVs with one
                                                  to controls for the combined emission
                                                                                          emission streams limitation shall be                               control system and that the emission
                                                  stream (i.e., monitoring data at the inlet
                                                  of the control system), as calculated
                                                                                          determined by demonstrating that                                   reduction standards that apply to the
                                                  using equation A–3 and determined in    ECombined, as calculated in accordance                             ARVs and CEVs are 99.9% and 99%,
                                                  accordance with appendix A to this      with paragraph (i)(1)(ii) of this section,                         respectively. Further suppose that
                                                  subpart. The term ‘‘M30day’’ as used in for each 30-operating day period is at or                          during a 30-operating day period the
                                                  this equation is equivalent to the term below CESCombined, as calculated in                                mass of uncontrolled EtO emissions
                                                                                          paragraph (i)(1)(i) of this section.
                                                  ‘‘E30day’’ as designated in equation A–3.                                                                  from the ARVs is 4 lb and the mass of
                                              Max(ER) = The most stringent emission          (2) Monitoring before emission                                  uncontrolled EtO emissions from the
                                                  reduction standard specified in tables 1streams are combined. You must follow                              CEVs is 1 lb. Under this approach, the
                                                  through 5 of this subpart applicable to requirements of paragraphs (i)(2)(i)                               facility would need to apply an
                                                  any of the constituent streams, in      through (iii) of this section to determine
                                                  decimal format.                                                                                            emission reduction of 99.9% to the ARV
                                                                                          the applicable combined emission                                   stream and an emission reduction of
                                                 (ii) The 30-operating day rolling sum    streams limitation and demonstrate                                 99% to the CEV stream, resulting in an
                                              of emissions for the combined emission compliance. Under this approach, you                                    emission limit of 0.014 lb for the 30-
                                              stream (i.e., monitoring data at the outlet must first determine 30-operating day
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                                                                                                                                                             operating day period.
                                              of the control system) is calculated daily rolling sum of inlet mass to the control
                                              using equation A–3 and determined in        system for each component stream.                                    (i) The combined emission streams
                                              accordance with appendix A to this          Then, the emission limitation is                                   limit for each 30-operating day period is
                                              subpart. For purposes of this section,      determined by applying the applicable                              determined daily by using equation 2 to
                                              this value is designated as ECombined. If   emission reduction standards to the 30-                            this paragraph.
                                                                                                                                                                                                          ER05AP24.028</GPH>




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                                                               Equation 2 to paragraph (i) (2)(i)




                                              Where:                                      using equation A–3 and determined in                                compliance. The owner or operator may
                                              CESStreams = The combined emission stream   accordance with appendix A to this                                  demonstrate compliance via one of the
                                                   limit based upon monitoring before the subpart. For purposes of this section,                              two SWEL approaches in lieu of the
                                                   emission streams are combined, in      this value is designated as ECombined. If                           applicable standard(s) in paragraphs (c)
                                                   pounds.                                the combined emission stream is split                               through (g) of this section for the
                                              Mc,i = The 30-operating day total mass sent between two or more control systems,                                facility. If electing to comply with a
                                                   to controls for each non-SCV constituent
                                                                                          then further sum the 30-operating day                               SWEL, you must comply with paragraph
                                                   emission stream (i.e., monitoring data at
                                                   the inlet of the control system), as   rolling sum emissions from each control                             (j)(3) of this section.
                                                   calculated using equation A–3 and      system to obtain ECombined.                                            (1) SWEL based upon facility EtO use.
                                                   determined in accordance with appendix   (iii) Compliance with the combined                                If you elect to comply with a SWEL
                                                   A to this subpart. The term ‘‘Mc,i’’ asemission streams limitation shall be                                based upon facility EtO use, you must
                                                                                          determined by demonstrating that
                                                   used in this equation is equivalent to the                                                                 follow requirements of paragraphs
                                                                                          ECombined, as calculated in accordance
                                                   term ‘‘E30day’’ as designated in equation
                                                                                                                                                              (j)(1)(i) through (iii) of this section to
                                                   A–3.                                   with paragraph (i)(2)(ii) of this section,
                                              ERi = The applicable emission reduction                                                                         determine the applicable SWEL and
                                                                                          for each 30-operating day period is at or                           demonstrate compliance. Under this
                                                   standard from tables 2 through 5 of this
                                                                                          below CESStreams, as calculated
                                                   subpart to each non-SCV constituent                                                                        approach, you first determine the 30-
                                                                                          paragraph (i)(2)(i) of this section.
                                                   emission stream i.                                                                                         operating day rolling sum of EtO use.
                                                                                            (3) If room air emissions are both
                                              i = Non-SCV constituent emission stream                                                                         The SWEL is determined by multiplying
                                                   index.
                                                                                          subject to an emission standard and
                                                                                          split between two or more control                                   by 0.99 and then applying the required
                                              n = Total number of non-SCV constituent                                                                         SCV percent emission reduction
                                                   emission streams.                      systems, then these control systems
                                                                                          must be treated as part of the same                                 standard in table 1 to this subpart to the
                                              Mc,j = The 30-operating day total mass sent
                                                                                          control system.                                                     30-operating day rolling sum of EtO
                                                   to controls for each SCV emission
                                                   stream, as determined in accordance      (j) Site-wide emission limitation. You                            usage. Then, for each CEMS at the outlet
                                                   with equation 10 of                    may choose to comply with a site-wide                               of the control systems at the facility,
                                                   § 63.364(f)(1)(i)(C)(1).               emission limitation (SWEL) specified in                             determine the 30-operating day rolling
                                              ERj = The applicable SCV emission reduction this paragraph (j) in lieu of the                                   sum of emissions. Finally, determine
                                                   standard in table 1 to this subpart, inapplicable standards in paragraphs (c)                              the facility actual emissions by
                                                   decimal format.                                                                                            summing the 30-operating day rolling
                                                                                          through (g) of this section for the
                                              j = SCV emission stream index.                                                                                  sums for each CEMS at the facility. You
                                              m = Total number of SCV emission streams.
                                                                                          facility. The SWEL, which is calculated
                                                                                          daily, is based on the previous 30                                  must maintain actual emissions at or
                                                 (ii) The 30-operating day rolling sum    operating days of data. In order to elect                           below the SWEL.
                                              emissions for the combined emission         to comply with a SWEL, you must                                        (i) The SWEL for each 30-operating
                                              stream (i.e., monitoring data at the outlet utilize an EtO CEMS on each exhaust                                 day period is determined daily by using
                                              of the control system) is calculated daily stack at the facility to determine                                   equation 3 to this paragraph.


                                                                  Equation 3 to paragraph O)(l)(i)

                                                                                                  SWBL,ac = M,ac * 0.99 * (1- BRscv)                                                (Eq. 3)

                                              Where:                                                        in accordance with equation 11 of                 ERSCV = The applicable SCV emission
                                              SWELFac = SWEL based upon facility EtO                        § 63.364(i)(2).                                       reduction standard in table 1 to this
                                                  use, in pounds.                                       0.99 = Adjustment factor for EtO residual in              subpart, in decimal format.
                                              MFac = Facility EtO use over the previous 30                  sterilized product.                                 (ii) The 30-operating day rolling sum
                                                  operating days, in pounds, as determined                                                                    of emissions are determined daily using
                                                                                                                                                              equation 4 to this paragraph.

                                                                               Equation 4 to paragraph (j)(l)(ii)
                                                                                                                                                                                                           ER05AP24.031</GPH>




                                                                                                                                                                          (Eq. 4)
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                                                                                                                                                                                                           ER05AP24.030</GPH>




                                              Where:                                                    Eo,i = The 30-operating day rolling sum of            i = Exhaust stack index
                                              EFac = The total emissions from the facility                    emissions calculated at each exhaust            n = Total number of exhaust stacks
                                                                                                              stack, i, monitored by an EtO CEMS, as
                                                   over the previous 30-operating days, in                                                                      (iii) Compliance with the SWEL based
                                                                                                              calculated using equation A–3 of
                                                   pounds.
                                                                                                                                                                                                           ER05AP24.029</GPH>




                                                                                                              appendix A to this subpart.                     upon facility EtO usage shall be


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                                              determined by demonstrating that EFac,                   Under this approach, for each non-SCV                 of the control system(s) at the facility,
                                              as calculated in accordance with                         affected source, you must determine the               determine the 30-operating day rolling
                                              paragraph (j)(1)(ii) of this section, for                mass of EtO sent to controls and apply                sum of emissions. Finally, determine
                                              each 30-operating day period is at or                    the applicable emission reduction                     the facility actual emissions by
                                              below the SWEL, as calculated                            standard. For each SCV affected source,               summing the 30-operating day rolling
                                              paragraph (j)(1)(i) of this section.                     you must determine the mass of EtO                    sums for each CEMS at the facility. You
                                                 (2) SWEL based upon emissions                         sent to controls as specified in                      must maintain actual emissions at or
                                              streams. If you elect to comply with a                   § 63.364(f)(1)(i)(C)(1) and apply the                 below the SWEL.
                                              SWEL based upon emissions streams,                       applicable emission reduction standard.
                                              you must follow requirements of                          The SWEL is determined by summing                       (i) The SWEL for each 30-operating
                                              paragraphs (j)(2)(i) through (iii) of this               across the result of this calculation for             day period is determined daily by using
                                              section to determine the applicable                      each affected source (both non-SCV and                equation 5 to this paragraph.
                                              SWEL and demonstrate compliance.                         SCV). Then, for each CEMS at the outlet


                                                               Equation 5 to paragraph (j) (2)(i)


                                                                                                                                                                                  (Eq. 5)


                                              Where:                                                   pollution control practices for                       where EtO use is less than 100 pounds/
                                              SWELStreams = SWEL based upon individual                 minimizing emissions. The general duty                yr where an existing collection of Group
                                                   emissions streams, in pounds.                       to minimize emissions does not require                2 room air emission is operated in
                                              Mc,i = The 30-operating day total mass sent              the owner or operator to make any                     accordance with the PTE requirements
                                                   to controls (i.e., monitoring data at the           further efforts to reduce emissions if                of EPA Method 204 of appendix M to
                                                   inlet of the control system) for each non-
                                                   SCV emission stream, as calculated using            levels required by the applicable                     part 51 of this chapter, you may instead
                                                   equation A–3 and determined in                      standard have been achieved.                          conduct these performance tests once
                                                   accordance with appendix A to this                  Determination of whether a source is                  every three years.
                                                   subpart. The term ‘‘Mc,i’’ as used in this          operating in compliance with operation                  (b) Initial compliance for Facilities
                                                   equation is equivalent to the term                  and maintenance requirements will be                  that use EtO CEMS. To demonstrate
                                                   ‘‘E30day’’ as designated in equation A–3.           based on information available to the                 initial compliance with an emission
                                              ERi = The applicable emission reduction                  Administrator which may include, but                  standard using a CEMS that measures
                                                   standard to each non-SCV emission
                                                                                                       is not limited to, monitoring results,                HAP concentrations directly (i.e., an
                                                   stream, i, specified in tables 1 through 5
                                                   of this subpart, in decimal format.                 review of operation and maintenance                   EtO CEMS), the initial performance test
                                              i = Non-SCV emission streams index.                      procedures, review of operation and                   must consist of the first 30 operating
                                              n = Total number of non-SCV emission                     maintenance records, and inspection of                days after the certification of the CEMS
                                                   streams.                                            the source.                                           according to Performance Specification
                                              Mc,j = The 30-operating day total mass sent                                                                    19 in Appendix B to part 40 of this
                                                   to controls for each SCV emission                   § 63.363 Compliance and performance                   chapter. The initial compliance
                                                   stream, as determined in accordance                 provisions.
                                                                                                                                                             demonstration period must be
                                                   with equation 10 in
                                                                                                          (a) Continuous compliance. You must                completed on or before the date that
                                                   § 63.364(f)(1)(i)(C)(1).
                                              ERj = The applicable SCV emission reduction              demonstrate continuous compliance                     compliance must be demonstrated (i.e.,
                                                   standard in table 1 to this subpart, in             with the applicable emission standard(s)              180 days after the applicable
                                                   decimal format.                                     using an EtO CEMS, including a shared                 compliance date). You must follow the
                                              j = SCV emission stream index.                           EtO CEMS, installed and operated in                   procedures in appendix A to this
                                              m = Total number of SCV emission streams.                accordance with the requirements of                   subpart.
                                                (ii) The 30-operating day rolling sum                  Performance Specification 19 in                         (1) The CEMS performance test must
                                              of emissions are determined daily using                  appendix B and Procedure 7 in                         demonstrate compliance with the
                                              equation 4 to this section.                              appendix F to part 60 of this chapter.                applicable EtO standards in tables 1
                                                (iii) Compliance with the SWEL based                   Alternatively, if you own or operate a                through 5 to this subpart. Alternatively,
                                              upon emission streams shall be                           facility where EtO use is less than 100               the CEMS performance test may
                                              determined by demonstrating that EFac,                   pounds/yr, you may demonstrate                        demonstrate compliance with
                                              as calculated in accordance with                         continuous compliance by conducting                   § 63.362(i) or (j).
                                              paragraph (j)(2)(ii) of this section, for                annual performance tests using the                      (i) You may time-share your CEMS
                                              each 30-operating day period is at or                    performance testing requirements in                   among different measurement points
                                              below SWELStreams, as calculated in                      § 63.7, according to the applicability in             provided that:
                                              paragraph (j)(2)(i) of this section.                     table 6 to this subpart, the procedures                 (A) The measurement points are
                                                (3) Boundary. The boundary for this                    listed in this section, and the test                  approximately equidistant from the
                                              approach includes all affected sources at                methods listed in § 63.365. If you elect              CEMS;
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                                              the facility.                                            to demonstrate compliance through                       (B) The sampling time at each
                                                (k) General duty. At all times, you                    periodic performance testing, you must                measurement point is at least 3 times as
                                              must operate and maintain any affected                   also demonstrate continuous                           long as the CEMS response time;
                                              source, including associated air                         compliance with each operating limit                    (C) The CEMS completes at least one
                                              pollution control equipment and                          required under this section according to              complete cycle of operation for each
                                              monitoring equipment, in a manner                        the methods specified in § 63.364. If you             shared measurement point within a 15-
                                                                                                                                                                                                         ER05AP24.032</GPH>




                                              consistent with safety and good air                      own or operate an area source facility                minute period; and


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                                                 (D) The CEMS meets the other                            (ii) The minimum temperature                       (f)(1) through (3) of this section shall be
                                              requirements of PS 19.                                  difference across the catalyst bed using              used to determine initial compliance
                                                 (2) You must collect hourly data from                the procedures described in                           with the emission limits under
                                              auxiliary monitoring systems during the                 § 63.365(e)(3).                                       § 63.362(d) through (g), as applicable:
                                              performance test period, to convert the                    (5) If a gas/solid reactor(s) is used to              (1) You must comply with paragraph
                                              pollutant concentrations to pounds per                  comply with the standard, you must                    (c) of this section, as applicable.
                                              hour.                                                   establish as an operating limit the                      (2) If you are complying with a
                                                 (c) Initial compliance demonstration                 pressure drop across the media beds and               percent emission reduction standard as
                                              where facility EtO use is less than 100                 conduct weekly sampling and analysis                  specified in tables 1 through 5 to this
                                              pounds per year. If you own or operate                  of the media. Determine the maximum                   subpart, you must determine
                                              an affected source that is both subject to              gas/solid reactor pressure drop using the             compliance with § 63.362(c) through (g),
                                              an emission standard in § 63.362 and                    procedures described in § 63.365(e)(4).               as applicable, using the test methods
                                              located within a facility where EtO use                    (e) Other control technology for                   and procedures in § 63.365(d)(1).
                                              is less than 100 pounds per year, you                   facility where EtO use is less than 100                  (3) If you are required to operate any
                                              may comply with paragraphs (c)(1) and                   lb/yr. If you are conducting a                        portion of the facility under PTE, you
                                              (2) of this section:                                    performance test using a control                      must initially demonstrate that the PTE
                                                 (1) Conduct an initial compliance                    technology other than an acid-water                   meets the requirements of Method 204
                                              demonstration using the procedures                      scrubber, catalytic oxidizer, thermal
                                                                                                                                                            of 40 CFR part 51, appendix M, and that
                                              listed in § 63.7 of this part according to              oxidizer, or gas/solid reactor, you must
                                                                                                                                                            all exhaust gases from the enclosure are
                                              the applicability in table 6 to this                    provide to the Administrator
                                                                                                                                                            delivered to a control system or stack(s).
                                              subpart, the procedures listed in this                  information describing the design and
                                                                                                                                                            You must also meet the requirements in
                                              section, and the test methods listed in                 operation of the air pollution control
                                                                                                                                                            § 63.363(f)(3)(i) and either
                                              § 63.365;                                               system, including recommendations for
                                                                                                                                                            § 63.363(f)(3)(ii) or (iii):
                                                 (2) Complete the initial compliance                  the parameters to be monitored that will
                                                                                                                                                               (i) Maintain direction of the airflow
                                              demonstration within 180 days after the                 demonstrate continuous compliance.
                                                                                                                                                            into the enclosure at all times, verifying
                                              compliance date for the affected source                 Based on this information, the
                                                                                                                                                            daily using the procedures described in
                                              as determined in § 63.360(j).                           Administrator will determine the
                                                                                                                                                            § 63.364(f)(5) and meet either of the
                                                 (d) Operating limits for facility where              parameter(s) to be measured during the
                                                                                                                                                            requirements.
                                              EtO use is less than 100 lb/yr. If annual               performance test. During the
                                                                                                      performance test required in paragraph                   (ii) Establish as an operating limit the
                                              EtO use at the facility is less than 100                                                                      minimum volumetric flow rate through
                                              lb, the procedures in paragraphs (d)(1)                 (a) of this section, using the methods
                                                                                                      approved in § 63.365(e)(5), you must                  the affected stack(s) using the
                                              through (5) of this section may be used                                                                       procedures described in § 63.365(f)(1);
                                              to determine compliance with the                        determine the site-specific operating
                                                                                                      limit(s) for the operating parameters                 or
                                              standard(s) under § 63.362(c) through (g)                                                                        (iii) Install, operate, calibrate, and
                                              and to establish operating limits for                   approved by the Administrator. You
                                                                                                      must submit the information at least                  maintain a continuous pressure
                                              each of the control devices, as                                                                               differential monitoring system using the
                                              applicable:                                             sixty days before the performance test is
                                                                                                      scheduled to begin. The information on                procedures described in § 63.364(f)(4).
                                                 (1) You must determine the percent
                                              emission reduction of the control                       the control technology must include the               § 63.364    Monitoring requirements.
                                              system used to comply with § 63.362(c)                  five items listed in paragraphs (1)
                                                                                                                                                              (a) General requirements. (1) If you
                                              through (g) using the test methods and                  through (5) of this section:
                                                                                                                                                            own or operate an affected source
                                                                                                         (1) Identification of the specific
                                              procedures in § 63.365(d)(1).                                                                                 subject to an emission standard in
                                                                                                      parameters you propose to use as
                                                 (2) If an acid-water scrubber(s) is used                                                                   § 63.362, you must comply with the
                                                                                                      additional operating limits;
                                              to comply with a standard, then you                        (2) A discussion of the relationship               monitoring requirements in § 63.8,
                                              must establish as an operating limit:                   between these parameters and emissions                according to the applicability in table 6
                                                 (i) The maximum ethylene glycol                      of regulated pollutants, identifying how              to this subpart, and in this section.
                                              concentration using the procedures                      emissions of regulated pollutants                       (2) If you own or operate an affected
                                              described in § 63.365(e)(1)(i);                         change with changes in these                          source at a facility where EtO use is less
                                                 (ii) The maximum liquor tank level                   parameters and how limits on these                    than 100 lb/yr that is subject to an
                                              using the procedures described in                       parameters will serve to limit emissions              emission standard in § 63.362, you may
                                              § 63.365(e)(1)(ii); or                                  of regulated pollutants;                              monitor the parameters specified in
                                                 (iii) The maximum scrubber liquor pH                    (3) A discussion of how you will                   paragraphs (b), (c), (d), (e), (g), and (i) of
                                              using the procedures described in                       establish the upper and/or lower values               this section. All monitoring equipment
                                              § 63.365(e)(1)(iii).                                    which will establish the operating limits             shall be installed such that
                                                 (3) If a thermal oxidizer(s) is used to              for these parameters;                                 representative measurements of
                                              comply with a standard, you must                           (4) A discussion identifying the                   emissions or process parameters from
                                              establish as an operating limit the                     methods you will use to measure and                   the source are obtained. For monitoring
                                              minimum temperature in or                               the instruments you will use to monitor               equipment purchased from a vendor,
                                              immediately downstream of the firebox                   these parameters, as well as the relative             verification of the operational status of
                                              using the procedures described in                       accuracy and precision of these methods               the monitoring equipment shall include
                                              § 63.365(e)(2).                                                                                               completion of the manufacturer’s
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                                                                                                      and instruments; and
                                                 (4) If a catalytic oxidizer(s) is used to               (5) A discussion identifying the                   written specifications or
                                              comply with the standard, you must                      frequency and methods for recalibrating               recommendations for installation,
                                              establish as operating limits both:                     the instruments you will use for                      operation, and calibration of the system.
                                                 (i) The minimum temperature at the                   monitoring these parameters.                            (3) If you own or operate an affected
                                              inlet to the catalyst bed using the                        (f) Other emission streams. If the                 source that is subject to an emission
                                              procedures described in § 63.365(e)(3);                 emission stream does not consist only of              standard in § 63.362 and that is required
                                              and                                                     an SCV(s), the procedures in paragraphs               to monitor using EtO CEMS, you must


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                                              comply with paragraphs (f), (g), and (i)                for a complete hour. Then, the average                averaging the temperature readings over
                                              of this section.                                        of the previous 3 operating hours must                a clock hour, i.e., beginning and ending
                                                (4) If you comply with the                            be calculated to determine the 3-hour                 on the hour. All data collected during
                                              management practice for Group 2 room                    rolling average scrubber liquor pH. You               the operating hour must be used, even
                                              air emissions at area sources, you must                 must maintain the 3-hour rolling                      if the catalytic oxidizer is not operating
                                              comply with paragraph (h) of this                       average scrubber liquor pH below the                  for a complete hour. Then, the average
                                              section.                                                applicable operating limit established                of the previous 3 operating hours must
                                                (5) You must keep the written                         during the most recent performance test.              be calculated to determine the 3-hour
                                              procedures required by § 63.8(d)(2) on                  You must ensure the pH monitoring                     rolling average temperature at the inlet
                                              record for the life of the affected source              system meets the following                            to the catalyst bed. You must maintain
                                              or until the affected source is no longer               requirements:                                         the 3-hour rolling average temperature
                                              subject to the provisions of this part, to                 (i) The pH sensor must be installed in             above the operating limit established
                                              be made available for inspection, upon                  a position that provides a representative             during the most recent performance test.
                                              request, by the Administrator. If the                   measurement of scrubber liquor pH;                       (3) For catalytic oxidizers, you must
                                              performance evaluation plan is revised,                    (ii) The sample must be properly                   monitor and record at least every 15
                                              you must keep previous (i.e.,                           mixed and representative of the fluid to              minutes the temperature increase across
                                              superseded) versions of the performance                 be measured; and                                      the catalyst bed, immediately
                                              evaluation plan on record to be made                       (iii) A performance evaluation                     downstream of the catalytic bed, using
                                              available for inspection, upon request,                 (including a two-point calibration with               the temperature monitor described in
                                              by the Administrator, for a period of 5                 one of the two buffer solutions having                paragraph (c)(4) of this section.
                                              years after each revision to the plan. The              a pH within 1 of the pH of the operating              Monitoring is required when the
                                              program of corrective action should be                  limit) of the pH monitoring system must               catalytic oxidizer is operating. A data
                                              included in the plan required under                     be conducted in accordance with your                  acquisition system for the temperature
                                              § 63.8(d)(2).                                           monitoring plan at the time of each                   monitor shall compute and record each
                                                (b) Acid-water scrubbers. If you are                  performance test but no less frequently               3-hour average temperature increase,
                                              demonstrating continuous compliance                     than quarterly.                                       rolled hourly. This must be done by first
                                              through periodic performance testing on                    (c) Oxidizers. If you are demonstrating            computing the difference in outlet
                                              an acid-water scrubber(s), you must:                    continuous compliance through                         temperature minus inlet temperature
                                                (1) Ethylene glycol concentration.                    periodic performance testing on a                     (monitored under paragraph (c)(2)), and
                                              Sample the scrubber liquor from the                     catalytic oxidizer or thermal oxidizer,               second averaging the temperature
                                              acid-water scrubber(s) and analyze and                  the requirements in paragraphs (c)(1)                 difference values over a clock hour, i.e.,
                                              record at least once per week the                       and (2) of this section apply:                        beginning and ending on the hour. All
                                              ethylene glycol concentration of the                       (1) For thermal oxidizers, you must                data collected during the operating hour
                                              scrubber liquor using the test methods                  monitor and record at least every 15                  must be used, even if the catalytic
                                              and procedures in § 63.365(e)(1).                       minutes the temperature in or                         oxidizer is not operating for a complete
                                              Monitoring is required during a week                    immediately downstream of the firebox                 hour. Then, the average of the previous
                                              only if the scrubber unit has been                      using the temperature monitor                         3 operating hours must be calculated to
                                              operated. You must maintain the weekly                  described in paragraph (c)(4) of this                 determine the 3-hour rolling average
                                              ethylene glycol concentration below the                 section. Monitoring is required when                  temperature increase across the catalyst
                                              operating limit established during the                  the thermal oxidizer is operating. A data             bed. You must maintain the 3-hour
                                              most recent performance test;                           acquisition system for the temperature                average temperature increase above the
                                                (2) Scrubber liquor tank level.                       monitor shall compute and record each                 operating limit established during the
                                              Measure and record at least once per                    3-hour average temperature value, rolled              most recent performance test.
                                              day the level of the scrubber liquor in                 hourly. This must be done by first                       (4) You must install, calibrate,
                                              the recirculation tank(s). You must                     averaging the temperature readings over               operate, and maintain a temperature
                                              install, maintain, and use a liquid level               a clock hour, i.e., beginning and ending              monitor with a minimum accuracy of ±1
                                              indicator to measure the scrubber liquor                on the hour. All data collected during                percent over the normal range of the
                                              tank level (i.e., a marker on the tank                  the operating hour must be used, even                 temperature measured, expressed in
                                              wall, a dipstick, a magnetic indicator,                 if the thermal oxidizer is not operating              degrees Celsius, or 2.8 degrees Celsius,
                                              etc.). Monitoring is required during a                  for a complete hour. Then, the average                whichever is greater. You must verify
                                              day only if the scrubber unit has been                  of the previous 3 operating hours must                the accuracy of the temperature monitor
                                              operated. You must maintain the daily                   be calculated to determine the 3-hour                 twice each calendar year at least five
                                              scrubber liquor height in each                          rolling average temperature in or                     months apart with a reference
                                              recirculation tank below the applicable                 immediately downstream of the firebox.                temperature monitor (traceable to
                                              operating limit established during the                  You must maintain the 3-hour rolling                  National Institute of Standards and
                                              most recent performance test; or                        average temperature above the operating               Technology (NIST) standards or an
                                                (3) pH. Monitor and record at least                   limit established during the most recent              independent temperature measurement
                                              every 15 minutes the scrubber liquor                    performance test.                                     device dedicated for this purpose).
                                              pH. Monitoring is required when the                        (2) For catalytic oxidizers, you must              During accuracy checking, the probe of
                                              scrubber is operating. A data acquisition               monitor and record at least every 15                  the reference device shall be at the same
                                              system for the pH monitor shall                         minutes the temperature at the inlet to               location as that of the temperature
                                              compute and record each 3-hour average                  the catalyst bed using the temperature                monitor being tested. As an alternative,
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                                              scrubber liquor pH value, rolled hourly.                monitor described in paragraph (c)(4) of              the accuracy of the temperature monitor
                                              This must be done by first averaging the                this section. Monitoring is required                  may be verified in a calibrated oven
                                              scrubber liquor pH readings obtained                    when the catalytic oxidizer is operating.             (traceable to NIST standards).
                                              over a clock hour, i.e., beginning and                  A data acquisition system for the                        (5) For catalytic oxidizers, if the
                                              ending on the hour. All data collected                  temperature monitor shall compute and                 monitor indicates that the temperature
                                              during the operating hour must be used,                 record each 3-hour average temperature,               is below the operating limit, within 7
                                              even if the scrubber unit is not operating              rolled hourly. This must be done by first             calendar days you must:


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                                                 (i) Correct the temperature or                       must be used, even if the gas/solid                   compliance with the emission reduction
                                              temperature increase so that it falls                   reactor unit is not operating for a                   standard in accordance with the
                                              within the established operating range;                 complete hour. Then, the average of the               requirements of appendix A to this
                                              or                                                      previous 3 operating hours must be                    subpart, with the exception for SCV
                                                 (ii) Replace the catalyst bed.                       calculated to determine the 3-hour                    emission streams to the control system.
                                              Following replacement of the catalyst                   rolling average gas/solid reactor                        (1) EtO CEMS inlet configuration. The
                                              bed, you must conduct a new                             pressure drop. You must maintain the 3-               following caveats apply:
                                              performance test within 180 days and                    hour rolling average gas/solid reactor                   (i) SCVs. If you do not own or operate
                                              re-establish the operating limits.                      pressure drop below the applicable                    a single-item sterilizer, to demonstrate
                                                 (d) Gas-solid reactors. If you are                   operating limit established during the                compliance with the percent emission
                                              demonstrating continuous compliance                     most recent performance test.                         reduction standards for emissions
                                              through periodic performance testing on
                                                                                                        (e) Performance testing, other control              streams that are comprised only of
                                              a gas/solid reactor(s), you must:
                                                                                                      technology. If you are complying with                 SCVs, you may use the following
                                                 (1) Media analysis. Sample the media
                                                                                                      § 63.363(d) or (e) using periodic                     procedures as an alternative to
                                              from the gas/solid reactor(s) and have
                                                                                                      performance testing and the use of a                  monitoring the inlet emission stream to
                                              the manufacturer analyze at least once
                                                                                                      control device other than acid-water                  determine the mass emissions of EtO
                                              per week. Monitoring is required during
                                                                                                      scrubbers, catalytic or thermal oxidizers,            being emitted via sterilization
                                              a week only if the gas/solid reactor unit
                                                                                                      or gas/solid reactors, you must monitor               chamber(s) vents prior to the controls.
                                              has been operated; and
                                                                                                      the parameters as approved by the                        (A) Determine the mass (MSCV,n) of
                                                 (2) Pressure drop. Monitor and record
                                              at least every 15 minutes the pressure                  Administrator using the methods and                   EtO used for each charge and at each
                                              drop. Monitoring is required when the                   procedures in § 63.365(e).                            sterilization chamber used during the
                                              gas/solid reactor is operating. A data                    (f) EtO CEMS configurations. If you                 previous 30 days using the procedures
                                              acquisition system for the pressure drop                are using EtO CEMS to demonstrate                     in either paragraph (f)(1)(i)(A)(1) or (2)
                                              monitor shall compute and record each                   compliance with an emission standard,                 of this section.
                                              3-hour average gas/solid reactor                        you must install and operate an EtO                      (1) Weigh the EtO gas cylinder(s) used
                                              pressure drop value, rolled hourly. This                CEMS on each outlet for the control                   to charge the sterilizer(s) before and
                                              must be done by first averaging the gas/                system in accordance with the                         after charging. Record these weights to
                                              solid reactor pressure drop readings                    requirements of Appendix A to subpart                 the nearest 45 g (0.1 lb) and calculate
                                              obtained over a clock hour, i.e.,                       O of this part. You must also conduct                 the theoretical mass (Mc) vented to the
                                              beginning and ending on the hour. All                   monitoring for each inlet to the control              controls using equation 1 to this
                                              data collected during the operating hour                system that is used to demonstrate                    paragraph.


                                                                    Equation 1 to paragraph (f)(l)(i)(A)(l)

                                                                                                                                                                              (Eq. 1)

                                              Where:                                                  %EOw = weight percent of EtO                          of each sterilizer charge. Calculate the
                                              MSCV,n = Theoretical total mass of EtO vented                                                                 theoretical mass (MSCV,n) vented to the
                                                  to controls per charge, g (lb)                        (2) Install a calibrated rate meter at              controls using equation 2 to this
                                              Mcharge = total mass of sterilizer gas charge,          the sterilizer inlet(s) and continuously              paragraph.
                                                  g (lb)                                              measure the flow rate (Qm) and duration


                                                                            Equation 2 to paragraph (f)(l)(i)(A)(2)




                                              Where:                                                  n = number of EtO charges                             Determine the mass of EtO sent to
                                              MSCV,n = theoretical total mass of EtO sent to          MW = molecular weight of EtO, 44.05 grams             controls from all non-SCV affected
                                                  controls per charge                                     per gram-mole (g/g-mole) (44.05 pounds            sources, I, using equation 4 to this
                                              Qm = volumetric flow rate, liters per minute                per pound-mole (lb/lb-mole))                      paragraph. For facilities where EtO use
                                                  (L/min) corrected to 20 °C and 101.325              SV = standard volume, 24.05 liters per gram-
                                                                                                                                                            is less than 4 tpy, if not all Group 2
                                                  kilopascals (kPa) (scf per minute (scfm)                mole (L/g-mole) at 20 °C and 101.325 kPa
                                                                                                                                                            room air emissions are routed to a
                                                  corrected to 68 °F and 1 atmosphere of                  (385.1 scf per pound-mole (scf/lb-mole)
                                                                                                                                                            control device, do not include Group 2
                                                                                                          at 68 °F and 1 atm).
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                                                  pressure (atm))
                                                                                                                                                            room air emissions in I, and subtract
                                              Tn = time duration of each charge, min                    (B) Determine the adjustment factor (f)
                                              %EOv = volume fraction percent of EtO                                                                         0.002 from this factor.
                                                                                                                                                                                                         ER05AP24.034</GPH>




                                                                                                      using equation 8 to this paragraph.
                                                                                                                                                                                                         ER05AP24.033</GPH>




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                                                                              Equations 3 and 4 to paragraph (f)(l)(i)(B)

                                                                                                                                   I
                                                                                                                        f = 0.99 - -                                  (Eq. 3)
                                                                                                                                         M,aa

                                              Where:                                                   I = Mass of non-SCV EtO routed to control            MFac = Facility EtO use over the previous 30-
                                              f = Adjustment factor.                                        devices over the previous 30 operating              operating days, in pounds, as determined
                                                                                                            days                                                in accordance with equation 11 of
                                                                                                                                                                § 63.364(i)(2)



                                                                                                   I   = L,,,=1
                                                                                                         ~n Mt:J.                                   (Eq. 4)


                                              Where:                                                        inlet of the control system) for each non-      i = Non-SCV emission stream index.
                                              I = Mass of non-SCV EtO routed to control                     SCV emission stream, as calculated using        n = Total number of non-SCV emission
                                                   devices over the previous 30 operating                   equation A–3 and determined in                       streams.
                                                                                                            accordance with appendix A to this
                                                   days                                                                                                       (C)(1) Determine the mass rate of EtO
                                                                                                            subpart. The term ‘‘Mc,i’’ as used in this
                                              Mc,i = The 30-operating day total mass sent                   equation is equivalent to the term              sent to controls during the previous 30
                                                   to controls (i.e., monitoring data at the                ‘‘E30day’’ as designated in equation A–3.       days using equation 5 to this paragraph.


                                                                   Equation 5 to paragraph (f)(l)(i)(C)(l)

                                                                                                             n

                                                                                         Mscv = fx          L
                                                                                                            1=1
                                                                                                                  Mscv.-                                                        (Eq. 5)


                                              Where:                                                      (i) Single unit-single stack                      stack and attribute all of the emissions
                                              MSCV = Total mass of EtO sent to controls                configurations. For an emission source               measured at the common stack to the
                                                   over the previous 30 operating days, g/             that exhausts to the atmosphere through              emission source(s).
                                                   hr (lb/hr)                                          a single, dedicated stack, you shall                    (B) If you choose the common stack
                                              f = Adjustment factor                                    either install the required CEMS in the              monitoring option:
                                              MSCV,n = Theoretical mass of EtO sent to                 stack or at a location in the ductwork                  (1) For each hour in which valid data
                                                   controls per charge per chamber, g (lb)
                                              n = Total number of charges during the
                                                                                                       downstream of all emissions control                  are obtained for all parameters, you
                                                   previous 30 operating days                          devices, where the pollutant and                     must calculate the pollutant emission
                                                                                                       diluents concentrations are                          rate; and
                                                (2) If both this approach is chosen and                representative of the emissions that exit               (2) You must assign the calculated
                                              the SCV is (or SCVs are) combined with                   to the atmosphere.                                   pollutant emission rate to each of the
                                              another emission stream, then the                           (ii) Unit utilizing common stack with             units subject to the rule that share the
                                              owner or operator cannot monitor the                     other emission source(s). When an                    common stack.
                                              point after the combination occurs.                      emission source utilizes a common                       (iv) Unit with multiple parallel
                                                (ii) Room air emissions. If room air                   stack with one or more other emission                control devices with multiple stacks. If
                                              emissions are both subject to an                         sources, but no emission sources not                 the exhaust gases from an emission
                                              emission standard and split between                      subject to this rule, you shall either:              source, which is configured such that
                                              two or more control systems, then                           (A) Install the required CEMS in the              emissions are controlled with multiple
                                              monitoring must be conducted for room                    duct from each emission source, leading              parallel control devices or multiple
                                              air emissions before they are combined                   to the common stack; or                              series of control devices are discharged
                                              with other streams.                                         (B) Install the required CEMS in the              to the atmosphere through more than
                                                (2) EtO CEMS on exhaust                                common stack.                                        one stack, you shall install the required
                                              configurations. Exhaust gases from the                      (iii) Unit(s) utilizing common stack              CEMS described in each of the multiple
                                              emission sources under this subpart                      with non-commercial sterilization                    stacks. You shall calculate hourly, flow-
                                                                                                                                                                                                            ER05AP24.037</GPH>




                                              exhaust to the atmosphere through a                      emission source(s). (A) When one or                  weighted, average pollutant emission
                                              variety of different configurations,                     more emission sources shares a common                rates for the unit as follows:
                                              including but not limited to individual                  stack with one or more emission sources                 (A) Calculate the pollutant emission
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                                              stacks, a common stack configuration, or                 not subject to this rule, you shall either:          rate at each stack or duct for each hour
                                              a main stack plus a bypass stack. For the                   (1) Install the required CEMS in the              in which valid data are obtained for all
                                                                                                                                                                                                            ER05AP24.036</GPH>




                                              CEMS used to provide data under this                     ducts from each emission source that is              parameters;
                                              subpart, the continuous monitoring                       subject to this rule, leading to the                    (B) Multiply each calculated hourly
                                              system installation requirements for                     common stack; or                                     pollutant emission rate at each stack or
                                              these exhaust configurations are as                         (2) Install the required CEMS                     duct by the corresponding hourly gas
                                                                                                                                                                                                            ER05AP24.035</GPH>




                                              follows:                                                 described in this section in the common              flow rate at that stack or duct;


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                                                 (C) Sum the products determined                      exhaust flow rate over a range that                   also maintain the pressure differential at
                                              under paragraph (f)(2)(iv)(B) of this                   extends from a value of at least 20                   or above 0.007 inches of water over a
                                              section; and                                            percent less than the lowest expected                 three-hour rolling average.
                                                 (D) Divide the result obtained in                    exhaust flow rate to a value of at least                (i) This monitoring system must
                                              paragraph (f)(2)(I(C) of this section by                20 percent greater than the highest                   measure the pressure differential
                                              the total hourly gas flow rate for the                  expected exhaust flow rate.                           between the interior and exterior of the
                                              unit, summed across all of the stacks or                   (iii) The flow rate monitoring system              PTE, with at least one monitoring device
                                              ducts.                                                  must be equipped with a data                          located in each room that borders the
                                                 (g) PTE monitoring. If you are                       acquisition and recording system that is              PTE. These monitoring devices shall be
                                              required to operate all or a portion of                 capable of recording values over the                  designed to provide measurements of
                                              your sterilization facility under PTE                   entire range specified in paragraph                   pressure differential to at least the
                                              conditions, you must:                                   (g)(3)(ii) of this section.                           nearest 0.001 inches of water and
                                                 (1) Initial compliance. Demonstrate                     (iv) The signal conditioner, wiring,               having a complete cycle time no greater
                                              initial procedures in § 63.365(g)(1) and                power supply, and data acquisition and                than 5 minutes.
                                              continued compliance with the                           recording system for the flow rate                      (ii) A data acquisition system for the
                                              provisions in this section. You must                    monitoring system must be compatible                  monitoring system shall compute and
                                              follow the requirements of either                       with the output signal of the flow rate               record each 3-hour average pressure
                                              paragraphs (g)(2) and (3) of this section               sensors used in the monitoring system.                differential value, rolled hourly. This
                                              or paragraph (g)(4) of this section.                       (v) The flow rate monitoring system                must be done by first averaging the
                                                 (2) Continuous compliance. If you                    must be designed to complete a                        pressure differential readings over a
                                              choose to demonstrate continuous                        minimum of one cycle of operation for                 clock hour, i.e., beginning and ending
                                              compliance through volumetric flow                      each successive 15-minute period.                     on the hour. All data collected during
                                              rate monitoring, you must monitor and                      (vi) The flow rate sensor must have
                                              record at least every 15 minutes the                                                                          the operating hour must be used, even
                                                                                                      provisions to determine the daily zero                in portions of the facility covered by
                                              volumetric flow rate from each outlet                   and upscale calibration drift (CD) (see
                                              where air from the PTE is sent using a                                                                        PTE that are not operated for a complete
                                                                                                      sections 3.1 and 8.3 of Performance                   hour. Then, the average of the previous
                                              flow rate monitoring system described                   Specification 2 in appendix B to Part 60
                                              in paragraph (g)(3) of this section.                                                                          3 operating hours must be calculated to
                                                                                                      of this chapter for a discussion of CD).              determine the 3-hour rolling average
                                              Monitoring is required when the portion                    (A) Conduct the CD tests at two
                                              of the facility covered by PTE is                                                                             pressure differential. If data are not
                                                                                                      reference signal levels, zero (e.g., 0 to 20          recorded from an alternative monitoring
                                              operated. A data acquisition system for                 percent of span) and upscale (e.g., 50 to
                                              the flow rate monitoring system shall                                                                         device, during any malfunction of the
                                                                                                      70 percent of span).                                  principal monitoring device(s) or the
                                              compute and record each 3-hour average                     (B) The absolute value of the
                                              flow rate value, rolled hourly. This must                                                                     automatic recorder, you must manually
                                                                                                      difference between the flow monitor
                                              be done by first averaging the flow rate                                                                      record the measured data at least
                                                                                                      response and the reference signal must
                                              readings over a clock hour, i.e.,                                                                             hourly.
                                                                                                      be equal to or less than 3 percent of the
                                              beginning and ending on the hour. All                                                                           (h) Sterilization chamber end-cycle
                                                                                                      flow monitor span.
                                              data collected during the operating hour                   (vii) You must perform an initial                  EtO concentration. As part of your
                                              must be used, even the portion of the                   relative accuracy test of the flow rate               monitoring plan, you must document
                                              facility covered by PTE is not operated                 monitoring system according to section                your approach for determining the EtO
                                              for a complete hour. Then, the average                  8.2 of Performance Specification 6 of                 sterilization chamber concentration. If
                                              of the previous 3 operating hours must                  appendix B to part 60 of the chapter                  you choose a parametric approach you
                                              be calculated to determine the 3-hour                   with the exceptions in paragraphs                     must meet the requirements in
                                              rolling average flow rate. You must                     (g)(3)(vii)(A) and (B) of this section.               paragraph (h)(1) of this section and if
                                              maintain the 3-hour rolling average flow                   (A) The relative accuracy test is to               you choose a direct measurement
                                              rate above the applicable operating                     evaluate the flow rate monitoring                     approach you must meet the
                                              limits established during the most                      system alone rather than a continuous                 requirements in paragraph (h)(2) of this
                                              recent compliance demonstration.                        emission rate monitoring system.                      section. Alternatively, you may petition
                                                 (3) Continuous flow rate monitoring                     (B) The relative accuracy of the flow              the administrator for an alternative
                                              system for PTE. You must install,                       rate monitoring system shall be no                    monitoring approach under § 63.8(f).
                                              operate, calibrate, and maintain                        greater than 10 percent of the mean                     (1) If you choose a parametric
                                              instruments, according to the                           value of the reference method data.                   approach for determining chamber EtO
                                              requirements in paragraphs (g)(3)(i)                       (viii) You must verify the accuracy of             concentrations you must document
                                              through (ix) of this section, for                       the flow rate monitoring system at least              parameter(s) used in the calculation to
                                              continuously measuring and recording                    once per year by repeating the relative               determine of EtO concentrations and the
                                              the stack gas flow rate to allow                        accuracy test specified in paragraph                  calculation(s) used to determine the
                                              determination of compliance with the                    (g)(3)(vii) of this section.                          chamber concentration. Any
                                              minimum volumetric flow rate through                       (ix) You must operate the flow rate                instrumentation used for parametric
                                              the affected stack operating limit(s).                  monitoring system and record data                     monitoring must also be identified in
                                                 (i) You must install each sensor of the              during all periods of operation of the                the monitoring plan and at a minimum
                                              flow rate monitoring system in a                        affected facility including periods of                this plan should include the following
                                              location that provides representative                   startup, shutdown, and malfunction.                   for each instrument:
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                                              measurement of the exhaust gas flow                        (4) Pressure differential monitor. You               (i) Parameter measured and
                                              rate. The flow rate sensor is that portion              must instead install, operate, calibrate,             measurement principle of the monitor.
                                              of the system that senses the volumetric                and maintain a continuous pressure                      (ii) Instrument name, model number,
                                              flow rate and generates an output                       differential monitoring system, as                    serial number, and range.
                                              proportional to that flow rate.                         follows, to verify the presence of PTE.                 (iii) Manufacturer recommended
                                                 (ii) The flow rate monitoring system                 You must operate this system whenever                 operation practices, including daily
                                              must be designed to measure the                         the facility is in operation. You must                operational check.


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                                                 (iv) Procedures for calibration, the                    (i) Instrument name, model number,                 monitor and record on a daily basis the
                                              frequency of calibration, and accuracy                  serial number, and range.                             daily and 30-operating day EtO usage
                                              requirements of the calibration.                           (ii) Description of the measurement                according to the requirements of this
                                                 (v) Description for how the                          principle and any potential                           paragraph. Additionally, you must
                                              information from the parameter monitor                  interferences.                                        record EtO usage for each calendar
                                              is being collected and stored.                             (iii) If applicable, the description of            month.
                                                 (2) If you choose a direct                           the sampling condition system.                          (1) Monitor and record on a daily
                                              measurement approach for determining                       (iv) Procedures for calibration, the               basis, the daily total mass of ethylene
                                              chamber EtO calibrations you must                       frequency of calibration, and accuracy                oxide, in pounds, used at the facility.
                                              document the procedures used for the                    requirements of the calibration.                      The daily total mass must be
                                              operation of the instruments. Any                          (v) Description for how the                        determined using the methodology
                                              instrument used for direct measurement                  information from the parameter monitor                specified in § 63.365(c)(1)(i) and (ii).
                                              of EtO must be identified in the                        is being collected and stored.                          (2) Determine and record daily the 30-
                                              monitoring plan and at a minimum this                      (i) EtO usage. If you own or operate               operating day rolling ethylene oxide
                                              plan must include the following                         a sterilization facility subject to the               usage rate using equation 6 to this
                                              information:                                            requirements of this subpart you must                 paragraph.


                                                                              Equation 6 to paragraph (i)(2)




                                                                                                                                                                      (Eq. 6)


                                              Where:                                                     (1) Select the location of the sampling               (5) Determine the EtO concentration
                                              MFac = Facility EtO use over the previous 30            ports and the number of traverse points               according to either paragraph (b)(5)(i) or
                                                   operating days, in pounds.                         according to Method 1 of appendix A–                  (ii) of this section.
                                              mFac,i = Daily EtO use for operating day i, in          1 to part 60 of this chapter.                            (i) Follow Method 320 of appendix A
                                                   pounds, as determined in accordance                Alternatively, for ducts less than 0.3                to this part and the following
                                                   with paragraph (i)(1) of this section              meter (12 in.) in diameter, you may                   paragraphs (5)(i)(A) through (D).
                                              i = Operating day index.                                                                                         (A) The instrumentation used for
                                                                                                      choose to locate sample ports according
                                               (3) Determine and record the total                     to Method 1A of appendix A–1 to part                  measurement must have the
                                              mass of EtO used in each calendar                       60 of this chapter.                                   measurement range to properly quantify
                                              month.                                                     (2) Determine the flow rate through                the EtO in the gas stream. Additionally,
                                                                                                      the control system exhaust(s)                         for outlet emission streams, the
                                              § 63.365   Test methods and procedures.                                                                       instrumentation must have a method
                                                                                                      continuously during the test period
                                                 (a) General—(1) Performance testing                  according to either Methods 2, 2A, or 2C              detection limit an order of magnitude
                                              for facility where EtO use is less than                 of appendix A–1 to part 60 of this                    below concentration equivalent of the
                                              100 pounds per year. If you own or                      chapter, as appropriate. If using Method              emission limit.
                                              operate an affected source at a facility                2, 2A, or 2C, you must complete                          (B) Instrumentation used must be
                                              where EtO use is less than 100 lb/yr that               velocity traverses immediately before                 continuous in nature with an averaging
                                              is subject to an emission standard in                                                                         time of one minute or less.
                                                                                                      and subsequently after each test run. If
                                              § 63.362, you must comply with the                                                                               (C) Calibration Spectra and all other
                                                                                                      your test run is greater than 1 hour, you
                                              performance testing requirements in                                                                           analyte spiking required in the method
                                                                                                      must also complete a velocity traverse at             must use EtO gaseous cylinder
                                              § 63.7, according to the applicability in               least every hour. Average the velocity
                                              table 6 to this subpart, using the                                                                            standard(s) which meet the criteria
                                                                                                      collected during a test run and calculate             found in Performance Specification 19
                                              methods in paragraph (b) or (c) of this                 volumetric flow as outlined in the
                                              section, following the applicable                                                                             of appendix B to part 60 if this chapter.
                                                                                                      appropriate method.                                      (D) Other methods and materials may
                                              procedures for initial compliance and                      (3) Determine the oxygen and carbon                be used; however, these alternative test
                                              continuous compliance in paragraphs                     dioxide concentration of the effluent                 methods are subject to Administrator
                                              (d), (e), and (f) of this section.                      according to Method 3A or 3B of                       approval.
                                                 (2) Facilities subject to capture                    appendix A–2 to part 60 of this chapter.                 (ii) Alternatively, ASTM D6348–12
                                              efficiency. If you are subject to capture               The manual procedures (but not                        (Reapproved 2020), (incorporated by
                                              efficiency requirements in § 63.362, you                instrumental procedures) of voluntary                 reference, see § 63.14) may be used with
                                              must follow the applicable procedures                   consensus standard ANSI/ASME PTC                      the following conditions:
                                              for initial and continuous compliance in                19.10–1981 (incorporated by reference,                   (A) The test plan preparation and
                                              paragraph (f) of this section.                          see § 63.14) may be used as an                        implementation in the Annexes to
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                                                 (b) Test methods for facility where                  alternative to EPA Method 3B.                         ASTM D 6348–12 (R2020), Sections A1
                                              EtO use is less than 100 pounds per                        (4) Determine the moisture content of              through A8 are mandatory; and
                                              year. You must use the following test                   the stack gas according to Method 4 of                   (B) In ASTM D6348–12 (R2020)
                                              methods to determine the average mass                   appendix A–3 to part 60 of this chapter.              Annex A5 (Analyte Spiking Technique),
                                              emissions of EtO in lb/hr at the inlet of               Alternatively, you may use an on-line                 the percent (%) R must be determined
                                              a control system (MAPCD, i) and/or outlet               technique that has been validated using               for each target analyte (equation A5.5).
                                                                                                                                                                                                          ER05AP24.038</GPH>




                                              of a control system or stack (EAPCD, o).                Method 301 of appendix A to this part.                In order for the test data to be acceptable


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                                              for a compound, %R must be 70% ≥ R                       for that analyte (i.e., the sampling and/             measurements must be corrected with
                                              ≤ 130%. If the %R value does not meet                    or analytical procedure should be                     the calculated %R value for that
                                              this criterion for a target compound, the                adjusted before a retest). The %R value               compound by using equation 1 to this
                                              test data is not acceptable for that                     for each compound must be reported in                 paragraph:
                                              compound and the test must be repeated                   the test report, and all field


                                                                           Equation 1 to paragraph (b)(5)(ii)

                                                                           Reported Results= ((Measured Concentration in Stack))/(¾R) x 100.]

                                                (6) Calculate the mass emission of EtO
                                              by using equations 2 and 3 to this
                                              paragraph:


                                                                 Equations 2 and 3 to paragraph (b)(6)

                                                                                                      CBto.£ X Qt X 44.0S
                                                                                                                                                                                (Eq. 2)
                                                                                    MacD.m =                385.1 X 106

                                                                                                     CBtOp X Qo X 44.05
                                                                                                                                                                                (Eq. 3)
                                                                                    Baco.o       =      385.1 x 109

                                              Where:                                                   MW/385.1 × 109 = conversion factor, from                 (1) Determine the mass (MSCV,n) of
                                              MAPCD, i = average inlet mass rate of EtO per              ppbv at standard conditions to lb/cf                EtO used for each charge and at each
                                                  hour, lb/hr                                             (c) Alternative approach for SCVs for              sterilization chamber used during the
                                              CEtO,i = inlet EtO concentration, ppmdv.                 facility where EtO use is less than 100               performance tests using the procedures
                                              Qi = average inlet volumetric flow per hour              pounds per year. If you do not own or                 in either paragraph (c)(1)(i) or (ii) of this
                                                  at standard conditions, dscf/hr                      operate a single-item sterilizer, to                  section.
                                              44.05 = molecular weight (MW) of EtO, lb/                demonstrate compliance with the
                                                  lb-mole
                                                                                                                                                                (i) Weigh the EtO gas cylinder(s) used
                                                                                                       percent emission reduction standards
                                              MW/385.1 × 106 = conversion factor, from                                                                       to charge the sterilizer(s) before and
                                                                                                       for emissions streams that are
                                                  ppmv at standard conditions to lb/cf                 comprised only of SCVs, you may use                   after charging. Record these weights to
                                              EAPCD, o = average outlet mass rate of EtO per           the following procedures as an                        the nearest 45 g (0.1 lb) and calculate
                                                  hour, lb/hr                                          alternative to paragraph (b) of this                  the theoretical mass (MSCV,n) vented to
                                              CEtO,o = outlet EtO concentration, ppbdv.                section to determine the mass emissions               the controls using equation 4 to this
                                              Qo = average outlet volumetric flow per hour             of EtO being emitted via sterilization                paragraph.
                                                  at standard conditions, dscf/hr                      chamber(s) vents prior to the controls.


                                                                 Equation 4 to paragraph (c)(l)(i)

                                                                                    Mscv.n = Mm.r.x 96BOw                                                                       (Eq. 4)

                                              Where:                                                         %E.O.w = weight percent of EtO                  of each sterilizer charge. Calculate the
                                                 MSCV,n = Theoretical total mass of EtO                                                                      theoretical mass (MSCV,n) vented to the
                                                                                                                                                                                                             ER05AP24.042</GPH>


                                                 vented to controls per charge, g (lb)                   (ii) Install a calibrated rate meter at
                                                                                                                                                             controls using equation 5 to this
                                                 Mcharge = total mass of sterilizer gas                the sterilizer inlet(s) and continuously
                                                                                                                                                             paragraph.
                                                 charge, g (lb)                                        measure the flow rate (Qm) and duration
                                                                                                                                                                                                             ER05AP24.041</GPH>




                                                                Equation 5 to paragraph (c)(l)(ii)
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                                                                                                                                                                                 (Eq. 5)
                                                                                                                                                                                                             ER05AP24.040</GPH>




                                              Where:                                                         MSCV,n = Total mass of EtO sent to                   Qm = volumetric flow rate, liters per
                                                                                                             controls per charge                                  minute (L/min) corrected to 20 °C and
                                                                                                                                                                                                             ER05AP24.039</GPH>




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                                                   101.325 kilopascals (kPa) (scf per minute                MW = molecular weight of EtO, 44.05                  101.325 kPa (385.1 scf per pound-mole
                                                   (scfm) corrected to 68 °F and 1                          grams per gram-mole (g/g-mole) (44.05                (scf/lb-mole) at 68 °F and 1 atm).
                                                   atmosphere of pressure (atm))                            pounds per pound-mole (lb/lb-mole))
                                                   Tn = time duration of each charge, min                                                                     (2) Determine the mass rate of EtO
                                                                                                            SV = standard volume, 24.05 liters per
                                                   n = number of EtO charges                                                                                sent to controls during the performance
                                                                                                            gram-mole (L/g-mole) at 20 °C and
                                                   %E.O.v = volume fraction percent of EtO                                                                  test using equation 6 to this paragraph.


                                                                 Equation 6 to paragraph (c)(2)


                                                                                                                                                                               (Eq. 6)


                                              Where:                                                  from this category, where each run shall              procedures shall be used to demonstrate
                                                 MSCV = Total mass of EtO sent to                     consist of the entirety of the sterilizer             compliance with a removal efficiency
                                                 controls per hour, g/hr (lb/hr)                      chamber evacuation and subsequent                     standard. In addition to these
                                                 MSCV,n = Total mass of EtO sent to                   washes. The owner or operator may not                 procedures, the procedures in paragraph
                                                 controls per charge per chamber, g (lb)              conduct performance tests during                      (e) of this section must be followed to
                                                 Tt = Total time of the performance test,
                                                 hour
                                                                                                      periods of malfunction. The owner or                  establish the operating parameter limits
                                                 n = Total number of charges during                   operator must record the process                      for each applicable emission control(s).
                                                 testing period                                       information that is necessary to                         (1) You may determine the mass rate
                                                 f = Portion of EtO use that is assumed to            document operating conditions during                  emissions of the stream prior to the
                                                 be routed to the control system (0.93 if             the test and include in such record an                control system and at the outlet of the
                                                 aeration is conducted in separate vessel;            explanation to support that such
                                                 0.98 otherwise)                                                                                            control system using the test methods in
                                                                                                      conditions represent the entire range of              paragraph (b) of this section. If the vent
                                                (d) Compliance determination for                      normal operation, including operational               stream is comprised only of one or more
                                              facility where EtO use is less than 100                 conditions for maximum emissions if                   SCVs, then you may use the procedures
                                              pounds per year. Each compliance                        such emissions are not expected during                in paragraph (c) of this section for the
                                              demonstration shall consist of three                    maximum production. The owner or                      mass rate emissions at the inlet.
                                              separate runs using the applicable                      operator must also account for the
                                              methods in paragraph (b) or (c) of this                 control system residence time when                       (2) Calculate the total mass of EtO per
                                              section. To determine compliance with                   conducting the performance test. Upon                 hour that is routed to the control system
                                              the relevant standard, arithmetic mean                  request, the owner or operator shall                  by summing the mass of EtO per hour
                                              of the three runs must be used. These                   make available to the Administrator                   from each vent.
                                              procedures may be performed over a run                  such records as may be necessary to                      (3) Determine percent emission
                                              duration of 1-hour (for a total of three                determine the conditions of                           reduction (%ER) using the equation 7 to
                                              1-hour runs), except for the SCV testing                performance tests. The following                      this paragraph:


                                                                 Equation 7 to paragraph (d) (3)


                                                                                                                                                                               (Eq. 7)


                                              Where:                                                  device and then monitor the                           to determine the ethylene glycol
                                                 % ER = percent emission reduction                    parameter(s) for each control device.                 concentration.
                                                 MAPCD,i = total mass of EtO per hour to              The procedures in the following                          (ii) Scrubber liquor tank level. During
                                                 the control device                                   paragraphs shall be used to establish the             the performance test, you must monitor
                                                 EAPCD,o = total mass of EtO per hour from            parameter operating limits to be                      and record the scrubber liquor tank
                                                 the control device                                   continually monitored in § 63.364.                    level to the nearest 1⁄4 inch at the end
                                                (4) Repeat these procedures two                          (1) Acid-water scrubbers. The                      of each of the three test runs. Use the
                                              additional times. The arithmetic average                procedures in paragraph (e)(1) of this                data collected during the most recent
                                              percent efficiency of the three runs shall              section shall be used to determine the                performance test to calculate the average
                                              determine the overall efficiency of the                 operating limits for acid-water                       scrubber liquor tank level. This scrubber
                                              control system.                                         scrubbers.                                            liquor tank level is the maximum
                                                (e) Determination of operating limits                    (i) Ethylene glycol concentration. For             operating limit for your scrubber liquor
                                              for control device(s). If you are using                 determining the ethylene glycol                       tank. Repeat this procedure for every
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                                              performance testing to demonstrate                      concentration operating limit, you must               scrubber liquor tank that is included in
                                              compliance with removal efficiency                      establish the maximum ethylene glycol                 the performance test.
                                                                                                                                                                                                         ER05AP24.044</GPH>




                                              standards, and if you are not                           concentration as the ethylene glycol                     (iii) Scrubber liquor pH. During the
                                              demonstrating continual compliance                      concentration averaged over three test                performance test, you must monitor and
                                              with the applicable standard(s) using an                runs; use the sampling and analysis                   record the scrubber liquor pH at least
                                              EtO CEMS, you must also determine the                   procedures in ASTM D3695–88                           once every 15 minutes during each of
                                                                                                                                                                                                         ER05AP24.043</GPH>




                                              operating limit(s) for each control                     (incorporated by reference, see § 63.14)              the three test runs. You must use pH


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                                              monitors as described in § 63.364(b)(3).                averages of the test runs. These                      approve appropriate test methods and
                                              Use the data collected during the most                  arithmetic averages of the test runs are              procedures.
                                              recent performance test to calculate the                the minimum operating limits for your                    (f) Determination of compliance with
                                              average scrubber pH measured. This                      catalytic oxidizer, unless it exceeds the             PTE requirement. If you are required to
                                              scrubber liquor pH is the maximum                       recommended maximum oxidation                         operate any portion of your facility with
                                              operating limit for your acid-water                     temperature provided by the oxidation                 PTE, you must demonstrate initial
                                              scrubber. Repeat this procedure for                     unit manufacturer. If this occurs, the                compliance with the requirements of
                                              every scrubber liquor tank that is                      minimum operating limit for your                      this subpart by following the procedures
                                              included in the performance test.                       catalytic oxidizer consists of the                    of paragraphs (f)(1) through (3) of this
                                                (2) Thermal oxidizers. The procedures                 recommended maximum oxidation                         section, as applicable, during the initial
                                              in this paragraph shall be used to                      temperature provided by the oxidation                 compliance demonstration or during the
                                              determine the operating limits for                      unit manufacturer.                                    initial certification of the CEMS tests.
                                              thermal oxidizers.                                        (iv) Paragraphs (e)(3)(i) through (iii) of             (1) Determine the capture efficiency
                                                (i) During the performance test, you                  this section must be completed for each               by verifying the capture system meets
                                              must monitor and record the                             catalytic oxidizer that is involved in the            the criteria in section 6 of Method 204
                                              temperature at least once every 15                      performance test.                                     of appendix M to part 51 of this chapter
                                              minutes during each of the three test                     (4) Gas/solid reactors. During the                  and directs all the exhaust gases from
                                              runs. You must monitor the temperature                  performance test, you must monitor and                the enclosure to an add-on control
                                              in the firebox of the thermal oxidizer or                                                                     device.
                                                                                                      record the gas/solid reactor pressure
                                              immediately downstream of the firebox.                                                                           (2) Ensure that the air passing through
                                                                                                      drop at least once every 15 minutes
                                              You must use temperature monitors as                                                                          all NDOs flows into the enclosure
                                                                                                      during each of the three test runs. Use
                                              described in § 63.364(c)(4).                                                                                  continuously. If the facial velocities
                                                                                                      the data collected during the most
                                                (ii) Use the data collected during the                                                                      (FVs) are less than or equal to 9,000
                                                                                                      recent performance test to calculate the
                                              performance test to calculate and record                                                                      meters per hour (492 feet per minute),
                                                                                                      gas/solid reactor pressure measured.
                                              the average temperature for each test                                                                         the continuous inward flow of air shall
                                                                                                      This gas/solid reactor pressure is the
                                              run maintained during the performance                                                                         be verified by continuous observation
                                                                                                      maximum operating limit for your gas/
                                              test. The average temperature of the test                                                                     using smoke tubes, streamers, tracer
                                                                                                      solid. Repeat this procedure for every
                                              runs is the minimum operating limit for                                                                       gases, or other means approved by the
                                                                                                      gas/solid reactor that is included in the
                                              your thermal oxidizer, unless it exceeds                                                                      Administrator over the period that the
                                                                                                      performance test.
                                              the recommended maximum oxidation                                                                             volumetric flow rate tests required to
                                              temperature provided by the oxidation                     (5) Other control system for facility
                                                                                                                                                            determine FVs are carried out. If the FVs
                                              unit manufacturer. If this occurs, the                  where EtO use is less than 100 pounds
                                                                                                                                                            are greater than 9,000 meters per hour
                                              minimum operating limit for your                        per year. If you seek to demonstrate
                                                                                                                                                            (492 feet per minute), the direction of
                                              thermal oxidizer consists of the                        compliance with a standard found at
                                                                                                                                                            airflow through the NDOs shall be
                                              recommended maximum oxidation                           § 63.362 with a control device other
                                                                                                                                                            presumed to be inward at all times
                                              temperature provided by the oxidation                   than an acid-water scrubber, catalytic
                                                                                                                                                            without verification.
                                              unit manufacturer.                                      oxidizer, thermal oxidizer, or gas/solid                 (3) If you are demonstrating
                                                (iii) Paragraphs (e)(2)(i) and (ii) of this           reactor, you must provide to the                      continuous compliance through
                                              section must be completed for each                      Administrator the information requested               monitoring the volumetric flow rate,
                                              thermal oxidizer that is involved in the                under § 63.363(e). You must submit a                  you must monitor and record the
                                              performance test.                                       monitoring plan that contains the                     volumetric flow rate (in cubic feet per
                                                (3) Catalytic oxidizers. The                          following items: a description of the                 second) from the PTE through the
                                              procedures in this paragraph shall be                   device; test results collected in                     stack(s) at least once every 15 minutes
                                              used to determine the operating limits                  accordance with § 63.363(e) verifying                 during each of the three test runs. Use
                                              for catalytic oxidizers.                                the performance of the device for                     the data collected during the most
                                                (i) Prior to the start of the performance             controlling EtO emissions to the                      recent compliance demonstration to
                                              test, you must check the catalyst bed for               atmosphere to the levels required by the              calculate the average volumetric flow
                                              channeling, abrasion, and settling. If                  applicable standards; the appropriate                 rate measured during the compliance
                                              problems are found during the                           operating parameters that will be                     demonstration. This volumetric flow
                                              inspection, you must replace the                        monitored, identifying the ongoing QA                 rate is the minimum operating limit for
                                              catalyst bed or take other correction                   procedures and performance                            the stack. Repeat this procedure for
                                              action consistent with the                              specifications that will be conducted on              every stack that is included in the
                                              manufacturer’s recommendations.                         the instruments; the frequency of                     compliance demonstration.
                                                (ii) During the performance test, you                 conducting QA and performance
                                              must monitor and record the                             checks; and the frequency of measuring                § 63.366    Reporting requirements.
                                              temperature at the inlet to the catalyst                and recording to establish continuous                   (a) General requirements. The owner
                                              bed and the temperature difference                      compliance with the standards. Your                   or operator of an affected source subject
                                              across the catalyst bed at least once                   monitoring plan is subject to the                     to the emissions standards in § 63.362
                                              every 15 minutes during each of the                     Administrator’s approval. Upon                        must fulfill all reporting requirements in
                                              three test runs. You must use                           approval by the Administrator you must                § 63.10(a), (d), (e), and (f), according to
                                              temperature monitors as described in                    install, calibrate, operate, and maintain             the applicability in table 6 to this
                                              § 63.364(c)(4).                                         the monitor(s) approved by the                        subpart. These reports will be made to
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                                                (iii) Use the data collected during the               Administrator based on the information                the Administrator at the appropriate
                                              performance test to calculate and record                submitted in your monitoring plan. You                address identified in § 63.13 or
                                              the average temperature at the inlet to                 must include in your monitoring plan                  submitted electronically.
                                              the catalyst bed and the average                        proposed performance specifications                     (b) Initial compliance report
                                              temperature difference across the                       and quality assurance procedures for                  submission. You must submit an initial
                                              catalyst bed maintained for each test                   your monitors. The Administrator may                  compliance report that provides
                                              run, and then calculate the arithmetic                  request further information and shall                 summary, monitoring system


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                                              performance, and deviation information                  parameter monitoring device                              (vii) The portion of CEV exhaust that
                                              to the Administrator on April 5, 2027,                  calibration. Reports shall also include               was routed to the control system, if
                                              or once the report template for this                    the name, title, and signature of the                 applicable;
                                              subpart has been available on the                       responsible official who is certifying the               (viii) The ID of the EtO CEMS that
                                              Compliance and Emissions Data                           accuracy of the report. If your report is             was used to monitor CEV emissions, if
                                              Reporting Interface (CEDRI) website for                 submitted via CEDRI, the certifier’s                  applicable;
                                              one year, whichever date is later, to the               electronic signature during the                          (ix) The portion of CEV exhaust that
                                              EPA via CEDRI, which can be accessed                    submission process replaces this                      was monitored with the EtO CEMS, if
                                              through the EPA’s Central Data                          requirement. When no deviations have                  applicable;
                                              Exchange (CDX) (https://cdx.epa.gov/).                  occurred or monitoring equipment has                     (4) If emissions from any room in your
                                              The EPA will make all the information                   not been inoperative, repaired, or                    facility are subject to an emission
                                              submitted through CEDRI available to                    adjusted, such information shall be                   standard, you must report the following
                                                                                                      stated in the report. In addition, the                for each room where there is the
                                              the public without further notice to you.
                                                                                                      summary report shall include:                         potential for EtO emissions:
                                              Do not use CEDRI to submit information                                                                           (i) Room ID;
                                              you claim as confidential business                         (1) The following information:
                                                                                                         (i) Date that facility commenced                      (ii) Documentation of emissions
                                              information (CBI). Anything submitted                                                                         occurring within the room, including
                                                                                                      construction or reconstruction;
                                              using CEDRI cannot later be claimed                                                                           aeration, EtO storage, EtO dispensing,
                                                                                                         (ii) Hours of commercial sterilization
                                              CBI. You must use the appropriate                       operation over the previous 12 months;                pre-aeration handling of sterilized
                                              electronic report template on the CEDRI                 and                                                   material, and post-aeration handling of
                                              website (https://www.epa.gov/                              (iii) Monthly EtO use, in tons, over               sterilized material;
                                              electronic-reporting-air-emissions/cedri)               the previous 36 months.                                  (iii) The ID of the control system that
                                              for this subpart. The date report                          (iv) If you are electing to determine              the room air was routed to, if applicable;
                                              templates become available will be                      the mass of EtO sent to the control                      (iv) The portion of room air that was
                                              listed on the CEDRI website. The report                 device from the SCV(s) via the                        routed to the control system, if
                                              must be submitted by the deadline                       procedure in § 63.364(f)(1)(i), you must              applicable;
                                              specified in this subpart, regardless of                report the daily EtO use from each                       (v) The ID of the EtO CEMS that was
                                              the method in which the report is                       applicable chamber for the previous 7                 used to monitor room air emissions, if
                                              submitted. Although we do not expect                    months.                                               applicable;
                                              persons to assert a claim of CBI, if you                   (v) An indication if you are required                 (vi) The portion of room air that was
                                              wish to assert a CBI claim, submit a                    to comply with one or more combined                   monitored with the EtO CEMS, if
                                              complete report, including information                  emission stream limitations. If so,                   applicable;
                                              claimed to be CBI, to the EPA. The CBI                  indicate the affected sources that are                   (5) If an EtO CEMS was used to
                                              report must be generated using the                      included in each combined emission                    demonstrate continuous compliance
                                              appropriate form on the CEDRI website                   stream limitation.                                    with an emission standard for more than
                                              or an alternate electronic file consistent                 (vi) An indication if you are electing             30-operating days, you must report the
                                              with the extensible markup language                     to comply with a site-wide emission                   following:
                                              (XML) schema listed on the CEDRI                        limit. If you are electing to comply with                (i) The information specified in
                                              website. Submit the CBI file on a                       a site-wide emission limit, report the                section 11 of appendix A to this subpart.
                                              compact disc, flash drive, or other                     daily EtO use over the previous 7                        (ii) The affected sources that are
                                                                                                      months.                                               included in each inlet that is being
                                              commonly used electronic storage
                                                                                                         (2) If your sterilization facility is              monitored with EtO CEMS;
                                              medium and clearly mark the medium
                                                                                                      demonstrating continuous compliance                      (iii) The IDs of each inlet(s) to and
                                              as CBI. Mail the electronic medium to                                                                         outlet(s) from each control system.
                                              U.S. EPA/OAQPS/CORE CBI Office,                         through periodic performance testing,
                                                                                                                                                               (iv) The daily sum of EtO for each
                                              Attention: Commercial Sterilization                     you must report the following:
                                                                                                         (i) Control system ID;                             inlet, along with 30-operating day
                                              Facilities Sector Lead, MD C404–02,                                                                           rolling sums.
                                              4930 Old Page Rd., Durham, NC 27703.                       (ii) Control device ID;
                                                                                                         (iii) Control device type; and                        (v) The daily sum of EtO emissions
                                              The same file with the CBI omitted must                                                                       from each outlet of the control system,
                                              be submitted to the EPA via the EPA’s                      (iv) Recirculation tank ID if an acid-
                                                                                                      water scrubber is used to meet the                    along with 30-operating day rolling
                                              CDX as described earlier in this                                                                              sums.
                                              paragraph. All CBI claims must be                       emission standard and you elect to
                                                                                                      comply with the maximum scrubber                         (vi) For each day, calculate and report
                                              asserted at the time of submission.                                                                           the daily mass emission limit that the
                                              Furthermore, under CAA section 114(c),                  liquor height limit;
                                                                                                         (3) You must report the following for              control system must achieve based on
                                              emissions data is not entitled to                                                                             the previous 30 days of data. For control
                                                                                                      each sterilization chamber at your
                                              confidential treatment, and the EPA is                                                                        systems with multiple emission streams,
                                                                                                      facility:
                                              required to make emissions data                            (i) The sterilization chamber ID;                  and complying with a combined
                                              available to the public. Thus, emissions                   (ii) The ID of the control system that             emission stream limitation in § 63.362(i)
                                              data will not be protected as CBI and                   the SCV was routed to, if applicable;                 or a SWEL in § 63.362(j), report the
                                              will be made publicly available. Reports                   (iii) The portion of SCV exhaust that              daily 30-operating day mass emission
                                              of deviations from an operating limit                   was routed to the control system, if                  limit as determined in accordance with
                                              shall include all information required in               applicable;                                           CES in § 63.362(i)(1)(i) and (i)(2)(i) or
                                              § 63.10(c)(5) through (13), as applicable
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                                                                                                         (iv) The ID of the EtO CEMS that was               with § 63.362(j)(1)(i) and (j)(2)(i), as
                                              in table 6 to this subpart, along with                  used to monitor SCV emissions, if                     applicable.
                                              information from any calibration tests in               applicable;                                              (vii) For each day, the mass of EtO
                                              which the monitoring equipment is not                      (v) The portion of SCV exhaust that                emitted from the control system over the
                                              in compliance with Performance                          was monitored with the EtO CEMS, if                   previous 30 operating days.
                                              Specification 19 in appendix B and                      applicable;                                              (6) If any portion of your facility is
                                              Procedure 7 in appendix F to part 60 of                    (vi) The ID of the control system that             required to be operated with PTE, you
                                              this chapter or the method used for                     the CEV was routed to, if applicable;                 must report the following:


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                                                (i) If you are choosing to demonstrate                quarter. Beginning on April 5, 2027, or               electronic signature during the
                                              continuous compliance through the use                   once the report template for this subpart             submission process replaces this
                                              of volumetric flow rate monitoring, you                 has been available on the Compliance                  requirement. When no deviations have
                                              must report the 3-hr rolling average,                   and Emissions Data Reporting Interface                occurred or monitoring equipment has
                                              rolled hourly volumetric flow from each                 (CEDRI) website for 1 year, whichever                 not been inoperative, repaired, or
                                              outlet where air from the PTE is sent, in               date is later, submit all subsequent                  adjusted, such information shall be
                                              cubic feet per second.                                  reports to the EPA via CEDRI, which can               stated in the report. In addition, the
                                                (ii) If you are choosing to demonstrate               be accessed through the EPA’s CDX                     summary report shall include:
                                              continuous compliance through use of                    (https://cdx.epa.gov/). The EPA will                    (1) The information listed in
                                              differential pressure monitoring, you                   make all the information submitted                    paragraphs (b)(1)(i) through (vi) of this
                                              must report the 3-hr rolling average,                   through CEDRI available to the public                 section, with the exception that monthly
                                              rolled hourly pressure differential                     without further notice to you. Do not                 EtO use, in tons, only needs reported for
                                              reading, in inches water.                               use CEDRI to submit information you                   the previous 12 months;
                                                (7) If you are complying with the                     claim as CBI. Anything submitted using                  (2) If your sterilization facility is
                                              requirement to follow the best                          CEDRI cannot later be claimed CBI. You                demonstrating continuous compliance
                                              management practice to limit                            must use the appropriate electronic                   through periodic performance testing,
                                              sterilization chamber concentration of                                                                        you must report the ID for any control
                                                                                                      report template on the CEDRI website
                                              EtO to 1 ppmv prior to opening the                                                                            system that has not operated since the
                                                                                                      (https://www.epa.gov/electronic-
                                              sterilization chamber door, you must                                                                          end of the period covered by the
                                                                                                      reporting-air-emissions/cedri) for this
                                              provide a certification from your                                                                             previous compliance report. If a control
                                                                                                      subpart. The date report templates
                                              responsible official that this approach is                                                                    system has commenced operation since
                                                                                                      become available will be listed on the                end of the period covered by the
                                              being followed and you are meeting the                  CEDRI website. The report must be
                                              monitoring requirements at § 63.362(h).                                                                       previous compliance report, or if any of
                                                                                                      submitted by the deadline specified in                the information in paragraphs (b)(2)(i)
                                                (8) If you own or operate an existing                 this subpart, regardless of the method in
                                              collection of Group 2 room air                                                                                through (iv) of this section has changed
                                                                                                      which the report is submitted. Although               for a control system that was included
                                              emissions at an area source facility and                we do not expect persons to assert a
                                              facility EtO use is less than 4 tpy, you                                                                      in the previous compliance report, you
                                                                                                      claim of CBI, if you wish to assert a CBI             must report the information in
                                              must report the following for each room                 claim, submit a complete report,
                                              where there are Group 2 room air                                                                              paragraphs (b)(2)(i) through (iv) of this
                                                                                                      including information claimed to be                   section for those control systems;
                                              emissions:                                              CBI, to the EPA. The CBI report must be
                                                (i) Room ID;                                                                                                  (3) You must report the ID for any
                                                                                                      generated using the appropriate form on               sterilization chamber that has not
                                                (ii) Number of room air changes per
                                                                                                      the CEDRI website or an alternate                     operated since then end of the period
                                              hour;
                                                (iii) Room temperature, in degrees                    electronic file consistent with the XML               covered by the previous compliance
                                              Celsius; and                                            schema listed on the CEDRI website.                   report. If a sterilization chamber has
                                                (iv) EtO concentration, in ppmv dry                   Submit the CBI file on a compact disc,                commenced operation since the end of
                                              basis (ppbvd).                                          flash drive, or other commonly used                   the period covered by the previous
                                                (9) If you own or operate an existing                 electronic storage medium and clearly                 compliance report, or if any of the
                                              collection of Group 2 room air                          mark the medium as CBI. Mail the                      information in paragraphs (b)(3)(i)
                                              emissions at an area source facility and                electronic medium to U.S. EPA/OAQPS/                  through (ix) of this section has changed
                                              EtO use is less than 4 tpy, you are not                 CORE CBI Office, Attention:                           for a sterilization chamber that was
                                              required to report the information in                   Commercial Sterilization Facilities                   included in the previous compliance
                                              paragraph (b)(8) of this section if you                 Sector Lead, MD C404–02, 4930 Old                     report, you must report the information
                                              meet the following requirements:                        Page Rd., Durham, NC 27703. The same                  in paragraphs (b)(3)(i) through (ix) of
                                                (i) You are complying with the best                   file with the CBI omitted must be                     this section for those sterilization
                                              management practice to limit                            submitted to the EPA via the EPA’s CDX                chambers;
                                              sterilization chamber concentration of                  as described earlier in this paragraph.                 (4) If emissions from any room in your
                                              EtO to 1 ppmv prior to opening the                      All CBI claims must be asserted at the                facility are subject to an emission
                                              sterilization chamber door; and                         time of submission. Furthermore, under                standard, you must report the ID for any
                                                (ii) The requirements of § 63.363 are                 CAA section 114(c), emissions data is                 room where there has not been the
                                              met.                                                    not entitled to confidential treatment,               potential for EtO emissions since the
                                                (10) Report the number of deviations                  and the EPA is required to make                       end of the period covered by the
                                              to meet an applicable standard. For each                emissions data available to the public.               previous compliance report. If a room
                                              instance, report the date, time, the cause              Reports of deviations from an operating               has had the potential for EtO emissions
                                              and duration of each deviation. For each                limit shall include all information                   since the end of the period covered by
                                              deviation the report must include a list                required in § 63.10(c)(5) through (13), as            the previous compliance report, or if
                                              of the affected sources or equipment, an                applicable in table 6 to this subpart, and            any of the information in paragraphs
                                              estimate of the quantity of each                        information from any calibration tests in             (b)(4)(i) through (vi) of this section has
                                              regulated pollutant emitted over any                    which the monitoring equipment is not                 changed for a room where there is the
                                              emission limit, and a description of the                in compliance with Performance                        potential for EtO emissions that was
                                              method used to determine the                            Specification 19 in appendix B and                    included in the previous compliance
                                              emissions.                                              Procedure 7 in appendix F to part 60 of               report, you must report the information
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                                                (c) Quarterly compliance report                       this chapter or the method used for                   in paragraphs (b)(4)(i) through (vi) of
                                              submission. You must submit                             parameter monitoring device                           this section for those rooms;
                                              compliance reports that provide                         calibration. Reports shall also include                 (5) If an EtO CEMS was used to
                                              summary, monitoring system                              the name, title, and signature of the                 demonstrate continuous compliance,
                                              performance, and deviation information                  responsible official who is certifying the            you must report the information
                                              to the Administrator within 30 days                     accuracy of the report. If your report is             specified in paragraphs (b)(5)(i) through
                                              following the end of each calendar                      submitted via CEDRI, the certifier’s                  (vi) of this section.


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                                                (6) If any portion of your facility is                   (ii) After April 5, 2024, the                      commencement date will not be
                                              required to be operated with PTE, you                   requirements in this section and in                   delayed.
                                              must report the information listed in                   § 63.5 apply to owners or operators who                  (B) A separate application shall be
                                              paragraph (b)(6) of this section.                       construct a new facility or reconstruct a             submitted for each construction or
                                                (7) If you are complying with the                     facility subject to these emissions                   reconstruction. Each application for
                                              requirement to follow the best                          standards after April 5, 2024. New or                 approval of construction or
                                              management practice to limit                            reconstructed facilities subject to these             reconstruction shall include at a
                                              sterilization chamber concentration of                  emissions standards with an initial                   minimum:
                                              EtO to 1 ppmv prior to opening the                      startup date before the effective date are               (1) The applicant’s name and address.
                                              sterilization chamber door, you must                    not subject to the preconstruction                       (2) A notification of intention to
                                              provide a certification from your                       review requirements specified in                      construct a new facility subject to these
                                              responsible official that this approach is              paragraphs (b)(2) and (3) of this section             emissions standards or make any
                                              being followed and you are meeting the                  and § 63.5(d)(3) and (4) and (e).                     physical or operational change to a
                                              monitoring requirements at § 63.362(h).                    (2) Advance approval. After April 5,               facility subject to these emissions
                                                (8) If you own or operate an existing                 2024, whether or not an approved                      standards that may meet or has been
                                              collection of Group 2 room air                          permit program is effective in the                    determined to meet the criteria for a
                                              emissions at an area source facility and                jurisdictional authority in which a                   reconstruction, as defined in § 63.2.
                                              facility EtO use is less than 4 tpy, you                facility is (or would be) located, no                    (3) The address (i.e., physical
                                              must report the ID for any room where                   person may construct a new facility or                location) or proposed address of the
                                              Group 2 room air emissions have ceased                  reconstruct a facility subject to these               facility.
                                              since end of the period covered by the                  emissions standards, or reconstruct a                    (4) An identification of the relevant
                                              previous compliance report. If a room                   facility such that the facility becomes a             standard that is the basis of the
                                              has had Group 2 room air emissions                      facility subject to these emissions                   application.
                                              since the end of the period covered by                  standards, without obtaining advance                     (5) The expected commencement date
                                              the previous compliance report, or if                   written approval from the Administrator               of the construction or reconstruction.
                                              any of the information in paragraphs                    in accordance with the procedures                        (6) The expected completion date of
                                              (b)(8)(i) through (iv) of this section has              specified in paragraph (b)(3) of this                 the construction or reconstruction.
                                              changed for a room where there are                      section and § 63.5(d)(3) and (4) and (e).                (7) The anticipated date of (initial)
                                              Group 2 room air emissions that were                       (3) Application for approval of                    startup of the facility.
                                              included in the previous compliance                     construction or reconstruction. The                      (8) The type and quantity of
                                              report, you must report the information                 provisions of paragraph (b)(3) of this                hazardous air pollutants emitted by the
                                              in paragraphs (b)(8)(i) through (iv) of                 section and § 63.5(d)(3) and (4)                      facility, reported in units and averaging
                                              this section for each room where there                  implement section 112(i)(1) of the Act.               times and in accordance with the test
                                              are Group 2 room air emissions.                            (i) General application requirements.              methods specified in the standard, or if
                                                (9) If you own or operate an existing                 (A) An owner or operator who is subject               actual emissions data are not yet
                                              collection of Group 2 room air                          to the requirements of paragraph (b)(2)               available, an estimate of the type and
                                              emissions at an area source facility and                of this section shall submit to the                   quantity of hazardous air pollutants
                                              facility EtO use is less than 4 tpy, you                Administrator an application for                      expected to be emitted by the facility
                                              are not required to report the                          approval of the construction of a new                 reported in units and averaging times
                                              information in paragraph (c)(8) of this                 facility subject to these emissions                   specified. The owner or operator may
                                              section if you meet the requirements in                 standards, the reconstruction of a                    submit percent reduction information, if
                                              paragraph (b)(9) of this section.                       facility subject to these emissions                   the standard is established in terms of
                                                (10) Report the number of deviations                  standards, or the reconstruction of a                 percent reduction. However, operating
                                              to meet an applicable standard. For each                facility such that the facility becomes a             parameters, such as flow rate, shall be
                                              instance, report the date, time, the                    facility subject to these emissions                   included in the submission to the extent
                                              cause, and duration of each deviation.                  standards. The application shall be                   that they demonstrate performance and
                                              For each deviation, the report must                     submitted as soon as practicable before               compliance.
                                              include a list of the affected sources or               the construction or reconstruction is                    (9) Other information as specified in
                                              equipment, the quantity of each                         planned to commence (but not sooner                   paragraph (b)(3)(ii) of this section and
                                              regulated pollutant emitted over any                    than the effective date) if the                       § 63.5(d)(3).
                                              emission limit, and a description of the                construction or reconstruction                           (C) An owner or operator who submits
                                              method used to determine the                            commences after the effective date. The               estimates or preliminary information in
                                              emissions.                                              application shall be submitted as soon                place of the actual emissions data and
                                                (d) Construction and reconstruction                   as practicable before the initial startup             analysis required in paragraphs
                                              application. You must fulfill all                       date but no later than 60 days after the              (b)(3)(i)(B)(8) and (b)(3)(ii) of this
                                              requirements for construction or                        effective date if the construction or                 section shall submit the actual,
                                              reconstruction of a facility in § 63.5,                 reconstruction had commenced and the                  measured emissions data and other
                                              according to the applicability in table 6               initial startup date had not occurred                 correct information as soon as available
                                              to this subpart, and in this paragraph.                 before the effective date. The                        but no later than with the notification of
                                                (1) Applicability. (i) This paragraph                 application for approval of construction              compliance status required in paragraph
                                              (d) and § 63.5 implement the                            or reconstruction may be used to fulfill              (c)(2) of this section.
                                              preconstruction review requirements of                  the initial notification requirements of                 (ii) Application for approval of
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                                              section 112(i)(1) for facilities subject to             paragraph (e)(1)(iii) of this section. The            construction. Each application for
                                              these emissions standards. In addition,                 owner or operator may submit the                      approval of construction shall include,
                                              this paragraph (d) and § 63.5 include                   application for approval well in advance              in addition to the information required
                                              other requirements for constructed and                  of the date construction or                           in paragraph (b)(3)(i)(B) of this section,
                                              reconstructed facilities that are or                    reconstruction is planned to commence                 technical information describing the
                                              become subject to these emissions                       in order to ensure a timely review by the             proposed nature, size, design, operating
                                              standards.                                              Administrator and that the planned                    design capacity, and method of


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                                              operation of the facility subject to these              Administrator may request additional                  emissions standards is (or would be)
                                              emissions standards, including an                       relevant information after the submittal              located, an owner or operator who
                                              identification of each point of emission                of a request for approval of construction             intends to construct a new facility
                                              for each hazardous air pollutant that is                or reconstruction.                                    subject to these emissions standards or
                                              emitted (or could be emitted) and a                        (e) Notification requirements. The                 reconstruct a facility subject to these
                                              description of the planned air pollution                owner or operator of an affected source               emissions standards, or reconstruct a
                                              control system (equipment or method)                    subject to an emissions standard in                   facility such that it becomes a facility
                                              for each emission point. The description                § 63.362 shall fulfill all notification               subject to these emissions standards,
                                              of the equipment to be used for the                     requirements in § 63.9, according to the              shall notify the Administrator in writing
                                              control of emissions shall include each                 applicability in table 6 to this subpart,             of the intended construction or
                                              control device for each hazardous air                   and in this paragraph (e).                            reconstruction. The notification shall be
                                              pollutant and the estimated control                        (1) Initial notifications. (i) If you own          submitted as soon as practicable before
                                              efficiency (percent) for each control                   or operate an affected source subject to              the construction or reconstruction is
                                              device. The description of the method to                an emissions standard in § 63.362, you                planned to commence (but no sooner
                                              be used for the control of emissions                    may use the application for approval of               than the effective date of these
                                              shall include an estimated control                      construction or reconstruction under                  standards) if the construction or
                                              efficiency (percent) for that method.                   paragraph (d)(3)(ii) of this section and              reconstruction commences after the
                                              Such technical information shall                        § 63.5(d)(3), respectively, if relevant to            effective date of the standard. The
                                              include calculations of emission                        fulfill the initial notification                      notification shall be submitted as soon
                                              estimates in sufficient detail to permit                requirements.                                         as practicable before the initial startup
                                              assessment of the validity of the                          (ii) The owner or operator of a new or             date but no later than 60 days after the
                                              calculations. An owner or operator who                  reconstructed facility subject to these               effective date of this standard if the
                                              submits approximations of control                       emissions standards that has an initial               construction or reconstruction had
                                              efficiencies under paragraph (b)(3) of                  startup date after the effective date and             commenced and the initial startup date
                                              this section shall submit the actual                    for which an application for approval of              has not occurred before the standard’s
                                              control efficiencies as specified in                    construction or reconstruction is                     effective date. The notification shall
                                              paragraph (b)(3)(i)(C) of this section.                 required under paragraph (d)(3) of this               include all the information required for
                                                 (4) Approval of construction or                      section and § 63.5(d)(3) and (4) shall                an application for approval of
                                              reconstruction based on prior                           provide the following information in                  construction or reconstruction as
                                              jurisdictional authority preconstruction                writing to the Administrator:                         specified in paragraph (d)(3) of this
                                              review. (i) The Administrator may                          (A) A notification of intention to                 section and § 63.5(d)(3) and (4). For
                                              approve an application for construction                 construct a new facility subject to these             facilities subject to these emissions
                                              or reconstruction specified in                          emissions standards, reconstruct a                    standards, the application for approval
                                              paragraphs (b)(2) and (3) of this section               facility subject to these emissions                   of construction or reconstruction may be
                                              and § 63.5(d)(3) and (4) if the owner or                standards, or reconstruct a facility such             used to fulfill the initial notification
                                              operator of a new or reconstructed                      that the facility becomes a facility                  requirements of § 63.9.
                                              facility who is subject to such                         subject to these emissions standards                     (2) If an owner or operator of a facility
                                              requirement demonstrates to the                         with the application for approval of                  subject to these emissions standards
                                              Administrator’s satisfaction that the                   construction or reconstruction as                     submits estimates or preliminary
                                              following conditions have been (or will                 specified in paragraph (d)(3)(i)(A) of this           information in the application for
                                              be) met:                                                section;                                              approval of construction or
                                                 (A) The owner or operator of the new                    (B) A notification of the date when                reconstruction required in paragraph
                                              or reconstructed facility subject to these              construction or reconstruction was                    (d)(3)(ii) of this section and § 63.5(d)(3),
                                              emissions standards has undergone a                     commenced, submitted simultaneously                   respectively, in place of the actual
                                              preconstruction review and approval                     with the application for approval of                  emissions data or control efficiencies
                                              process in the jurisdictional authority in              construction or reconstruction, if                    required in paragraphs (d)(3)(i)(B)(8)
                                              which the facility is (or would be)                     construction or reconstruction was                    and (b)(3)(ii) of this section, the owner
                                              located before the effective date and has               commenced before the effective date of                or operator shall submit the actual
                                              received a federally enforceable                        these standards;                                      emissions data and other correct
                                              construction permit that contains a                        (C) A notification of the date when                information as soon as available but no
                                              finding that the facility will meet these               construction or reconstruction was                    later than with the initial notification of
                                              emissions standards as proposed, if the                 commenced, delivered or postmarked                    compliance status.
                                              facility is properly built and operated;                no later than 30 days after such date, if                (3) If you own or operate an affected
                                                 (B) In making its finding, the                       construction or reconstruction was                    source subject to an emissions standard
                                              jurisdictional authority has considered                 commenced after the effective date of                 in § 63.362, you must also include the
                                              factors substantially equivalent to those               these standards;                                      amount of EtO used at the facility
                                              specified in § 63.5(e)(1).                                 (D) A notification of the anticipated              during the previous consecutive 12-
                                                 (ii) The owner or operator shall                     date of startup of the facility, delivered            month period in the initial notification
                                              submit to the Administrator the request                 or postmarked not more than 60 days                   report required by § 63.9(b)(2) and (3).
                                              for approval of construction or                         nor less than 30 days before such date;               For new sterilization facilities subject to
                                              reconstruction no later than the                        and                                                   this subpart, the amount of EtO used at
                                              application deadline specified in                          (E) A notification of the actual date of           the facility shall be an estimate of
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                                              paragraph (b)(3)(i) of this section. The                initial startup of the facility, delivered            expected use during the first
                                              owner or operator shall include in the                  or postmarked within 15 calendar days                 consecutive 12-month period of
                                              request information sufficient for the                  after that date.                                      operation.
                                              Administrator’s determination. The                         (iii) After the effective date, whether               (4) Beginning October 7, 2024, you
                                              Administrator will evaluate the owner                   or not an approved permit program is                  must submit all subsequent Notification
                                              or operator’s request in accordance with                effective in the jurisdictional authority             of Compliance Status reports in PDF
                                              the procedures specified in § 63.5. The                 in which a facility subject to these                  formatto the EPA following the


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                                              procedure specified in § 63.9(k), except                confidential treatment, and the EPA is                emissions data is not entitled to
                                              any medium submitted through mail                       required to make emissions data                       confidential treatment, and the EPA is
                                              must be sent to the attention of the                    available to the public. Thus, emissions              required to make emissions data
                                              Commercial Sterilization Sector Lead.                   data will not be protected as CBI and                 available to the public. Thus, emissions
                                                 (f) Performance test submission.                     will be made publicly available.                      data will not be protected as CBI and
                                              Beginning on June 4, 2024, within 60                       (g) Performance evaluation                         will be made publicly available.
                                              days after the date of completing each                  submission. Beginning on June 4, 2024,                   (h) Extensions for CDX/CEDRI
                                              performance test required by this                       within 60 days after the date of                      outages. If you are required to
                                              subpart, you must submit the results of                 completing each CEMS performance                      electronically submit a report through
                                              the performance test following the                      evaluation (as defined in § 63.2), you                CEDRI in the EPA’s CDX, you may
                                              procedures specified in paragraphs (f)(1)               must submit the results of the                        assert a claim of EPA system outage for
                                              through (3) of this section.                            performance evaluation following the                  failure to timely comply with that
                                                 (1) Data collected using test methods                procedures specified in paragraphs                    reporting requirement. To assert a claim
                                              supported by the EPA’s Electronic                       (g)(1) through (3) of this section.                   of EPA system outage, you must meet
                                              Reporting Tool (ERT) as listed on the                      (1) Performance evaluations of CEMS                the requirements outlined in paragraphs
                                              EPA’s ERT website (https://                             measuring relative accuracy test audit                (h)(1) through (7) of this section.
                                              www.epa.gov/electronic-reporting-air-                   (RATA) pollutants that are supported by                  (1) You must have been or will be
                                              emissions/electronic-reporting-tool-ert)                the EPA’s ERT as listed on the EPA’s                  precluded from accessing CEDRI and
                                              at the time of the test. Submit the results             ERT website at the time of the                        submitting a required report within the
                                              of the performance test to the EPA via                  evaluation. Submit the results of the                 time prescribed due to an outage of
                                              the CEDRI, which can be accessed                        performance evaluation to the EPA via                 either the EPA’s CEDRI or CDX systems.
                                              through the EPA’s CDX (https://                         CEDRI, which can be accessed through                     (2) The outage must have occurred
                                              cdx.epa.gov/). The data must be                         the EPA’s CDX. The data must be                       within the period of time beginning five
                                              submitted in a file format generated                    submitted in a file format generated                  business days prior to the date that the
                                              using the EPA’s ERT. Alternatively, you                 using the EPA’s ERT. Alternatively, you               submission is due.
                                              may submit an electronic file consistent                may submit an electronic file consistent
                                                                                                                                                               (3) The outage may be planned or
                                              with the XML schema listed on the                       with the XML schema listed on the
                                                                                                                                                            unplanned.
                                              EPA’s ERT website.                                      EPA’s ERT website.
                                                 (2) Data collected using test methods                   (2) Performance evaluations of CEMS                   (4) You must submit notification to
                                              that are not supported by the EPA’s ERT                 measuring RATA pollutants that are not                the Administrator in writing as soon as
                                              as listed on the EPA’s ERT website at                   supported by the EPA’s ERT as listed on               possible following the date you first
                                              the time of the test. The results of the                the EPA’s ERT website at the time of the              knew, or through due diligence should
                                              performance test must be included as an                 evaluation. The results of the                        have known, that the event may cause
                                              attachment in the ERT or an alternate                   performance evaluation must be                        or has caused a delay in reporting.
                                              electronic file consistent with the XML                 included as an attachment in the ERT or                  (5) You must provide to the
                                              schema listed on the EPA’s ERT                          an alternate electronic file consistent               Administrator a written description
                                              website. Submit the ERT generated                       with the XML schema listed on the                     identifying:
                                              package or alternative file to the EPA via              EPA’s ERT website. Submit the ERT                        (i) The date(s) and time(s) when CDX
                                              CEDRI.                                                  generated package or alternative file to              or CEDRI was accessed and the system
                                                 (3) CBI. Do not use CEDRI to submit                  the EPA via CEDRI.                                    was unavailable;
                                              information you claim as CBI. Anything                     (3) CBI. Do not use CEDRI to submit                   (ii) A rationale for attributing the
                                              submitted using CEDRI cannot later be                   information you claim as CBI. Anything                delay in reporting beyond the regulatory
                                              claimed CBI. Although we do not expect                  submitted using CEDRI cannot later be                 deadline to EPA system outage;
                                              persons to assert a claim of CBI, if you                claimed CBI. Although we do not expect                   (iii) A description of measures taken
                                              wish to assert a CBI claim for some of                  persons to assert a claim of CBI, if you              or to be taken to minimize the delay in
                                              the information submitted under                         wish to assert a CBI claim for some of                reporting; and
                                              paragraph (f)(1)(i) or (ii) of this section,            the information submitted under                          (iv) The date by which you propose to
                                              you must submit a complete file,                        paragraph (g)(1)(i) or (ii) of this section,          report, or if you have already met the
                                              including information claimed to be                     you must submit a complete file,                      reporting requirement at the time of the
                                              CBI, to the EPA. The file must be                       including information claimed to be                   notification, the date you reported.
                                              generated using the EPA’s ERT or an                     CBI, to the EPA. The CBI file must be                    (6) The decision to accept the claim
                                              alternate electronic file consistent with               generated using the EPA’s ERT or an                   of EPA system outage and allow an
                                              the XML schema listed on the EPA’s                      alternate electronic file consistent with             extension to the reporting deadline is
                                              ERT website. Submit the file on a                       the XML schema listed on the EPA’s                    solely within the discretion of the
                                              compact disc, flash drive, or other                     ERT website. Submit the CBI file on a                 Administrator.
                                              commonly used electronic storage                        compact disc, flash drive, or other                      (7) In any circumstance, the report
                                              medium and clearly mark the medium                      commonly used electronic storage                      must be submitted electronically as
                                              as CBI. Mail the electronic medium to                   medium and clearly mark the medium                    soon as possible after the outage is
                                              U.S. EPA/OAQPS/CORE CBI Office,                         as CBI. Mail the electronic medium to                 resolved.
                                              Attention: Group Leader, Measurement                    U.S. EPA/OAQPS/CORE CBI Office,                          (i) Extensions for force majeure
                                              Policy Group, MD C404–02, 4930 Old                      Attention: Group Leader, Measurement                  events. If you are required to
                                              Page Rd., Durham, NC 27703. The same                    Policy Group, MD C404–02, 4930 Old                    electronically submit a report through
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                                              file with the CBI omitted must be                       Page Rd., Durham, NC 27703. The same                  CEDRI in the EPA’s CDX, you may
                                              submitted to the EPA via the EPA’s CDX                  file with the CBI omitted must be                     assert a claim of force majeure for
                                              as described in paragraphs (f)(1)(i) and                submitted to the EPA via the EPA’s CDX                failure to timely comply with that
                                              (ii) of this section. All CBI claims must               as described in paragraphs (g)(1)(i) and              reporting requirement. To assert a claim
                                              be asserted at the time of submission.                  (ii) of this section. All CBI claims must             of force majeure, you must meet the
                                              Furthermore, under CAA section 114(c),                  be asserted at the time of submission.                requirements outlined in paragraphs
                                              emissions data is not entitled to                       Furthermore, under CAA section 114(c),                (i)(1) through (5) of this section.


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                                                 (1) You may submit a claim if a force                             according to the applicability in table 6                         § 63.362(k) and any corrective actions
                                              majeure event is about to occur, occurs,                             to this subpart, and in this section. All                         taken to return the affected unit to its
                                              or has occurred or there are lingering                               records required to be maintained by                              normal or usual manner of operation.
                                              effects from such an event within the                                this subpart or a subpart referenced by
                                              period of time beginning five business                               this subpart shall be maintained in such                          § 63.368    Implementation and enforcement.
                                              days prior to the date the submission is                             a manner that they can be readily                                    (a) This subpart can be implemented
                                              due. For the purposes of this section, a                             accessed and are suitable for inspection.                         and enforced by the U.S. EPA or a
                                              force majeure event is defined as an                                    (b) You must maintain the previous                             delegated authority such as the
                                              event that will be or has been caused by                             five years of records specified in                                applicable State, local, or Tribal agency.
                                              circumstances beyond the control of the                              § 63.366(b) and (c), as applicable.                               If the U.S. EPA Administrator has
                                              affected facility, its contractors, or any                              (c) You must maintain the previous                             delegated authority to a State, local, or
                                              entity controlled by the affected facility                           five years of records for compliance                              Tribal agency, then that agency, in
                                              that prevents you from complying with                                tests and associated data analysis, as                            addition to the U.S. EPA, has the
                                              the requirement to submit a report                                   applicable.                                                       authority to implement and enforce this
                                              electronically within the time period                                   (d) Any records required to be                                 subpart. Contact the applicable U.S.
                                              prescribed. Examples of such events are                              maintained by this subpart that are                               EPA Regional Office to find out whether
                                              acts of nature (e.g., hurricanes,                                    submitted electronically via the EPA’s                            implementation and enforcement of this
                                              earthquakes, or floods), acts of war or                              CEDRI may be maintained in electronic                             subpart are delegated to a State, local, or
                                              terrorism, or equipment failure or safety                            format. This ability to maintain                                  Tribal agency.
                                              hazard beyond the control of the                                     electronic copies does not affect the                                (b) In delegating implementation and
                                              affected facility (e.g., large scale power                           requirement for facilities to make                                enforcement authority of this subpart to
                                              outage).                                                             records, data, and reports available                              a State, local, or Tribal agency under
                                                 (2) You must submit notification to                               upon request to a delegated air agency                            subpart E of this part, the authorities
                                              the Administrator in writing as soon as                              or the EPA as part of an on-site                                  contained in paragraph (c) of this
                                              possible following the date you first                                compliance evaluation.                                            section are retained by the
                                              knew, or through due diligence should                                   (e) If you are using an EtO CEMS to                            Administrator of U.S. EPA and cannot
                                              have known, that the event may cause                                 demonstrate continuous compliance,                                be transferred to the State, local, or
                                              or has caused a delay in reporting.                                  you must maintain the previous five                               Tribal agency.
                                                 (3) You must provide to the                                       years of records for all required
                                              Administrator:                                                                                                                            (c) The authorities that cannot be
                                                                                                                   certification and QA tests.                                       delegated to State, local, or Tribal
                                                 (i) A written description of the force                               (f) For each deviation from an
                                              majeure event;                                                                                                                         agencies are as specified in paragraphs
                                                                                                                   emission limit, operating limit, or best                          (c)(1) through (5) of this section.
                                                 (ii) A rationale for attributing the                              management practice, you must keep a
                                              delay in reporting beyond the regulatory                                                                                                  (1) Approval of alternatives to the
                                                                                                                   record of the information specified in                            requirements in §§ 63.360 and 63.362.
                                              deadline to the force majeure event;                                 paragraph (g)(1) through (4) of this
                                                 (iii) A description of measures taken                                                                                                  (2) Approval of major alternatives to
                                                                                                                   section. The records shall be maintained
                                              or to be taken to minimize the delay in                                                                                                test methods under § 63.7(e)(2)(ii) and
                                                                                                                   as specified in § 63.10(b)(1).
                                              reporting; and                                                                                                                         (f), as defined in § 63.90, and as required
                                                 (iv) The date by which you propose to                                (1) The occurrence and duration of
                                                                                                                   each startup, shutdown, or malfunction                            in this subpart.
                                              report, or if you have already met the                                                                                                    (3) Approval of major alternatives to
                                              reporting requirement at the time of the                             of process, air pollution control, and
                                                                                                                   monitoring equipment.                                             monitoring under § 63.8(f), as defined in
                                              notification, the date you reported.                                                                                                   § 63.90, and as required in this subpart.
                                                 (4) The decision to accept the claim                                 (2) In the event that an affected unit
                                                                                                                   does not meet an applicable standard,                                (4) Approval of major alternatives to
                                              of force majeure and allow an extension
                                                                                                                   record the number of deviations. For                              recordkeeping and reporting under
                                              to the reporting deadline is solely
                                                                                                                   each deviation, record the date, time,                            § 63.10(f), as defined in § 63.90, and as
                                              within the discretion of the
                                                                                                                   cause, and duration of each deviation.                            required in this subpart.
                                              Administrator.
                                                 (5) In any circumstance, the reporting                               (3) For each failure to meet an                                   (5) Approval of an alternative to any
                                              must occur as soon as possible after the                             applicable standard, record and retain a                          electronic reporting to the EPA required
                                              force majeure event occurs.                                          list of the affected sources or equipment,                        by this subpart.
                                                                                                                   an estimate of the quantity of each
                                              § 63.367      Recordkeeping requirements.
                                                                                                                                                                                     Table 1 to Subpart O of Part 63—
                                                                                                                   regulated pollutant emitted over any
                                                                                                                                                                                     Standards for SCVs
                                                (a) If you own or operate an affected                              emission limit and a description of the
                                              source subject to § 63.362, you must                                 method used to estimate the emissions.                              As required in § 63.362(c), for each
                                              comply with the recordkeeping                                           (4) Record actions taken to minimize                           SCV, you must meet the applicable
                                              requirements in § 63.10(a) through (c),                              emissions in accordance with                                      standard in the following table:
                                                                                                                                                                                                                  You must comply with
                                              For each . . .                   For which . . .                                                                  You must . . .                                    the standard . . .

                                              1. Existing SCV ..............   a. Facility EtO use is at least 10 tpy .......................................   i. Continuously reduce EtO emissions by 99 per-   Until April 6, 2026.
                                                                                                                                                                    cent 1.
                                                                               b. Facility EtO use is at least 1 tpy but less than 10 tpy ........              i. Continuously reduce EtO emissions by 99 per-   Until April 6, 2026.
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                                                                                                                                                                    cent 1.
                                                                                                                                                                ii. Continuously reduce EtO emissions by 99.8     No later than April 6,
                                                                                                                                                                    percent 2 3.                                    2026.
                                                                               c. Facility EtO use is at least 30 tpy .......................................   i. Continuously reduce EtO emissions by 99.99     No later than April 6,
                                                                                                                                                                    percent 2 3.                                    2026.
                                                                               d. Facility EtO use is at least 10 tpy but less than 30 tpy ......               i. Continuously reduce EtO emissions by 99.9      No later than April 6,
                                                                                                                                                                    percent 2 3.                                    2026.
                                                                               e. Facility EtO use is less than 1 tpy ......................................    i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                                                                                                    cent 2 4.                                       2027.




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                                                                                                                                                                                                                           You must comply with
                                              For each . . .                   For which . . .                                                                           You must . . .                                    the standard . . .

                                              2. New SCV ...................   a. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.99     No later than April 5,
                                                                                  use is at least 30 tpy.                                                                   percent 2 5.                                     2024.
                                                                               b. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.9      No later than April 5,
                                                                                  use is at least 10 tpy but less than 30 tpy.                                              percent 2 5.                                     2024.
                                                                               c. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.8      No later than April 5,
                                                                                  use is at least 1 tpy but less than 10 tpy.                                               percent 2 5.                                     2024.
                                                                               d. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                  use is less than 1 tpy.                                                                   cent 2 6.                                        2024.
                                                                               e. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.99     Upon startup of the
                                                                                  at least 30 tpy.                                                                          percent 2 5.                                     source.
                                                                               f. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.9      Upon startup of the
                                                                                  at least 10 tpy but less than 30 tpy.                                                     percent 2 5.                                     source.
                                                                               g. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.8      Upon startup of the
                                                                                  at least 1 tpy but less than 10 tpy.                                                      percent 2 5.                                     source.
                                                                               h. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99 per-   Upon startup of the
                                                                                  less than 1 tpy.                                                                          cent 2 6.                                        source.
                                                1 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after December 6, 1996.
                                                2 If using EtO CEMS to determine compliance, this standard is based on the previous 30 operating days of data.
                                                3 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
                                                4 The standard applies if the facility has used less than 1 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
                                                5 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
                                                6 The standard applies if the facility is not expected to meet or exceed 1 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has used less than 1 tpy of EtO within all consecutive 12-month periods after startup.


                                              Table 2 to Subpart O of Part 63—
                                              Standards for ARVs
                                                As required in § 63.362(d), for each
                                              ARV, you must meet the applicable
                                              standard in the following table:
                                                                                                                                                                                                                           You must comply with
                                              For each . . .                   For which . . .                                                                           You must . . .                                    the standard . . .

                                              1. Existing ARV ..............   a. Facility EtO use is at least 10 tpy .......................................            i. Continuously reduce EtO emissions by 99 per-   Until April 6, 2026.
                                                                                                                                                                            cent 1.
                                                                               b. Facility EtO use is at least 30 tpy .......................................            i. Continuously reduce EtO emissions by 99.9      No later than April 6,
                                                                                                                                                                            percent 2 3.                                     2026.
                                                                               c. Facility EtO use is at least 10 tpy but less than 30 tpy ......                        i. Continuously reduce EtO emissions by 99.6      No later than April 6,
                                                                                                                                                                            percent 2 3.                                     2026.
                                                                               d. Facility EtO use is less than 10 tpy ....................................              i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                                                                                                            cent 2 4.                                        2027.
                                              2. New ARV ...................   a. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.9      No later than April 5,
                                                                                  use is at least 10 tpy.                                                                   percent 2 5.                                     2024.
                                                                               b. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                  use is less than 10 tpy.                                                                  cent 2 6.                                        2024.
                                                                               c. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.9      Upon startup of the
                                                                                  at least 10 tpy.                                                                          percent 2 5.                                     source.
                                                                               d. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99 per-   Upon startup of the
                                                                                  less than 10 tpy.                                                                         cent 2 6.                                        source.
                                                1 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after December 6, 1996.
                                                2 If using CEMS to determine compliance, this standard is based on a rolling 30-operating day average.
                                                3 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
                                                4 The standard applies if the facility has used less than 10 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
                                                5 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
                                                6 The standard applies if the facility is not expected to meet or exceed 10 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has used less than 10 tpy of EtO within all consecutive 12-month periods after startup.


                                              Table 3 to Subpart O of Part 63—
                                              Standards for CEVs
                                                As required in § 63.362(e), for each
                                              CEV, you must meet the applicable
                                              standard in the following table:
                                                                                                                                                                                                                           You must comply with
                                              For each . . .                   For which . . .                                                                           You must . . .                                    the standard . . .
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                                              1. Existing CEV at a             a. Not applicable .....................................................................   i. Continuously reduce EtO emissions by 99.94     No later than April 5,
                                                major source facility.                                                                                                      percent 1.                                       2027.
                                              2. Existing CEV at an            a. Facility EtO use is at least 60 tpy .......................................            i. Continuously reduce EtO emissions by 99.9      No later than April 6,
                                                area source facility.                                                                                                       percent 1 2.                                     2026.
                                                                               b. Facility EtO use is less than 60 tpy ....................................              i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                                                                                                            cent 1 3.                                        2027.
                                              3. New CEV at a major            a. Initial startup is on or before April 5, 2024 .........................                i. Continuously reduce EtO emissions by 99.94     No later than April 5,
                                                source facility.                                                                                                            percent 1.                                       2024.




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                                                                                                                                                                                                               You must comply with
                                              For each . . .              For which . . .                                                                    You must . . .                                    the standard . . .

                                                                          b. Initial startup is after April 5, 2024 ......................................   i. Continuously reduce EtO emissions by 99.94     Upon startup of the
                                                                                                                                                                percent 1.                                       source.
                                              4. New CEV at an area       a. Initial startup is on or before April 5, 2024, and facility EtO                 i. Continuously reduce EtO emissions by 99.9      No later than April 5,
                                                source facility.             use is at least 60 tpy.                                                            percent 1 4.                                     2024.
                                                                          b. Initial startup is on or before April 5, 2024, facility EtO use                 i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                             is less than 60 tpy.                                                               cent 1 5.                                        2024.
                                                                          c. Initial startup is after April 5, 2024, and facility EtO use is                 i. Continuously reduce EtO emissions by 99.9      Upon startup of the
                                                                             at least 60 tpy.                                                                   percent 1 4.                                     source.
                                                                          d. Initial startup is after April 5, 2024, facility EtO use is less                i. Continuously reduce EtO emissions by 99 per-   Upon startup of the
                                                                             than 60 tpy.                                                                       cent 1 5.                                        source.
                                                1 If using CEMS to determine compliance, this standard is based on a rolling 30-operating day average.
                                                2 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
                                                3 The standard applies if the facility has used less than 60 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
                                                4 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
                                                5 The standard applies if the facility is not expected to meet or exceed 60 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has used less than 60 tpy of EtO within all consecutive 12-month periods after startup.


                                              Table 4 to Subpart O of Part 63—                                 emissions at each facility, you must
                                              Standards for Group 1 Room Air                                   meet the applicable standard in the
                                              Emissions                                                        following table:
                                                As required in § 63.362(f), for your
                                              collection of Group 1 room air
                                                                                                                                                                                                                     You must comply
                                              For each . . .                                                         For which . . .                   You must . . .                                                with the require-
                                                                                                                                                                                                                     ment(s) . . .

                                              1. Existing collection of Group 1 room air emissions at a              a. Not applicable .........       i. Operate all areas of the facility that contain Group 1     No later than April
                                                major source facility.                                                                                     room air emissions with PTE, with all exhaust gas           5, 2027.
                                                                                                                                                           streams being captured and routed to a control system.
                                                                                                                                                           Also,
                                                                                                                                                       ii. Continuously reduce EtO emissions by 97 percent 1 .....
                                              2. Existing collection of Group 1 room air emissions at an             a. Facility EtO use is            i. Operate all areas of the facility that contain Group 1     No later than April
                                                area source facility.                                                  at least 40 tpy.                    room air emissions with PTE, with all exhaust gas           6, 2026.
                                                                                                                                                           streams being captured and routed to a control sys-
                                                                                                                                                           tem.2 Also,
                                                                                                                                                       ii. Continuously reduce EtO emissions by 98 percent 1 2 ...
                                                                                                                     b. Facility EtO use is            i. Operate all areas of the facility that contain Group 1     No later than April
                                                                                                                       less than 40 tpy.                   room air emissions with PTE, with all exhaust gas           5, 2027.
                                                                                                                                                           streams being captured and routed to a control system.
                                                                                                                                                           Also,
                                                                                                                                                       ii. Continuously reduce EtO emissions by 80 percent 1 3 ...
                                              3. New collection of Group 1 room air emissions at a                   a. Initial startup is on          i. Operate all areas of the facility that contain Group 1     No later than April
                                                major source facility.                                                 or before April 5,                  room air emissions with PTE, with all exhaust gas           5, 2024.
                                                                                                                       2024.                               streams being captured and routed to a control system.
                                                                                                                                                           Also,
                                                                                                                                                       ii. Continuously reduce EtO emissions by 97 percent 1 .....
                                                                                                                     b. Initial startup is after       i. Operate all areas of the facility that contain Group 1     Upon startup of the
                                                                                                                       April 5, 2024.                      room air emissions with PTE, with all exhaust gas           source.
                                                                                                                                                           streams being captured and routed to a control system.
                                                                                                                                                           Also,
                                                                                                                                                       ii. Continuously reduce EtO emissions by 97 percent 1 .....
                                              4. New collection of Group 1 room air emissions at an                  a. Initial startup is on          i. Operate all areas of the facility that contain Group 1     No later than April
                                                area source facility.                                                   or before April 5,                 room air emissions with PTE, with all exhaust gas           5, 2024.
                                                                                                                        2024, and facility                 streams being captured and routed to a control sys-
                                                                                                                        EtO use is at least                tem.4 Also,
                                                                                                                        40 tpy.                        ii. Continuously reduce EtO emissions by 98 percent 1 4 ...
                                                                                                                     b. Initial startup is on          i. Operate all areas of the facility that contain Group 1     No later than April
                                                                                                                        or before April 5,                 room air emissions with PTE, with all exhaust gas           5, 2024.
                                                                                                                        2024, and facility                 streams being captured and routed to a control sys-
                                                                                                                        EtO use is less than               tem.5 Also,
                                                                                                                        40 tpy.                        ii. Continuously reduce EtO emissions by 80 percent 1 5 ...
                                                                                                                     c. Initial startup is after       i. Operate all areas of the facility that contain Group 1     Upon startup of the
                                                                                                                        April 5, 2024, and                 room air emissions with PTE, with all exhaust gas           source.
                                                                                                                        facility EtO use is at             streams being captured and routed to a control sys-
                                                                                                                        least 40 tpy.                      tem.4 Also,
                                                                                                                                                       ii. Continuously reduce EtO emissions by 98 percent 1 4 ...
                                                                                                                     d. Initial startup is after       i. Operate all areas of the facility that contain Group 1     Upon startup of the
                                                                                                                       April 5, 2024, and                  room air emissions with PTE, with all exhaust gas           source.
                                                                                                                       facility EtO use is                 streams being captured and routed to a control sys-
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                                                                                                                       less than 40 tpy.                   tem.5 Also,
                                                                                                                                                       ii. Continuously reduce EtO emissions by 80 percent 1 5 ...
                                                1 If using CEMS to determine compliance, this standard is based on a rolling 30-operating day average.
                                                2 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
                                                3 The standard applies if the facility has used less than 40 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
                                                4 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
                                                5 The standard applies if the facility is not expected to meet or exceed 40 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has used less than 40 tpy of EtO within all consecutive 12-month periods after startup.



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                                              Table 5 to Subpart O of Part 63—                                         emissions, you must meet the applicable
                                              Standards for Group 2 Room Air                                           standard in the following table:
                                              Emissions
                                                As required in § 63.362(g), for your
                                              collection of Group 2 room air
                                                                                                                                                                                                                  You must comply with
                                              For each . . .                         For which . . .                               You must . . .                                                                 the requirement(s) . . .

                                              1. Existing collection of Group        a. Not applicable ...................         i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
                                                2 room air emissions at a                                                              with PTE, with all exhaust gas streams being captured and routed to a        2027.
                                                major source facility.                                                                 control system. Also,
                                                                                                                                   ii. Continuously reduce EtO emissions by 86 percent 1
                                              2. Existing collection of Group        a. Facility EtO use is at least               i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 6,
                                                2 room air emissions at an             20 tpy.                                         with PTE, with all exhaust gas streams being captured and routed to a        2026.
                                                area source facility.                                                                  control system.2 Also,.
                                                                                                                                   ii. Continuously reduce EtO emissions by 98 percent 1 2
                                                                                     b. Facility EtO use is at least               i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 6,
                                                                                       4 tpy but less than 20 tpy.                     with PTE, with all exhaust gas streams being captured and routed to a        2026.
                                                                                                                                       control system.2 Also,
                                                                                                                                   ii. Continuously reduce EtO emissions by 80 percent 1 2
                                                                                     c. Facility EtO use is less                   Lower the EtO concentration within each sterilization chamber to 1 ppm         No later than April 5,
                                                                                        than 4 tpy.                                    before the chamber can be opened 3.                                          2027.
                                              3. New collection of Group 2           a. Initial startup is on or be-               i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
                                                room air emissions at a                 fore April 5, 2024.                            with PTE, with all exhaust gas streams being captured and routed to a        2024.
                                                major source facility.                                                                 control system. Also,
                                                                                                                                   ii. Continuously reduce EtO emissions by 86 percent 1
                                                                                     b. Initial startup is after April             i. Operate all areas of the facility that contain Group 2 room air emissions   Upon startup of the
                                                                                       5, 2024.                                        with PTE, with all exhaust gas streams being captured and routed to a        source.
                                                                                                                                       control system. Also,
                                                                                                                                   ii. Continuously reduce EtO emissions by 86 percent 1
                                              4. New collection of Group 2           a. Initial startup is on or be-               i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
                                                room air emissions at an                fore April 5, 2024, and fa-                    with PTE, with all exhaust gas streams being captured and routed to a        2024.
                                                area source facility.                   cility EtO use is at least 20                  control system.5 Also,
                                                                                        tpy.                                       ii. Continuously reduce EtO emissions by 98 percent 1 5
                                                                                     b. Initial startup is on or be-               i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
                                                                                        fore April 5, 2024, and fa-                    with PTE, with all exhaust gas streams being captured and routed to a        2024.
                                                                                        cility EtO use is less than                    control system.6 Also,
                                                                                        20 tpy.                                    ii. Continuously reduce EtO emissions by 80 percent 1 6
                                                                                     c. Initial startup is after April             i. Operate all areas of the facility that contain Group 2 room air emissions   Upon startup of the
                                                                                        5, 2024, and facility EtO                      with PTE, with all exhaust gas streams being captured and routed to a        source.
                                                                                        use is at least 20 tpy.                        control system.5 Also,
                                                                                                                                   ii. Continuously reduce EtO emissions by 98 percent 1 5
                                                                                     d. Initial startup is after April             i. Operate all areas of the facility that contain Group 2 room air emissions   Upon startup of the
                                                                                       5, 2024, and facility EtO                       with PTE, with all exhaust gas streams being captured and routed to a        source.
                                                                                       use is less than 20 tpy.                        control system.6 Also,
                                                                                                                                   ii. Continuously reduce EtO emissions by 80 percent 1 6
                                                1 This standard is based on a rolling 30-operating day average.
                                                2 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
                                                3 The standard applies if the facility has used less than 4 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
                                                4 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
                                                5 The standard applies if the facility is not expected to meet or exceed 20 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
                                              has used less than 20 tpy of EtO within all consecutive 12-month periods after startup.


                                              Table 6 to Subpart O of Part 63—
                                              Applicability of General Provisions to
                                              This Subpart
                                                As specified in § 63.360, the parts of
                                              the General Provisions that apply to you
                                              are shown in the following table:

                                                               Citation                                            Subject                                                         Applies to subpart O

                                              § 63.1(a)(1) ................................     Applicability ...............................         Yes, additional terms defined in § 63.361; when overlap between subparts A
                                                                                                                                                        and O occurs, subpart O takes precedence.
                                              § 63.1(a)(2)–(3) ..........................       ...................................................   Yes.
                                              § 63.1(a)(4) ................................     ...................................................   Yes. Subpart O clarifies the applicability of each paragraph in subpart A to
                                                                                                                                                        facilities subject to subpart O.
                                              § 63.1(a)(5) ................................     [Reserved] ................................           No.
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                                              § 63.1(a)(6)–(8) ..........................       ...................................................   Yes.
                                              § 63.1(a)(9) ................................     [Reserved].
                                              § 63.1(a)(10)–(14) ......................         ...................................................   Yes.
                                              § 63.1(b)(1)–(2) ..........................       ...................................................   Yes.
                                              § 63.1(b)(3) ................................     ...................................................   No.
                                              § 63.1(c)(1) ................................     ...................................................   No. Subpart O clarifies the applicability of each paragraph in subpart A to
                                                                                                                                                        facilities subject to subpart O in this table.
                                              § 63.1(c)(2) ................................     ...................................................   Yes.



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                                                                Citation                                              Subject                                                           Applies to subpart O

                                              § 63.1(c)(3) ................................        [Reserved] ................................           No.
                                              § 63.1(c)(4) ................................        ...................................................   Yes.
                                              § 63.1(c)(5) ................................        ...................................................   No. § 63.360 specifies applicability.
                                              § 63.1(c)(6) ................................        ...................................................   Yes.
                                              § 63.1(d) .....................................      [Reserved] ................................           No.
                                              § 63.1(e) .....................................      ...................................................   Yes.
                                              § 63.2 .........................................     Definitions .................................         Yes, additional terms defined in § 63.361; when overlap between subparts A
                                                                                                                                                           and O occurs, subpart O takes precedence.
                                              § 63.3 .........................................     Units and abbreviations ............                  Yes, other units used in subpart O are defined in the text of subpart O.
                                              § 63.4(a)(1)–(3) ..........................          Prohibited activities ...................             Yes.
                                              § 63.5(a) .....................................      Construction/Reconstruction .....                     No. § 63.366(b)(1) contains applicability requirements for constructed or re-
                                                                                                                                                           constructed facilities.
                                              § 63.5(b)(1) ................................        ...................................................   Yes.
                                              § 63.5(b)(2) ................................        [Reserved].
                                              § 63.5(b)(3) ................................        ...................................................   No. See § 63.366(b)(2).
                                              § 63.5(b)(4)–(6) ..........................          ...................................................   Yes.
                                              § 63.5(c) .....................................      [Reserved].
                                              § 63.5(d)(1)–(2) ..........................          ...................................................   No. See § 63.366(b)(3).
                                              § 63.5(d)(3)–(4) ..........................          ...................................................   Yes.
                                              § 63.5(e) .....................................      ...................................................   Yes.
                                              § 63.5(f)(1)–(2) ...........................         ...................................................   No. See § 63.366(b)(4).
                                              § 63.6(a) .....................................      Applicability ...............................         Yes.
                                              § 63.6(b)–(c) ..............................         ...................................................   No. § 63.360(j) specifies compliance dates for facilities.
                                              § 63.6(d) .....................................      [Reserved].
                                              § 63.6(e)(1)(i) .............................        ...................................................   No.
                                              § 63.6(e)(1)(ii) ............................        Requirement to correct mal-                           No.
                                                                                                      functions ASAP.
                                              § 63.6(e)(1)(iii) ...........................        ...................................................   Yes.
                                              § 63.6(e)(2) ................................        [Reserved] ................................           No.
                                              § 63.6(e)(3) ................................        SSM Plan Requirements ..........                      No.
                                              § 63.6(f)(1) .................................       SSM exemption ........................                No.
                                              § 63.6(f)(2)(i) ..............................       Methods for Determining Com-                          Yes.
                                                                                                      pliance.
                                              § 63.6(f)(2)(ii) .............................       ...................................................   No. § 63.363 specifies parameters for determining compliance.
                                              § 63.6(f)(2)(iii)–(iv) .....................         ...................................................   Yes.
                                              § 63.6(f)(2)(v) .............................        ...................................................   No.
                                              § 63.6(f)(3) .................................       ...................................................   Yes.
                                              § 63.6(g) .....................................      Alternative Standard .................                Yes.
                                              § 63.6(h) .....................................      Compliance with opacity and                           No. Subpart O does not contain any opacity or visible emission standards.
                                                                                                      visible emission standards.
                                              § 63.6(i)(1)–(14), and (16) .........                Compliance Extension ..............                   Yes.
                                              § 63.6(j) ......................................     Presidential Compliance Ex-                           Yes.
                                                                                                      emption.
                                              § 63.7(a) .....................................      Applicability and Performance                         Yes.
                                                                                                      Test Dates.
                                              § 63.7(b) .....................................      Notification of Performance                           Yes.
                                                                                                      Test.
                                              § 63.7(c) .....................................      Quality Assurance/Test Plan ....                      Yes.
                                              § 63.7(d) .....................................      Testing Facilities .......................            Yes.
                                              § 63.7(e)(1) ................................        SSM exemption ........................                No.
                                              § 63.7(e)(2)–(4) ..........................          Conduct of Performance Tests                          Yes. § 63.365 also contains test methods specific to facilities subject to the
                                                                                                                                                           emissions standards.
                                              § 63.7(f) ......................................     Alternative Test Method ...........                   Yes.
                                              § 63.7(g) .....................................      Performance Test Data Anal-                           Yes, except this subpart specifies how and when the performance test and
                                                                                                      ysis.                                                performance evaluation results are reported.
                                              § 63.7(h) .....................................      Waiver of Tests ........................              Yes.
                                              § 63.8(a)(1) ................................        Applicability of Monitoring Re-                       Yes.
                                                                                                      quirements.
                                              § 63.8(a)(2) ................................        Performance Specifications ......                     Yes.
                                              § 63.8(a)(3) ................................        [Reserved] ................................           No.
                                              § 63.8(a)(4) ................................        Monitoring with Flares ..............                 Yes.
                                              § 63.8(b)(1) ................................        Monitoring .................................          Yes.
                                              § 63.8(b)(2)–(3) ..........................          Multiple Effluents and Multiple                       Yes.
                                                                                                      Monitoring Systems.
                                              § 63.8(c)(1)(i) .............................        General duty to minimize emis-                        No.
                                                                                                      sions and CMS operation.
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                                              § 63.8(c)(1)(ii) ............................        ...................................................   No. A startup, shutdown, and malfunction plan is not required for these
                                                                                                                                                          standards.
                                              § 63.8(c)(1)(iii) ............................       Requirement to develop SSM                            No.
                                                                                                      Plan for CMS.
                                              § 63.8(c)(2)–(3) ..........................          ...................................................   Yes.
                                              § 63.8(c)(4)–(5) ..........................          ...................................................   No. Frequency of monitoring measurements is provided in § 63.364; opacity
                                                                                                                                                           monitors are not required for these standards.
                                              § 63.8(c)(6) ................................        ...................................................   No. Performance specifications are contained in § 63.365.



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                                              § 63.8(c)(7)(i)(A)–(B) ..................            ...................................................   No. Performance specifications are contained in § 63.365.
                                              § 63.8(c)(7)(i)(C) ........................          ...................................................   No. Opacity monitors are not required for these standards.
                                              § 63.8(c)(7)(ii) ............................        ...................................................   No. Performance specifications are contained in § 63.365.
                                              § 63.8(c)(8) ................................        ...................................................   No.
                                              § 63.8(d)(1)–(2) ..........................          ...................................................   Yes.
                                              § 63.8(d)(3) ................................        Written procedures for CMS .....                      No.
                                              § 63.8(e)(1) ................................        CMS Performance Evaluation ..                         Yes, but only applies for CEMS, except this subpart specifies how and
                                                                                                                                                           when the performance evaluation results are reported.
                                              § 63.8(e)(2) ................................        ...................................................   Yes.
                                              § 63.8(e)(3) ................................        ...................................................   Yes.
                                              § 63.8(e)(4) ................................        ...................................................   Yes.
                                              § 63.8(e)(5)(i) .............................        ...................................................   Yes.
                                              § 63.8(e)(5)(ii) ............................        ...................................................   No. Opacity monitors are not required for these standards.
                                              § 63.8(f)(1)–(5) ...........................         ...................................................   Yes.
                                              § 63.8(f)(6) .................................       ...................................................   No.
                                              § 63.8(g)(1) ................................        ...................................................   Yes.
                                              § 63.8(g)(2) ................................        ...................................................   No.
                                              § 63.8(g)(3)–(5) ..........................          ...................................................   Yes.
                                              § 63.9(a) .....................................      Notification requirements ..........                  Yes.
                                              § 63.9(b)(1)–(i) ...........................         ...................................................   Yes.
                                              § 63.9(b)(1)(ii)–(iii) .....................         Initial Notifications .....................           No. § 63.366(c)(1)(i) contains language for facilities that increase usage
                                                                                                                                                           such that the source becomes subject to the emissions standards.
                                              § 63.9(b)(2)–(3) ..........................          Initial Notifications .....................           Yes. § 63.366(c)(3) contains additional information to be included in the ini-
                                                                                                                                                           tial report for existing and new facilities.
                                              § 63.9(b)(4)–(5) ..........................          Initial Notifications .....................           No. § 63.366(c)(1)(ii) and (iii) contains requirements for new or recon-
                                                                                                                                                           structed facilities subject to the emissions standards.
                                              § 63.9(c) .....................................      Request for Compliance Exten-                         Yes.
                                                                                                     sion.
                                              § 63.9(d) .....................................      Notification of Special Compli-                       No.
                                                                                                     ance Requirements for New
                                                                                                     Sources.
                                              § 63.9(e) .....................................      Notification of Performance                           Yes.
                                                                                                     Test.
                                              § 63.9(f) ......................................     Notification of VE/Opacity Test                       No. Opacity monitors are not required for these standards.
                                              § 63.9(g)(1) ................................        Additional Notifications When                         Yes.
                                                                                                     Using CMS.
                                              § 63.9(g)(2)–(3) ..........................          Additional Notifications When                         No. Opacity monitors and relative accuracy testing are not required for
                                                                                                     Using CMS.                                            these standards.
                                              § 63.9(h)(1)–(3) ..........................          Notification of Compliance Sta-                       Yes, except § 63.9(h)(5) does not apply because § 63.366(c)(2) instructs fa-
                                                                                                     tus.                                                  cilities to submit actual data.
                                              § 63.9(i) ......................................     Adjustment of Submittal Dead-                         Yes.
                                                                                                     lines.
                                              § 63.9(j) ......................................     Change in previous information                        Yes.
                                              § 63.9(k) .....................................      Electronic reporting procedures                       Yes, as specified in § 63.9(j).
                                              § 63.10(a) ...................................       Recordkeeping/Reporting .........                     Yes.
                                              § 63.10(b)(1) ..............................         Recordkeeping/Reporting .........                     Yes.
                                              § 63.10(b)(2)(i) ...........................         Recordkeeping for startup and                         No. See 63.367(f) for recordkeeping requirements.
                                                                                                     shutdown.
                                              § 63.10(b)(2)(ii) ..........................         Recordkeeping for SSM and                             No. See 63.367(f) for recordkeeping requirements.
                                                                                                     failures to meet standards.
                                              § 63.10(b)(2)(iii) .........................         Records related to mainte-                            Yes.
                                                                                                     nance of air pollution control
                                                                                                     equipment.
                                              § 63.10(b)(2)(iv)–(v) ...................            Actions taken to minimize emis-                       No.
                                                                                                     sions during SSM.
                                              § 63.10(b)(2)(vi) .........................          CMS Records ...........................               Yes.
                                              § 63.10(b)(2)(vii)–(ix) .................            Records ....................................          Yes.
                                              § 63.10(b)(2)(x)–(xi) ...................            CMS Records ...........................               Yes.
                                              § 63.10(b)(2)(xii) ........................          Records ....................................          Yes.
                                              § 63.10(b)(2)(xiii) ........................         Records ....................................          Yes.
                                              § 63.10(b)(2)(xiv) .......................           Records ....................................          Yes.
                                              § 63.10(b)(3) ..............................         Records ....................................          Yes.
                                              § 63.10(c)(1)–(14) ......................            Records ....................................          Yes.
                                              § 63.10(c)(15) ............................          Use of SSM Plan ......................                No.
                                              § 63.10(d)(1) ..............................         General Reporting Require-                            Yes.
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                                                                                                     ments.
                                              § 63.10(d)(2) ..............................         Report of Performance Test                            No. This subpart specifies how and when the performance test results are
                                                                                                     Results.                                              reported.
                                              § 63.10(d)(3) ..............................         Reporting Opacity or VE Ob-                           No. Subpart O does not contain opacity or visible emissions standards.
                                                                                                     servations.
                                              § 63.10(d)(4) ..............................         Progress Reports ......................               Yes.
                                              § 63.10(d)(5) ..............................         SSM Reports ............................              No. See § 63.366 for malfunction reporting requirements.
                                              § 63.10(e)(1) ..............................         Additional CEMS Reports .........                     Yes.



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                                              § 63.10(e)(2)(i) ...........................        Additional CMS Reports ...........              Yes, except this subpart specifies how and when the performance evalua-
                                                                                                                                                    tion results are reported.
                                              § 63.10(e)(2)(ii) ..........................        Additional COMS Reports ........                No. Opacity monitors are not required for these standards.
                                              § 63.10(e)(3)(i)–(iv) ....................          Reports .....................................   Yes.
                                              § 63.10(e)(3)(v) ..........................         Excess Emissions Reports .......                No. § 63.366(b) and (c) specify contents and submittal dates for excess
                                                                                                                                                    emissions and monitoring system performance reports.
                                              § 63.10(e)(3)(vi)–(viii) .................          Excess Emissions Report and                     Yes.
                                                                                                    Summary Report.
                                              § 63.10(e)(4) ..............................        Reporting COMS data ..............              No. Opacity monitors are not required for these standards.
                                              § 63.10(f) ....................................     Waiver for Recordkeeping/Re-                    Yes.
                                                                                                    porting.
                                              § 63.11 .......................................     Control device requirements for                 Yes.
                                                                                                    flares and work practice re-
                                                                                                    quirements for equipment
                                                                                                    leaks.
                                              § 63.12 .......................................     Delegation .................................    Yes.
                                              § 63.13 .......................................     Addresses .................................     Yes.
                                              § 63.14 .......................................     Incorporation by Reference ......               Yes.
                                              § 63.15 .......................................     Availability of Information .........           Yes.



                                              Appendix A to Subpart O of Part 63—                                     stack location but is not permanently                          2.2.4.3 For the routine, on-going quality-
                                              Monitoring Provisions for EtO CEMS                                      installed at that location. Rather, the system              assurance of a non-redundant backup EtO
                                                                                                                      is kept on ‘‘cold standby’’ and may be                      monitoring system, a relative accuracy test
                                              1. Applicability                                                        reinstalled in the event of a primary                       audit (RATA) must be performed and passed
                                                 These monitoring provisions apply to the                             monitoring system outage. A nonredundant                    at least once every 8 calendar quarters at the
                                              measurement of EtO emissions from                                       backup monitoring system must be                            unit or stack location(s) where the system
                                              commercial sterilization facilities, using                              represented as a unique monitoring system in                will be used.
                                              CEMS. The CEMS must be capable of                                       the electronic monitoring plan. Non-                           2.2.4.4 To use a non-redundant backup
                                              measuring EtO in lb/hr.                                                 redundant backup EtO CEMS must complete                     EtO monitoring system or a temporary like-
                                                                                                                      the same certification tests as the primary                 kind replacement analyzer for more than 720
                                              2. Monitoring of EtO Emissions                                          monitoring system, with one exception. The                  hours per year at a particular unit or stack
                                                 2.1 Monitoring System Installation                                   7-day calibration error test is not required for            location, a RATA must first be performed and
                                              Requirements. Install EtO CEMS and any                                  a non-redundant backup EtO CEMS. Except                     passed at that location.
                                              additional monitoring systems needed to                                 as otherwise provided in section 2.2.4.4 of                    2.3 Monitoring System Equipment,
                                              convert pollutant concentrations to lb/hr in                            this appendix, a non-redundant backup
                                                                                                                                                                                  Supplies, Definitions, and General
                                              accordance with § 63.365 and Performance                                monitoring system may only be used for 720
                                                                                                                                                                                  Operation.
                                              Specification 19 (PS 19) of appendix B to part                          hours per year at a particular unit or stack
                                                                                                                                                                                     The following provisions apply:
                                              60 of this chapter.                                                     location.
                                                                                                                         2.2.3 Temporary Like-kind Replacement                       2.3.1 PS 19, Sections 3.0, 6.0, and 11.0 of
                                                 2.2 Primary and Backup Monitoring                                                                                                appendix B to part 60 of this chapter.
                                              Systems. In the electronic monitoring plan                              Analyzers. When a primary EtO analyzer
                                              described in section 10.1.1.2.1 of this                                 needs repair or maintenance, you may                        3. Initial Certification Procedures
                                              appendix, you must designate a primary EtO                              temporarily install a like-kind replacement
                                                                                                                      analyzer, to minimize data loss. Except as                     The initial certification procedures for the
                                              CEMS. The primary EtO CEMS must be used                                                                                             EtO CEMS used to provide data under this
                                                                                                                      otherwise provided in section 2.2.4.4 of this
                                              to report hourly EtO concentration values                                                                                           subpart are as follows:
                                                                                                                      appendix, a temporary like-kind replacement
                                              when the system is able to provide quality-                                                                                            3.1 Your EtO CEMS must be certified
                                                                                                                      analyzer may only be used for 720 hours per
                                              assured data, i.e., when the system is ‘‘in                                                                                         according to PS 19, section(s) 13.
                                                                                                                      year at a particular unit or stack location. The
                                              control’’. However, to increase data                                    analyzer must be represented as a component                    3.2 Any additional stack gas flow rate
                                              availability in the event of a primary                                  of the primary EtO CEMS and must be                         monitoring system(s) needed to express
                                              monitoring system outage, you may install,                              assigned a 3-character component ID number,                 pollutant concentrations in lb/hr must be
                                              operate, maintain, and calibrate backup                                 beginning with the prefix ‘‘LK’’.                           certified according to part 75 of this chapter.
                                              monitoring systems, as follows:                                            2.2.4 Quality Assurance Requirements for
                                                 2.2.1 Redundant Backup Systems. A                                                                                                4. Recertification Procedures
                                                                                                                      Non-redundant Backup Monitoring Systems
                                              redundant backup monitoring system is a                                 and Temporary Like-kind Replacement                            Whenever the owner or operator makes a
                                              separate EtO CEMS with its own probe,                                   Analyzers. To quality-assure the data from                  replacement, modification, or change to a
                                              sample interface, and analyzer. A redundant                             non-redundant backup EtO monitoring                         certified CEMS that may significantly affect
                                              backup system is one that is permanently                                systems and temporary like-kind replacement                 the ability of the system to accurately
                                              installed at the unit or stack location and is                          EtO analyzers, the following provisions                     measure or record pollutant gas
                                              kept on ‘‘hot standby’’ in case the primary                             apply:                                                      concentrations or stack gas flow rates, the
                                              monitoring system is unable to provide                                     2.2.4.1 When a certified non-redundant                   owner or operator shall recertify the
                                              quality-assured data. A redundant backup                                backup EtO CEMS or a temporary like-kind                    monitoring system. Furthermore, whenever
                                              system must be represented as a unique                                  replacement EtO analyzer is brought into                    the owner or operator makes a replacement,
                                              monitoring system in the electronic                                     service, a calibration error test and a linearity           modification, or change to the flue gas
                                              monitoring plan. Each redundant backup                                  check must be performed and passed. A                       handling system or the unit operation that
                                              monitoring system must be certified                                     single point system integrity check is also                 may significantly change the concentration or
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                                              according to the applicable provisions in                               required.                                                   flow profile, the owner or operator shall
                                              section 3 of this appendix and must meet the                               2.2.4.2 Each non-redundant backup EtO                    recertify the monitoring system. The same
                                              applicable on-going QA requirements in                                  CEMS or temporary like-kind replacement                     tests performed for the initial certification of
                                              section 5 of this appendix.                                             EtO analyzer shall comply with all required                 the monitoring system shall be repeated for
                                                 2.2.2 Non-redundant Backup Monitoring                                daily, weekly, and quarterly quality-                       recertification, unless otherwise specified by
                                              Systems. A non-redundant backup                                         assurance test requirements in section 5 of                 the Administrator. Examples of changes that
                                              monitoring system is a separate EtO CEMS                                this appendix, for as long as the system or                 require recertification include: Replacement
                                              that has been certified at a particular unit or                         analyzer remains in service.                                of a gas analyzer; complete monitoring



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                                              system replacement, and changing the                    like-kind replacement analyzers are brought              5.3.3 Conditional Data Validation. For
                                              location or orientation of the sampling probe.          into service, the conditional data validation         recertification and diagnostic testing of the
                                                                                                      provisions in §§ 75.20(b)(3)(ii) through              monitoring systems that are used to provide
                                              5. On-Going Quality Assurance                           (b)(3)(ix) of this chapter may be used to avoid       data under this appendix, the conditional
                                              Requirements                                            or minimize data loss. The allotted window            data validation provisions in § 75.20(b)(3)(ii)
                                                 On-going QA test requirements for EtO                of time to complete calibration tests and             through (ix) of this chapter may be used to
                                              CEMS must be implemented as follows:                    RATAs shall be as specified in                        avoid or minimize data loss. The allotted
                                                 5.1 The quality assurance/quality control            § 75.20(b)(3)(iv) of this chapter; the allotted       window of time to complete calibration tests
                                              procedures in Procedure 7 of appendix F to              window of time to complete a gas audit shall          and RATAs shall be as specified in
                                              part 60 of this chapter shall apply.                    be the same as for a linearity check (i.e., 168       § 75.20(b)(3)(iv) of this chapter; the allotted
                                                 5.2 Stack gas flow rate, diluent gas, and            unit or stack operating hours).                       window of time to complete a quarterly gas
                                              moisture monitoring systems must meet the                  5.3 Data Validation.                               audit or data accuracy assessment shall be
                                              applicable ongoing QA test requirements of                 5.3.1 Out-of-Control Periods. An EtO               the same as for a linearity check (i.e., 168
                                              part 75 of this chapter.                                CEMS that is used to provide data under this          unit or stack operating hours).
                                                 5.2.1 Out-of-Control Periods. A EtO                  appendix is considered to be out-of-control,
                                              CEMS that is used to provide data under this            and data from the CEMS may not be reported            6. Missing Data Requirements
                                              appendix is considered to be out-of-control,            as quality-assured, when any acceptance                  For the purposes of this appendix, the
                                              and data from the CEMS may not be reported              criteria for a required QA test is not met. The       owner or operator of an affected unit shall
                                              as quality-assured, when any acceptance                 EtO CEMS is also considered to be out-of-             not substitute for missing data from EtO
                                              criteria for a required QA test is not met. The         control when a required QA test is not                CEMS. Any process operating hour for which
                                              EtO CEMS is also considered to be out-of-               performed on schedule or within an allotted           quality-assured EtO concentration data are
                                              control when a required QA test is not                  grace period. To end an out-of-control period,        not obtained is counted as an hour of
                                              performed on schedule or within an allotted             the QA test that was either failed or not done
                                                                                                                                                            monitoring system downtime.
                                              grace period. To end an out-of-control period,          on time must be performed and passed. Out-
                                              the QA test that was either failed or not done          of-control periods are counted as hours of            7. Bias Adjustment
                                              on time must be performed and passed. Out-              monitoring system downtime.                              Bias adjustment of hourly emissions data
                                              of-control periods are counted as hours of                 5.3.2 Grace Periods. For the purposes of           from an EtO CEMS is not required.
                                              monitoring system downtime.                             this appendix, a ‘‘grace period’’ is defined as
                                                 5.2.2 Grace Periods. For the purposes of             a specified number of unit or stack operating         8. QA/QC Program Requirements
                                              this appendix, a ‘‘grace period’’ is defined as         hours after the deadline for a required                  The owner or operator shall develop and
                                              a specified number of unit or stack operating           quality-assurance test of a continuous                implement a quality assurance/quality
                                                                                                      monitor has passed, in which the test may be          control (QA/QC) program for the EtO CEMS
                                              hours after the deadline for a required
                                                                                                      performed and passed without loss of data.
                                              quality-assurance test of a continuous                                                                        that are used to provide data under this
                                                                                                         5.3.2.1 For the monitoring systems
                                              monitor has passed, in which the test may be                                                                  subpart. At a minimum, the program shall
                                                                                                      described in section 5.1 of this appendix, a
                                              performed and passed without loss of data.                                                                    include a written plan that describes in detail
                                                                                                      168 unit or stack operating hour grace period
                                                 5.2.2.1 For the flow rate monitoring                                                                       (or that refers to separate documents
                                                                                                      is available for quarterly linearity checks, and
                                              systems described in section 5.1 of this                                                                      containing) complete, step-by-step
                                                                                                      a 720 unit or stack operating hour grace
                                              appendix, a 168 unit or stack operating hour            period is available for RATAs, as provided,           procedures and operations for the most
                                              grace period is available for quarterly                 respectively, in sections 2.2.4 and 2.3.3 of          important QA/QC activities. Electronic
                                              linearity checks, and a 720 unit or stack               appendix B to part 75 of this chapter.                storage of the QA/QC plan is permissible,
                                              operating hour grace period is available for               5.3.2.2 For the purposes of this appendix,         provided that the information can be made
                                              RATAs, as provided, respectively, in sections           if the deadline for a required gas audit/data         available in hard copy to auditors and
                                              2.2.4 and 2.3.3 of appendix B to part 75 of             accuracy assessment or RATA of an EtO                 inspectors. The QA/QC program
                                              this chapter.                                           CEMS cannot be met due to circumstances               requirements for the other monitoring
                                                 5.2.2.2 For the purposes of this appendix,           beyond the control of the owner or operator:          systems described in section 5.2 of this
                                              if the deadline for a required gas audit or                5.3.2.2.1 A 168 unit or stack operating            appendix are specified in section 1 of
                                              RATA of a EtO CEMS cannot be met due to                 hour grace period is available in which to            appendix B to part 75 of this chapter.
                                              circumstances beyond the control of the                 perform the gas audit or other quarterly data            8.1 General Requirements for EtO CEMS.
                                              owner or operator:                                      accuracy assessment; or                                  8.1.1 Preventive Maintenance. Keep a
                                                 5.2.2.2.1 A 168 unit or stack operating                 5.3.2.2.2 A 720 unit or stack operating            written record of procedures needed to
                                              hour grace period is available in which to              hour grace period is available in which to            maintain the EtO CEMS in proper operating
                                              perform the gas audit; or                               perform the RATA.                                     condition and a schedule for those
                                                 5.2.2.2.2 A 720 unit or stack operating                 5.3.2.3 If a required QA test is performed         procedures. This shall, at a minimum,
                                              hour grace period is available in which to              during a grace period, the deadline for the           include procedures specified by the
                                              perform the RATA.                                       next test shall be determined as follows:             manufacturers of the equipment and, if
                                                 5.2.2.3 If a required QA test is performed              5.3.2.3.1 For a gas audit or RATA of the           applicable, additional or alternate procedures
                                              during a grace period, the deadline for the             monitoring systems described in sections 5.1          developed for the equipment.
                                              next test shall be determined as follows:               and 5.2 of this appendix, determine the                  8.1.2 Recordkeeping and Reporting. Keep
                                                 5.2.2.3.1 For the gas audit of an EtO                deadline for the next gas audit or RATA (as           a written record describing procedures that
                                              CEMS, the grace period test only satisfies the          applicable) in accordance with section                will be used to implement the recordkeeping
                                              audit requirement for the calendar quarter in           2.2.4(b) or 2.3.3(d) of appendix B to part 75         and reporting requirements of this appendix.
                                              which the test was originally due. If the               of this chapter; treat a gas audit in the same           8.1.3 Maintenance Records. Keep a
                                              calendar quarter in which the grace period              manner as a linearity check.                          record of all testing, maintenance, or repair
                                              audit is performed is a QA operating quarter,              5.3.2.3.2 For the gas audit or other               activities performed on any EtO CEMS in a
                                              an additional gas audit is required for that            quarterly data accuracy assessment of an EtO          location and format suitable for inspection. A
                                              quarter.                                                CEMS, the grace period test only satisfies the        maintenance log may be used for this
                                                 5.2.2.3.2 For the RATA of an EtO CEMS,               audit requirement for the calendar quarter in         purpose. The following records should be
                                              the next RATA is due within three QA                    which the test was originally due. If the             maintained: Date, time, and description of
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                                              operating quarters after the calendar quarter           calendar quarter in which the grace period            any testing, adjustment, repair, replacement,
                                              in which the grace period test is performed.            audit is performed is a QA operating quarter,         or preventive maintenance action performed
                                                 5.2.3 Conditional Data Validation. For               an additional gas audit/data accuracy                 on any monitoring system and records of any
                                              recertification and diagnostic testing of the           assessment is required for that quarter.              corrective actions associated with a monitor
                                              monitoring systems that are used to provide                5.3.2.3.3 For the RATA of an EtO CEMS,             outage period. Additionally, any adjustment
                                              data under this appendix, and for the                   the next RATA is due within three QA                  that may significantly affect a system’s ability
                                              required QA tests when nonredundant                     operating quarters after the calendar quarter         to accurately measure emissions data must be
                                              backup monitoring systems or temporary                  in which the grace period test is performed.          recorded and a written explanation of the



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                                              procedures used to make the adjustment(s)                 8.2.2 Explain how each component of the             recording) for each successive 15-minute
                                              shall be kept.                                          EtO CEMS will be adjusted to provide correct          period.
                                                8.2 Specific Requirements for EtO CEMS.               responses to calibration gases after routine             9.2 Reduce the EtO concentration data to
                                              The following requirements are specific to              maintenance, repairs, or corrective actions.          hourly averages in accordance with
                                              EtO CEMS:                                                                                                     § 60.13(h)(2) of this chapter.
                                                8.2.1 Keep a written record of the                    9. Data Reduction and Calculations
                                              procedures used for each type of QA test                                                                         9.3 Convert each hourly average EtO
                                                                                                        9.1 Design and operate the EtO CEMS to              concentration to an EtO mass emission rate
                                              required for each EtO CEMS. Explain how
                                              the results of each type of QA test are                 complete a minimum of one cycle of                    (lb/hr) using an equation that has the general
                                              calculated and evaluated.                               operation (sampling, analyzing, and data              form of equation A–1 of this appendix:


                                                                                                                                                            (Eq. A-1)

                                              Where:                                                  Qh = Stack gas volumetric flow rate for the           any affected source exhausting to the
                                              Eho = EtO mass emission rate for the hour, lb/               hour, scfh.                                      emission stream (e.g., if the emission stream
                                                   hr                                                   (Note: Use unadjusted flow rate values;             includes contributions from an SCV and ARV
                                              K = Units conversion constant, 1.144E–10 lb/            bias adjustment is not required.)                     subject to 99.99% and 99.9% emission
                                                   scf-ppbv,                                            9.4 Use equation A–2 of this appendix to            reduction standards, respectively, report to
                                                                                                      calculate the daily total EtO emissions.              four significant figures), expressed in
                                              Ch = Hourly average EtO concentration,
                                                                                                      Report each daily total to the same precision         scientific notation.
                                                   ppbv,                                              as the most stringent standard that applies to



                                                                                                                                                           Equation A-2


                                              Where:                                                     9.5 Use equation A–3 of this appendix to           (e.g., if the emission stream includes
                                                Eday = Total daily EtO emissions, lb.                 calculate the 30-operating day rolling total          contributions from an SCV and ARV subject
                                                Eho = Hourly EtO emission rate for unit or            EtO emissions. Report each 30-operating day           to 99.99% and 99.9% emission reduction
                                              stack sampling hour ‘‘h’’ in the averaging              rolling total to the same precision as the most       standards, respectively, report to four
                                              period, from equation A–1 of this appendix,             stringent standard that applies to any affected       significant figures), expressed in scientific
                                              lb/hr.                                                  source exhausting to the emission stream              notation.



                                                                                                                                                          Equation A-3


                                              Where:                                                  systems and shall explain how the data                and component ID numbers; the make,
                                                E30day = Total EtO emissions during the 30-           derived from these systems ensure that all            model, and serial number of the monitoring
                                              operating day, lb.                                      EtO emissions from the unit or stack are              equipment; the sample acquisition method;
                                                Eday,i = Total daily EtO emissions, in lbs,           monitored and reported.                               formulas used to calculate emissions;
                                              for each operating day i from equation A–2                10.1.1.1 Updates. Whenever the owner or             monitor span and range information (if
                                              of this appendix, lb.                                   operator makes a replacement, modification,           applicable).
                                                i = Operating day index.
                                                                                                      or change in a certified continuous EtO                  10.1.1.2.2 Hard Copy. Keep records of the
                                                                                                      monitoring system that is used to provide             following: schematics and/or blueprints
                                              10. Recordkeeping Requirements                          data under this subpart (including a change           showing the location of the monitoring
                                                 10.1 For each EtO CEMS installed at an               in the automated data acquisition and                 system(s) and test ports; data flow diagrams;
                                              affected source, and for any other monitoring           handling system or the flue gas handling              test protocols; monitor span and range
                                              system(s) needed to convert pollutant                   system) which affects information reported in         calculations (if applicable); miscellaneous
                                              concentrations to units of the applicable               the monitoring plan (e.g., a change to a serial       technical justifications.
                                              emissions limit, the owner or operator must             number for a component of a monitoring                   10.1.2 EtO Emissions Records. For EtO
                                              maintain a file of all measurements, data,              system), the owner or operator shall update           CEMS, the owner or operator must record the
                                              reports, and other information required by              the monitoring plan.                                  following information for each unit or stack
                                              this appendix in a form suitable for                      10.1.1.2 Contents of the Monitoring Plan.           operating hour:
                                              inspection, for 5 years from the date of each           For EtO CEMS, the monitoring plan shall                  10.1.2.1 The date and hour;
                                              record, in accordance with § 63.367. The file           contain the applicable electronic and hard               10.1.2.2 Monitoring system and
                                              shall contain the information in paragraphs             copy information in sections 10.1.1.2.1 and           component identification codes, as provided
                                              10.1.1 through 10.1.8 of this section.                  10.1.1.2.2 of this appendix. For stack gas flow       in the electronic monitoring plan, for each
                                                                                                                                                                                                             ER05AP24.047</GPH>




                                                 10.1.1 Monitoring Plan Records. For each             rate, diluent gas, and moisture monitoring            hour in which the CEMS provides a quality-
                                              affected source or group of sources monitored           systems, the monitoring plan shall include            assured value of EtO concentration (as
                                              at a common stack, the owner or operator                the electronic and hard copy information              applicable);
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                                              shall prepare and maintain a monitoring plan            required for those systems under § 75.53(g) of           10.1.2.3 The pollutant concentration, for
                                              for the EtO CEMS and any other monitoring               this chapter. The electronic monitoring plan          each hour in which a quality-assured value
                                                                                                                                                                                                             ER05AP24.046</GPH>




                                              system(s) (i.e., flow rate, diluent gas, or             shall be evaluated using CEDRI.                       is obtained. Record the data in parts per
                                              moisture systems) needed to convert                       10.1.1.2.1 Electronic. Record the unit or           billion by volume (ppbv), with one leading
                                              pollutant concentrations to units of the                stack ID number(s); monitoring location(s);           non-zero digit and one decimal place,
                                              applicable emission standard. The                       the EtO monitoring methodology used (i.e.,            expressed in scientific notation. Use the
                                              monitoring plan shall contain essential                 CEMS); EtO monitoring system information,             following rounding convention: If the digit
                                                                                                                                                                                                             ER05AP24.045</GPH>




                                              information on the continuous monitoring                including, but not limited to: unique system          immediately following the first decimal place



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                                              is 5 or greater, round the first decimal place          option for the mid-level calibration drift            date and time of each injection, and the
                                              upward (increase it by one); if the digit               check under PS 19, you must also record the           reference gas concentration (zero, mid, or
                                              immediately following the first decimal place           measured concentration of the native EtO in           high) and the monitor response for each
                                              is 4 or less, leave the first decimal place             the flue gas before and after the spike and the       injection. Also record the average monitor
                                              unchanged.                                              spiked gas dilution factor.                           response and the calculated ME at each gas
                                                 10.1.2.4 A special code, indicating                     10.1.5.1.2 or each required RATA of an             level.
                                              whether or not a quality-assured EtO                    EtO CEMS, record the beginning and ending               10.1.5.1.9 For each quarterly dynamic
                                              concentration value is obtained for the hour.           date and time of each test run, the reference         spiking audit (DSA) of an EtO monitor,
                                              This code may be entered manually when a                method(s) used, and the reference method              record the date and time of the zero gas
                                              temporary like-kind replacement EtO                     and EtO CEMS run values. Keep records of              injection and each spike injection, the results
                                              analyzer is used for reporting; and                     stratification tests performed (if any), all of       of the zero gas injection, the gas
                                                 10.1.2.5 Monitor data availability, as a             the raw field data, relevant process operating        concentrations (mid and high) and the
                                              percentage of unit or stack operating hours,            data, and all of the calculations used to             dilution factors and the monitor response for
                                              calculated according to § 75.32 of this                 determine the relative accuracy.                      each of the six upscale injections as well as
                                              chapter.                                                   10.1.5.1.3 For each required measurement           the corresponding native EtO concentrations
                                                 10.1.3 Stack Gas Volumetric Flow Rate                error (ME) test of an EtO monitor, record the         measured before and after each injection.
                                              Records.                                                date and time of each gas injection, the              Also record the average dynamic spiking
                                                 10.1.3.1 Hourly measurements of stack                reference gas concentration (low, mid, or             error for each of the upscale gases, the
                                              gas volumetric flow rate during unit                    high) and the monitor response for each of            calculated average DSA Accuracy at each
                                              operation are required to demonstrate                   the three injections at each of the three             upscale gas concentration, and all
                                              compliance with EtO emission standards.                 levels. Also record the average monitor               calculations leading to the DSA Accuracy.
                                                 10.1.3.2 Use a flow rate monitor that                response and the ME at each gas level and               10.1.5.2 Additional Monitoring Systems.
                                              meets the requirements of part 75 of this               the related calculations.                             For the stack gas flow rate monitoring
                                              chapter to record the required data. You must              10.1.5.1.4 For each required level of              systems described in section 3.2 of this
                                              keep hourly flow rate records, as specified in          detection (LOD) test of an EtO monitor                appendix, you must keep records of all
                                              § 75.57(c)(2) of this chapter.                          performed in a controlled environment,                certification, recertification, diagnostic, and
                                                 10.1.4 EtO Emission Rate Records.                    record the test date, the concentrations of the       on-going quality-assurance tests of these
                                              Record the following information for each               reference gas and interference gases, the             systems, as specified in § 75.59(a) of this
                                              affected unit or common stack:                          results of the seven (or more) consecutive            chapter.
                                                 10.1.4.1 The date and hour;                          measurements of EtO, the standard deviation,
                                                 10.1.4.2 The hourly EtO emissions rate               and the LOD value. For each required LOD              11. Reporting Requirements
                                              (lb/hr), for each hour in which valid values            test performed in the field, record the test             11.1 General Reporting Provisions. The
                                              of EtO concentration and stack gas                      date, the three measurements of the native            owner or operator shall comply with the
                                              volumetric flow rate are obtained for the               source EtO concentration, the results of the          following requirements for reporting EtO
                                              hour. Report each emission rate to the same             three independent standard addition (SA)              emissions from each affected unit (or group
                                              precision as the most stringent standard that           measurements known as standard addition               of units monitored at a common stack):
                                              applies to any affected source exhausting to            response (SAR), the effective spike addition             11.1.1 Notifications, in accordance with
                                              the emission stream (e.g., if the emission              gas concentration, the resulting standard             paragraph 11.2 of this section;
                                              stream includes contributions from an SCV               addition detection level (SADL) value and all            11.1.2 Monitoring plan reporting, in
                                              and ARV subject to 99.99% and 99.9%                     related calculations. For extractive CEMS             accordance with paragraph 11.3 of this
                                              emission reduction standards, respectively,             performing the SA using dynamic spiking,              section;
                                              report to four significant figures), expressed          you must record the spiked gas dilution                  11.1.3 Certification, recertification, and
                                              in scientific notation. Use the following               factor.                                               QA test submittals, in accordance with
                                              rounding convention: If the digit                          10.1.5.1.5 For each required ME/level of           paragraph 11.4 of this section; and
                                              immediately following the first decimal place           detection response time test of an EtO                   11.1.4 Electronic quarterly report
                                              is 5 or greater, round the first decimal place          monitor, record the test date, the native EtO         submittals, in accordance with paragraph
                                              upward (increase it by one); if the digit               concentration of the flue gas, the reference          11.5 of this section.
                                              immediately following the first decimal place           gas value, the stable reference gas readings,            11.2 Notifications. The owner or operator
                                              is 4 or less, leave the first decimal place             the upscale/downscale start and end times,            shall provide notifications for each affected
                                              unchanged;                                              and the results of the upscale and downscale          unit (or group of units monitored at a
                                                 10.1.4.4 A code indicating that the EtO              stages of the test.                                   common stack) in accordance with § 63.366.
                                              emission rate was not calculated for the hour,             10.1.5.1.6 For each required interference             11.3 Monitoring Plan Reporting. For each
                                              if valid data for EtO concentration and/or any          test of an EtO monitor, record (or obtain from        affected unit (or group of units monitored at
                                              of the other necessary parameters are not               the analyzer manufacturer records of): The            a common stack) using EtO CEMS, the owner
                                              obtained for the hour. For the purposes of              date of the test; the gas volume/rate,                or operator shall make electronic and hard
                                              this appendix, the substitute data values               temperature, and pressure used to conduct             copy monitoring plan submittals as follows:
                                              required under part 75 of this chapter for              the test; the EtO concentration of the                   11.3.1 For a sterilization facility that
                                              stack gas flow rate are not considered to be            reference gas used; the concentrations of the         begins reporting hourly EtO concentrations
                                              valid data.                                             interference test gases; the baseline EtO             with a previously certified CEMS, submit the
                                                 10.1.5 Certification and Quality                     responses for each interferent combination            monitoring plan information in section
                                              Assurance Test Records. For the EtO CEMS                spiked; and the total percent interference as         10.1.1.2 of this appendix prior to or
                                              used to provide data under this subpart at              a function of span or EtO concentration.              concurrent with the first required quarterly
                                              each affected unit (or group of units                      10.1.5.1.7 For each quarterly relative             emissions report. For a new sterilization
                                              monitored at a common stack), record the                accuracy audit (RAA) of an EtO monitor,               facility, submit the information in section
                                              following information for all required                  record the beginning and ending date and              10.1.1.2 of this appendix at least 21 days
                                              certification, recertification, diagnostic, and         time of each test run, the reference method           prior to the start of initial certification testing
                                              quality-assurance tests:                                used, the EtO concentrations measured by              of the CEMS. Also submit the monitoring
                                                 10.1.5.1 EtO CEMS.                                   the reference method and CEMS for each test           plan information in § 75.53(g) of this chapter
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                                                 10.1.5.1.1 For each required 7-day and               run, the average concentrations measured by           pertaining to any required flow rate
                                              daily calibration drift (CD) test or daily              the reference method and the CEMS, and the            monitoring systems within the applicable
                                              calibration error test (including daily                 calculated relative accuracy. Keep records of         timeframe specified in this section, if the
                                              calibration transfer standard tests) of the EtO         the raw field data, relevant process operating        required records are not already in place.
                                              CEMS, record the test date(s) and time(s),              data, and the calculations used to determine             11.3.2 Update the monitoring plan when
                                              reference gas value(s), monitor response(s),            the relative accuracy.                                required, as provided in paragraph 10.1.1.1 of
                                              and calculated calibration drift or calibration            10.1.5.1.8 For each quarterly cylinder gas         this appendix. An electronic monitoring plan
                                              error value(s). If you use the dynamic spiking          audit (CGA) of an EtO monitor, record the             information update must be submitted either



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                                              prior to or concurrent with the quarterly                  11.4.2.11 Standard deviation, using                   11.4.7.1 Facility ID information;
                                              report for the calendar quarter in which the            equation 7 in section 12.6 of PS 19 in                   11.4.7.2 Monitoring system ID;
                                              update is required.                                     appendix B to part 60 of this chapter;                   11.4.7.3 Begin and end time of each test
                                                 11.3.3 All electronic monitoring plan                   11.4.2.12 Confidence coefficient, using            run;
                                              submittals and updates shall be made to the             equation 8 in section 12.6 of PS 19 in                   11.4.7.4 The reference method used;
                                              Administrator using CEDRI. Hard copy                    appendix B to part 60 of this chapter;                   11.4.7.5 The reference method and CEMS
                                              portions of the monitoring plan shall be kept              11.4.2.13 t-value; and                             values for each test run, including the units
                                              on record according to section 10.1 of this                11.4.2.14 Relative accuracy calculated             of measure;
                                              appendix.                                               using equation 11 in section 12.6 of PS 19 in            11.4.7.6 The mean reference method and
                                                 11.4 Certification, Recertification, and             appendix B to part 60 of this chapter.                CEMS values for the three test runs;
                                              Quality-Assurance Test Reporting                           11.4.3 For each measurement error (ME)                11.4.7.7 The calculated relative accuracy,
                                              Requirements. Use CEDRI to submit the                   test of an EtO monitor, report:                       percent; and
                                              results of all required certification,                     11.4.3.1 Facility ID information;                     11.4.7.8 Reason for test.
                                              recertification, quality-assurance, and                    11.4.3.2 Monitoring component ID;                     11.4.8 For each quarterly cylinder gas
                                              diagnostic tests of the monitoring systems                 11.4.3.3 Instrument span and span scale;           audit of an EtO monitor, report:
                                              required under this appendix electronically.               11.4.3.4 For each gas injection, the date             11.4.8.1 Facility ID information;
                                              Submit the test results concurrent with the             and time, the calibration gas level (zero, low,          11.4.8.2 Monitoring component ID;
                                              quarterly electronic emissions report.                  mid, or high), the reference gas value in ppbv           11.4.8.3 Instrument span and span scale;
                                              However, for RATAs of the EtO monitor, if               and the monitor response.                                11.4.8.4 For each gas injection, the date
                                              this is not possible, you have up to 60 days               11.4.3.5 For extractive CEMS, the mean             and time, the reference gas level (zero, mid,
                                              after the test completion date to submit the            reference value and mean of measured values           or high), the reference gas value in ppbv, and
                                              test results; in this case, you may claim               at each reference gas level (ppbv).                   the monitor response.
                                              provisional status for the emissions data                  11.4.3.6 ME at each reference gas level;              11.4.8.5 For extractive CEMS, the mean
                                              affected by the test, starting from the date and        and                                                   reference gas value and mean monitor
                                              hour in which the test was completed and                   11.4.3.7 Reason for test.                          response at each reference gas level (ppbv).
                                              continuing until the date and hour in which                11.4.4 For each interference test of an EtO           11.4.8.6 ME at each reference gas level;
                                              the test results are submitted. If the test is          monitoring system, report:                            and
                                              successful, the status of the data in that time            11.4.4.1 Facility ID information;                     11.4.8.7 Reason for test.
                                              period changes from provisional to quality-                11.4.4.2 Date of test;                                11.4.9 For each quarterly DSA of an EtO
                                              assured, and no further action is required.                11.4.4.3 Monitoring system ID;                     monitor, report:
                                              However, if the test is unsuccessful, the                  11.4.4.4 Results of the test (pass or fail);          11.4.9.1 Facility ID information;
                                              provisional data must be invalidated and                   11.4.4.5 Reason for test; and                         11.4.9.2 Monitoring component ID;
                                              resubmission of the affected emission                      11.4.4.6 A flag to indicate whether the               11.4.9.3 Instrument span and span scale;
                                              report(s) is required.                                  test was performed: On this particular                   11.4.9.4 For the zero gas injection, the
                                                 11.4.1 For each daily CD (or calibration             monitoring system; on one of multiple                 date and time, and the monitor response
                                              error) assessment (including daily calibration          systems of the same type; or by the                   (Note: The zero gas injection from a
                                              transfer standard tests), and for each seven-           manufacturer on a system with components              calibration drift check performed on the same
                                              day calibration drift (CD) test of an EtO               of the same make and model(s) as this                 day as the upscale spikes may be used for
                                              monitor, report:                                        system.                                               this purpose.);
                                                 11.4.1.1 Facility ID information;                       11.4.5 For each LOD test of an EtO                    11.4.9.5 Zero spike error;
                                                 11.4.1.2 The monitoring component ID;                monitor, report:                                         11.4.9.6 For the upscale gas spiking, the
                                                 11.4.1.3 The instrument span and span                   11.4.5.1 Facility ID information;                  date and time of each spike, the reference gas
                                              scale;                                                     11.4.5.2 Date of test;                             level (mid- or high-), the reference gas value
                                                 11.4.1.4 For each gas injection, the date               11.4.5.3 Reason for test;                          (ppbv), the dilution factor, the native EtO
                                              and time, the calibration gas level (zero or               11.4.5.4 Monitoring system ID;                     concentrations before and after each spike,
                                              high-level), the reference gas value (ppbv),               11.4.5.5 A code to indicate whether the            and the monitor response for each gas spike;
                                              and the monitor response (ppbv);                        test was done in a controlled environment or             11.4.9.7 Upscale spike error;
                                                 11.4.1.5 A flag to indicate whether                  in the field;                                            11.4.9.8 DSA at the zero level and at each
                                              dynamic spiking was used for the high-level                11.4.5.6 EtO reference gas concentration;          upscale gas level; and
                                              value;                                                     11.4.5.7 EtO responses with interference              11.4.9.9 Reason for test.
                                                 11.4.1.6 Calibration drift (percent of span          gas (seven repetitions);                                 11.4.10 Reporting Requirements for
                                              or reference gas, as applicable);                          11.4.5.8 Standard deviation of EtO                 Diluent Gas, Flow Rate, and Moisture
                                                 11.4.1.7 When using the dynamic spiking              responses;                                            Monitoring Systems. For the certification,
                                              option, the measured concentration of native               11.4.5.9 Effective spike addition gas              recertification, diagnostic, and QA tests of
                                              EtO before and after each mid-level spike and           concentrations;                                       stack gas flow rate, moisture, and diluent gas
                                              the spiked gas dilution factor; and                        11.4.5.10 EtO concentration measured               monitoring systems that are certified and
                                                 11.4.1.8 Reason for test.                            without spike;                                        quality-assured according to part 75 of this
                                                 11.4.2 For each RATA of an EtO CEMS,                    11.4.5.11 EtO concentration measured               chapter, report the information in section
                                              report:                                                 with spike;                                           10.1.8.2 of this appendix.
                                                 11.4.2.1 Facility ID information;                       11.4.5.12 Dilution factor for spike;                  11.5 Quarterly Reports.
                                                 11.4.2.2 Monitoring system ID number;                   11.4.5.13 The controlled environment                  11.5.1 The owner or operator of any
                                                 11.4.2.3 Type of test (i.e., initial or annual       LOD value (ppbv or ppbv-meters);                      affected unit shall use CEDRI to submit
                                              RATA);                                                     11.4.5.14 The field determined standard            electronic quarterly reports to the
                                                 11.4.2.4 Reason for test;                            addition detection level (SADL in ppbv or             Administrator in an XML format specified by
                                                 11.4.2.5 The reference method used;                  ppbv-meters); and                                     the Administrator, for each affected unit (or
                                                 11.4.2.6 Starting and ending date and                   11.4.5.15 Result of LOD/SADL test (pass/           group of units monitored at a common stack).
                                              time for each test run;                                 fail).                                                If the certified EtO CEMS is used for the
                                                 11.4.2.7 Units of measure;                              11.4.6 For each ME or LOD response time            initial compliance demonstration, EtO
                                                 11.4.2.8 The measured reference method               test of an EtO monitor, report:                       emissions reporting shall begin with the first
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                                              and CEMS values for each test run, on a                    11.4.6.1 Facility ID information;                  operating hour of the 30-operating day
                                              consistent moisture basis, in appropriate                  11.4.6.2 Date of test;                             compliance demonstration period.
                                              units of measure;                                          11.4.6.3 Monitoring component ID;                  Otherwise, EtO emissions reporting shall
                                                 11.4.2.9 Flags to indicate which test runs              11.4.6.4 The higher of the upscale or              begin with the first operating hour after
                                              were used in the calculations;                          downscale tests, in minutes; and                      successfully completing all required
                                                 11.4.2.10 Arithmetic mean of the CEMS                   11.4.6.5 Reason for test.                          certification tests of the CEMS.
                                              values, of the reference method values, and                11.4.7 For each quarterly RAA of an EtO               11.5.2 The electronic reports must be
                                              of their differences;                                   monitor, report:                                      submitted within 30 days following the end



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                                              of each calendar quarter, except for units that           11.5.3.4 The results of all daily                   been correctly and fully monitored, the
                                              have been placed in long-term cold storage.             calibrations (including calibration transfer          owner or operator shall submit a compliance
                                                11.5.3 Each electronic quarterly report               standard tests) of the EtO monitor as                 certification in support of each electronic
                                              shall include the following information:                described in section 10.1.8.1.1 of this               quarterly emissions monitoring report. The
                                                11.5.3.1 The date of report generation;               appendix; and                                         compliance certification shall include a
                                                11.5.3.2 Facility identification                        11.5.3.5 If applicable, the results of all
                                              information;                                            daily flow monitor interference checks, in            statement by a responsible official with that
                                                11.5.3.3 The information in sections                  accordance with section 10.1.8.2 of this              official’s name, title, and signature, certifying
                                              10.1.2 through 10.1.4 of this appendix, as              appendix.                                             that, to the best of his or her knowledge, the
                                              applicable to the type(s) of monitoring                   11.5.4 Compliance Certification. Based              report is true, accurate, and complete.
                                              system(s) used to measure the pollutant                 on reasonable inquiry of those persons with           [FR Doc. 2024–05905 Filed 4–4–24; 8:45 am]
                                              concentrations and other necessary                      primary responsibility for ensuring that all
                                                                                                                                                            BILLING CODE 6560–50–P
                                              parameters.                                             EtO emissions from the affected unit(s) have
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